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                                                                    U.S. DISTRICT COURT
                                                                        N.D. OF ALABAMA




                  EXHIBIT A
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VIA E-MAIL TRANSMISSION

April 1, 2020

Mr. D.G. Pantazis, Jr. (dgp@wigginschilds.com)
Wiggins, Childs, Pantazis, Fisher & Goldfarb, LLC

Mr. Lange Clark (langeclark@langeclark.com)
Law Office of Lange Clark, P.C.

Re:      Compass SmartInvestor 401(k) Plan (the Plan )

Dear Messrs. Pantazis and Clark,

This letter is in response to the claims filed under the Plan on October 2, 2019, by
your clients, Gloria Ferguson, Christine D. Drake, and Cassandra McClinton
(collectivel , the Claimants ). As you know, by letter dated December 19, 2019
from the Retirement Committee for the Compass SmartInvestor 401(k) Plan (the
 Committee ), the period of time for reviewing the claims made by the Claimants
was extended by 90 days in accordance with the claim procedures set forth in Section
8.7 of the Plan. Therefore, the deadline for the initial adjudication of the claims is
April 1, 2020.

In correspondence dated October 2, 2019, the Claimants alleged that BBVA has
misused Plan funds and their individual funds, and invested the Plan funds and their
individual funds in an imprudent manner as further outlined in the civil action
referred to above. The civil action referenced in Claimants October 2, 2019
letter is the lawsuit styled Gloria Ferguson v. BBVA USA Bancshares, Inc., et al, in
the United States District Court for the Northern District of Alabama (Southern
Division), 2019-cv-01135-MHH (hereinafter referred to as the Complaint ).

In addition to the claims set forth in their October 2, 2019 letter, the Claimants also
requested numerous documents and information to enable the Claimants to exercise
their remedies and the discover procedures available to them. Since receipt of
the Claimants October 2, 2019 letter, the Committee has responded to and satisfied
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the Claimants requests through letters from the Committee dated October 16, 2019,
November 1, 2019, December 19, 2019, February 4, 2020, and February 7, 2020. In
addition, since receiving the Claimants October 2, 2019 letter, the Committee has
repeatedly invited the Claimants to provide any additional documents or information
supporting their claims. By letter dated November 26, 2019, the Claimants provided
the Committee with the Claimants Plan account statements.

Pursuant to the claim procedures set forth in Section 8.7 of the Plan, the Committee
has thoroughly reviewed the Claimants claims. In addition, to assist the Committee
in its review of the claims, the Committee engaged two experts. The first expert was
engaged to assess the Plan funds performance and fees in order to determine the
appropriateness of the funds for investment under the Plan. The second expert was
engaged to determine whether the Committee followed the appropriate procedures
and practices in selecting, monitoring, and removing certain investments options
under the Plan and monitoring the fees associated with the various investment
options. Both experts specifically addressed the existence of the money market fund
and actively managed funds in the Plan s investment lineup.

Following a comprehensive review of the claims and the written reports of the
experts retained by the Committee, the Committee has determined that the
Claimants claims are due to be denied. The basis for the Committee s determination
is set forth in more detail below.

I.       Background Information

       A.    Summary of the Complaint. The Complaint takes the form of a civil
action whereby two of the Claimants (Ferguson and McClinton),1 pursuant to
Section 502(a) of the Employee Retirement Income Security Act of 1974
( ERISA ), claim that BBVA Compass Bancshares, Inc., Compass Bancshares, Inc.,
and BBVA USA Bancshares, Inc. (all d/b/a BBVA and hereinafter collectively
referred to as BBVA ) breached their fiduciary duties under ERISA. The time
period identified in the Complaint is the time-period starting July 18, 2013 to current
(the Relevant Period ). BBVA moved to dismiss the Complaint for failure to
exhaust administrative remedies. In response, Claimants filed their administrative
claims with the Committee. The Committee asked Claimants for all information
supporting their claims. The Claimants simply referred the Committee back to the

1
  Ms. Drake was not named as a plaintiff in the Complaint, but joined in the administrative claim process by letter to
the Committee dated October 2, 2019. We note that Ms. Drake s letter, although separate from the October 2, 2019
claim letters on behalf of Ms. Ferguson and Ms. McClinton, is nearly identical to the October 2, 2019 letter received
by the Committee from Ms. Ferguson and Ms. McClinton.


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Complaint and, apart from their individual account statements, Claimants did not
provide any additional information in support of their claims.2

              1.    The Money Market Fund. During the Relevant Period, the
Complaint alleges that it was not appropriate to offer a money market fund3 as the
Plan s onl short-term bond investment option because ultra-short-term rates
were at historic lows and sufficient income producing bonds such as high qualit
bond funds, stable value funds, and total return funds should have been offered
instead. In addition, the Complaint also states that around $100 million of
participant retirement savings was essentiall stuffed in the Plan s mattress by
being invested in the money market fund and this occurred because BBVA failed
to have a process, or failed to adhere to such process, to monitor the Plan s
investment menu and failed to recognize its duty to offer sufficient income
producing bond options.

              2.    Failure to Monitor High-Cost Funds. The Complaint alleges that
during the Relevant Period: (a) the investment menu maintained by the Plan used
only high-fee actively managed funds for most asset classes of investments ; (b) that
the high-cost, actively managed funds consistently underperformed their
benchmarks and index fund alternatives; and (c) BBVA mismanaged the process
by failing to recognize the changes in the performance of the investment options and
make appropriate corrections and repeatedl failed to remove underperforming
funds or offer low-cost index fund alternatives.

             3.     Underperforming Funds. The Complaint alleges that BBVA
selected, then failed to adequatel monitor the following funds: Aston/TAMRO
Small Cap I; Principal Mid-Cap Value; the Principal Target Date Funds; Invesco
International Growth Fund; and Thornburg International Value Fund. Specifically,
the Complaint alleges that BBVA s process for evaluating and monitoring these
funds was deficient because BBVA failed to adequatel monitor various aspects of
these funds.

       B.    Experts Retained by the Committee. The Committee retained two
experts to assist in evaluating the various claims made by the Claimants as outlined
in the October 2, 2019 letter and as more specifically detailed in the Complaint. The
two experts retained by the Committee are as follows:

2
  The Committee notes that the Complaint supplied as the basis for the Claimants administrative claims requests Plan
wide relief, in addition to asserting individual claims.
3
  During the Relevant Period, the Plan offered the Vanguard Prime Money Market Fund (admiral shares) as an
investment option.


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              1.    Russell R. Wermers, Ph.D. Dean s Chair of Finance at Smith
School of Business, Universit of Mar land ( Professor Wermers ). Professor
Wermers was retained by the Committee to analyze the issues raised in the
Complaint with respect to whether certain funds offered were appropriate investment
options. Professor Wermers examined the relevant fund returns, fees, and other
factors to determine the appropriateness of the investment options. The report
provided by Professor Wermers to the Committee is enclosed herewith (the
 Wermers Report ). In addition, the supporting materials relied on b Professor
Wermers in reaching his conclusions will be provided to you under cover of a
separate letter containing a flash drive.

              2.    Kathleen Mann, Founder of KMann Consulting LLC ( Ms.
Mann ). Ms. Mann was retained by the Committee to opine as to whether the
Committee followed the appropriate processes and industry practices in connection
with selecting, monitoring, and removing certain investment options, monitoring the
fees of the investment options. In addition, like Professor Wermers, Ms. Mann
offered her opinion regarding the use of the money market fund and actively
managed funds. The report provided by Ms. Mann to the Committee is also enclosed
herewith (the Mann Report ). In addition, the supporting materials relied on by
Ms. Mann in reaching her conclusions will also be provided to you under cover of a
separate letter containing a flash drive.4

II.    Wermers Report. The following is a summary of the key conclusions set forth
in the Wermers Report. We invite the Claimants to review the Wermers Report and
supporting materials in their entirety to obtain a full and complete understanding of
the basis for his conclusions.

       A.     Claims regarding the Money Market Fund. The Wermers Report
concluded that the Vanguard Prime Money Market Fund ( VMMF ) offered under
the Plan for investment during the Relevant Period was a reasonable and appropriate
option to offer Plan participants.5 Professor Wermers also concluded that the
alternative options mentioned in the Complaint, for instance a stable-value fund or
bond fund, do not have the same risk and return characteristics as a money market
fund and are therefore not substitutes for a money market fund.6 Furthermore,
Professor Wermers concluded that the Plan did offer many other investment options

4
  The supporting materials relied on by Professor Wermers and Ms. Mann will be provided under cover of a single
letter containing one flash drive.
5
  Wermers Report at 5 and 26.
6
  Wermers Report at 45.


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allowing participants to gain exposure to bond funds that the Complaint alleges
should have been included in the Plan.7

             1.     Professor Wermers noted there are no regulations or advisory
opinions that prohibit the use of money market funds in 401(k) plans8 and that many
other 401(k) plans included money market funds as investment options in their plans
during the Relevant Period. According to an Aon Hewitt Survey, 40% of the
surveyed plans offered a money market fund in 2015, and a 2015 MetLife study
showed that 52% of the defined contribution plans surveyed offered a money market
option.9 Professor Wermers also noted that the same money market fund, the
VMMF, was offered by many other employers for investment under their 401(k)
plans such as Anthem, Astra Zeneca, Berkshire Hathaway10, and State Street
Corporation to name a few.11

             2.   Professor Wermers observed that, in addition to the VMMF, the
Plan offered a bond fund, the American Century Diversified Bond Fund as well as
the Principal LifeTime Strategic Income Fund (until October 2017), and the
Vanguard Target Retirement Income Trust II (after October 2017) and that these
funds provide exposure to the type of bond funds that the Complaint contends should
have been included in the Plan s investment lineup.12

              3.    Professor Wermers notes that reasons for investing in a money
market fund range from lowering an investor s portfolio risk to using it as a
transitional vehicle when moving funds between longer-term assets.13 For instance,
Professor Wermers notes investors may choose a money market fund to meet short
term investment objectives, such as preserving capital during heightened periods of
market volatility which would allow the investor to re-enter the stock market when
volatility subsides, thus enhancing long-term returns.14 Professor Wermers notes
that given recent market fluctuations attributed to the global Coronavirus pandemic,
participants may prefer protective money market funds instead of higher risk funds

7
  Wermers Report at 10 and 45.
8
  Wermers Report at 10.
9
  Wermers Report at 14 and 15.
10
   We especially note the use of the VMMF by Berkshire Hathaway. The Complaint at 30 (footnote 32) contains
quotes attributed to Mr. Warren Buffet, the Chief Executive Officer and founder of Berkshire Hathaway, in support
of certain allegations but fails to mention that Berkshire Hathaway offers the very same money market fund as part of
its 401(k) plan fund lineup.
11
   Wermers Report at 15.
12
   Wermers Report at 10-12. In addition, other vintages of the lifetime funds provided exposure to bond funds
(Wermers Report at 10).
13
   Wermers Report at 13.
14
   Wermers Report at 13.


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and that some financial experts are currently recommending investing in money
market funds.15 Additionally, Professor Wermers notes that in addition to short-term
holdings of money market funds, money market funds are desirable for those
investors with a high level of risk aversion, which may be due to life circumstances,
as well as potentially useful for all investors as a diversification tool.16 For instance,
an investment in a mone market fund can serve as compliment to an investor s
holdings in more risky investments, and this diversification practice is supported by
the Modern Portfolio Theory.17

              4.      In comparing the VMMF to the alternative investments listed in
the Complaint, Professor Wermers noted that money market funds almost never lose
value while other fixed income funds (including short-term bond funds) have prices
that fluctuate daily meaning that participants who invest in these alternative funds
face a higher risk of losing money.18 The Complaint also mentions a Stable Value
Fund ( SVF ) as a potential alternative to a money market fund.19 Professor
Wermers notes that SVFs have different risk and return characteristics as compared
to money market funds, and SVFs are significantl riskier than mone market
funds.20 As a result, Professor Wermers concludes that SVFs are not a close
substitute for mone market funds.21 In addition to their riskier nature, Professor
Wermers also points to various restrictions SVFs place on plans and participants that
are not present with money market funds. For instance, SVFs can (a) limit the ability
of plan participants to move balances between different investment options in the
plan, (b) restrict the set of funds that can be made available in the plan s investment
line-up, and (c) affect the timing on when the plan can replace the SVF, and that
such restrictions on liquidity impose additional costs on SVF investors without a
correlation to increased returns.22 Furthermore, Professor Wermers also points out
that some money market funds have recently achieved higher returns than some
SVFs specifically noting that the VMMF has outperformed the Fidelity Stable Value
Fund on a one-and three-year basis and is relatively even with the Fidelity SVF on
a year-to-date basis.23 Thus, the allegation in the Complaint that SVFs would have
15
   Wermers Report at 14.
16
   Wermers Report at 14.
17
   Wermers Report at 14.
18
   Wermers Report at 16.
19
   The Plan did offer a SVF (the SEI Stable Value Fund) as an investment option until August 2012. The Committee
decided to remove the SEI SVF from the Plan s investment line-up as a result of dramatic outflows from the SEI SVF,
a 98% market-to-book ratio, concerns about the stabilit of the fund s principal, and departures of ke fund managers.
Accordingly, the Committee does have prior experience with offering a SVF for investment under the Plan and is
aware of the differences between a SVF and money market fund.
20
   Wermers Report at 16.
21
   Wermers Report at 16.
22
   Wermers Report at 21 and 22.
23
   Wermers Report at 24.


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provided higher returns than MMFs is not always accurate. Ultimately, Professor
Wermers concluded that a SVF was not necessary for participants to construct a
well-diversified portfolio.24

      B.     Claims Regarding Use of Active Management. Based on the reasons
set the forth below, Professor Wermers concluded that it was reasonable and
appropriate for the Plan to offer both actively managed funds and passively managed
funds.25

              1.    Exposure to different management styles. Offering both actively
managed funds and passively managed funds provides participants with exposure to
different asset management approaches. Under active management, the fund
manager follows a developed strategy, selects securities, sectors, and asset classes
to achieve a specific goal such as beating the benchmark or lowering risk. Compared
to an actively managed fund, a passively managed fund invests in the same or similar
securities that comprise of a designated benchmark in an attempt to replicate the
benchmark.26

              2.     Academic Research. On page 27 of the Wermer s Report,
Professor Wermers notes that there is an ongoing debate in academia whether active
management provides superior long-term returns relative to passive management.
Academic research shows that active management can outperform passive
management where active managers have been successful in taking advantage of
diverse markets and that actively managed funds can outperform passively managed
funds during most periods irrespective of market conditions.27 In 2011, Professor
Wermers conducted a study resulting in a conclusion that active managers may
outperform passive managers and a more recent study found substantial evidence
that actively managed funds may outperform their equivalent passively managed
funds due to a higher level of manager skill, stock selection ability, and various
market conditions.28 To summarize, the academic research indicates that while
passive funds may charge lower fees, actively managed funds can earn superior
returns as a result of active management.29

24
   Wermers Report at 26.
25
   Wermers Report at 26 and 58.
26
   Wermers Report at 26 and 27. In addition, because of the efforts expended by the managers of actively managed
funds, actively managed funds tend to have a higher management fees in comparison to passively managed funds in
which the manager expends little to no effort. Wermers Report at 32.
27
   Wermers Report at 28.
28
   Wermers Report at 28.
29
   Wermers Report at 29. Also, see footnote 27 explaining why actively managed funds have higher management fees
than their passively managed counterparts.


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              3.    Common Industry Practice. Actively managed funds are
extremely common in 401(k) plans, which reflect the preference of 401(k) plan
participants to have access to actively managed funds. A 2019 survey conducted by
Deloitte Consulting indicated that 86% of 401(k) plans offered actively managed
global/international equity funds and 84% of 401(k) plans offered actively managed
domestic equity funds.30 Professor Wermers also notes that passively managed
funds are more prevalent in certain parts of the market, such as the large cap market
(e.g., the S&P 500 Index) and that the Plan offered a passively managed large cap
fund in the form of the Vanguard Institutional Index Fund as well as an actively
managed large cap fund in the form of the Dodge & Cox Stock Fund throughout the
Relevant Period.31 In addition, Professor Wermers noted that there has been recent
increased use of passively managed mid and small cap domestic stocks and that,
consistent with that trend, the Committee replaced the actively managed
Aston/TAMRO Small Cap Fund with the passively managed Vanguard Small Cap
Index Fund.32

       C.    Claims Regarding Plan Funds Fees. Professor Wermers emphasizes
that the Complaint s comparison of the fees of activel managed funds used in the
Plan with the fees charged b passivel managed index funds is a wholly
inappropriate comparison. 33 As explained in footnote 27 herein, Professor
Wermers explains that actively managed funds follow a different investment
approach than do passively managed funds and, unlike passive managers, active
managers engage in the development of investment strategies and research to
implement those strategies and incur costs for those efforts.34 Therefore, Professor
Wermers concluded that it is grossl inappropriate to assess the fees of activel
managed funds b comparing them against index funds. 35 Professor Wermers also
noted that it is important to take into account certain recordkeeping and
administrative pa ments received b the Plan from certain of the Plan s fund options
in comparing fund expense ratios since the Plan used these payments to subsidize
the Plan s administrative expenses that would have otherwise been charged directl
to the accounts of Plan participants.36



30
   Wermers Report at 30.
31
   Wermers Report at 30.
32
   Wermers Report at 31.
33
   Wermers Report at 32.
34
   Wermers Report at 32.
35
   Wermers Report at 32.
36
   Wermers Report at 32.


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             1.    Upon evaluating the fees of the funds offered under the Plan,
Professor Wermers concluded that the funds fees compared to the fees charged by
their peer funds and that the investment management fees paid by Plan participants
during the Relevant Period were generally lower than or within the range of fees
paid for comparable funds.37

            2.     With respect to the specific funds mentioned in the Complaint as
having excessive fees, Professor Wermers reached the following conclusions38:

                    a.    The Thornburg International Value Fund. During the
period in which this fund was in the Plan, Professor Wermers noted that its fees were
between 26 and 28 basis points lower than its median peer group of fees.39

                   b.    Aston/TAMRO Small Cap Fund; Invesco International
Growth Fund; and Principal MidCap Value Fund. Professor Wermers found that the
fees for these funds were reasonable and generally near the median of the fees
charged by their peer funds.40

                     c.     Principal LifeTime Funds. Professor Wermers also
concluded that the Principal LifeTime Funds compared favorably to peer funds and
were generally at or below the median fees for their peer groups.41 In addition,
Professor Wermers also compared the asset-weighted expenses ratios of the
Principal LifeTime Funds to their Morningstar-determined peer funds, which
resulted in a finding that the fees of the Principal LifeTime Funds were generally
around the median expense ratios of the Morningstar-determined peer group and, in
all years, the Principal LifeTime Funds expense ratios were significantly lower than
the 75th percentile of such peer group.42
37
   Wermers Report at 32 and 33. Also, see the Wermers Report at 34 wherein Professor Wermers concluded that for
man of the funds in the Plan, the Plan funds fees were significantl below the peer median.
38
   In developing the peer group of funds for fee comparison purposes, Professor Wermers (1) included funds that are
classified by Lipper in the same investment strategy group as the Plan fund, (2) used the share class of each peer fund
that had the lowest fees among all share classes of the funds, and (3) restricted the peer group to the largest 25 peer
funds in terms of assets since those funds typically have lower expense rations. Wermers Report at 33.
39
   Wermers Report at 34.
40
   Wermers Report at 35. Professor Wermers also notes that in some quarters the fees for these funds were below
their peer group medians while in other quarters they were closer to the 75 th percentile of the peer group (but even
then the difference was small).
41
   Wermers Report at 35. The peer group for the Principal LifeTime Funds as determined by Professor Wermers are
other target date funds that primarily utilize active management since actively managed target date funds are similar
to the Principal LifeTime Funds which invest, on average, 90% of its assets in actively managed underlying funds.
To be conservative, Professor Wermers used a 70% active management threshold, on average, to identify the peer
funds for the Principal LifeTime Funds.
42
   Wermers Report at 35 and 36. The Complaint alleges that the plan could have used the Principal LifeTime Hybrid
Funds instead of the Principal LifeTime Funds. Professor Wermers noted that any switch to the Principal LifeTime


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       D.     Claims Regarding Underperformance of Specific Funds. Professor
Wermers notes that there is not a one-size-fits-all approach to evaluating activel
managed funds and their appropriateness for investment options in retirement
plans.43 Professor Wermers states that when evaluating funds that it is important to
look at the various quantitative factors (i.e., measurement of returns) and qualitative
factors (e.g., intangibles such as manager strategy, experience, fund resources for
research, and staff size) should be considered for a complete assessment.44 Of
particular importance to the Committee in reviewing the claims made by the
Claimants regarding fund performance, Professor Wermers states that fiduciaries are
not expected to be clairvoyant and cannot be expected to know the future returns of
the investment options they select and to do otherwise would incorrectly subject the
fiduciaries to hindsight bias. 45 Rather, fiduciary decisions should be based on the
information (quantitative and qualitative) available to the fiduciaries at the time the
decision was made.46 Based on the foregoing, Professor Wermers reached the
following conclusions with respect the claims of underperformance of the specific
funds listed in the Complaint:

              1.     Aston/TAMRO Small Cap Fund.              Professor Wermers
determined that, as of the third quarter of 2013, this fund had strong long-term
performance outperforming its benchmark by 1.49% and 1.64% on an annualized
basis for 5 and 10 year periods and further noted that this long-term performance
(net of fees) was ver impressive. 47 At the same time, on a short-term basis, the
fund s performance lagged its benchmark and Envestnet, the Committee s
investment consultant, pointed out to the Committee that the reason for the short-
term performance was the fund s allocation in the technolog sector.48 Despite the
fund s strong long-term performance, the Committee placed the fund on watch-list
in the first quarter of 2014 and its performance was closely monitored. 49 At that
time, Envestnet explained to the Committee that the fund had not experienced any
material change to the process or management that was responsible for the strong
long-term performance.50 Professor Wermers concluded when a funds long-term

Hybrid Funds could not have been made solely on the basis of fees since the hybrid funds have a different investment
strategy and the asset allocation than the Principal LifeTime Funds used by the Plan. Wermers Report at 37.
43
   Wermers Report at 39.
44
   Wermers Report at 39.
45
   Wermers Report at 40 and 41.
46
   Wermers Report at 40.
47
   Wermers Report at 42.
48
   Wermers at 42. Also note, Wermers at 42 and 43, indicating that the short-term returns were most likely not a result
of manager quality or strategy.
49
   Wermers at 43.
50
   Wermers at 43.


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performance is strong, but short-term performance lags, that it was reasonable and
appropriate for the Committee to maintain the fund while monitoring it closely.51
The fund remained on the Committee s watch list through 2015 and showed signs
of short-term improvement outperforming its benchmark in the second and third
quarters of 2015 and its 10-year return remained above its benchmark.52 The
Committee decided to remove the fund from the Plan s lineup in the first quarter of
2016 in part due to the resignation of one of the fund s subadvisors (a qualitative
reason) and the fact that the fund s 10-year performance had fallen below its
benchmark (a quantitative reason). Professor Wermers opined that maintaining this
fund in the Plan until 2016 and then removing it was reasonable and appropriate.53

             2.     Principal Mid-Cap Value Fund. Professor Wermers notes that,
as of the third quarter of 2013, this fund had strong long-term performance of
outperforming its benchmark by 1.01% and 1% on an annualized basis for 5 and 10-
year periods.54 In 2014 and 2015, Professor Wermers found that the fund
outperformed its benchmark during two quarters in 2014 and its 10-year
performance remained higher than its benchmark for both years.55 For 2016,
Professor Wermers notes that the fund s short-term returns continued fluctuating but
long-term performance over a 10-year period remained above its benchmark.56 In
2017, the Committee placed the fund on watch list at which time the fund s short-
term performance started to improve with the fund outperforming its benchmark in
the third quarter by 1.69% and continued to outperform its benchmark over the
following four quarters.57 Professor Wermers further notes that by the third quarter
of 2018 the fund s 1-year annualized performance exceeded its benchmark by 2.82%
and its median peer group by 2.17% and, as of the first quarter of 2019, the fund did
not fail any of the watch list criteria.58 Professor Wermers concluded that
maintaining this fund during the Relevant Period was reasonable based on the
quantitative and qualitative factors.59

            3.      Thornburg International Value Fund. This fund was added to the
Plan in 2012 prior to the start of the Relevant Period and, at the time of its addition,


51
   Wermers at 43.
52
   Wermers at 43.
53
   Wermers at 44.
54
   Wermers at 44.
55
   Wermers at 44. Note that the Principal MidCap Value Fund return for 2014 was 3.58% higher than the median
return of its peer group. Wermers at 44.
56
   Wemers at 44.
57
   Wemers at 44.
58
   Wermers at 44.
59
   Wermers at 44 and 45.


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was outperforming its benchmark by 4.22% on an annualized basis. 60 The fund
lagged its benchmark in 2013 and during the first half of 2014, Envestnet provided
the Committee with a report in 2014 noting changes to the fund s portfolio
responsibilities but pointing out the manager who had influenced the fund s prior
success remained dedicated to the fund.61 Professor Wermers emphasizes that
Envestnet met with the fund s manager in 2014 and provided the Committee with a
summary of the meeting noting that Envestnet remained confident in the manager
but recommended that the Committee remove the fund from the Plan s line-up due
to recent negative developments. 62 Professor Wermers notes that the Committee
approved the fund s removal in the fourth quarter of 2014.63 Noting that the fund
was in the Plan between 2012 and 2015 (less than 3 years) and that it would be
generally be more appropriate to give more time to assess a fund s long-term
performance, the Committee nonetheless decided to remove the fund due to
fluctuating performance and management team turnover.64 In this set of
circumstances, Professor Wermers concluded that the Committee s decision to
remove the fund was reasonable.65

              4.    Invesco International Growth Fund. This fund was added to the
Plan s investment lineup in 2015 as a replacement for the Thornburg International
Value Fund and at the time of its addition the fund outperformed its benchmark on
a 1, 3, 5 and 10-year basis as well as the median returns of its peer funds on a 1, 3,
and 5-year basis.66 Professor Wermers states that in 2015 the fund outperformed its
benchmark in three out of four quarters and during 2016 and 2017 the fund had
fluctuating performance, underperforming the benchmark in several quarters but
outperforming the benchmark on a long-term basis.67 The Committee added the fund
to the watch list during the fourth quarter of 2017; performance improved in 2018
(outperforming the benchmark in three of the four quarters) and the Committee
removed the fund from the watch list based on the recommendation of Willis
Towers Watson, the investment consultant to the Committee.68 The fund was again
placed on the watch list by the Committee in the first quarter of 2019, but Professor
Wermers notes that the fund outperformed the median of its peer group and


60
   Wermers at 46.
61
   Wermers at 46.
62
   Wermers Report at 46.
63
   Wermers Report at 46.
64
   Wermers Report at 47.
65
   Wermers Report at 47.
66
   Wermers Report at 47 and 48.
67
   Wermers Report at 48. At the end of 2017, the fund s annuali ed return was 1.43% higher than the benchmark on
an annualized 10 year basis.
68
   Wermers Report at 48.


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outperformed its index by over 7% in 2019.69 Given the performance of the fund,
Professor Wermers concluded that adding the fund to the Plan in 2015 and
maintaining the fund as part of the Plan s investment lineup during the Relevant
Period was reasonable.70

              5.    Principal LifeTime Target Date Funds. Professor Wermers notes
that when the Principal LifeTime Target Date Funds were added to the Plan s
investment lineup at the start of 2013, the funds received the highest rating of 5 for
performance according to a BrightScope Report. In fact, each fund had higher 3-
year annualized returns compared to BrightScope OnTarget Indexes, and ranked
second among all target date funds in total value added as compared to the
BrightScope OnTarget Indexes.71 In 2014, the funds outperformed their benchmark
in 20 of the 40 quarters and when a particular fund lagged the benchmark, the
difference was small.72 Professor Wermers notes that performance fluctuated in
2015 and 2016 with the 2035, 2040, 2045, and 2050 vintages exceeding the
benchmark on a 3 and 5-year basis and by the end of 2015 all vintages except for the
Strategic Income Fund had higher 3 and 5-year returns compared to the median
returns of their peer groups.73 Professor Wermers noted that upon comparing the
income replacement functions of actively managed target date funds to those of
passively managed target date funds, Willis Towers Watson concluded that the
income replacement outcomes of the Principal LifeTime Target Date Funds was
similar to their comparators.74 At the end of 2016, Professor Wermers notes that the
Committee began to consider alternative target date fund providers in order to find
lower cost alternatives75 that have similar glide paths to the Principal LifeTime
Target Date Funds. Professor Wermers notes that the performance of the funds
improved during 2017, after the Committee began to consider alternative funds.76
Professor Wermers concluded that the Principal LifeTime Target Date Funds were
an appropriate investment option for the Plan throughout the Relevant Period as their

69
   Wermers Report at 48.
70
   Wermers Report at 49.
71
   Wermers Report at 50.
72
   Wermers Report at 51. It is also important to take note that the benchmark for the Principal LifeTime Target Date
Funds is the S&P Target Date Indexes which is not an investable product so they do not take into account the impact
of fees or trading costs. Professor Wermers points out that if the benchmark returns are adjusted for the average
investable target date fees, the Principal LifeTime Target Date Funds generally perform better than the benchmark.
Wermers Report at 51.
73
   Wermers Report at 52.
74
   Wermers Report at 52.
75
   Professor Wermers reiterated on page 52 that the fees charged by the Principle LifeTime Target Date Funds was
reasonable and within the ranges of their peer funds. Therefore, because the Committee decided to remove the
Principal LifeTime Target Date Funds in favor of a lower cost alternative does not mean that the fees charged by the
Principal LifeTime Target Date Funds was unreasonable or inappropriate.
76
   Wermers Report at 52.


                                                        13
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performance did not lag their benchmarks or their peers significantly or
consistently.77

       E.   In addition to providing his opinion regarding the various claims raised
in the Complaint, Professor Wermers opined that the Plan offered a broard array of
investment options to participants, which allowed them to choose the tradeoff of risk
and reward that matched their life circumstances. 78

III. Mann Report. The following is a summary of the key conclusions set forth in
the Mann Report. Again, the Committee encourages the Claimants to review the
entire Mann Report and supporting materials for a complete understanding of Ms.
Mann s conclusions as they relate to the allegations in the Complaint.

       A.     There is no single uniform standard to evaluate the prudence of a
fiduciary in managing a defined contribution plan. Plans may be structured
differently and offer investments in different asset classes with different
management styles, and yet each can be managed by their respective fiduciaries in a
prudent manner using sound practices and procedures and working in the interest of
the plan and its participants. The Committee managed the Plan in a sound fiduciary
manner using appropriate practices and procedures. The Committee used reasonable
practices and made decisions in the best interests of Plan participants with the
appropriate level of care. The members of the Committee were actively engaged
with deliberate decision-making and expended appropriate resources and time to
establish a thorough process.

       Strict rules prohibiting or mandating certain investment options can limit a
fiduciary s abilit to provide the most beneficial options for participants. And there
is no bright line rule, for example, that only passively managed funds must be offered
or that a stable value fund should be offered, nor would that reflect industry practice.
Rather, there is a range of reasonable fiduciary practices that exist across defined
contribution plans.

       B.   The Committee s process to select, monitor and remove investment
options was consistent with industry practice, including its adoption of an
Investment Policy Statement. The Investment Policy Statement provided guidelines
for the process of selecting, monitoring, and removing investment options. The
Committee also followed industry best practices in retaining outside consultants to

77
     Wermers Report at 52.
78
     Wermers Report at 4.


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help select and monitor the investment options. In connection with the expert advice,
the Committee regularly reviewed quantitative and qualitative metrics related to the
funds, and, when necessary or desirable, took action to make periodic investment
lineup changes in the participants best interest. The mere fact that a specific
investment held in the Plan may have underperformed its benchmark for the relevant
period of time is neither unusual nor does it suggest the Committee utilized a flawed
fiduciary process.

             1.     The Plan document established the Committee to serve as the
Plan s named fiduciar with respect to management, operation and administration
of the Plan. The Committee met on a regular basis and was comprised of qualified
individuals. The Committee documented its decision-making in meeting minutes
containing detailed summaries relating to its analysis of the Plan s investment lineup
and discussions regarding particular fund options, performance, fees, funds placed
on the watch list , as well as those funds that were added or removed from the Plan
lineup, consistent with sound fiduciary practices.

             2.    The Committee retained investment consultants. Throughout the
Relevant Period, a third party investment consultant provided advice and assisted
the Committee in performing the financial analysis and work to meet its fiduciary
obligations. The investment consultants regularly attended Committee meetings and
provided the Committee with detailed reports, including qualitative and quantitative
data and information for each investment option, including fees and performance.
The investment consultants specifically assisted with investment manager oversight
and measured performance against watch list criteria, as well as fee benchmarking,
investment structure and fiduciary training.

             3.    The Investment Policy Statement adopted by the Committee
established reasonable guidelines. Consistent with its Charter, the Committee
maintained an Investment Policy Statement that established a framework for
consistent decision making around the selection, monitoring and removal of Plan
investment options. The Investment Policy Statement was reasonable and consistent
with industry practice. It outlined investment objectives, the asset classes to be
offered in the Plan, standards for choosing investment vehicles and specified the
benchmark and peer group for which performance was to be measured for each asset
class. The monitoring procedures included criteria that would cause a fund to be
added to a watch list for more frequent monitoring. A fund could be put on the
 watch list for quantitative or qualitative reasons, and the Investment Policy
Statement provided that [a]n manager that under-performs on a risk-adjusted basis
as measured by the Sharpe ratio, both the median in the peer universe and market

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index over the most recent market cycle (3 or 5-years) will be placed on Watch.
Investment managers may be placed on watch status, replaced or eliminated
whenever the Committee loses confidence in the management or strategy employed
b the manager. The Investment Polic Statement s guidelines were periodicall
updated. The Investment Policy Statement provided the Committee with broad
guidelines for funds that failed to improve during their time on the watch list ,
including termination, extending the watch list period while assessing replacement
and interviewing the fund manager to determine the reason for the underperformance
and potentially extending the watch list period if the Committee deemed
appropriate.

              4.     The Committee maintained a diverse lineup of investment
options and evaluated and effected changes when appropriate. The Plan offered a
variety of investment choices across the risk spectrum from which Plan participants
could build a custom portfolio suited to their unique investment horizon, risk
tolerance and return objectives. Pre-mixed, multi-asset class target date funds were
available to participants who lacked the knowledge or time to select and manage
their own Plan investments. The Committee periodically reviewed the aggregated
utilization of investment options by Plan participants during its meetings as provided
and addressed by the investment consultant. The Committee also periodically
examined the Plan s investment lineup and compared it to other defined
contributions plans. The meeting minutes reflect discussion of potential changes to
the lineup and the ongoing adequacy of the Plan investment structure and lineup,
which is a solid fiduciary practice.

             5.    The Committee used reasonable processes to monitor funds in
accordance with the Investment Policy Statement. As reflected in the Committee s
meeting minutes, the Committee s investment consultants provided the Committee
with quantitative and qualitative data with respect to each fund in the investment
lineup. The investment consultant presentations to the Committee included a
summary review of the Plan for the quarter, a watch list update regarding any fund
on watch status, and a review of fund fees. Specifically, risk and return metrics,
including the Sharpe ratio and standard deviation, were provided for each fund and
benchmark. The Committee meeting minutes also reflect qualitative analysis
provided by the investment consultants including assessments of the fund managers,
any organizational or portfolio manager changes within the fund, as well as overall
fund investment strategy and process. The Committee, with the assistance of the
investment consultants, followed the watch list guidelines in the Investment Policy
Statement. The funds placed on the watch list were discussed extensively at
Committee meetings, with the investment consultant providing additional

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quantitative and qualitative analysis and providing overall recommendations to the
Committee as to how it should proceed with respect to any individual fund. Indeed,
several funds in the Plan lineup were added or removed from the watch list during
the relevant period consistent with the criteria specified in the Investment Policy
Statement.

             6.     The Committee monitored the expenses of the investment
options, consistent with industry practice. The Investment Policy Statement
established that the funds utilized by the Plan should have expense ratios that are
reasonable in relation to its peer group and in light of its performance within its peer
group. The Committee regularl reviewed the expenses of the investment options,
including a comparison of the expense ratio for each fund in the Plan lineup
compared to the expense ratio of peer funds in the same asset class. Throughout the
Relevant Period, the fees for each fund in the Plan were found to be reasonable and
lower than their respective Morningstar category averages or lower than or closer to
the median of each peer group fund. Indeed, Plan fund fees were a consistent topic
during Committee meetings and a focus of the Committee during its meetings. The
Committee also considered fees as a criterion in selecting funds for the Plan.

             7.    The Committee made changes to the Plan options when it
deemed appropriate. The Committee made many changes to the Plan s investment
lineup over the Relevant Period, reflecting the engagement of the Committee to
provide Plan participants with access to appropriate investment choices. The
Committee minutes reflect the engagement of the Committee members, as reflected
through members asking questions, participating in discussions and voting
electronically when not in personal attendance. The minutes also reveal Committee
members requesting research and additional information from the investment
consultants.

              8.    The Committee received fiduciary training on multiple occasions
throughout the Relevant Period. Training was provided on the requirements of
ERISA and the discharge of fiduciary duties as periodic reminders and enhancement
of the roles of Committee members in executing their fiduciary duties for the benefit
of the Plan and its participants. The fiduciary training was provided by retirement
industry professionals as well as by in-house and outside legal counsel. Specific
training topics included the payment of fees and expenses from Plan assets and
associated fiduciary standards. A review of the Plan documents, Committee meeting
minutes and associated materials show that the Committee took steps consistent with
a competent and engaged fiduciary. In sum, the Committee, and its retained
consultants, designed and maintained a diversified Plan lineup consistent with the

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terms of its Investment Policy Statement, compared the lineup to peer plans, assessed
whether a change was warranted and acted to enhance and evolve the components
of the Plan. BBVA and the Committee employed a robust fiduciary process to
provide a Plan investment lineup that consisted of appropriate options for its
participants.

       D.    The Committee s decision to offer a mone market fund was consistent
with industry practice. The Committee followed an appropriate process to monitor
the money market fund as well as the participants funds directed to it.

              1.     Money market funds are appropriate options to include in 401(k)
plans and are among the lowest risk and most conservative investment options
available. The low risk to principal in a money market fund is due to the
composition of its investments and is an appropriate investment option for
participants with little or no risk tolerance. Many fiduciaries of 401(k) plans offer
money market funds and the Committee was aware that offering a money market
fund was common industry fiduciary practice. In addition to the money market fund,
the Plan offered other fixed income options for individual participant election. The
Committee was familiar with SVFs and the potential issues associated with them as
a Plan offering. Indeed, prior to the relevant period, the Plan offered a SVF (the SEI
SVF) and the Committee analyzed and decided to remove the fund from the Plan
lineup, and ultimately moved the Plan balance in the SEI SVF to the VMMF. The
Committee considered SVFs again at various points during the Relevant Period, but
determined, after considering investment consultant analysis, not to add a SVF to
the Plan s investment lineup.

              2.    The Committee regularl reviewed the Plan s asset balances,
fund utili ation and cash flows among the Plan s investment options through the
Relevant Period. Specifically, the Committee reviewed data regarding the Plan
participants aggregated use of and allocation of assets to the VMMF and other
investment options. The balances in the VMMF during the relevant period were
not excessively high. Moreover, the default investment for the Plan throughout the
relevant period was the target date fund option, rather than the VMMF. The Plan
communicated the performance of the VMMF and the performance of other Plan
options to participants on a regular basis. Specifically, participants in the Plan
received an annual disclosure notice that provided the 1-year, 5-year, and 10-year
returns and fees of each fund in the Plan lineup, including the VMMF. These
disclosures gave participants information classifying the VMMF under the short-
term asset class category and displaying that the fund generated lower returns during
the Relevant Period compared to other Plan options. The notice reminded

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participants of the availability of additional information regarding an investment
options risk, as well as strateg and objectives. The Committee s periodic detailed
reviews of the utili ation of the Plan s investment options did not raise any concerns
with the use of the VMMF and revealed that the use of the VMMF was highly
correlated to the age of the Plan s participants. The statistical analysis demonstrated
that the vast majority of Plan participants were not using the VMMF as their primary
income generating option. The decision to offer a money market fund option was
consistent with industry practices, and the process followed to offer the VMMF was
consistent with prudent fiduciary practices.

       E.    The Committee s decision to offer activel managed funds during the
Relevant Period was also consistent with industry practice.          The Committee
considered the fit of actively managed funds for the Plan and performed appropriate
monitoring of active managers. The Committee also offered passively managed
funds as an option, evaluated active versus passive management throughout the
Relevant Period and ultimately added more passively managed funds to the Plan s
line-up over time. The diversified lineup of actively and passively managed funds
across the range of single asset class and multi-asset class funds was appropriate for
the Plan because the Committee prudently selected and monitored those investment
options, working in the best interest of the Plan and participants, and acting in the
accordance with the reasonable process outlined in the Investment Policy Statement.
Moreover, the Plan offered passively managed options during the entirety of the
Relevant Period for its participant to select. In sum, the Committee s decision to
offer actively managed funds in the Plan was appropriate and followed the
reasonable guidelines for selection of investments articulated in the Investment
Policy Statement and served the best interest of Plan participants.

IV.    Committee Determinations

       A.    Money Market Fund

              1.    The Committee has determined that it was reasonable and
appropriate to offer a mone market fund as part of the Plan s line-up. The Plan s
money market fund (the VMMF) is a high quality, low cost fund and is a leader
among money market funds and is largely immune to the market volatility and large
downturns that the United States is currently experiencing. The Committee has also
determined that, in addition to the VMMF, the Plan provided participants with
exposure to the types of bond funds the Claimants contend should have been offered
instead of, or in addition to, the VMMF. As for offering a SVF, due to its previous
experience with the SEI SVF, the Committee was well aware of the risk and return

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differences between a SVF and a money market fund and the various restrictions
that can be imposed on the Plan and its participants when offering a SVF. Thus, the
Committee has determined that it was reasonable and appropriate to forego offering
a SVF as part of the Plan s line-up. Moreover, there is no requirement that a Plan
guarantee ever participants preferred investment options. Accordingly, any claims
by the Claimants alleging that the money market fund was not an appropriate
investment option for the Plan are hereby denied.

             2.     Claimants allege that some $100 million of participants
retirement savings was stuffed in the Plan s mattress and that this occurred
because BBVA failed to have a process, or failed to adhere to such process, to
monitor the Plan s investment menu. Claimants allege that if BBVA had monitored
the Plan with appropriate care and diligence, it would have realized the returns of
the money market fund during the relevant period were inadequate for long-term
retirement investments. In addition, Claimants allege that if BBVA had been
diligent in monitoring the Plan, it would have realized that participants in the Plan
were utilizing the money market fund as an income generating option, not for its
intended cash management purpose. Initially, it is important to recognize that the
Plan is a participant directed plan. This is consistent with the Investment Policy
Statement, which states that each Participant has the opportunit to create a
portfolio with aggregate characteristics in a range appropriate for his or her specific
retirement objectives and level of risk tolerance. 79 Despite the ability of a
participant to choose his/her own investments based on personal metrics, the
Committee regularl reviewed the Plan s asset balances, fund utili ation, and cash
flows among the Plan s investment options. The Committee specifically reviewed
data regarding the Plan participants aggregated use and allocation of assets to the
money market fund and this review revealed that the balances in the Plan s money
market fund during the Relevant Period were not excessively high. The Committee
also periodically reviewed the utilization of Plan investment options in greater detail
and this analysis did not reveal any concerns with the usage of the money market
fund as usage was strongly correlated to the age of the Plan participants.

             The Committee also considered SVFs at various points during the
Relevant Period. In its March 12, 2015 presentation to the Committee, the
Committee s consultant, Envestnet, reviewed the Plan s fund lineup and addressed
potential additional fund options. One of the potential fund options discussed was a
SVF, but it was noted that those funds [u]nderperform in rising rate environments,


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     ADM-Ferguson 000517


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[which are] currentl anticipated. 80 An additional review of the Plan s investment
lineup was performed in 2016, at which time Willis Towers Watson noted in a
presentation that SVFs and money market funds were commonly held in other
401(k) plans.81 The Committee again evaluated including a SVF to the lineup in
2018 in connection with a Willis Towers Watson s review of investment structure
alternatives82 and such structures were discussed in multiple meetings in 2018 and
201983. As a result of the evaluation and discussion, the Committee affirmatively
decided against adding a SVF to the lineup. In sum, the Committee considered the
issues related to SVFs on multiple occasions during the Relevant Period and
concluded that offering a money market fund was the more appropriate vehicle for
Plan participants cash preservation purposes. The Committee s decision to offer a
money market fund was the result of diligent consideration and evaluation of the
advantages and disadvantages throughout the Relevant Period and the result of a
prudent and thorough fiduciary practice adhered to by the Committee. Accordingly,
any claims by the Claimants that BBVA or the Committee failed to establish a
process or failed to adhere to such process to monitor the Plan s investment lineup
is completely unsupported by the Plan s record and is hereby denied.

        B.      Claims Regarding Use of Active Management

              1.    The Committee has determined that it was reasonable and
appropriate to offer activel managed funds as part of the Plan s investment lineup.
Compared to passively managed funds, actively managed funds offer participants
access to different management styles and asset allocations. The reasonableness of
offering actively managed options is supported by academic research indicating that
actively managed funds can outperform passively managed funds in the same asset
class and providing access to actively managed fund is a very common practice
among 401(k) plans. For these reasons, the Committee has determined that its use
of actively managed funds was reasonable and appropriate. Accordingly, any and
all claims by the Claimants alleging that it was improper to offer actively managed
funds or that only passively managed funds should have been offered under the
Plan s lineup are hereb denied.

             2.     Although the Claimants allege that the Committee imprudently
selected active investment options and failed to monitor the investment options, that
80
   BBVA-Ferguson 000598 at 618 [Envestnet BBVA Compass SmartInvestor 401(k) Plan Fourth Quarter 2014
Review, March 12, 2015].
81
   BBVA-Ferguson 001563 at 1584 [Towers Watson investment Structure Review, August 2016].
82
   BBVA-Ferguson 001892, at 1894 [Committee Meeting Minutes, March 23, 2018].
83
   See, e.g., BBVA-Ferguson 002095, at 114 [Towers Watson BBVA Compass SmartInvestor 401(k) Plan Executive
Summary, December 18, 2018]; ADM-Ferguson 004265 [Committee Meeting Minutes, June 20, 2019].


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assertion is directly contradicted and refuted by the Plan s records. To the contrar ,
the Committee s process was consistent with its objective to structure a retirement
savings program suitable to the long-term needs and risk tolerances of participants
in the Plan. The Committee maintained a diverse set of investment options
available to Plan participants, including nine single asset class investment options
across the major asset classes of money market, bond and equity funds (including
United States large cap, mid cap, and small cap as well as international funds) and a
series of multi-asset class target date funds managed to adjust exposure to a
participant s age with no requirement of trading or rebalancing. These options
included a combination of active and passive investment options throughout the
Relevant Period. No participant was required to invest in any single investment
option, including the actively managed funds. A participant could easily avoid the
funds he/she deemed to be unsuitable by selecting other options within the
investment menu which offered a wide range of investment options and fees. In
sum, the Committee s decision to offer activel managed funds was appropriate and
followed the guidelines for selection of investments as set forth in the Investment
Policy Statement. Therefore, the Claimants allegations about a flawed process for
the selection of actively managed funds are hereby denied.

      C.     Claims Regarding Fund Fees

             1.     The Committee has determined that the fees charged by the
various investment options offered under the Plan during the Relevant Period
compared favorably to their peer funds and in many cases were lower than the fees
charged by their peers. Any comparison of the fees charged by actively managed
funds to the fees charged by their passively managed counterparts is not an
appropriate apples to apples comparison given the level of manager involvement
associated with actively managed funds. Accordingly, any claims by the Claimants
that the fees charged by any investment option offered under the Plan during the
Relevant Period were excessive or unreasonable are hereby denied.

             2.     The Committee has also determined that its process for
monitoring the expenses and fees of the investment options was thorough and
prudent as evidenced by the fact that it was a regular topic of discussion during its
Committee meetings. The Committee was ever mindful of its obligation to monitor
fund fees under the Plan s Investment Policy Statement, which established that the
funds in the Plan should have expense ratios that are reasonable in relation to its
peer group and in light of its performance within its peer group. In keeping with
this requirement, the Committee routinely reviewed the expenses of the investment
options, including a comparison of the expense ratio for each fund in the Plan s

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investment lineup to the expense ratio of peer funds in the same asset class.
Throughout the Relevant Period, and with the assistance of its external investment
consultants, the fees for each fund in the Plan were found to be lower than their
respective Morningstar category averages or lower than or close to the median of
each peer group fund. The Committee also considered fees as a key component of
its analysis in selecting and in replacing funds for the Plan. To reinforce its
understanding and compliance, the Committee sought and received fiduciary
training, including on the payment of fees and expenses from Plan assets and
associated fiduciary standards. Therefore, any claims by the Claimants that BBVA
or the Committee lacked a reasonable process or failed to adhere to a process for
reviewing the fees associated with the funds offered under the Plan are unsupported
by the record and are hereby denied.

      D.     Claims Regarding Fund Underperformance

               1.    The Committee has determined that its decisions to select and
retain various funds during the Relevant Period were reasonable and appropriate
based on the information available to the Committee at the relevant times.
Furthermore, the Committee has determined that any decision to remove and/or
replace a particular fund was also reasonable and appropriate in terms of timing and
in terms of the basis relied upon for such retention or removal. Generally, the funds
at issue in the Complaint all had strong long-term performance compared to their
benchmarks and peer funds. Furthermore, as the record indicates, the Committee
based its determinations of fund selection, retention and/or removal on both
qualitative and quantitative factors and to the extent a fund failed to meet the
Committee s expectations it was placed on the watch list and ultimatel removed
if the fund continued to fall short of those qualitative and/or quantitative factors.
Accordingly, any claims by the Claimants regarding fund underperformance are
hereby denied. The Committee notes that fund performance is not the end all be
all and it is easy (but inappropriate) for one to engage in hindsight, second guessing,
or Monda morning quarterbacking in evaluating a fund s performance. What is
most important, and what the Committee should be judged on, is the process and
procedure utilized by the Committee in determining which funds should be selected
and retained for investment under the Plan.

             2.    The Committee has also determined that its established process
for selecting, monitoring, and removing underperforming investment options was
reasonable and appropriate. In monitoring fund performance, the Committee
followed the dictates of its Investment Policy Statement, which specified the
benchmark and peer group for which performance was to be measured for each asset

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class. The monitoring procedures included criteria that would cause a fund to be
added to a watch list for more frequent monitoring. Specificall , the Plan s
Investment Policy Statement mandated that funds would be placed on the watch
list whenever the fund under-performs on a risk-adjusted basis as measured by the
Sharpe ratio, both the median in the peer universe and market index over the most
recent market cycle (3 or 5-years). The Committee acted consistently with this
established process with respect to funds that failed to improve while on the watch
list , including terminating the fund from the lineup or extending the watch list
period while assessing replacement. The Committee also retained and utilized the
services of a third party investment consultant to help monitor the investment
options. The investment consultants regularly attended Committee meetings and
provided detailed reports for each investment option, including performance. The
investment consultants assisted with investment manager oversight and measured
performance against watch list criteria. The funds placed on the watch list were
discussed extensively at Committee meetings, with the investment consultant
providing additional analysis and overall recommendations to the Committee as to
actions it should consider taking with respect to any individual fund. The
Committee s decision-making rationale is well documented in the Committee
meeting minutes with summaries of its discussions regarding particular
performance, funds placed on the watch list , as well as those funds that were added
or removed from the Plan s investment lineup. The Committee encourages the
Claimants to note that several funds in the Plan s investment lineup, including those
that are the subject of Claimants allegations in the Complaint, were evaluated on
the watch list during the Relevant Period and removed (or retained as the case may
be) from the Plan consistent with the criteria specified in the Investment Policy
Statement. Accordingly, the Committee denies each and every allegation of the
Claimants as they relate to liability for alleged underperformance of Plan investment
options.

       E.     Claimant Plan Account Statements In addition to the determinations set
forth above, based on a review of the Plan account statements provided by the
Claimants to the Committee by letter dated November 26, 201984, the Committee
also reached the determinations set forth below. The Committee notes that such
account statements may not cover all periods during the Relevant Period and further
invites the Claimants (especially, Ms. Drake) to provide more compete Plan account
statements covering the entirety of the Relevant Period.



84
     The Plan account statements for each Claimant are included in the supporting materials to the Wermers Report.


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             1.    Cassandra McClinton. The Committee notes that Ms. McClinton
did not become a participant in the Plan until 2019 and, as of July of 2019, did not
have any portion of her Plan account invested in one or more of the funds at issue in
the Complaint. Therefore, the Committee fails to understand why Ms. McClinton
has asserted any claim for breach of fiduciary duty. Accordingly, the Committee
has determined that any claims relating to Ms. McClinton are denied.

              2.     Principal MidCap Value Fund. Based on the Committee s
review of the Claimant s Plan account statements and further based on Exhibit 2 to
the Wermers Report, it appears that no Claimant invested any part of their account
in the Principal MidCap Value Fund during the Relevant Period. Therefore, the
Committee fails to understand why the Claimants have asserted any claim with
respect to the fees charged by this fund or the performance of this fund. Accordingly,
the Committee has determined that any claims relating to the Principal MidCap
Value Fund are denied.

               3.   Misuse of VMMF. Page 13, paragraph 28 of the Complaint
states: [h]ad BBVA been diligent in monitoring the Plan, BBVA would have
realized that the participants in this Plan were in fact using the money market fund,
not for its intended cash management purpose, but as an income generating option.
During the Class Period, $87 to $108 million of the participant s retirement savings,
as much as one-fifth (1/5) of their assets, was invested in a money market fund that
was clearly unsuitable for retirement investing. Later in the same paragraph, the
Complaint states that A diligent plan sponsor, monitoring the Plan, would have
realized that there was a erio problem i h he r c re of he Plan op ion
ba ed on he par icipan beha ior. (emphasis added).

            Upon review of the account statements provided by Claimants
Ferguson and Drake, which are direct evidence of the Claimant s own behavior
regarding the use of the VMMF, the Committee finds no basis for the claims of
misuse. As of December 31, 2013, Ms. Drake invested only 4.85% of her total
account balance in the VMMF and as of June 30, 2017 only 3.37% of Ms. Drake s
account was invested in the MMF. As of December 31, 2013, 2014, 2015, 2016,
2017, and 2018, Ms. Ferguson s Plan account balance invested only 14.4%, 11%,
9.7%, 5.1%, 3.4%, and 3.1%, respectively, in the VMMF. The investment behaviors
of Claimants Drake and Ferguson with respect to their utilization of the VMMF fall
well short of the misuse alleged in the Complaint. If anything, their use of the
VMMF ma be more indicative of their attempt to build an optimal portfolio as
described by Professor Wermers on page 14 of the Wermers Report. Accordingly,



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the Committee has determined that any claims relating the misuse of the VMMF are
also denied.

             4.     The Committee notes that up until the date on which the
Complaint was filed, the Claimants made no attempts to contact BBVA s human
resource team to voice concerns or criticism over the Plan, fund performance, fund
fees, the presence of activel managed funds and/or the VMMF in the Plan s
investment lineup, or any of the other allegations set forth in the Complaint.
Furthermore, it is important to note that investments under the Plan are directed by
the Claimants, not the Committee or BBVA. The Plan s investment lineup offered
the Claimants the ability to direct the investment of their Plan accounts among a
diversified basket of thoroughly vetted and monitored options. Accordingly, any
claims of fund underperformance, excessive fees, or inappropriateness by the
Claimants are an expression of hindsight involving hypothetical possibilities and
uncertain facts and, therefore, must be denied.

       F.    Conclusion. For the reasons outlined above, the Committee finds that
the Claimant s claims are based on a misunderstanding or mischaracteri ation of the
relevant facts, and are baseless and wholly without merit. All of the Claimant s
claims as set forth in the October 2, 2019 letter and by incorporation the allegations
and cause of action in the Complaint are rejected and denied by the Committee.
BBVA and the Committee did not breach any fiduciary duty of loyalty or prudence.
As the information described above and as the Committee s minutes document, the
Committee engaged in a thorough, careful and prudent consideration of the Plan s
investment options and related fees and offered a wide range of investment options
and fees for the participants to select from and craft a portfolio that best addressed
their individual requirements. When a particular service provider or investment
option did not meet the Committee s expectation or standards, it was replaced.
Moreover, the Committee acted prudently in gathering all necessary or relevant
information before making decisions regarding the Plan s investment lineup.

V.    Claimants Appeal Rights and Appeal Procedure. The Claimants must
exhaust the Plan s claim procedures as described in the Plan and the summary plan
description (copies of which have been previously provided to the Claimants) to
bring a civil action under Section 502(a) of ERISA. Therefore, if the Claimants
would like to request a review (i.e., an appeal) of this decision, in whole or in part,
the Claimants or their authori ed representatives ma appeal the Committee s
decisions herein pursuant to Section 8.7(a)(2) of the Plan entitled Appeal of Denied
Claim. Section 8.7(a)(2) of the Plan provides:



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       (2) Appeal of Denied Claim.             The claimant or
      authorized representative may appeal the Retirement
      Committee s decision den ing the claim within 60 da s
      after the claimant or authorized representative receives the
      Retirement Committee s notice den ing the claim b
      submitting a written appeal to the Retirement Committee.
      The claimant or authorized representative may submit to
      the Retirement Committee written comments, documents,
      records and other information relating to the claim. The
      claimant or authorized representative shall be provided,
      upon request and free of charge, reasonable access to, and
      copies of, all documents, records and other information
      relevant to the claim.

      The Retirement Committee will make the decision on the
      appeal of a denied claim. The Retirement Committee s
      review of the denied claim shall take into account all
      comments, documents, records and other information
      submitted by the claimant or authorized representative
      relating to the claim, without regard to whether these
      materials were submitted or considered by the Retirement
      Committee in its initial decision on the claim.

      The Retirement Committee s decision on the appeal of a
      denied claim shall be made within a reasonable period of
      time (generally 60 days after the receipt of the claim or
      120 days if the Retirement Committee determines that
      special circumstances require an extension of time for
      processing the claim and furnishes written notice of the
      extension to the claimant or authorized representative
      before the initial 60-day period ends indicating the special
      circumstances requiring extension of time and the date by
      which the Retirement Committee expects to render a
      decision on the claim). The Retirement Committee will
      furnish the claimant or authorized representative with
      written or electronic notice of the decision on appeal. In
      the case of a decision on appeal upholding the Retirement
      Committee s initial denial of the claim, the Retirement
      Committee s notice of its decision on appeal shall set



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                  forth, in an understandable manner, the following
                  information:

                        (a)         The specific reason(s) for the decision on
                  appeal;

                       (b) Reference to the specific Plan provision(s) on
                  which the decision on appeal is based;

                        (c) A statement that the claimant is entitled to
                  receive, upon request and free of charge, reasonable access
                  to, and copies of, all documents, records and other
                  information relevant to the claim for benefits; and

                         (d) A statement of the claimant s right to bring a
                  civil action under ERISA Section 502(a).

       The Claimants have the right to bring a civil action under Section 502(a) of
ERISA, if applicable, after the appeal determination is finalized. Failure by the
Claimants (or their authorized representative) to request a review within sixty (60)
days of their receipt of this letter may constitute a failure to exhaust administrative
remedies available under ERISA, and affect the Claimants abilit to bring a civil
action under ERISA. In addition, the Plan provides that no legal action may be
commenced or maintained more than ninety (90) days after the claimant has
exhausted the administrative remedies set forth in the Plan. Nothing in this letter
should be construed as a waiver of an of the Committee s, BBVA s, or the Plan s
rights and defenses, and all such rights and defenses are preserved to the Committee
and BBVA, whether or not specifically mentioned herein. The Claimants are
entitled to receive, upon request and free of charge, reasonable access to and copies
of documents, records and other information relevant to their claims.85




85
   The Committee notes that the Claimants have previously been provided with a substantial number of documents
and other information relevant to their claims. However, in the event the Claimants exercise their right to appeal the
Committee s denial of their claims, if the Claimants desire additional information or access to additional documents,
records of other information relevant to their claims please notify the Committee in writing and the Committee will
endeavor to provide such documents, records or other information as soon as reasonably practicable. In addition, in
the event the Claimants exercise their right to appeal the Committee s denial of their claims, the Committee continues
to invite the Claimants to provide the Committee with any documents or information supporting their claims.


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Sincerely,



_________________, On Behalf of the Committee




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          ATTACHMENT 1
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Report by Russell R. Wermers Pertaining to Claims
Made by Gloria Ferguson, Cassandra McClinton, and
    Christine D. Drake Regarding the Compass
            SmartInvestor 401(k) Plan




               Russell R. Wermers, Ph.D.
                Dean’s Chair in Finance
     Smith School of Business, University of Maryland


                            March 9, 2020




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I.        Qualifications and Experience


1.        I have been a Professor of Finance at the Smith School of Business, University of
Maryland at College Park, since 2000, when I was appointed as an Assistant Professor. I was
promoted to Associate Professor in 2002. I was promoted to Full Professor and appointed as the
Director of the Center for Financial Policy at the University of Maryland in 2013. I am currently
the Chairman of the Department of Finance and I hold the endowed Dean’s Chair in Finance at
the Smith School. Prior to joining the University of Maryland at College Park, I was an Assistant
Professor of Finance at the University of Colorado for six years. I have taught courses on
Quantitative Equity Portfolio Management, Corporate Finance Theory, Security Analysis,
Investment Theory, and other topics at both the undergraduate and graduate (including Ph.D.)
levels. My main research interests include the study of fund performance evaluation,
quantitative equity strategies, the drivers of mutual fund and hedge fund investor flows, security
market efficiency, and the role of institutional investors in contributing to the price discovery of
stocks. I have developed new methods for conducting a detailed analysis of the portfolio
holdings and trades of investment managers. For example, the stock benchmarks that I co-
developed are the standard in academia for measuring the performance of U.S. equity portfolios.
In addition, I co-wrote a scientific textbook, “Performance Evaluation and Attribution of
Security Portfolios,” that instructs industry professionals and academic researchers about the
latest scientific techniques in measuring the performance and risk-taking of portfolio managers.
Much of my research is focused on analyzing the investment strategies of professional asset
managers as well as how to properly measure the risk-adjusted performance of such strategies.
2.        I have also worked as a consultant, providing advisory services to the Quantitative
Strategies group at Goldman Sachs Asset Management, as well as the Office of Financial
Research of the United Stated Department of the Treasury, among others. Before earning my
Ph.D. in Finance at the University of California, Los Angeles, I served as a financial analyst and
International Crude Oil Trading Analyst for the Unocal Corporation.
3.        I have published widely in economics and finance journals, including the American
Economic Review, the Review of Financial Studies, the Journal of Financial Economics, and the
Journal of Finance. I also regularly serve as a referee for a number of top academic journals, and

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serve as an Associate Editor for the Journal of Banking and Finance, a peer-reviewed academic
journal, as well as the Financial Analysts Journal, a top peer-reviewed professional investment-
industry journal published by the CFA Institute.
4.        I regularly deliver presentations at major academic and practitioner finance and economic
conferences worldwide. Additionally, I have received scholarly research grants from various
institutions, including The House of Finance at Paris-Dauphine University, The Institute for
Quantitative Research in Finance (Q-Group), The Institute for Quantitative Investment Research
Europe (INQUIRE-Europe), The Rotman International Centre for Pension Management (ICPM)
at the University of Toronto, and the BSI Gamma Foundation. I have been recognized with
several awards for both my teaching and research. For instance, I received the Allen J. Krowe
Excellence in Teaching Award, the top honor awarded for teaching at the Smith School of
Business, for the academic year 2011–2012. In addition, I was awarded the Review of Financial
Studies Michael Brennan Best Paper Runner-Up Award for 2017, a rare honor awarded to one of
the top few papers published in a top financial economics scholarly journal over a one-year
period.
5.        I was recently appointed to the newly formed Asset Management Advisory Committee
(“AMAC”) of the U.S. Securities and Exchange Commission (“SEC”) for a two-year term,
beginning November 1, 2019. The AMAC is a committee of a select group of top industry and
academic experts that is charged with providing feedback to the Division of Investment
Management of the SEC on the regulatory environment for asset managers and investors. I am
one of only two academics who have been appointed to the AMAC for this initial term.
6.        I have been retained as an expert and have testified in federal court in matters involving
401(k) plans as well as other matters, on behalf of major financial institutions, industrial
corporations, retirement plans, and the U.S. Securities and Exchange Commission.
7.        My CV is attached as Appendix A to this report and contains more detail on the above-
cited experience.




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II.       Executive Summary


8.        I have been retained by the Retirement Committee of the Compass SmartInvestor 401(k)
Plan to analyze the issues raised in the Class Action Complaint1 (“Complaint”) and assess
whether certain funds offered in the Compass SmartInvestor 401(k) Plan (the “Plan”) were
appropriate investment options for a defined contribution retirement plan from an investment
perspective. As part of my assignment, I examined, for the relevant period,2 the Plan funds’
returns, fees, and other factors that would reasonably inform me of their appropriateness as
investment options in defined contribution retirement plans, such as the Plan.
9.        My opinions are based on my review of the documents and information that I requested
and that were provided to me, data that I collected, and my education, knowledge, academic
experience, and, specifically my experience in financial economics, investments, and the
economics of retirement plans. Documents and materials I reviewed in forming my opinions
include Committee meeting minutes, consultant reports, Plan documents, such as investment
policy statements and summary plan descriptions, academic and industry studies, industry and
government surveys, SEC and other regulatory filings, and other publicly-available resources
and documents.
10.       Based on my experience and analysis of the materials that I have reviewed in this matter,
my opinions are as follows:
               a. The Compass SmartInvestor 401(k) Plan offered a broad array of investment
                    options to participants, which allowed them to choose the tradeoff of risk and
                    reward that matched their life circumstances. Specifically, the Plan offered
                    approximately 20 funds in each quarter of the relevant period, including domestic
                    and international equity, fixed income, money market, company stock, and
                    retirement target date funds. The Plan further offered a mix of active and passive
                    investment options to participants.



1
  Gloria Ferguson, Cassandra McClinton, et al. vs. BBVA Compass Bancshares, Inc., Compass Bancshares, Inc.,
and BBVA USA Bancshares, Inc. (Case 2:19-cv-01135-MHH, filed July 18, 2019) (the “Complaint”). I also
reviewed the October 2, 2019 letters sent to Retirement Plan Administrator, 401(k) Plan Administrator, and
Retirement Committee by Wiggins Childs Pantazis Fisher Goldfarb on behalf of Christine D. Drake, Gloria
Ferguson, and Cassandra McClinton.
2
  The relevant period for my analysis is from July 2013 through December 2019.

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               b. Money market funds (“MMFs”) are commonly offered investment options in
                    401(k) plans, and represents a “risk-free” investment option that diversifies other
                    risky investment options, as prescribed by Modern Portfolio Theory.
                    Accordingly, the Vanguard Prime Money Market Fund offered in the Plan was a
                    reasonable option to offer to Plan participants. Further, during the relevant
                    period, it was a low-cost MMF that many other fiduciaries offered in their 401(k)
                    plans. Moreover, the Plan offered other fixed income options, including the
                    American Century Diversified Bond Fund and the Principal LifeTime Strategic
                    Income Fund, that provided Plan participants with the same type of exposure to
                    certain sectors of the fixed income market as discussed in the Complaint.
               c. Stable value funds are not interchangeable with MMFs as investment options in
                    401(k) plans. SVFs and MMFs have different risk, return, and investment
                    restrictions, which could lead a plan sponsor to prefer one product over the other.
                    The two products are different along the risk-return spectrum, and neither is
                    superior to the other, nor is either a close economic substitute for the other.
               d. Over the relevant period, the fees of the Plan’s investment options, net of
                    subsidies for administrative costs of the Plan, were reasonable. That is, the fees
                    of the Plan’s funds, when compared on an “apples-to-apples” basis, were
                    comparable to the fees of their peers.
               e. I find that over the relevant period, the retention, addition, and removal of certain
                    funds identified in the Complaint was reasonable. The Complaint states that
                    certain funds should have either been removed from or should not have been
                    added to the Plan, including the Aston/TAMRO Small Cap I Fund, the Invesco
                    International Growth R6 Fund, the Principal Mid-Cap Value Fund, the Thornburg
                    International Value Fund, and the Principal LifeTime Fund series. My
                    conclusions are based on the performance of the funds over various time periods
                    and other quantitative factors. Specifically, the decisions to remove funds,
                    including the Aston/TAMRO Small Cap I Fund, the Thornburg International
                    Value Fund, and the Principal LifeTime Fund series, were reasonable.




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III.      Background


11.       Under the Plan, eligible employees of BBVA Compass Bancshares (“BBVA”) 3 can
voluntarily contribute a part of their salaries on a pre-tax basis (up to IRS limits for investment)
in a set of alternative funds made available under the Plan.4 BBVA makes a matching
contribution up to a certain limit for eligible Plan participants.5 In addition to matching
contributions, BBVA contributes an additional amount based on the years of service of each
eligible participant (1-3 years = 2 percent of compensation; 4-7 years = 3 percent of
compensation, and 8+ years of services = 4 percent of compensation)—these contributions are
referred to as SmartInvestor Employer Contributions. According to the Summary Plan
Description, employees are eligible for matching contributions and SmartInvestor Employer
Contributions after one year of participation service, and the employer match equals 100 percent
of the first three percent of the employees’ contribution, and 50 percent of the next two percent
of the employees’ contribution.6 In addition to the matching contributions and SmartInvestor
Employer Contributions, the company provides profit sharing contributions at its discretion.7
The discretionary and matching contributions and SmartInvestor Employer Contributions are
invested in Plan options in the same proportions as those elected by participants for their own
salary contributions to the Plan.8 Further, Plan participants are always fully vested in their
salary contributions and matching contributions and become fully vested in the SmartInvestor
Employer Contributions and discretionary profit sharing contributions after three years of vesting
service.9 After initially allocating their contributions among the Plan’s investment alternatives,




3
  BBVA is a wholly-owned bank holding company subsidiary of Banco Bilbao Vizcaya Argentaria, which acquired
Compass Bancshares in 2007.
4
  See, e.g., ADM-Ferguson 000129, at -31, Summary Plan Description for Compass SmartInvestor 401(k) Plan
(Sept. 26, 2018).
5
  ADM-Ferguson 000129, at -30.
6
  ADM-Ferguson 000129, at -31.
7
  ADM-Ferguson 000129, at -31.
8
  ADM-Ferguson 000129, at -34.
9
  ADM-Ferguson 000129, at -30.


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participants can change these allocations at any time.10 Participants are also free, at any time, to
change or to stop the level of their salary contributions to the Plan.11
12.       Throughout the relevant period, the Plan provided a number of different investment
options that had varying levels of risk, investment styles, and return characteristics. The
investment options offered in the Plan allowed the participants to choose a mix of investments in
accordance with their long-term financial goals and personal tolerance for risk.12 In 2013, the
Plan offered 20 investment options, including one fixed income fund, one money market fund
(“MMF”), seven equity funds, the BBVA ADS stock fund, and ten retirement income target date
funds.13 The retirement target date funds are the Qualified Default Investment Alternative for the
Plan.14 In 2015, 2016, and 2017, the Plan discontinued one international equity fund,15 one equity
fund,16 and the retirement target date funds,17 respectively. During the period, the Plan introduced
other mutual funds and trusts, including the Vanguard Small Cap Index I Fund, Invesco
International Growth R6 Fund, and Vanguard Target Retirement Trusts II series (ten funds).
Exhibit 1 provides a list of funds and trusts offered in the Plan since 2013. These funds were in




10
   ADM-Ferguson 000129, at -30.
11
   ADM-Ferguson 000129, at -31. For employees not credited with at least one hour of service on or after January
1, 2007, five years of vesting service are required to become 100 percent vested in the Plan or the Profit Sharing
contributions.
12
   Each year, the Plan provided to its participants a Summary Plan Description (“SPD”), which included an overview
of the Plan, the benefits to employees, such as contribution, matching, and vesting information, the costs of the Plan,
and the different investment options available to Plan participants. Further, the SPDs state that “[s]elected financial
data for at least the most recent three years (to the extent available) for each of the investment options will be
provided periodically to the plan participants.” See ADM-Ferguson 000210; ADM-Ferguson 000190; ADM-
Ferguson 000170; ADM-Ferguson 000150; ADM-Ferguson 000129. The Plan also provided information on the
funds, including their fees, returns, and risks, as well as general information on risks associated with investing. See,
for example, ADM-Ferguson 000563; ADM-Ferguson 000573; ADM-Ferguson 000531.
13
   ADM-Ferguson 001598, at -1604-08.
14
   The Retirement Committee unanimously approved target date funds to be the Qualified Default Investment
Alternative for the Plan in September 2012. See BBVA/Ferguson 000004, at -6.
15
   BBVA/Ferguson 000335, at -36.
16
   BBVA/Ferguson 001560, at -61.
17
   BBVA/Ferguson 003645 at -47.


                                                                                                                      7
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the form of mutual funds and collective investment trusts.18 Mutual funds and collective
investment trusts are the most common investment vehicles used in 401(k) plans.19
13.       Since 2013, the Plan offered a combination of actively and passively managed investment
funds. As of 2013, the Plan included the Vanguard Institutional Index I as a passively managed
investment option.20 Later in the relevant period, the Plan introduced another equity fund that
was passively managed, the Vanguard Small Cap Index I (in 2016), which replaced an actively
managed fund, Aston/TAMRO Small Cap I Fund.21
14.       In every year since 2013, the Plan offered at least 20 different investment options,
including equity funds, fixed income funds, and target date funds. One survey from 2012 finds
that the majority of plans had between 10 and 19 investment options, treating TDFs and
company stock as a single option.22 Another survey of DC plans reported that the median
number of investment options in 2014 and 2015 was 22.23 In a survey provided to the Plan by its
consultants, in 2017, approximately 78 percent of plans offered between 10 and 19 investment
options in DC plans, excluding company stock and target date funds.24 Other studies and surveys
also find similar numbers of investment options in 401(k) plans.25 As summarized in Exhibit 1,



18
   Both mutual funds and collective investment trusts (“CITs”) are pooled investment strategies, and are often part of
retirement plans. CITs, however, are generally offered by bank or trust companies, and are only offered to qualified
retirement plans, and typically make limited information publicly available. As such, CITs typically have lower
costs than mutual funds because they generally have lower marketing expenses, do not have SEC filing
requirements, have lower overhead, and do not have boards of directors. See Michael Nelligan, “Collective
Investment Trusts: Lower Costs and Greater Flexibility,” State Street Global Advisors (February 2018).
19
   BBVA/Ferguson 002049, at -58. For example, according to the 2017 Willis Towers Watson study, 91 percent and
49 percent of 401(k) plans with assets between $500M and $999M used mutual funds and CITs, respectively. 2017
U.S. Willis Towers Watson Defined Contribution Plan Sponsor Survey. The BrightScope/ICI Defined Contribution
Plan Profile: A Close Look at 401(k) Plans, 2016 (June 2019), p. 2 (“BrightScope/ICI Survey”) noted that in 2016
approximately 45 percent of total 401(k) plan assets where held by mutual funds, while CITs held approximately 28
percent of assets.
20
   ADM-Ferguson 001598, at -1604.
21
   BBVA/Ferguson 001560, at -61. See also BBVA/Ferguson 001744, at -51.
22
   See, e.g., Towers Watson, 2012 U.S. Defined Contribution Sponsor Survey Report, Figure 14, p. 10.
23
   NEPC 2015 Defined Contribution Plan and Fee Survey: What a Difference a Decade Makes, Exhibit 7, p. 4. This
survey does not provide details on the composition of the investment options.
24
   BBVA/Ferguson 002049, at -54 and 2017 U.S. Willis Towers Watson Defined Contribution Plan Sponsor Survey.
Another study reported that approximately 80% of plans with greater than 5,000 participants had less than or equal
to 20 funds in the Plan, with the average being 17 funds. This survey does not provide the composition of the
investment options. PSCA’s Annual Survey of Profit Sharing and 401(k) Plans (2015), Tables 49 and 50, pp. 37-38.
25
   According to one study, as of 2016, large 401(k) plans offered 27 investment options, on average, of which
approximately one-half were equity funds, three were bond funds, and seven were target date funds.
BrightScope/ICI Survey, p. 2. The survey further indicates that for plans with assets under management of between
$500 million and $1 billion, the median number of investment options are 27 (17, net of target date funds), while the


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the Plan offered multiple equity funds, an international equity fund, a diversified bond fund,
company stock, and target date funds.26 The Plan consisted of commonly offered investment
options, and the number and variety of investment options offered in the Plan were comparable
to peer 401(k) plans.27 Accordingly, the Plan had a well-diversified line-up of investment options
from which Plan participants could choose to allocate their contributions. Exhibit 2 provides a
summary of each Claimants’ fund holdings during the relevant period, as obtained from their
individual retirement plan statements.28 I note that Claimant McClinton did not invest in any of
the funds subject to the Complaint’s claims. McClinton entered the Plan until 2019, during which
time she invested only in the Vanguard Target Retirement 2025 Fund.
15.       As of the fourth quarter of 2013, the Plan had total net assets under management of
approximately $689.9 million,29 which grew to $977.1 million by Q2 2019, the last quarter for
which Plan balance data was provided to me.30




IV.       Claims Regarding Offering a Money Market Fund as the Only “Capital
          Preservation” Option


16.       The Complaint claims that it was not appropriate to offer a money market fund “as the
Plan’s only short term bond investment option” when “ultra-short-term rates were at historic
lows” and BBVA should have offered “sufficient income producing bond options” such as



plans in the lowest 10th percentile of the distribution have approximately 20 investment options (12, net of target
date funds). BrightScope/ICI Survey, p. 29. See also Vanguard, How America Saves 2018, Figure 60, p. 60 (which
similarly shows that the average number of plan options was approximately 27 in 2018).
26
   The Plan includes the BBVA ADS stock fund. Participants invest in the company’s American Depositary Shares
(“ADS”) through this fund. The BBVA ADS stock fund has been closed to new money since the BBVA acquisition
of Compass Bancshares in 2007. Offering its own common stock as an investment alternative is also common
among publicly-traded companies. A survey showed that 49 percent of 401(k) plans with more than 5,000
participants offered company stock as an investment option in 2016. Holden, Sarah, Jack VanDerhei, Luis Alonso,
and Steven Bass. 2018. “401(k) Plan Asset Allocation, Account Balances, and Loan Activity in 2016.” ICI Research
Perspective 24, no. 6 (September). Available at www.ici.org/ pdf/per24-06.pdf.
27
   According to the BrightScope/ICI survey, most plans offered a combination of domestic equity funds,
international equity funds, domestic bond funds, and approximately 80 percent of plans offered target date funds.
BrightScope/ICI Survey, p. 2.
28
   ADM-Ferguson 004308 (Claimants’ Compass SmartInvestor 401(k) Plan Retirement Savings Statements).
29
   ADM-Ferguson 001615, at -34. The first date that I have balance data available is the fourth quarter of 2013.
30
   ADM-Ferguson 004268, at -75.


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“high-quality bond funds, stable value funds, and total return funds.”31 As a starting point, there
are no regulations or advisory opinions that prohibit the use of money market funds (“MMFs”) in
401(k) plans.
17.       The Plan included the Vanguard Prime Money Market Fund (Admiral Shares) during the
relevant period.32 The Plan also offered a bond fund, the American Century Diversified Bond
Fund, as well as the Principal LifeTime Strategic Income Fund, until October 2017, and its
replacement, the Vanguard Target Retirement Income Trust II, after October 2017. These funds
provide exposure to the type of bond funds that the Complaint claims should have been included
in the Plan. Other vintages of the target date funds also provided exposure to bonds as part of
their portfolios.
18.       For example, the American Century Diversified Bond Fund is in the same Morningstar
category (US Fund Intermediate Core Bond) as the PIMCO Total Return Fund included as an
example of an alternative fund in the Complaint.33 Morningstar categorizes funds based on the
underlying securities in each fund’s portfolio, which helps investors to identify comparable
funds.34 The American Century Diversified Bond Fund is a blended fixed income portfolio, with
approximately 42 percent, 34 percent, and 27 percent in securitized, investment grade corporate,
and government bonds, respectively, a duration of approximately 6 years, and approximately 54
percent of the portfolio in securities with maturity of 5 years or less.35 For example, the PIMCO
Total Return II Inst. Fund (PMBIX) has a similar portfolio duration and composition as the
American Century Diversified Bond Fund offered for investment under the Plan. The PIMCO
Total Return II Inst. Fund has a duration of just over 6 years. Like the American Century




31
   Complaint, pp. 10-12, 14.
32
   In third quarter of 2017, the Plan also added the Vanguard Treasury Money Market Fund I; however, shortly after
the addition of this fund to the Plan, it closed to new investment. BBVA/Ferguson 001864, at -74.
33
   Complaint, p. 15. The Complaint does not specify the particular PIMCO Total Return Fund. Regardless, all
PIMCO Total Return Funds are either in the US Fund Intermediate Core Bond or US Fund Intermediate Core-Plus
Bond categories. For example, PIMCO Total Return II Inst Fund (PMBIX) is in the US Fund Intermediate Core
Bond.
34
   Morningstar Investment Glossary, “Morningstar Category,” available at
https://www.morningstar.com/InvGlossary/morningstar_category.aspx
35
   American Century Investments, Diversified Bond Fund, available at
https://ipro.americancentury.com/content/ipro/en/products/all-funds/fund-list/diversified-bond.html.


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Diversified Bond Fund, the portfolio of the PIMCO Total Return II Inst. Fund is also almost
entirely made up of securitized, investment grade corporate, and government bonds.36
19.       The Plan also provided a high degree of exposure to bonds through the Principal
LifeTime Strategic Income Fund and the Vanguard Target Retirement Income Trust II. The
Principal LifeTime Strategic Income Fund is a fund of funds, which means that it invests in other
funds. During the relevant period, the Principal LifeTime Strategic Income Fund invested in
other Principal funds, including fixed income, domestic and foreign equity, real assets, and
alternative investments.37 As a basis for comparison, as of December 31, 2015, this fund
invested the majority of its assets in the Principal Core Plus Bond Inst Fund (26.9 percent),
Principal Short-Term Income Inst Fund (17.5 percent), Principal Inflation Protection Inst Fund
(11.8 percent), Principal Bond Market Index Instl Fund (9.6 percent), and Principal Global Div
Inc Instl Fund (9.5 percent),38 which are exactly the types of bond funds that the Complaint
claims the Plan should have made available to Plan participants. Specifically, the Complaint
claims that “BBVA could have offered short-term bonds, medium-term bonds, inflation
protection bonds, total return funds, or a stable value fund that offered both capital preservation
and income production.”39 The Principal LifeTime Strategic Income Fund provided exposure to
the types of bond funds identified in the Complaint.40 The Principal LifeTime Strategic Income



36
   PIMCO Total Return II Fund Fact Sheet, available at https://www.pimco.com/en-us/investments/mutual-
funds/total-return-fund-ii/inst.
37
   As of March 31, 2015, the Principal LifeTime Strategic Income Fund holdings consisted of 73 percent in fixed
income funds, 7 percent in real assets/other funds, 14 percent in domestic equity funds, and 6 percent in non-U.S.
equity funds. Principal Funds, Inc. Prospectus (March 1, 2016). See also Principal LifeTime Strategic Income
Account Form N-1A, available at
https://www.sec.gov/Archives/edgar/data/898745/000089874515000800/pfi1031485a2016filingbody.htm#sBEEFD
0BE40E82F778D1B37BFED0D61A0.
38
   Principal LifeTime Strategic Income Institutional Fund holdings, as of December 31, 2015, from Morningstar
Direct. As a basis for comparison, during the same period, the Principal LifeTime 2015 Fund allocated assets to:
Principal Core Plus Bond Inst Fund (20.3 percent), Principal Short-Term Income Inst Fund (7.7 percent), Principal
Global Div Inc Instl Fund (7.4 percent), Principal Bond Market Index Instl Fund (7.0 percent), and Principal Large
Cap S&P 500 Index Inst Fund (6.6 percent), while the Principal LifeTime 2020 Fund allocated assets to: Principal
Core Plus Bond Inst Fund (18.5 percent), Principal Large Cap S&P 500 Index Inst Fund (7.9 percent), Principal
Global Div Inc Instl Fund (6.4 percent), Principal Bond Market Index Instl Fund (5.6 percent), and Principal
Diversified Intl Inst Fund (5.6 percent). Principal LifeTime 2015 and 2020 Institutional Fund holdings, as of
December 31, 2015, from Morningstar Direct.
39
   Complaint, p. 16.
40
   Principal Core Plus Bond Inst Fund is in Morningstar’s US Fund Intermediate Core-Plus Bond category; Principal
Short-Term Income Inst Fund is in US Fund Short-Term Bond; Principal Inflation Protection Instl Fund is in US
Fund Inflation-Protected Bond; Principal Bond Market Index Instl Fund is in US Fund Intermediate Core Bond; and


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Fund invested approximately 74 percent of its portfolio in cash and fixed income securities in
2015.41
20.       In 2017, the Plan replaced the Principal LifeTime Strategic Income Fund with the
Vanguard Target Retirement Income Trust II. Similar to the Principal fund, the Vanguard Target
Trust is a fund of funds, and as of 2019, the majority of its assets were allocated to the following
funds: Vanguard Total Bond Market II Index Instl (37.2 percent); Vanguard Total Stock Market
Index Instl (18.1 percent); Vanguard Total International Bond Index Instl (15.7 percent);
Vanguard Short-Term Inflation-Protected Securities Index Instl (16.8 percent); and Vanguard
Total International Stock Index Instl (12.2 percent).42 Approximately 70 percent of the Vanguard
Target Retirement Income Trust II was invested in fixed income securities in 2019.43 Therefore,
either the Principal LifeTime Strategic Income Fund or the Vanguard Target Retirement Income
Trust II were options available to Plan participants that would have allowed them exposure to the
same type of bond funds identified in the Complaint.
21.       Contrary to the claims in the Complaint,44 a MMF was and is an appropriate investment
option for the Plan. MMFs are low-risk mutual funds that “invest in high-quality, short-term




Principal Global Div Inc Instl Fund is US Fund Allocation – 15% to 30% Equity. Available at
https://www.morningstar.com.
41
   Principal LifeTime Strategic Income Fund holdings, as of December 31, 2015, Morningstar Direct.
42
   Vanguard Target Retirement Income Trust II Fact Sheet (December 31, 2019), available at
https://retirementplans.vanguard.com/pe/pdfs/FS1471.pdf. As a basis for comparison, during the same period, the
Vanguard Target Retirement 2015 Trust II allocated assets to: Vanguard Total Bond Market II Index Instl (35.1
percent); Vanguard Total Stock Market Index Instl (21.5 percent); Vanguard Total International Bond Index Instl
(15.2 percent); Vanguard Short-Term Inflation-Protected Securities Index Instl (14.1 percent); and Vanguard Total
International Stock Index Instl (14.07 percent), while the Vanguard Target Retirement 2020 Trust II allocated assets
to: Vanguard Total Bond Market II Index Instl (29.6 percent); Vanguard Total Stock Market Index Instl (30.1
percent); Vanguard Total International Bond Index Instl (12.9 percent); Vanguard Short-Term Inflation-Protected
Securities Index Instl (7.6 percent); and Vanguard Total International Stock Index Instl (19.6 percent). Vanguard
Target Retirement 2015 and 2020 Trust II, available at https://institutional.vanguard.com/web/cfv/product-
details/fund/1473.
43
   Vanguard Total Bond Market II Index Instl is in Morningstar’s US Fund Intermediate Core Bond category;
Vanguard Total International Bond Index Instl is in Morningstar’s US Fund World Bond-USD Hedged category,
and the Vanguard Short-Term Inflation-Protected Securities Index Instl is in Morningstar’s US Fund Inflation
Protected Bond category.
44
   For example, Complaint, p. 11-12.


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debt securities.”45 Reasons for investing in MMFs range from lowering an investor’s portfolio
risk to using it as a transitional vehicle when moving funds between longer-term assets.46
22.       MMFs are typically categorized as government (including Treasuries), prime, and
municipal. Regardless of the type, these funds are characterized by short maturities and very low
credit risk.47 Prime money market funds, such as the Vanguard Prime Money Market Fund held
by the Plan, invests in “any eligible U.S. dollar-denominated money market instruments as
defined by applicable U.S. Securities and Exchange Commission regulations (Rule 2a-7 of the
Investment Company Act of 1940), including all types [of Treasury and Government securities]
as well as commercial paper, certificates of deposit, corporate notes, and other private
instruments from domestic and foreign issuers, as well as repurchase and, potentially, reverse
repurchase agreements.”48 For example, as of 2019, the Vanguard Prime Money Market Fund
had approximately 59.5 percent of its investments in Yankee/foreign bonds denominated in U.S.
dollars; 23.4 percent in U.S. Treasury Bills; 9.2 percent in U.S. government obligations; and the
remainder in other short-term securities, including U.S. commercial paper, certificates of deposit,
and others.49 Reflecting its low-risk level and short duration, the Vanguard Prime Money Market
Fund is benchmarked to the FTSE 3-Month U.S. Treasury Bill Index.50,51
23.       Investors may choose to hold MMFs to meet short horizon investment objectives, such as
preserving capital during heightened periods of stock market volatility. Such capital
preservation can allow the investor to re-enter the stock market when unusually volatile
conditions subside, thus, enhancing their long-term returns. As a 2015 State Street Global



45
   U.S. Securities and Exchange Commission, “Money Market Funds,” available at
https://www.sec.gov/answers/mfmmkt.htm.
46
   Fidelity, “What Are Money Market Funds,” available at https://www.fidelity.com/learning-
center/investmentproducts/mutual-funds/what-are-money-market-funds.
47
   Fidelity, “What Are Money Market Funds,” available at https://www.fidelity.com/learning-
center/investmentproducts/mutual-funds/what-are-money-market-funds.
48
   Fidelity, “What Are Money Market Funds,” available at https://www.fidelity.com/learning-
center/investmentproducts/mutual-funds/what-are-money-market-funds.
49
   Vanguard, "Vanguard Prime Money Market Fund Admiral Shares (VMRXX)," available at
https://investor.vanguard.com/mutual-funds/profile/portfolio/vmrxx.
50
   Vanguard Prime Money Market Fund Summary Prospectus (December 20, 2018), available at
https://www.sec.gov/Archives/edgar/data/106830/000093247118008426/sp066122018.htm.
51
   The FTSE 3 Month US T-Bill Index Series is intended to track the daily performance of 3-month US Treasury
bills. FTSE Russell, "FTSE 3 Month US T-Bill Index Series," available at
https://www.ftserussell.com/products/indices/3m-us-tbill.


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Advisors report states “in moments of financial uncertainty, investors tend to flock to Treasuries
for safety, as these instruments tend to hold or increase in value as market volatility increases.”52
For example, during recent fluctuations in the market that have been attributed to the global
Coronavirus (“COVID-19”) pandemic, participants may prefer protective MMFs instead of
higher risk funds. In fact, some financial experts are currently recommending investing in
MMFs.53
24.       Beside these short-term holdings of MMFs, longer-term holdings of MMFs can be
optimal for investors with a high level of risk aversion (which may be due to their life
circumstances―e.g., an uncertain retirement date, perhaps due to ongoing health problems) as
well as being potentially useful for all investors as a diversification tool.54 That is, investors may
use MMFs to help “offset typically greater volatility of bond and equity investments,” and to
provide stability to portfolios; as such, an allocation to a MMF can serve as a diversifying
complement to allocations to risky asset classes―making investments in the risky assets possible
without taking undue risks.55 In fact, the theory and practice of building an optimal portfolio,
built on the foundation of Modern Portfolio Theory, assumes that a risk-free option is available
to help investors diversify away from risky assets as their life situation as well as changing
market conditions warrant.56 Since MMFs primarily invest in Treasuries or ultra-low-risk
instruments,57 they are usually the option in 401(k) plans that are the closest to this Modern
Portfolio Theory’s risk-free asset.
25.       Consistent with their importance in building a well-diversified portfolio, many 401(k)
plans include MMFs as an investment option in their plans. For instance, according to an Aon




52
   Mitchem, Kristi, and Smith, Barry, “To Preserve and Protect,” State Street Global Advisors, 2015, p. 4.
53 NPR Marketplace, “Markets turn up after Monday’s Meltdown,” March 10, 2020.
https://www.marketplace.org/shows/marketplace-morning-report/
54
   Fidelity, “What Are Money Market Funds?”, available at https://www.fidelity.com/learning-center/investment-
products/mutual-funds/what-are-money-market-funds.
55
   Fidelity, “What Are Money Market Funds?”, available at https://www.fidelity.com/learning-center/investment-
products/mutual-funds/what-are-money-market-funds.
56
   Bodie, Zvi, Alex Kane, and Alan Marcus, Investments, (8th edition, 2009), McGraw-Hill Irwin, Ch. 6, pp. 167-
168.
57
   Fidelity, “What Are Money Market Funds?”, available at https://www.fidelity.com/learning-center/investment-
products/mutual-funds/what-are-money-market-funds.


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Hewitt survey, 40 percent of the surveyed plans offered a MMF in 2015.58 A study by MetLife in
2017 showed that of the defined contribution plans surveyed, 52 percent offered a MMF option.59
For defined contribution plans for which Vanguard served as the recordkeeper, approximately 72
percent of those plans offered MMFs as an investment option as of 2015.60 In 2018, Willis
Tower Watson shared the result of a survey about 401(k) plan investment structures with the
Committee. The survey showed that 51 percent of plans offered a MMF.61
26.        The particular MMF used in the Plan, Vanguard Prime Money Market Fund, is offered by
many other 401(k) plans. For example, Anthem, Astra Zeneca, Berkshire Hathaway, Chevron,
GlaxoSmithKline, Merck and Company, Starwood Hotels and Resorts Worldwide, State Street
Corporation, and UBS Group offered the Vanguard Prime Money Market Fund in their 401(k)
plans.62
27.        MMFs are investment options that almost never lose value because their mandate to
invest in very low credit risk and short-duration securities.63 Other fixed income funds, including
short-term bond funds, have prices that fluctuate daily, which means that participants who invest
in these funds face a higher risk of losing money. For instance, the Complaint provides, as an



58
   Aon Hewitt, AHIC Stable Value Quarterly, p. 15, Appendix A, June 30, 2017. Further, the PSCA Annual Survey
showed that approximately 46% of plans surveyed provided money market options in 2015. PSCA’s Annual Survey
of Profit Sharing and 401(k) Plans (2015), Table 51, p. 38.
59
   MetLife, 2017 Stable Value Study, A survey of plan sponsors, stable value fund providers, and advisors, p. 2.
60
   Vanguard, How America Saves 2016, Figure 58, p. 55. In the case of large employers, with 5,000 or more
employees, 77 percent of the plans included a MMF option. A more recent version of this survey from 2018 shows
that approximately 65 percent of plans with greater than 5,000 employees use MMFs. Vanguard, How America
Saves 2018, Figure 62, p. 62. See also Deloitte, 2019 Defined Contribution Benchmarking Survey Report, p. 16
(which notes that 63 percent of DC plans in 2019 offered MMFs).
61
   BBVA/Ferguson 002049, at -55 and 2017 U.S. Willis Towers Watson Defined Contribution Plan Sponsor Survey.
The differences in the percentage of plans offering money market options across these surveys stems from the
differences in the number and type of participant surveyed. For instance, the MetLife survey has responses from
241 plan sponsors, while the Willis Towers Watson survey had responses from 346 plan sponsors.
62
   Form 5500 of these plans showing the Vanguard Prime Money Market Fund as an investment option are in my
backup documents.
63
   MMFs have a goal to not lose money and to keep the net asset value (“NAV”) at $1. If a fund deviates more than
$0.005 from $1, the fund can be repriced to something less than $1, which is called “breaking the buck.” U.S.
Securities and Exchange Commission, “Updated Investor Bulletin: Focus on Money Market Funds,” (Jan. 12, 2017),
available at https://www.sec.gov/oiea/investor-alerts-bulletins/investor-alerts-mmf-investoralerthtm.html. During
the financial crisis of 2008, following the bankruptcy of Lehman Brothers, one money market fund, the Reserve
Primary Fund, fell below $1, potentially sparking a crisis that MMFs would “break the buck.” The federal
government stepped in the with Troubled Assets Relief Program (“TARP”) to prevent runs on money market
instruments. Amadeo, Kimberly, “Reserve Primary Fun, How It Broke the Buck Causing a Money Market Run,”
The Balance (November 15, 2018), available at https://www.thebalance.com/reserve-primary-fund-3305671. The
Vanguard Prime Money Market Fund did not lose value or break the buck during the 2008 financial crisis.


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alternative investment choice to the Vanguard Prime Money Market Fund, the PIMCO Total
Return Fund.64 Between April 5, 2013 and July 5, 2013, the PIMCO Total Return Fund lost
approximately 6.4 percent of its value, whereas the Vanguard Prime Money Market Fund did not
lose any value during that same period.65 It is clear from this example that the Vanguard Prime
Money Market Fund served Plan participants well as a “risk-free” investment option, while the
PIMCO Total Return Fund, hypothetically substituted in its place, would not.
28.       Another alternative investment option mentioned in the Complaint is the Stable Value
Funds (“SVF”s). Stable value funds are also often offered in 401(k) plans. The Plan offered a
SVF, SEI Stable Value Fund, which was terminated. I understand that although the termination
was approved in Q2 2011, the Plan had to maintain the fund until August 2012.66 Many 401(k)
plans offer MMFs but do not offer SVFs. A Fidelity presentation to the Committee shows that,
in 2014, 25.9 percent of plans considered as peer plans to the Plan utilized a MMF without a
SVF.67 The same study shows that 23.7 percent of peer plans utilized a SVF without a MMF.
29.       SVFs have different risk and return characteristics from MMFs—as an asset class, SVFs
are significantly riskier than MMFs. Therefore, SVFs are not a close substitute for MMFs, and
should not be considered as a replacement for MMFs without a careful appraisal of SVF’s higher
level of risk. Besides their higher level of risk, SVFs often are accompanied by various
restrictions to how investors may use them. For instance, many SVFs in DC plans allow a plan
participant to re-enter an SVF (after selling it) only after a waiting period. Such a restriction can
impair the participant’s ability to diversify against risk during the waiting period, thus potentially
placing that participant’s long-term retirement savings at a significantly greater level of risk than
that desired by the participant.
30.       From a finance perspective, a higher expected return is required to compensate for these
restrictions and risks. Fidelity, one of the largest recordkeepers and investment managers,



64
   Complaint, p. 14.
65
   PIMCO Total Return Instl, available at www.morningstar.com.
66
   The consultant report from Q1 2012 stated that the Retirement Committee for the Plan confirmed termination of
the SEI Stable Value Fund in Q2 2011, but was required to remain on the platform under contract until August 2012.
Reasons cited for the termination of the SVF from the Plan menu included dramatic outflows, a market-to-book ratio
below 1, concerns about the stability of principal, departures of key fund managers, and ranking in the lowest
quartile of SVF peers over a five-year period. ADM-Ferguson 000791, at -96.
67
   ADM-Ferguson 002425 at -28.


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classifies stable value funds as higher investment risk options than MMFs. An excerpt from a
Fidelity plan document is shown below.68




31.       The Plan’s own experience with the SEI Stable Value Fund highlights the riskier nature
of SVFs. In its evaluation of the fund, the Plan’s consultant pointed out that: “The Fund's current
Market to Book ratio is approximately 0.98. This means that the Fund has approximately 98
cents of assets for every dollar the Fund guarantees to its shareholders. As shareholders continue
to redeem their shares for one dollar, the distinct threat exists that the Market to Book ratio of the
Fund will fall lower. In a worst case scenario, the assets of the Fund could fall to a level where
the Fund is uninsurable and the Fund would liquidate at less than one dollar per share. As
described above, the current situation calls into question the stability of the principal for the SEI
Stable Value Fund.”69
32.       In the above situation, if shareholders become aware that their SVF may be “under
water,” a “bank run” can occur, which hurts those investors who are late in redeeming. Suppose,
for instance, that 10% of investors redeem at a book value of $1, when the market value of the
SVF is $0.980. The next day, we can expect the market value of the SVF to drop to (0.98 –
0.1)/0.9 = $0.978. A “downward spiral” can develop, as other investors redeem due to the
perceived (by investors) deteriorating stability of the “stable” value fund, which further reduces



68
   “Liberty Healthcare Corp: Make the most of your future,” Fidelity, p. 4, available at
http://www.libertyhealthcare.com/upload/130.pdf; “M1 Support: Make the most of your future,” Fidelity, p. 4,
available at http://www.m1services.com/M1%20Admin%20Documents/2010%20Fast%20Facts.pdf; “Vermont
State Retirement System,” Fidelity, Q2 2017, p. 16, available at
http://www.vermonttreasurer.gov/sites/treasurer/files/VSERS/VSERSreports/
defined-contribution-plan-reports/VERMONT%20STATE%20RETIREMENT%20SYSTEM_2Q_2017.pdf.
69
   ADM-Ferguson 000791, at -96.

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this market value. That is, investors can be expected to redeem at $1 when they realize that the
per-share market value of the fund has dropped below $1, and is likely to continue dropping due
to other investors redeeming (a classic “bank-run” situation). While “wrap contracts” purchased
from insurers can prevent or slow this downward spiral, there are limits to their ability or
contractual obligation to do so (I discuss this issue further below).
33.       SVFs provide higher expected returns by investing in relatively riskier assets than money
market instruments, as evident from the differences in their underlying investments – in terms of
composition, quality, and maturity. MMFs are required to invest exclusively in high-quality,
short-term securities, such as U.S. Treasuries, commercial paper, and repurchase agreements.70
They must maintain a dollar-weighted average portfolio maturity of no more than 60 calendar
days.71 SVFs, on the other hand, invest in assets that have a longer maturity, with an average
duration typically between two and five years.72 Part of SVFs’ value proposition relative to
MMFs comes from “investing at durations sufficiently long to capture the term premium.”73
Longer duration bonds carry higher interest rate risk compared to short-term bonds (see, e.g.,
Fama and French, 1993).74 The risk comes from the basic fact that over a longer time period,
there is more risk than interest rates could rise and cause the bond’s price to fall. Moreover, a
stable value fund can hold below-investment-grade assets, in an attempt to generate higher




70
   According to a Vanguard report, “Money market mutual funds are SEC-registered investment funds that invest in
very short-term, high-quality securities. The amount of income a shareholder may receive from these securities
largely depends on the current interest rate environment for such investments. The funds are designed to provide
maximum liquidity to investors, and thus are considered one of Vanguard’s most conservative investment options.
The liquidity requirements imposed on money market funds by the SEC in May 2010 reinforced this purpose by
requiring all the funds to hold at least 30 percent of their total assets in securities that can be converted to cash
within the following five business days (liquid assets). Also, taxable money market funds must hold at least 10
percent of their total assets in securities that can be converted to cash by the next business day” (Dorfler, Mark D.,
“Money Market Reform and Stable Value: Considerations for Plan Fiduciaries,” Vanguard, August 2016, p. 2). In
contrast, bond funds or SVFs have no such stringent liquidity requirements.
71
   Investment Company Institute, “Frequently Asked Questions About Money Market Fund N-MFP Data,” available
at https://www.ici.org/pubs/faqs/ci.faqs_nmfp.print.
72
   “Management Principles,” Stable Value Investment Association,
https://www.stablevalue.org/knowledge/management-principles.
73
   David F. Babbel and Miguel A. Herce (2018), Stable Value Funds Performance, RISKS (“Babbel and Herce”).
74
   Fama, Eugene F. and Kenneth R. French, “Common Risk Factors in the Returns on Stocks and Bonds,” Journal of
Financial Economics 33, (1993), pp. 3-56.


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expected returns from holding more credit risk.75 A Government Accountability Office (“GAO”)
report points out that between 2005 and 2007, “many stable value funds began including riskier
assets that had been traditionally included in stable value portfolios – including highly rated
corporate bonds, mortgage-backed securities, and asset-backed securities, at the expense of
Treasuries – in an effort to increase participants’ return and to attract more investors.”76 A 2012
Vanguard research report also recognizes such assets as part of a stable value fund portfolio.77
34.       A comparison of the investment portfolio of the Vanguard Prime Money Market Fund
with the Vanguard Retirement Savings Trust III (Vanguard’s SVF) confirms the differences in
the underlying assets.78 For example, Vanguard’s SVF invests nearly 65 percent of its portfolio
in commercial paper, mortgage backed securities, and asset backed securities while these
securities are only 1.2 percent of Vanguard Prime Money Market Fund’s portfolio.79 The
average duration of Vanguard’s SVF is 3 years, while the Vanguard Prime Money Market Fund
has average maturity of 36 days.80
35.       Different from typical bond funds, SVFs smooth gains and losses on the market value of
the underlying portfolio over time.81 That is, stable value funds aim to credit a positive return
distribution to investors, even when their underlying investments may lose value. However, this
smoothing does not come for free. When SVFs provide a higher return that the actual return of



75
   Stable Value Investment Association, “Management Principles,”
https://www.stablevalue.org/knowledge/management-principles. See also Fama, Eugene F. and Kenneth R. French,
“Common Risk Factors in the Returns on Stocks and Bonds,” Journal of Financial Economics 33, (1993), pp. 3-56.
76
   GAO, “401(k) Plans: Certain Investment Options and Practices That May Restrict Withdrawals Not Widely
Understood,” March 2011, p. 25.
77
   LaBarge, Karin Peterson, “Stable Value Funds: Considerations for Plan Sponsors,” Vanguard, July 2012, p. 3.
78
   Vanguard, "Vanguard Prime Money Market Fund Admiral Shares (VMRXX)," available at
https://investor.vanguard.com/mutual-funds/profile/portfolio/vmrxx; Vanguard, "Vanguard Retirement Savings
Trust III," available at
https://institutional.vanguard.com/VGApp/iip/site/institutional/investments/portfoliodetails?fundId=0340.
79
   Vanguard, "Vanguard Prime Money Market Fund Admiral Shares (VMRXX)," available at
https://investor.vanguard.com/mutual-funds/profile/portfolio/vmrxx; Vanguard, "Vanguard Retirement Savings
Trust III," available at
https://institutional.vanguard.com/VGApp/iip/site/institutional/investments/portfoliodetails?fundId=0340. The fund
invested 1.2 percent of its portfolio in U.S. commercial paper.
80
   Vanguard, "Vanguard Prime Money Market Fund Admiral Shares (VMRXX)," available at
https://investor.vanguard.com/mutual-funds/profile/portfolio/vmrxx; Vanguard, "Vanguard Retirement Savings
Trust III," available at
https://institutional.vanguard.com/VGApp/iip/site/institutional/investments/portfoliodetails?fundId=0340.
81
   Colvin, Kristen and Christine Loughlin, “A Closer Look at the Capital Preservation Funds Used Within Defined
Contribution Plans,” NEPC, December 2008, p. 2.


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the underlying portfolio, they will have to pay lower returns than the returns on the underlying
investments in the future. Therefore, future contributions from new or remaining participants in
the SVF could be at risk of earning lower returns.82 SVFs are able to smooth investor returns, in
part, because they buy an insurance contract (known as a “wrap contract”).83 The insurance
allows SVFs to use book-value, rather than market-value, accounting.84 Based on the type of
contract, the book value fluctuates much less often if the rate of return is fixed, indexed, or
periodically reset.85 Though smoothing generates lower standard deviation (a common measure
of risk) of SVF returns, this measure ignores the additional risk and restrictions that accompany
the wrap contract and, in doing so, does not appropriately represent the benefits and risks of
SVFs relative to MMFs.
36.       Wrap contracts cannot eliminate the risk for plan participants. There are situations where
the wrap provider would not be obligated or able to honor the promised rate. One instance when
a wrap contract does not protect the participant is if an underlying security is downgraded.86
Based on a specific fund’s stipulations, some wrap contracts may terminate or discontinue their
obligations should certain plan or employer-initiated events occur. These could include
bankruptcy, spin-offs, division sales, mergers, group layoffs, changes to the plan lineup, changes
in employer matching, or certain actions by the plan that may cause participants to withdraw
investments from the fund.87 In these instances, participants’ investments in a stable value fund
may suffer losses. For example, when Chrysler LLC declared bankruptcy, the stable value fund
offered in the company’s retirement plan received only $0.89 on the dollar.88 Similarly, Lehman
Brothers’ employees lost the insurance wrap on their investments in the Invesco Stable Value



82
   GAO Report, pp. 26–27.
83
   Another buffer that helps SVFs to smooth returns is that a dropping market value of underlying investments
increases the promised yield. However, such a higher promised yield can be compromised by the increased risk that
the promised yield is not realized.
84
   Dorfler, Mark D., “Money Market Reform and Stable Value: Considerations for Plan Fiduciaries,” Vanguard,
August 2016, p. 2.
85
   GAO Report, p. 12.
86
   Stable Value Investment Association, “Stable Value FAQ,” 2013, p. 2.
87
   Colvin, Kristen and Christine Loughlin, “A Closer Look at the Capital Preservation Funds Used Within Defined
Contribution Plans,” NEPC, December 2008, p. 6. Rudolph-Shabinsky, Ivan and C. Jason Psome, “Managed
Synthetics,” in “The Handbook of Stable Value Investments,” Frank J. Fabozzi, New Hope, Pennsylvania: Frank J.
Fabozzi Associates, 1998, pp. 142–143.
88
   Doherty, Jacqueline, ''Don't Judge This Strategy by Its Name," Barron's, April 6, 2009.


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Fund after their employer filed for bankruptcy and, consequently, lost value on those investments
following a fall in bond prices in December 2008.89
37.       Plan participants in stable value funds are also exposed to counterparty risk, i.e., the risk
of failure of the insurer. There have been instances in the past where wrap providers have
adversely affected SVFs, either by failing (e.g., the failure of three traditional GIC providers in
the insurance industry in the 1990s: Executive Life, Confederation Life, and Mutual Benefit
Life),90 by appearing to fail (e.g., AIG during the financial crisis), or by simply exiting the
business (e.g., BS and Rabobank Group).91 In addition, during the financial crisis, several wrap
providers declined to enter into new contracts, limited deposits, or raised their fees, making it
difficult for stable value funds to obtain coverage at a time when such coverage had become
more important.92 Several wrap providers experienced a credit rating downgrade between
December 2007 and June 2009 causing concern amongst plan sponsors.93 Concerns about rising
wrap fees and challenges with wrap availability were reasons that Hewlett-Packard Co. removed
the stable value option from its plan in 2011.94
38.       Other than differences in risk, SVFs typically place restrictions on the actions of plans
and plan participants that MMFs do not. Specifically, SVFs can limit the ability of plan
participants to move balances between different investment options in the plan, can restrict the
set of funds that can be made available in a plan lineup, and can affect the timing of when a plan
can replace the SVF.95 Such mechanical constraints on liquidity impose additional costs on




89
   Employee Benefits Security Administration, “Advisory Council Report on Stable Value Funds and Retirement
Security in the Current Economic Conditions,” Department of Labor, 2009.
90
   McWeeny, Patricia E. “GICs: A Life Insurance Credit Perspective,” in “The Handbook of Stable Value
Investments,” Frank J. Fabozzi, New Hope, Pennsylvania: Frank J. Fabozzi Associates, 1998, p. 250.
91
   Kelleher, Dennis M., Stephen W. Hall, and Wallace C. Turbeville, “Re: Stable Value Contract Study,” Better
Markets Inc., September 26, 2011; “Market Recap,” Bellweather Consulting, September 30, 2008, p. 6; Nash, Jeff,
“Stable-value Wrap Coverage Disappearing,” Pensions & Investments, August 10, 2010.
92
   Vanguard, Stable Value: Navigating the 2008 Credit Crisis, March 2011, p. 10.
93
   Bremen, Ross and Brian Donoghue, “Stable Value on the Brink, But Surviving: The 2008-2009 Experience,”
NEPC, July 2009, Exhibit 3, p. 3.
94
   Steyer, Robert, “HP uses merger to improve DC plan,” Pensions & Investments, November 14, 2011.
95
   Fabozzi, Frank (ed.), The Handbook of Stable Value Investments, Wiley, 1998, p. 29–32; LaBarge, Karin
Peterson, “Stable Value Funds: Considerations for Plan Sponsors,” Vanguard, July 2012, pp. 2–3. These restrictions
aim to slow withdrawals for investment in competing instruments in rising interest rate environments, or to lower
the risk of a “run” during volatile market conditions.


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stable value fund investors without directly resulting in enhanced expected returns.96 Such costs
can include the inability of a plan participant to quickly reduce risk, whether that risk emanates
from within the SVF or outside of it. MMFs, on the other hand, do not impose any of these
restrictions.
39.       An “equity wash” is a common restriction, which typically requires SVF investors to
invest any withdrawn funds into a non-competing option, such as an equity fund, for a specific
period (e.g., 90 days) before the investor can transfer the funds into a competing option.97 The
purpose of this restriction is to deter participants from rapidly exploiting interest rate fluctuations
among “competing” options (which could include MMFs or other short-term fixed income
options), because (as I have described above) such rapid movements of investor flows unduly
impair the returns of other long-term investors in SVFs.98 Further, to avoid this contractual
restriction, as a practical matter, plan sponsors may need to remove “competing funds” from
their plan’s investment lineups. Further exacerbating this mechanical restriction imposed by an
SVF provider, there is often a long notice period should a plan decide to discontinue its stable
value fund from its lineup.99
40.       These mechanical restrictions on the liquidity of SVF investments may impose costs on
plan participants. Such liquidity restrictions mean that plans and participants may be unable to
respond to poor SVF performance or move funds to a safer investment that they may prefer.



96
   Illiquidity lowers an asset’s value in an investment portfolio, thereby imposing a cost. While illiquid assets might
be expected, therefore, to pay a higher expected return, illiquidity based on mechanical constraints (such as those
that often occur in SVFs) would not generate such higher expected returns. For evidence that illiquid securities in
the marketplace normally pay higher expected returns, See Amihud, Yakov, and Mendelson, Haim (1991),
“Liquidity, Maturity, and the Yields on U.S. Treasury Securities,” The Journal of Finance, vol. XLVI, no. 4,
September, p. 1411.
97
   Fabozzi, Frank (ed.), The Handbook of Stable Value Investments, Wiley, 1998, p. 30. For example, the
JPMorgan Stable Value Fund allows the fund to be “transferred into a stock fund, a balanced fund, or a bond fund
with an average duration of more than four years as often as [the] plan allows. However, once the money is
transferred into such a fund, it must remain there for 90 days before [one] can transfer it into a shorter-term bond or
money market fund.” See Vanguard, “JPMorgan Stable Value Fund,” March 31, 2018.
98
   GAO Report, pp. 28-29.
99
   According to Vanguard, “[i]t might be difficult to exit a stable value fund if the plan fiduciary decides that a
different stable value manager or a different type of principal-protection fund would be more suitable for the plan.
Plan-level transactions in stable value funds generally require at least 12 months of advance notice to the manager
and, for some types of stable value options, may have to be paid out over a period of several years; also, the manager
might even require the plan to pay a market-value adjustment, regardless of advance notice, thus limiting the plan
fiduciary’s ability to reposition the plan’s investment lineup” (Dorfler, Mark D., “Money Market Reform and Stable
Value: Considerations for Plan Fiduciaries,” Vanguard, August 2016, p. 6).

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Restrictions on the plan from offering a SVF may also prevent plans from offering preferred
investment menus for its participants. The standard deviation of SVF returns, as a risk measure,
does not capture these downsides, even ignoring the fact that SVF returns are smoothed by the
SVF provider through paying interest to investors even when the underlying SVF investments
have suffered negative returns.
41.       Thus, SVFs are complex vehicles and their complexity is compounded by the various
restrictions and stipulations that accompany them. This added complexity also makes it more
difficult for a plan fiduciary to explain these investment options to plan participants so that they
can better choose their investments in an informed manner. The ERISA Advisory Council
cautions, “plan participants often view Stable Value Funds as the effective equivalent of a money
market fund without appreciating the important differences. Many participants do not
understand the difference between book value and market value and potential risks related to a
fair market value adjustment upon the occurrence of an employer-initiated event, if and when it
would occur. Many participants also do not understand that payment of plan funds invested in
Stable Value Funds could be a delayed [sic] upon the occurrence of an employer-initiated
event.”100 State Street Global Advisors’ report echoes this sentiment, and notes “Because of their
many complexities, stable value funds are characterized by some as sophisticated investment
vehicles for an unsophisticated audience.”101
42.       The Complaint claims that SVFs would have provided higher returns than MMFs as well
as maintaining the capital preservation feature of a money market fund.102 As discussed above,
SVFs invest in longer-term and relatively riskier securities compared to MMFs, and accordingly,
SVFs must pay higher expected returns on average, as per Modern Portfolio Theory. However,
compared to long-run expected returns, actual SVF returns are not always higher than MMF
returns over shorter, multi-year time periods.
43.       MMFs are likely to outperform SVFs under certain economic conditions, such as when
short-term interest rates are rising and short-term interest rates are higher than longer-term




100
    Employee Benefits Security Administration, “Advisory Council Report on Stable Value Funds and Retirement
Security in the Current Economic Conditions,” Department of Labor, 2009.
101
    Mitchem, Kristi, and Smith, Barry, “To Preserve and Protect,” State Street Global Advisors, 2015, p. 5.
102
    Complaint, p. 16.

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interest rates (i.e., an inverted yield curve). As interest rates increase, more recently issued
bonds will pay a higher level of interest (through coupons and price appreciation) compared to
older-vintage bonds in a portfolio—relative to the original price paid for the bond. In such an
environment, a fund that invests in short-term bonds will have an advantage over a fund that
invests in longer-term bonds through the simple fact that the short-term fund will more
frequently replace old-vintage bonds with new-vintage bonds, thus “keeping up” with rising
interest rates. As Vanguard explains, “[a]fter a sharp increase in rates, current market yields for
money market funds and other short- and intermediate-term bond funds may look relatively more
attractive than the stable value fund’s downward-trending book-value yield. This is because the
yield of stable value funds follows the trend in current market interest rates, but with a lag.”103
For instance, during the 2006–2007 period of higher short-term than long-term yields, MMFs
outperformed SVFs.104 Also, more recently returns of MMFs and SVFs have been relatively
comparable. In fact, some MMFs have achieved higher returns than some SVFs. For example,
the Vanguard Prime Money Market Fund has outperformed the Fidelity Stable Value Fund on a
one- and three-year basis, and is approximately even with the SVF year-to-date, as shown
below.105




103
    Vanguard, Stable Value: Navigating Past the 2008 Credit Crisis, March 2011, p. 9.
104
    Vanguard, Stable Value: Navigating Past the 2008 Credit Crisis, March 2011, p. 9.
105
    “.. [R]ising interest rates are creating problems for some of the largest stable value funds, which reflect in rates
paid to participants that are less than money market funds and bank deposits. Participants in 401(k) plans may need
to reallocate to money funds or FDIC insured deposit alternatives. For example, Wells Fargo Stable Value Fund, one
of the largest with about $26 billion in assets, currently has about the same yield as a comparable Fidelity Money
Market Fund, based on most recently reported Wells Fargo data as of Nov. 30 and Fidelity data as of Jan. 15…Other
major stable value funds such as Morley Capital Management have had similar, and in some cases, worse results.”
“Commentary: Time to allocate out of stable value funds?” Pensions&Investments, March 11, 2019.
https://www.pionline.com/article/20190311/ONLINE/190319999/commentary-time-to-allocate-out-of-stable-value-
funds


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         Recent Returns of Vanguard MMF vs. Fidelity SVF
                          As of 3/4/2020
                                       2020 YTD[1]                      1 year                       3 year[2]

      Vanguard Prime MMF                  0.30%                         2.29%                         1.79%
      Fidelity SVF                        0.34%                         2.03%                         1.75%


      Source: Vanguard, "Vanguard Prime Money Market Fund Admiral Shares (VMRXX)"; Fidelity, "Stable
      Value Fund."

      Note:
      [1] 2020 Year to Day returns are as of 3/4/2020.
      [2] Three year returns are geometric averages over 2017-2019. A geometric average is calculated as
      the series product of 1 plus the annual return over three years raised to the 1/3 power.



44.        Further, even if the fiduciaries introduced a SVF in addition to a MMF to the Plan, it is
not certain that participants would have moved their investments from the Vanguard Prime
Money Market Fund to the SVF. The BB&T Bank106 401(k) plan is an example of a plan that
offered a MMF, then introduced a SVF. According to the BB&T 401(k) Savings Plan’s (“BB&T
Plan”) public filings, the BB&T Plan offered the Federated Treasury Obligations Fund and added
the Morley Stable Value Fund in 2012.107 After the introduction of the SVF to the BB&T Plan,
participants did not move a significant amount of money from the MMF to the SVF. The MMF
balance decreased by only $4.4 million (less than four percent of the existing fund balance) after
the introduction of the Morley Stable Value Fund in 2012.108 For the BB&T plan, the decrease in
the MMF balance is 21 percent by 2018, approximately six years after the addition of the SVF.
Further, this decline in the balance of the MMF after the addition of the stable value fund may
not be directly related to the introduction of the SVF. Since 2009, U.S. financial markets have
experienced one of the longest “bull markets” in history; therefore, the decline in MMF



106
    BB&T Bank is now Truist Financial Corp.
107
    BB&T Corporation 401(k) Savings Fund Form 11-K for the fiscal year ended December 31, 2011 and
December 31, 2010, and BB&T Corporation 401(k) Savings Fund Form 11-K for the fiscal year ended December
31, 2013 and December 31, 2012. Federated Treasury Obligations Fund “complies with Rule 2a-7 definition of a
government money market fund.” Federated Hermes, "Federated Treasury Obligations Fund," available at
http://www.federatedinvestors.com/FII/mutualfunds/details/overview.do?fundshareid=61&basketid=329.
108
    In fact, this decline is less than the decline of the MMF balance during the prior two years, i.e., prior to the
introduction of the stable value fund. That is, the MMF’s balance declined by $15.6 million (over 11 percent)
between 2009 and 2010, and by $6.4 million (over 5 percent) between 2010 and 2011.


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investments could be driven by investors reallocating to other investment options, rather than
simply substituting MMF investments with SVF investments. That is, rather than moving their
allocation from MMFs to a higher risk, higher expected return SVF, plan participants may have
opted for even higher risk/reward options. Although BB&T Plan investments in the MMF
option has declined from 2009, since 2014, the investments have ranged between $88 million to
$96.7 million.109
45.       In short, from a finance and investment perspective, it was appropriate to offer a MMF in
the Plan. The alternative options mentioned in the Complaint do not have the same risk and
return profile as a MMF and are not substitutes for MMF. In addition to the MMF, the Plan
offered many other investment options that allowed participants to gain exposure to bonds with
various durations. Although the Plan did not offer a SVF, it is my opinion that a SVF was not
necessary for participants to construct a well-diversified portfolio.




V.        Claims Regarding Use of Active Management


46.       The Complaint claims that it was not appropriate to offer actively managed funds in the
Plan because active management is not able to deliver higher net-of-fee returns than their
benchmark indices and that most participants would have been better off investing in index funds
that have lower fees.110
47.       I disagree. It was reasonable for the Plan to offer both actively managed funds as well as
passively managed index funds, as I describe next.
48.       Plan sponsors can offer participants two broad asset management approaches – active
management and passive management. Under active management, the fund manager follows a
strategy, choosing individual securities, sectors, or asset classes to achieve a specific goal such as
exceeding the fund’s benchmark performance or achieving a lower risk. In contrast, a fund
manager with a passive investment approach invests in the same, or similar, securities that



109
    BB&T Corporation 401(k) Savings Fund Form 11-K for the fiscal years ended December 31, 2014, December
31, 2015, December 31, 2016, December 31, 2017, and December 31, 2018.
110
    See, generally, Complaint pp. 23-30.


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comprise a designated benchmark in an attempt to replicate the benchmark’s performance.111
The manager of a passively managed fund generally conducts no research on the attractiveness
of particular securities, sectors, or asset classes at a particular point in time and does not attempt
to select individual securities, exploit mispricing, or exceed the benchmark. Instead, the passive
manager merely attempts to provide the same return as a predefined index at a relatively low fee
level.112 For the reasons discussed above, passively managed funds generally have lower
investment management fees than actively managed funds. Actively managed funds give
investors the opportunity to achieve higher returns than their benchmarks while passively
managed funds typically underperform their benchmark index returns because they invest in a
way to replicate the composition of the index, but still charge investment management and
administrative fees, and incur transaction costs – none of which are reflected in the index’s
returns.113



          A.        Insights from Academic Research


49.       Whether active management provides superior returns over the long term relative to
passive management is a topic of ongoing debate in both the investment management industry
and academia. Academic research shows that active portfolio management can provide
investments with different risk profiles than passive management resulting in different returns.
Research also shows that active management can outperform passive management. For example,



111
    “Passive equity portfolio management typically holds stocks so the portfolio's returns will track those of a
benchmark index over time.” Frank K. Reilly and Keith C. Brown, Investment Analysis and Portfolio Management,
p. 550 (10th ed., 2011).
112
    There are impediments to providing this “return of the average investor.” For instance, a passively managed fund
must trade all of the components of an index – if it attempts to perfectly replicate the index – anytime that money
enters or leaves the fund, or when investors reinvest their cash dividends. At times, this can incur substantial trading
costs that are shared among all fund investors, especially if some of the index components have limited liquidity in
the marketplace. As an example, broad market index funds do not invest in the entire securities market (e.g., all
stocks in the U.S.), because doing so would be prohibitively costly – as there are a very large number of securities
that are traded publicly, but have quite limited liquidity, making them very costly to trade. Thus, passive funds
seldom deliver the “average return” of all investors in the market.
113
    An index fund tracks the performance of a specific benchmark or index, such as the S&P 500 Index. A passive
fund manager buys all or a representative sample of the underlying securities tracked by the index. Managers of
index funds will only alter the portfolio composition when funds are added to or removed from the underlying index.
Vanguard, “What is an Index Fund?” available at https://investor.vanguard.com/index-funds/what-is-an-index-fund.


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active managers have been successful in taking advantage of divergent markets (i.e., when there
is greater dispersion in individual stock performance).114
50.       Further, actively managed funds can outperform passively managed funds during most
periods, regardless of the macroeconomic conditions.115 My 2011 “meta-study” of a large body
of academic research conducted over decades concludes that active managers may outperform
passive management when one considers (1) the macroeconomic environment; (2) the fund and
management company characteristics, such as size; (3) the size of the “bets” of the portfolio
manager away from the benchmark; and (4) the characteristics of the portfolio manager, such as
the manager’s education and experience.116 Another study identified that funds managed by large
institutions outperform funds managed by smaller institutions.117 Other studies find that for
longer-term active managers (“patient” investors), with high active share portfolios outperform
funds that trade frequently.118 A more recent survey of the current academic literature by
Cremers et al. finds substantial evidence that actively managed funds may outperform equivalent
passively managed funds, and that some of this outperformance is attributable to increased
manager skill, concentration of the fund’s portfolio, stock selection ability, market conditions,
among others.119
51.       Nobel laureate Joseph Stiglitz and Sanford Grossman highlight that stock prices cannot
perfectly reflect all of the available information because information acquisition is costly;
therefore, active managers who expend resources to gather information should be expected to
earn returns to compensate for that effort.120 This theoretical result predicts the empirical results



114
    See Joseph G. Paul, “No Time to Be Passive – Get Active Now,” Alliance Bernstein (January 2009).
115
    Robert Jones and Russ Wermers, “Active Management in Mostly Efficient Markets,” Financial Analyst Journal
67, (Nov. /Dec. 2011), pp. 29-45. (“Jones and Wermers (2011)”)
116
    Jones and Wermers (2011).
117
    Chen, Joseph, Harrison Hong, Ming Huang, and Jeffrey Kubik (2004), “Does Fund Size Erode Mutual Fund
Performance? The Role of Liquidity and Organization,” American Economic Review 94, pp. 1276-1302.
118
    Cremers, Martijn and Ankur Pareek, “Patient Capital Outperformance: The Investment Skill of High Active
Share Managers Who Trade Infrequently,” Journal of Financial Economics 122, pp. 288-306. See also, Wallick,
Daniel, Jeffrey Johnson, Brian Wimmer, Alexis Gray, and James Balsamo, “Keys to Improving the Odds of Active
Management Success,” Vanguard Research (June 2015).
119
    Cremers, Martijn, Jon Fulkerson, and Timothy Riley, “Challenging the Conventional Wisdom on Active
Management: A Review of the Past 20 Years of Academic Literature on Actively Managed Mutual Funds,”
Working paper, University of Notre Dame (April 18, 2019).
120
    Sanford J. Grossman and Joseph E. Stiglitz, “On the Impossibility of Informationally Efficient Markets,”
American Economic Review (June 1980), pp. 393, 403-404.


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of my meta-study mentioned above, i.e., many active managers should and do outperform
passive managers over the long run.
52.       There is further evidence that active management is especially effective in adding excess
returns in markets that are less informationally efficient. This finding implies that active
managers are more effective in achieving excess returns in, for example, small cap stocks or
emerging market stocks, because these stocks are often under-researched and relatively more
likely to be mispriced than large-cap stocks.121 However, even in core areas of the market, such
as large-cap stocks, some active managers can outperform their benchmarks due to behavioral
investing mistakes of individual investors.122
53.       Research also finds support for actively managing the allocation of assets to funds, using
tactical asset allocation strategies, which shift between stock and bond funds during different
market conditions. Many academic studies show that asset allocation based on macroeconomic
conditions can be profitable.123 One study documents the predictability of returns using past
information variables and argue that this predictability means that active asset allocation
strategies can outperform passive strategies.124
54.       In sum, the academic literature suggests that, although investors may obtain lower fees
through passively managed funds, they may earn superior returns from investing in a segment of
active funds that carefully analyzes information on securities, sectors, and under certain
macroeconomic conditions. Excess returns on active funds are especially attractive in areas of



121
    For example, Allen (2005) find that “[a] portfolio that earned the average return for a broad universe of
institutional small-cap U.S. equity managers in each quarter over the 20 years ended June 30, 2004, would have
outperformed the Russell 2000 by over 500 basis points per year… Over the same period, the median small-cap
manager outperformed the Russell 2000 in every rolling three-year period. By contrast, a portfolio that earned the
average return for a broad universe of large-cap U.S. equity managers over the last 20 years would have
underperformed the Russell 1000 by 30 basis points, and the median large-cap manager would have beaten the index
in only 35 percent of the rolling three-year periods.” Gregory C. Allen, “The Active Management Premium in
Small-Cap U. S Equities,” Journal of Portfolio Management, Spring 2005, p. 10.
122
    Kent Daniel and Kent Womack, Behavioral Finance, book chapter published in Handbook of Modern Finance,
Section B1, 1-30 (2001); Terrence Odean, “Effect of Behavioral Biases on Market Efficiency and Investors’
Welfare,” CFA Institute, March 2007.
123
    Shmuel Kandel and Robert F. Stambaugh, “On the Predictability of Stock Returns: An Asset-Allocation
Perspective,” Journal of Finance (June 1996). See also Donald B. Keim and Robert F. Stambaugh, “Predicting
Returns in the Stock and Bond Markets,” Journal of Financial Economics (December 1986).
124
    Magnus Dahlquist and Campbell R. Harvey, “Global Tactical Asset Allocation,” The Journal of Global Capital
Markets, Spring 2001, p. 8. See also Foresti, Steven and Thomas Toth, “Incorporating Active Management…Over
Active Imagination,” Wilshire Consulting (June 28, 2006). (“Wilshire Study”).


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the market that are less efficient. Furthermore, asset allocation can deliver superior returns based
on academically-proven macroeconomic indicators.



          B.        Common Practice in 401(k) Plans


55.       Actively managed funds are commonly offered in 401(k) plans, reflecting the preference
of many plan participants for actively managed funds. According to a 2019 survey conducted by
Deloitte Consulting, 86 percent of 401(k) plans offered actively managed global/international
equity, while 84 percent of plans offered actively managed domestic equity.125 Research by the
Investment Company Institute (“ICI”) shows that for each year between 2013 and 2016,
investment in index funds comprised of only approximately 30 percent of the total mutual fund
assets under management by all defined contribution plans within the U.S.126 Moreover, a survey
by the Callan Institute noted that less than 10 percent of plans were likely to move some or all of
their actively managed funds to index funds.127 A Vanguard study notes that for plans in which
Vanguard serves as the recordkeeper, only three percent of those plans offer an all-index
investment menu.128
56.       It is generally accepted that certain markets are more efficient while other markets have
more frictions. In the most efficient parts of the market, such as for large cap securities (e.g., the
S&P 500 Index), the use of indexing is more prevalent and should be expected to be so, as I have
discussed above. The Plan followed this pattern and had, as an investment option, the Vanguard
Institutional Index Fund, alongside the Dodge & Cox Stock Fund, throughout the relevant
period―thus providing both a passive and an active option in the large-capitalization U.S. equity
asset class.129 This offering is consistent with the menus of many other plans. Specifically, one
survey shows that approximately 45 percent of plans offered both an actively managed and an




125
    Deloitte, “2019 Defined Contribution Benchmarking Survey Report,” p. 16.
126
    BrightScope/ICI, “Defined Contribution Plan Profile: A Close Look at 401(k) Plans: 2016,” (June 2019), p. 39.
127
    Callan Institute, “2020 Defined Contribution Trends Survey,” p. 46.
128
    Vanguard, How America Saves: 2019, p. 64.
129
    ADM-Ferguson 000210, at -16.


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indexed U.S. Large Cap Equity option.130 More recently, there has been an increased use of
passive management for exposure to other parts of the market, such as mid- and small-cap U.S.
stocks.131 Consistent with this trend, the Plan substituted the Vanguard Small Cap Index Fund, a
passively managed fund, for the Aston/TAMRO Small Cap I Fund, an actively managed fund,
during the relevant period.
57.        Moreover, surveys have shown that, for plans having both actively managed and index
options, plan participants do not all eschew actively managed funds in favor of passively
managed index options. Although 91 percent of plans offered and 98 percent of participants had
access to index funds as part of their investment menu as of 2016, only 33 percent of aggregate
plan assets were invested in index funds, suggesting that when both active and index investment
are available, index funds do not dominate plan participant investment choices.132 The Plan
offered both the Dodge & Cox Stock Fund and the Vanguard Institutional Index, each
benchmarked to the S&P 500 Index during the relevant period as stated in the Complaint.133 The
total Plan investments were approximately $110 million and $54 million, on average, in the
Dodge & Cox Stock Fund and the Vanguard Institutional Index, respectively, suggesting that
Plan participants preferred the actively managed large cap stock fund to the index fund following
a similar strategy, even though the index fund had a lower total expense ratio between 2013 and
2019.134
58.        It is my opinion, from a finance and investment perspective, that it was and is appropriate
for the Plan to offer both actively managed options and passively managed options as part of the
investment menu.



130
    BBVA/Ferguson 002049, at -55 and 2017 U.S. Willis Towers Watson Defined Contribution Plan Sponsor
Survey. In comparison, in 2014, 39 percent of plans offered both actively managed and index U.S. Large Cap
Equity options. BBVA/Ferguson 001563, at -84 and Towers Watson 2014 U.S. DC Plan Sponsor Survey.
131
    BBVA/Ferguson 002049, at -55 2017 U.S. Willis Towers Watson Defined Contribution Plan Sponsor Survey
(which shows that approximately 63 percent of plans offer only a passively managed small/mid-cap offering or offer
a mix of both active and passive funds, compared to 52 percent as of 2014). See also BBVA/Ferguson 001563, at -
84 and Towers Watson 2014 U.S. DC Plan Sponsor Survey.
132
    BrightScope/ICI, “Defined Contribution Plan Profile: A Close Look at 401(k) Plans: 2016,” (June 2019), p. 39.
133
    Complaint, p. 33, Figure 6.
134
    See, e.g., ADM-Ferguson 001615; BBVA/Ferguson 000081; BBVA/Ferguson 000364; BBVA/Ferguson 000836;
BBVA/Ferguson 000629; BBVA/Ferguson 001085; BBVA/Ferguson 001366; BBVA/Ferguson 001455;
BBVA/Ferguson 001621; BBVA/Ferguson 001764; BBVA/Ferguson 001821; BBVA/Ferguson 001864;
BBVA/Ferguson 001895; BBVA/Ferguson 002002; BBVA/Ferguson 002095; ADM-Ferguson 000776.


                                                                                                                31
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VI.       Claims Regarding Plan Funds’ Fees


59.       The Complaint alleges that the Plan “used only high-fee actively managed funds for most
asset classes of investments.”135 The Complaint compares the fees of actively managed funds in
the Plan with fees charged by index funds. This is a wholly inappropriate comparison. As
explained above, actively managed funds follow a different investment strategy (e.g., delivering
excess returns) than index funds, which merely attempt to replicate the returns of an index.
Actively managed funds require investment management services (e.g., research) to implement
their strategies and incur costs for these services. These services (and costs) are not necessary to
implement an index strategy. Therefore, it is grossly inappropriate to assess the fees of actively
managed funds by comparing them against index funds.
60.       In comparing expense ratios, it is also important to recognize the recordkeeping and
administrative payments collected through funds’ expense ratios. 401(k) plans retain
administrators and compensate them for recordkeeping and other services. One way to pay for
these services is to collect fees through the expense ratios of the funds offered by the plan.
Under this arrangement, plan funds send part of the expense ratios they collect from participants
to the plan’s administrator, thus reducing or eliminating such costs from being borne directly by
plan participants. These payments are called “revenue sharing” in the investment management
industry. The Plan used this methodology. For example, Principal LifeTime funds paid 10 basis
points per year of revenue sharing to the Plan.136 This revenue sharing, which was used to
subsidize the Plan’s administrative expenses, would otherwise be expected to have been paid
directly by Plan participants.
61.       I have evaluated the fees of the funds offered in the Plan. In my evaluation, I have
compared the investment management fees charged by the Plan’s actively managed funds to the
fees of peer actively managed funds, which I deem to be a much more appropriate comparison
than comparing to index funds, as discussed above. I find that the investment management fees




135
   Complaint, p. 30.
136
   For example, see, BBVA/Ferguson-001563, at -89. Ten basis points is 0.1 percent, or 0.001 as a fraction (rather
than a percent).


                                                                                                                 32
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paid by Plan participants during the relevant period were generally lower than or within the
range of fees paid for comparable mutual funds in the industry.137
62.       Exhibit 3 compares the expense ratios of the Plan’s funds (net of revenue sharing) to the
fees of their peer funds. In identifying peer funds, I used several criteria. First, I included funds
that are classified as Lipper in the same investment strategy group as a particular Plan fund.138
Lipper classifies funds into groups that share the same characteristics and investment
objectives.139 This criteria allows me, for example, to compare the fees of an international fund
to other international funds. Second, I used the share class of each peer fund that has the lowest
fees among all share classes of the fund. I note, here, that the lowest fee share classes of mutual
funds typically do not pay revenue sharing. Therefore, the appropriate comparison is between
the lowest fee share classes of peer funds and the net of revenue sharing expense ratios of Plan’s
funds.140 Third, I restricted the peer group to the largest 25 peer funds in terms of assets under
management in each quarter. This is also a conservative assumption in that larger funds are able
to spread their costs over a larger asset base and, as a result, generally have lower expense ratios.
The other criteria I used are explained in Exhibit 3.141 I compared the Plan funds’ fees to the



137
    401(k) plan participants are primarily interested in accumulating assets for retirement, which implied that they
care about returns, net of fees. Therefore, fees by themselves, without considering other factors such as risk and pre-
fee returns, should not be the sole basis, or even the most important basis, for evaluating the investment options in
401(k) plans.
138
    For each of the funds analyzed during the relevant period, I used mutual fund data that are available from the
Center for Research in Securities Prices (“CRSP”) to identify a comparison group of similar funds that would
provide a basis for assessing relative expenses. CRSP Survivor-Bias-Free U.S. Mutual Fund Database. This
database is well accepted, has been used extensively in academic research, including my own.
139
    The CRSP mutual fund database provides access to the Lipper fund classification system. Based on a fund’s
portfolio holdings, Lipper assigns the fund to a Lipper class that is shared by similar funds and characterized by a
unique class code. Refinitiv Lipper, "Refinitiv Lipper U.S. Fund Classifications," available at
https://www.refinitiv.com/content/dam/marketing/en_us/documents/methodology/lipper-us-fund-classification-
methodology.pdf. Lipper regularly updates the class codes assigned to individual funds, given changes in fund
holdings or investment approaches. In my analysis I referenced the Lipper classification for funds every quarter and
constructed the peer group accordingly.
140
    Alternatively, some 401(k) plan consultants include many different share classes of funds in their definition of
“peer” groups and compare them to the expense ratios of plan funds, without subtracting any revenue sharing
payments. The Plan’s investment consultants (Envestnet and Willis Towers Watson) may have followed this
methodology at times. See, for example, BBVA/Ferguson 000587, at -94. Plan’s consultants also compared net-of-
revenue sharing fees to median institutional share class fees of peer funds, similar to my analysis. See, for example,
BBVA/Ferguson 001563, at -89. Their periodic analysis of fund fees also shows that the fees were reasonable during
the relevant period.
141
    The fee comparison group is the Lipper peer group for each fund. The universe of mutual funds is obtained from
the CRSP Survivor-Bias-Free Mutual Fund database. To select peer group funds, the following filters are applied to
account for fund characteristics which are likely to affect expense ratios: (1) only funds with the same Lipper


                                                                                                                    33
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median and 75th percentile fees of their peer groups.142 The median indicates the midpoint of the
range of fees in the peer group. By definition, half of the funds in the peer group have fees
above the median. Therefore, if a fund has fees above the peer group’s median fees, it does not
mean that the fund’s fees were necessarily “excessive.” I also compare fund fees to the 75th
percentile as another threshold. By definition, six out of 25 peer funds have fees above the 75th
percentile threshold. Because I limited my analysis to 25 largest funds and lowest fee share
classes, I do not necessarily consider fees that are not significantly above the 75th percentile to be
“excessive.”
63.       As Exhibit 3 shows, throughout the relevant period, the fund investment management
fees paid by Plan participants were within the range of respective peer fund groups and, in fact,
were often at the lower end of those ranges (i.e., less than the median). American Century
Diversified Bond Fund, Dodge & Cox Stock Fund, Harbor Capital Appreciation Fund,
Thornburg International Value Fund, Vanguard Prime Money Market Fund, Vanguard
Institutional Index Fund, and Vanguard Small Cap Index Fund had fees that were consistently at
or below the median fees of their peer fund groups. In fact, for many of these funds, the Plan
funds’ fees were significantly below the peer median.
64.       For example, the fee (net of revenue sharing) for the Dodge & Cox Stock Fund during the
relevant period was 42 basis points, which ranged between 15 basis points (in Q2 2018) and 32
basis points (in Q4 2013) lower than the median peer group fees. The Thornburg International
Value Fund fees were between 26 basis points and 28 basis points lower than the median peer
group fees during the period the fund was in the Plan. The fees of Aston/TAMRO Fund, Invesco
International Growth Fund, JPMorgan Mid Cap Growth Fund, and Principal MidCap Value Fund




classification are considered; (2) certain types of products including ETFs, ETNs, closed-end funds, funds
underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee
or affinity funds) are excluded; (4) funds closed to new investment are excluded; (5) the plan funds are excluded
from the peer group samples; and (6) only the largest 25 funds series, ranked by net assets as of the end of each
quarter after all other filters have been applied, are included. Only the expense ratio of lowest-fee share class of
each fund series is used in the peer group samples. For actively managed funds, pure index funds are excluded from
the comparison peer groups; for index funds, actively managed funds, including index-based funds and enhanced
index funds, are excluded from the comparison peer group.
142
    The median is the value lying at the midpoint of the frequency distribution of observed values, such that there is
an equal probability of falling above or below it. A percentile is a measure used in statistics indicating the value
below which a given percentage of observations in a group of observations falls. For example, the 75th percentile is
the value below which 75 percent of the observations may be found.

                                                                                                                    34
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were also reasonable. The fees of these funds were generally near the median of peer group fees.
In some quarters, these fees were below the peer group medians, while in other quarters, they
were closer to the 75th percentile. JPMorgan Mid Cap Growth Fund’s fees occasionally
exceeded the 75th percentile of the peer group but the difference was only a few basis points.
Further, this funds’ Lipper category varied between Mid-Cap Growth Funds and Multi-Cap
Growth Funds. Such frequent reclassifications are common when a fund is at the intersection of
two categories. Fee comparison for such funds that straddle multiple categories are relatively
more difficult. The fund’s fees compared favorably to the peer funds in the Mid-Cap Growth
category, while they were closer to the 75th percentile of the Multi-Cap Growth category.
65.       The fees of the Principal LifeTime Funds also compared favorably to their peers.143 They
were generally at or below the median fees of their peer groups. Note that target date funds are
typically fund-of-funds; that is, they create an investment portfolio by investing in other funds.
Some of the underlying funds in the portfolio can be actively managed while others can be
passively managed. It would not be appropriate to compare the fees of a target date fund that
uses primarily actively managed underlying funds to the fees of another target date fund that
primarily uses passively managed funds. In my analysis, I use the percentage of assets that are
actively managed to identify fund families that are more similar to Principal LifeTime Funds in
terms of active management. According to Morningstar, Principal LifeTime Funds invested 90
percent of its assets in actively managed underlying funds.144 To be conservative, I use a 70
percent active management threshold to identify peer funds for these Principal TDFs.
66.       I further verified the reasonability of Principal LifeTime Funds’ fees using third-party
provided data and analysis. Exhibit 4 shows my fee comparison using Morningstar reports. The
exhibit compares the asset-weighted expense ratios of the Principal LifeTime Funds and their
Morningstar-determined peer funds. The expense ratios reported are a weighted average of
vintages in each family of funds, where the weighting is by the assets invested in each




143
   Typically, target date funds charge not only the fees of the underlying funds but also a fund-of-funds fee.
144
   That is, I construct the peer group using target date fund families that invest 70 percent or more of their assets in
actively managed funds. Changing this percentage within reasonable limits does not qualitatively impact my
findings.


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vintage.145,146 I obtained the data for comparison from Morningstar’s Target Date Fund
Landscape reports in various years.147 As in my fee comparison of in Exhibit 3, I use only the
largest 25 fund series by assets under management at the aggregate fund level to construct the
sample of peer funds. Note that if I had not restricted my peer groups to include only the 25
largest fund families, the peer group expense ratios would tend to be higher. Also consistent
with my methodology in Exhibit 3, I make adjustments for the use of active and passive
management in target date funds.148 As Exhibit 4 shows, Principal LifeTime Funds’ asset-
weighted expense ratios are generally around the median asset-weighted expense ratios of the
peer group. In all years, Principal LifeTime funds’ expense ratios are significantly below the
expense ratios of the 75th percentile of the peer group.
67.       This finding is consistent with the data and research provided by Target Date Analytics
LLC and BrightScope Inc. (“BrightScope Report”).149 The excerpt from their 2013 report shows
that Principal LifeTime Funds’ expense ratios are within the median and the 75th percentile of
peer funds. In the excerpt from the BrightScope Report, the median peer fees are at the
intersection of the yellow and green parts of the bars, as shown in the figure below. The 75th
percentile is at the intersection of green and red parts of the bars. I note that this report uses all
other target date funds, regardless of their use of active versus passive management. Because
many more fund series that exclusively or primarily use passive management are included, the
peer group expense ratios are on average lower. My analysis in Exhibit 4 and BrightScope
Report’s findings confirm that Principal LifeTime Fund’s expense ratios were reasonable.




145
    The expense ratios also reflect the weighted average of the fees of different share classes of each fund. The
weighting is by the assets invested in each share class. Generally, a large majority of assets are invested in
institutional share classes.
146
    Note that there is no deduction of any revenue sharing payments in Morningstar’s calculations.
147
    For each of the funds analyzed during the relevant period, I used mutual fund data that are available from the
Morningstar to identify a comparison group of similar funds that would provide a basis for assessing relative
expenses. This database is well accepted, and has been used extensively by investment managers and in academic
research.
148
    As discussed above, passively managed funds tend to have lower overall costs, on average; therefore, the
comparison of the Principal LifeTime Funds with other target date fund disregarding their use of passive
management may bias the results if a number of peer funds have a different investment strategy than that of the
Principal LifeTime Funds.
149
    Israelsen, Craig, and Joseph Nagengast, “Popping the Hood VI, 2013: An Analysis of Target Date Fund
Families,” Target Date Analytics LLC and BrightScope Inc. (2013).

                                                                                                                     36
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        BrightScope Report’s Comparison of Principal LifeTime
        Funds’ Expense Ratios to Peer Funds’ Expense Ratios




68.        The Complaint alleges that the Plan could have replaced the Principal LifeTime Funds
with the Principal LifeTime Hybrid Funds which were introduced in 2014 and had lower expense
ratios.150 However, the Principal LifeTime Funds had a different investment strategy from the
Principal LifeTime Hybrid Funds. Therefore, this would not have been a switch simply to
reduce fees. For example, the Principal LifeTime 2040 Fund allocation to actively managed
funds was over 80 percent in 2014, while the Principal LifeTime Hybrid 2040 Fund only held
approximately 30 percent of its portfolio in actively managed funds. When using an asset-
weighted average across all of the Principal LifeTime Funds, the contrast between the funds is
even larger: the Principal LifeTime Funds, on average, held more than 90 percent of its portfolio
in actively managed funds, while the Principal LifeTime Hybrid Funds, on average held only 35
percent of its portfolio in actively managed funds. As discussed above, actively managed funds
provide the possibility of outperformance and value generation above passively managed funds,
and these potential enhancements come with higher expense ratios to compensate for the efforts
of the portfolio managers. The asset allocation of the funds was also different. For example, as
of April 2015, the five largest holdings in the Principal LifeTime 2040 Fund were: the Principal



150
      Complaint, p. 59.

                                                                                                  37
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Large Cap S&P 500 Index Fund (11.4 percent); the Principal Large Cap Growth Fund (10.0
percent); the Principal Diversified International Fund (8.7 percent); the Principal Overseas Fund
(8.6 percent); and the Principal Bond & Mortgage Securities Fund (7.2 percent). In contrast, for
the same time period, the Principal LifeTime Hybrid 2040 Fund’s top five holdings were: the
Principal Large Cap S&P 500 Index Fund (36.4 percent); the Principal Diversified International
Fund (18.2 percent); the Principal Bond Index Fund (9.1 percent); the Principal MidCap S&P
400 Index Fund (9.1 percent); and the Principal SmallCap S&P 600 Index Fund (9.1 percent).151
69.       In October 2017, the Plan replaced the Principal LifeTime Funds with the Vanguard
Target Retirement Trusts.152




VII.      Claims Regarding Underperformance of Specific Funds in the Plan


70.       The Complaint identifies Aston/TAMRO Small Cap I, Principal Mid-Cap Value, Invesco
International Growth Fund, Thornburg International Value Fund, and the ten Principal Target
Date Funds (“At-Issue Funds”) as funds that underperformed and should have been removed
from the Plan.153 In this section, I first discuss the general principles of fund evaluation then I
assess the appropriateness of the identified funds as investment options for the Plan.




151
    Principal Funds, Inc. Form N-CSR (April 30, 2015), available at
https://www.sec.gov/Archives/edgar/data/898745/000089874515000442/finalplanncsrs.htm. For the same time
period, using data collected from Morningstar Direct, the Principal LifeTime 2015 Fund, the top five holdings
included: Principal Bond & Mtg Securities Inst (19.5%); Principal Global Div Inc Inst (7.4 percent); Principal Short-
Term Income Inst (7.2 percent); Principal Bond Market Index Instl (6.6 percent); and Principal Inflation Protection
Inst (6.4 percent), while the Principal LifeTime Hybrid 2015 Fund’s top five holdings included: Principal Bond
Market Index Instl (28.5 percent); Principal Large Cap S&P 500 Index Inst (21.8 percent); Principal Diversified Intl
Inst (9.8 percent); Principal Short-Term Income Inst (7.3 percent); and Principal Global Div Inc Instl (7.3 percent).
The Principal LifeTime 2030 Fund’s top five holdings included: Principal Bond & Mtg Securities Inst (12.6
percent); Principal Large Cap S&P 500 Index Inst (9.4 percent); Principal Overseas Instl (7.5 percent); Principal
Diversified Intl Inst (7.3 percent); and Principal LargeCap Growth I Instl (7.2 percent), while the Principal LifeTime
Hybrid 2030 Fund’s top five holdings included: Principal Large Cap S&P 500 Index Inst (33.9 percent); Principal
Bond Market Index Instl (19.7 percent); Principal Diversified Intl Inst (15.4 percent); Principal MidCap S&P 400
Index Inst (7.5 percent); and Principal Diversified Real Asset Inst (4.1 percent).
152
    BBVA/Ferguson 001864_Redacted, at -75.
153
    Complaint, pp. 39-63.

                                                                                                                   38
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          A.        Principles of Fund Evaluation


71.       The goal of actively managed fund evaluation and monitoring in retirement plans is to
identify skillful managers who can successfully execute the stated goals of the fund, such as
delivering returns in excess of benchmark returns. There are no universal, one-size-fits-all, rigid
rules to evaluating actively managed investment products and their appropriateness as retirement
investment options. However, there are certain principles that guide such evaluation. When
assessing funds from an investment perspective, it is important to review various quantitative
measures. It is also important to look at qualitative factors. These factors must be reviewed
holistically to achieve as complete an assessment as possible. Screens based on objective
characteristics (including prior performance) can be helpful, but funds failing the screens in one
or more criteria are not necessarily inappropriate for long-term investment in a retirement
portfolio. Indeed, balancing various factors, including qualitative factors, is part of the reason
why investment consultants are often engaged to evaluate funds offered by a plan. Qualitative
factors include, but are not limited to, manager quality (e.g., experience), resources for research
(e.g., fund family and staff size), and an assessment of manager’s investment strategy.
72.       An important part of quantitative fund evaluation is measurement of returns. The
purpose of performance measurement for actively managed funds is to separate the effect of
managerial skill from the effect of luck on fund returns. This is an important but challenging
task, because randomness (i.e., luck) can have a large effect on portfolio performance. Skilled
managers can experience extended periods of poor performance, while unskilled managers can
experience extended periods of good performance, purely through chance alone.154 In order to
have more confidence in separating the effect of luck from skill, return analyses should cover a
sufficiently long time period. With a longer observation period, a manager’s talent will be more
evident, even with the normal variation in returns. Investment professionals accordingly try to
appraise performance over long-term periods, including three years, five years, ten years, and
even since the inception of a fund. The Plan’s consultant, Envestnet, made a presentation to the
Committee explaining the importance of taking a long-term view and “the value of patience


  Laurent Barras, Olivier Scaillet, and Russ Wermers, “False Discoveries in Mutual Fund Performance: Measuring
154

Luck in Estimated Alphas,” Journal of Finance, February 2010.


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when selecting an asset manager.”155 In their December 4, 2014 presentation, Envestnet
presented the results of a study that analyzed how often managers with strong long-term
performance go through periods where their returns lag the returns of their benchmark.156 They
first identified managers with “outstanding” long-term (ten-year) performance. Then they
analyzed how many of these managers experienced underperformance in three- and five-year
periods during the ten years when they outperformed their benchmark. They found that a very
high percentage of managers went through periods of underperformance, yet outperformed their
benchmark over the long-term. For example, they found that 100 percent of managers with
“outstanding” ten-year performance in International Blend, Intermediate Bond, Mid Cap, Small
Cap Growth categories went through a three-year period when their returns lagged the
benchmark returns. Across all categories, the percentage of outstanding managers that went
through an “unlucky” period was 98 percent. This study underlies the importance of taking a
long-term view to manager evaluation and not taking hasty actions solely based on short-term
performance fluctuations.
73.       Comparing a fund’s return against appropriate benchmarks is the most common way to
evaluate the skill level of a manager.157 Comparing to peer funds is also another commonly used
approach to quantitative performance evaluation. Returns vary across asset classes and
investment strategies, so it is important to select benchmarks and peer groups that are
comparable to the funds under consideration when evaluating performance.158
74.       It is also important to note that when reviewing funds in a retirement plan, fiduciaries can
only be expected to know information that is available at the time of the evaluation.
Consequently, an assessment of the reasonableness of an investment decision should be based
only on information that was available when the decision was made. To do otherwise would
incorrectly impose “hindsight bias,” and would assume that the decision maker should have been


155
    ADM-Ferguson 002144 at -147.
156
    ADM-Ferguson 002144 at -147-151.
157
    “For an actively managed fund, an analysis of returns relative to a benchmark, or set of benchmarks, also
addresses the skill level of the manager.” Bernd Fischer and Russell Wermers, Performance Evaluation and
Attribution of Security Portfolios, 1st edition, (“Fischer and Wermers”), p. 27.
158
    Perhaps the most impactful study that establishes that asset classes are the main driver of investment portfolio
returns is: Gary P. Brinson et al., “Determinants of Portfolio Performance,” Financial Analysts Journal,
January/February 1995.


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able to predict the unforeseen outcome of random events ahead of time. Obviously. fiduciaries
are not clairvoyant and cannot know the future returns of investment options. Funds that may
have done well historically may underperform in the future, while lagging funds may outperform
in the future―historical performance does not necessarily predict future performance.
75.       In the next section, I evaluate the specific funds that the Complaint claims should have
been removed from the Plan due to their underperformance.159 I note that the Plan retained
independent consultants to assist with evaluation and monitoring of its investment options.
Consultants provided regular investment reviews, which included both qualitative and
quantitative indicators such as short- and long-term performance comparisons with benchmarks
and peers, risk measures, portfolio composition, and information on managers. In my evaluation,
I also consider this information provided by the consultants.



          B.        Evaluation of Specific Funds Identified in The Complaint.


76.       In this section, I discuss both the quantitative and qualitative evaluation metrics of the
funds identified in the Complaint as underperformers (“At-Issue Funds”). Exhibits 5 and 6
contain my analyses of the At-Issue Funds’ performance relative to their benchmarks and peers,
respectively, over the years.160 In Exhibit 5, for each At-Issue Fund, I show the quarterly returns
of the fund and its benchmark, as well as one-, three-, five-, ten-year, and since inception
annualized excess returns. In Exhibit 6, I present peer performance comparisons for each At-
Issue Fund. I identify the peer groups used this analysis based on the At-Issue Funds’
Morningstar categories and other criteria.161 Besides these quantitative factors, I also consider



159
    Complaint, pp. 39-63.
160
    For details on how the peer groups are constructed, see footnote 2 of Exhibit 6.
161
    The performance comparison group is the Morningstar peer group for each fund. The peer group of funds are
obtained from the Morningstar Direct database. To select peer group funds, the following filters are applied to
account for fund characteristics which are likely to affect expense ratios: (1) only funds with the same Morningstar
classification are considered; (2) certain types of products including ETFs, ETNs, closed-end funds, funds
underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee
or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5) the plan funds are excluded
from the peer group samples. Only the lowest-fee share class of each fund series is used in the construction of the
performance peer group samples. For actively managed funds, index funds are excluded from the comparison peer
groups.


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relevant qualitative factors to determine the appropriateness of At-Issue Funds as an investment
option for the Plan.



                    1.        Aston/TAMRO Small Cap I Fund


77.       The Aston/TAMRO Small Cap I Fund was already in the Plan at the beginning of the
relevant period. The fund was established in 2005 and was managed by Daniel Miller since
2008.162 Mr. Miller, CFA, had 25 years of experience in portfolio management prior to managing
the Aston/TAMRO Small Cap Fund, and holds an MBA from Stanford University.163 According
to Envestnet, the fund followed a “[b]ottom-up fundamental research” approach which “informs
portfolio construction, creating a growth-biased, high quality portfolio.”164
78.       As of Q3 2013, the fund had strong long-term performance, outperforming its benchmark
by 1.49 percent and 1.64 percent on an annualized basis for five-year and ten-year periods
(Exhibit 5). Exceeding the performance of a benchmark by over 1.6 percentage points per
annum, net-of-fee, over a ten-year period is very impressive performance, especially when one
considers that benchmark returns do not reflect the fees and trading costs that one would incur
with an investment in an index fund that tracked the benchmark (that is, if such a fund exists).
This performance translates to more than 16 percent outperformance over ten years. At that
time, the fund’s short-term performance lagged its benchmark. Envestnet, in its September 2013
presentation explained that “[r]ecent underperformance is mainly attributable to several security
specific issues in Technology.”165 This explanation, combined with the strong long-term
performance and the strong qualitative characteristics of the fund manager (i.e., his experience,
education, and CFA certification), indicates that the short-term performance could very well




162
    Aston Funds, Form N-1A, February 29, 2016, available at
https://www.sec.gov/Archives/edgar/data/912036/000119312516482306/d108857d485apos.htm#tx108857_8
(“Aston Form N-1A”).
163
    Aston Form N-1A.
164
    ADM-Ferguson 001598, at -605.
165
    ADM-Ferguson 001598, at -605.


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have been due to luck and not to a more fundamental issue with the manager’s investment
strategy.
79.       Nevertheless, this fund was placed on the Watch List in Q1 2014 by the Committee, and
its performance was tracked closely. At the time, Envestnet explained that there was no material
change to the investment process or portfolio management team that produced strong long-term
results and underperformance “can be attributed in part to style headwinds, such as the fund’s
quality bias.”166 In Q4 2014, the fund outperformed its benchmark although its return for the year
was less than its benchmark’s returns. In its Q4 2014 review, Envestnet reiterated that the fund’s
recent stock picks did not pan out but it “maintain[ed] its conviction in the Fund.”167 As a
qualitative factor to consider, Envestnet pointed out that the fund increased its resources by
adding an analyst. At that time, the fund still had strong long-term performance, outperforming
its benchmark by 0.84 percent per year over a ten-year period. Further, the fund consistently
outperformed the 75th percentile of its peer group (see Exhibit 6). In situations when a fund lags
its benchmark in the short term but has a strong long-term performance and no change in its
investment philosophy (and strong qualitative factors), it is reasonable to maintain the
investment in the fund while monitoring it closely. Such short-term underperformance could be
due to luck and liquidating investments based on short-term quantitative results has the risk of
prematurely selling an investment that could perform well in the longer term. This approach is
especially relevant for retirement investments that have a long-term horizon.
80.       The fund remained on the Watch List through 2015. The fund showed signs of
improvement, outperforming its benchmark in Q2 2015 and Q3 2015. Its ten-year return
remained above its benchmark’s return.
81.       In Q1 2016, Plan’s consultant Willis Towers Watson recommended removal of the fund
from the Plan. Part of the reason was that TAMRO Capital Partners LLC resigned as subadvisor
of the fund, an important qualitative consideration.168 The fund’s ten-year performance also fell




166
    ADM-Ferguson 001836, at -47.
167
    ADM-Ferguson 002404, at -409
168
    ADM-Ferguson 003232, at -244.


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below its benchmark at this point. By Q3 2016, the fund was removed and replaced by the
Vanguard Small Cap Index Fund.169
82.       In my opinion, maintaining the Aston/TAMRO Small Cap Fund in the Plan until 2016
and then removing it was reasonable. Although the returns of the fund lagged its benchmark
returns for a few years, the fund had strong long-term performance relative to its benchmark until
2016. The fund maintained its investment process and the management team that brought it
long-term success. By 2016, there was a change in the management team, there was no
significant improvement in its performance, and both the short-term and the long-term returns of
the fund fell below its benchmark. Accordingly, it was then appropriate to remove the fund from
the Plan.



                    2.        Principal Mid-Cap Value Fund


83.       The Principal Mid-Cap Value Fund was already in the Plan at the beginning of the
relevant period. The fund was established in 2003, and had been co-managed by the experienced
team of James W. Fennessey and Randy L. Welch since 2009.170 Mr. Fennessey, who joined
Principal in 2000, holds a CFA certification and was head of the Manager Research Team, while
Mr. Welch holds a CFA certification and joined Principal in 1989.171 According to consultant
reports, multiple subadvisors of the fund led to “lower beta, high quality, and core biases,”172 and
that the Principal Mid-Cap Value Fund provided “a diversified stream of alpha.”173
84.       As of Q3 2013, the fund had strong long-term performance, outperforming its benchmark
by 1.01 percent and 1.00 percent on an annualized basis for five-year and ten-year periods
(Exhibit 5). Given its above benchmark returns at the beginning of the relevant period, it was



169
    BBVA/Ferguson 001684, at -690.
170
    Morningstar, "Principal Mid-Cap Value I R5," available at
https://www.morningstar.com/funds/xnas/pabvx/people.
171
    Morningstar, "Principal Mid-Cap Value I R5," available at
https://www.morningstar.com/funds/xnas/pabvx/people.
172
    ADM-Ferguson 001598, at -605.
173
    BBVA/Ferguson 000836, at -43. For peer-reviewed academic evidence that multiple sources of alpha are
advantageous, see Timmermann and Kapur. Kapur, Sandeep and Allan Timmerman, “Relative Performance
Evaluation Contracts and Asset Market Equilibrium,” Economic Journal 115 (2005), pp. 1077-1102.


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reasonable that the fund remained in the Plan. In 2014, the fund outperformed its benchmark
during two quarters. Nevertheless, its ten-year performance remained higher than its
benchmark’s performance. In their Q2 2014 review, Envestnet noted that Principal MidCap
Value Fund’s performance relative to its benchmark was not an outlier; 90 percent of actively
managed funds in the Mid Cap Value category underperformed the Russell Midcap Value Index
because they underweighted REITs relative to the Index in that quarter.174 In fact, Principal
MidCap Value Fund outperformed its peer group in 2014. The fund’s return in 2014 was 3.58
percent higher than the median return of its peer group. The fund’s ten-year performance
remained above its benchmark’s performance in 2015. The fund lagged its benchmark in several
quarters, but its one-year return was above its benchmark’s return during the first two quarters of
the year. A similar pattern of fluctuating short term returns, but above benchmark ten-year
performance, continued in 2016. The Plan’s consultants added the Principal Mid-Cap Value
Fund to the Watch List as of Q3 2017.175 At the time that the fund was placed on the Watch List,
the short-term performance of the fund began to turn around. The fund exceeded its benchmark
by 1.69 percent in Q3 2017 and continued to outperform its benchmark for the next four quarters.
By Q3 2018, the fund’s one-year annualized performance exceeded its benchmark by 2.82
percent and its median peer group by 2.17 percent. As of Q4 2018, the three-year annualized
return of the fund outperformed both its benchmark and median peer group. As of Q1 2019, the
fund did not fail any of the Watch List criteria Willis Towers Watson highlighted.176
85.       In my opinion, keeping the Principal Mid-Cap Value Fund in the Plan during the relevant
period was reasonable. Although the returns of the fund fluctuated for a few years, the fund had
strong long-term performance relative to its benchmark, and has seen a significant improvement
in its recent short- and medium-term performance (as of Q4 2019, the fund exceeded its
benchmark by 1.58 percent on an annualized basis). The fund also significantly exceeded the
performance of the 75th percentile of its peer group throughout the relevant period. Further, the




174
    BBVA/Ferguson 000081, at -89.
175
    ADM-Ferguson 003645, at -65. This was the first instance noting that the Principal Mid-Cap Value Fund should
be added to the Watch List. The fund remained on the Watch List through the first quarter of 2019 (the last date for
which I have the Willis Towers Watson consultant reports).
176
    ADM-Ferguson 004268 at -77.

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fund’s qualitative factors (i.e., manager experience and CFA certifications) supported its
retention in the Plan.



                    3.        Thornburg International Value Fund


86.        The Thornburg International Value Fund had an inception date going back to 1998,177 and
was added to the Plan as a replacement for the American Funds EuroPacific Growth Fund in
2012.178
87.        At the time of its addition to the Plan, the fund had strong long-term returns. Since its
inception, the fund outperformed its benchmark returns by 4.22 percent on an annualized basis.
The returns of the fund lagged its benchmark in 2013 and during the first half of 2014.
Consultant reports from the Q2 2013 indicate that the Thornburg International Value Fund was
characterized by “[p]erformance historically marked by downside protection, but lagging in up
markets,” which was “consistent with recent performance.”179 The Q1 2014 report from
Envestnet noted the changes in portfolio responsibilities at the fund but pointed out that the
manager, who had impact on the Fund’s process remained dedicated to the fund.180 In 2014,
Envestnet met with the managers of the Fund. In their Q3 2014 report, Envestnet summarized
their meeting with the managers of the Fund.181 Managers explained to Envestnet that they
expected the fund’s new structure to have a positive impact on performance. Although
Envestnet still had confidence in the manager who remained with the fund, they recommended
the removal of the fund, given the “recent negative developments” in the fund.182 In Q4 2014, the
Committee approved the removal of the fund from the Plan.183 It is worth noting that the fund



177
    The inception date of the A share class was May 1998. The inception of the R6 share class that the Plan used was
May 2012. Thornburg Investment Management, "Thornburg International Value Fund,"
https://www.thornburg.com/products-performance/mutual-funds/equity-funds/fiv/performance/.
178
    BBVA/Ferguson 000001, at -1, -2 (which discussed Thornburg International Value Fund R5; Thornburg
International Value Fund R6 was eventually added to the Plan menu). BBVA/Ferguson 000004, at -6, discusses the
mapping of the Thornburg International Value Fund R5 and R6 funds.
179
    ADM-Ferguson 001598, at -606.
180
    BBVA/Ferguson 00030 at -43.
181
    ADM-Ferguson 002170 at -182.
182
    ADM-Ferguson 002170 at -189.
183
    BBVA/Ferguson 000598, at -605.


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showed improvement in Q3 2014 until its removal from the Plan. At the end of Q1 2015, its
one-year performance was above its benchmark’s one-year performance by 3.79 percent, as
shown in Exhibit 5.
88.       The fund was in the Plan between Q2 2012 and Q1 2015, less than 3 years. Generally, it
may be appropriate to give more time to funds to assess their long-term performance unless there
are other significant negative quantitative factors in addition to underperformance.184 In the case
of the Thornburg International Value Fund, there was fluctuating performance as well as a
change in the management team. Under these circumstances, the Committee’s decision to
remove the fund in Q2 2015 was reasonable.



                    4.        Invesco International Growth Fund


89.       In Q1 2015, the Plan added the Invesco International Growth Fund as a replacement for
the Thornburg International Value Fund.185 The Invesco International Growth Fund has an
inception date of April 7, 1992, although the R6 share class that the Plan used was created on
September 24, 2012.186 Fund’s lead manager, Clas Olsson is the CIO of Invesco’s International
Growth Strategy Group and had managed Invesco funds with this strategy since 1997.187 At the
time when the Invesco International Growth Fund was added to the Plan, it outperformed its
benchmark, the MSCI All-Country World Index (ex-U.S.) on one-, three-, five-, and ten-year




184
    I note that the Thornburg International Value Fund’s long-term performance has been strong. Since its inception
in May 1998, the Fund’s A share class outperformed its benchmark MSCI EAFE Index by 2.9 percent on an annual
basis as of January 31, 2020 (7.18 percent annualized versus 4.27 percent annualized). I note that the R6 share class
that the Plan used has lower fees than the A share class so its outperformance would be larger. Thornburg
Investment Management, "Thornburg International Value Fund," https://www.thornburg.com/products-
performance/mutual-funds/equity-funds/fiv/performance/.
185
    The two funds were in the same Lipper peer group, International Large-Cap Growth, despite the differences in
the fund names. BBVA/Ferguson 000335, at -36.
186
    Invesco, "Invesco International Growth Fund Class A," available at https://www.invesco.com/us/financial-
products/mutual-funds/product-detail?fundId=1834; Invesco, "Invesco International Growth Fund Class R6,"
available at https://www.invesco.com/us/financial-products/mutual-funds/product-detail?fundId=30760.
187
    Morningstar, "Invesco International Growth R6 Fund," available at
https://www.morningstar.com/funds/xnas/igfrx/people.


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basis.188,189 The Fund also outperformed the median returns of its peer fund group on one-, three-,
and five-year basis.
90.       In 2015, the fund outperformed its benchmark in three of four quarters. In March 2015,
Envestnet stated that the inclusion of Invesco International Growth to the Plan was based on the
fund’s long tenure “with deep resources,” strong emphasis on valuation and investment in high
quality companies, and consistently strong risk-adjusted performance.190 In 2016 and 2017, the
fund’s performance fluctuated. During this period, the fund underperformed its benchmark in
several quarters, but its long term performance remained higher than its benchmark’s
performance. At the end of 2017, the fund’s annualized return was 1.43 percent higher than its
benchmark’s annualized returns on a ten-year basis. In Q4 2017, the fund was added to the
Watch List.191 The fund’s performance improved in 2018. The fund outperformed its benchmark
in three of the four quarters during 2018. In Q4 2018, the consultants removed the Invesco
International Growth Fund from the Watch List;192 however, the fund was reinstated on the
Watch List as of March 31, 2019.193 In 2019, the fund outperformed its index by over 7 percent
as well as outperforming the median return of its peer group. It is worth noting that the Invesco
International Growth Fund maintained higher-than-benchmark ten-year annual returns in all
quarters during the relevant period. Its five-year return was also higher than its benchmark’s
returns in all but three quarters. Since its addition to the Plan in Q1 2015 and the end of 2019,
the fund did not underperform its benchmark. In fact, the Fund’s total returns (30.99 percent) are



188
    In Exhibit 5, I report the historical returns of the A share class for five-year, ten-year, and since inception periods.
189
    It is more difficult to benchmark international funds, particularly against a broad benchmark. International funds
can invest in any part of the world and will have different concentrations in different regions. For example, the
Invesco International Growth Fund’s benchmark is the MSCI All-Country World Index (ex-U.S.), but the two have
very different concentrations of holdings. Recently, the top five holdings of Invesco International Growth consisted
of Canadian and continental European stocks, making up 16 percent of its total portfolio, while the MSCI All-
Country World Index (ex-U.S.) had 16 percent, 11 percent, and 9 percent in Japanese, British, and Chinese
securities, respectively, indicating how different the underlying portfolios are between the fund and its benchmark.
Morningstar, "Invesco International Growth R6 Fund," available at
https://www.morningstar.com/funds/xnas/igfrx/people. MSCI, "MSCI ACWI Ex USA Index (USD)" available at
https://www.msci.com/documents/10199/86494e1f-914e-4aa5-82a9-2e29ed5adbbf. Further international investing
involves more risk such as currency fluctuations, political and social instability, differing accounting and tax
standards, etc. Therefore, international funds may exhibit higher fluctuations.
190
    BBVA/Ferguson 000598, at -610.
191
    BBVA/Ferguson 001892_Redacted, at -94.
192
    ADM-Ferguson 004158, at -67.
193
    ADM-Ferguson 004268, at -77.


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higher than its benchmark’s return (30.73) percent.194 It is worth noting that this comparison is
conservative because the benchmark, MSCI All-Country World Index (ex-U.S.), is not an
investible product; therefore, its returns do not include the effect of fees.
91.        Given the performance of the Invesco International Growth Fund and other qualitative
factors noted above, in my opinion, adding the Fund to the Plan and maintaining it as an
investment option during the relevant period was reasonable.



                    5.        Principal LifeTime Target Date Funds


92.        The Plan included the Principal LifeTime Fund series (ten funds) from the beginning of
the relevant period. The 20X0 vintages were initiated in 2001, while the 20X5 vintages were
introduced in February 2008. Principal is a well-known fund family with a significant presence
in the target date fund (“TDF”) space. As of 2013, Principal was the fourth largest target date
fund provider behind Fidelity, Vanguard, and T Rowe Price.195 Principal LifeTime Funds had an
experienced manager team. According to Morningstar, the tenure of their managers (7.8 years)
was longer than the average tenure at other TDFs (5.4 years) as of 2014.196
93.        The Complaint alleges that the Principal LifeTime Funds had excessive fees.197 I have
already analyzed Principal LifeTime Funds’ fees in section VII above.198 In this section, I review
their performance.199




194
      See my Workpaper #1, Invesco Returns Since Addition to the Plan, in the backup to this report.
195
      Yang, Janet and Laura Pavlenko Lutton, 2014 Target-Date Series Research Paper, Morningstar, (July 1, 2014). p.
7.
196
    Yang, Janet, Leo Acheson, Jeff Holt, Gretchen Rupp, and Kathryn Spica, 2015 Target-Date Series Research
Paper, Morningstar, (April 7, 2015), pp. 51-52.
197
    Complaint, p. 55.
198
    The Complaint claims that Principal LifeTime Funds charged “fund-of-funds” fees in addition to the fees of
underlying funds and that other TDFs did not charge these fees. Complaint, p. 55. In direct contrast to this claim, I
find that Morningstar’s report on TDFs shows that many TDF series, in fact, charge “fund-of-fund” fees. Principal
LifeTime Funds’ top-level fees are at the lower end of the range of fees. Yang, Janet, Leo Acheson, Jeff Holt,
Gretchen Rupp, and Kathryn Spica, 2015 Target-Date Series Research Paper, Morningstar, (April 7, 2015), pp. 72-
73.
199
    The Complaint does not specifically claim that these funds should have been removed because they
underperformed their benchmarks.


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94.       TDFs are funds that hold a mix of asset classes (e.g., stocks, bonds, etc.) usually through
investments in funds. The asset mix of TDFs change over time along a path (“glide path”) that
becomes more conservative as the target date (usually the retirement date) approaches.
Benchmarking TDFs is more difficult than other funds because there is no homogeneity or single
approach to glide path construction, and the asset allocations of same-vintage TDFs from
different fund families exhibit significant dispersion.200 Some TDFs choose to follow a more
conservative approach than others, and invest a larger share of their assets in fixed income
securities. These funds may have ex-post lower returns compared to other TDFs with a higher
allocation to equities during bull markets. However, this does not necessarily mean that these
TDFs were expected to underperform, ex-ante, because their approach entails lower risk.
Therefore, it is especially important to understand the underlying reasons for performance when
assessing TDFs. One way to benchmark TDFs is to compare them to their peer groups. Another
way is to compare them to an off-the-shelf TDF index, such as the S&P Target Date Retirement
Indexes. A third way is to construct a custom benchmark that uses various indexes as proxies for
underlying assets and weights them according to the same asset allocation of the TDFs.
95.       At the beginning of 2013, Principal LifeTime Funds compared favorably to other TDFs,
according to studies by independent analysts. The funds received the highest rating of 5 for
performance in a 2013 BrightScope Report.201 All vintages had higher three-year annualized
returns compared to BrightScope OnTarget Indexes, as well as higher standard deviations.202
The funds ranked second among all TDFs in total value added versus the BrightScope OnTarget
Indexes, with an overall ranking of 3 for the funds (ranking for performance was 5 and risk was
2, indicating that the funds had excellent performance but took on more risk, compared to
peers).203



200
    Iacurci, Greg, “The Unique Nature of Target-Date Fund Benchmarking,” InvestmentNews, 2015, available at
https://www.investmentnews.com/the-unique-nature-of-target-date-fund-benchmarking-65806.
201
    Israelsen, Craig, and Joseph Nagengast, “Popping the Hood VI, 2013: An Analysis of Target Date Fund
Families,” Target Date Analytics LLC and BrightScope Inc. (2013), pp. 135-139.
202
    Israelsen, Craig, and Joseph Nagengast, “Popping the Hood VI, 2013: An Analysis of Target Date Fund
Families,” Target Date Analytics LLC and BrightScope Inc. (2013), Appendix p. iii.
203
    Total value added is “difference between the actual return of the fund being evaluated and the return of the fund’s
benchmark, namely, each TDF’s corresponding index within the BrightScope OnTarget Index Series. We calculated
Total Value Added for the 43 fund families with 3-year performance history as of December 31, 2012.” Israelsen,
Craig, and Joseph Nagengast, “Popping the Hood VI, 2013: An Analysis of Target Date Fund Families,” Target
Date Analytics LLC and BrightScope Inc. (2013), Appendix, p. vi.

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96.       The Funds used the S&P Target Date Indexes as their benchmark. In Q3 2013 and Q4
2013, all vintages (except for the 2055 vintage) outperformed their benchmarks over quarterly as
well as over three- and five- year periods. The funds also generally outperformed the median
returns of their peer groups in quarterly, one-, three-, and five-year periods. The funds
outperformed the 75th percentile of their peer groups across all period comparisons in Exhibit 6.
Three of the funds, the 2015, 2020, and 2025 vintages, were on the Watch List at the beginning
of the relevant period. These funds were removed from the Watch List in 2014.
97.        In 2014, the vintages of Funds outperformed their benchmarks in 20 of the 40 quarters
(comparisons are done for ten vintages for four quarters). When a particular Fund’s performance
lagged its benchmark performance, the difference was small. Recall that S&P Target Date
Indexes are not investable products, so their returns do not reflect the impact of fees and trading
costs. If the returns of S&P Target Date Indexes are adjusted for average TDF fees to represent
an investable product, they generally fall below the returns of Principal LifeTime Funds. In
2014, all vintages of Principal LifeTime Funds with the exception of 2055 vintage, continued to
generally have higher returns than their benchmarks on a one-, three-, and five-year basis. The
2055 Fund had higher one- and three-year returns than its benchmark at the end of 2014. All
vintages of the Principal LifeTime Funds, except for the Strategic Income Fund, had higher
three- and five-year returns compared to the median returns of their peer groups. Morningstar’s
2015 report on TDFs confirms that at the end of 2014, the performance of Principal LifeTime
Funds compared favorably to the performance of other actively and passively managed TDFs.
Principal LifeTime TDFs had higher one-, three-, and five-year returns compared to the average
returns of other TDFs. Their ten-year returns were the same as the average ten-year returns of
TDFs in general.204
98.       In 2015 and 2016, Principal LifeTime Funds’ performance generally fluctuated. At the
end of 2015, the 2035, 2040, 2045, and 2050 vintages exceeded their benchmark performance on
three- and five-year basis, while the 2015, 2020, 2025, and 2030 vintages exceeded their
benchmark performance on five-year basis. At the end of 2015, all vintages, except for the
Strategic Income Fund, had higher three- and five-year returns compared to the median returns


204
  Yang, Janet, Leo Acheson, Jeff Holt, Gretchen Rupp, and Kathryn Spica, 2015 Target-Date Series Research
Paper, Morningstar, (April 7, 2015), pp. 65-66.

                                                                                                            51
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of their peer group. In 2016, the Plan’s consultants compared the income replacement functions
of actively and passively managed TDFs. Given the deferral rates of Plan’s participants,
Principal’s income replacement outcomes was similar to comparator funds.205 In 2016, the
performance of Principal LifeTime Funds lagged the performances of their benchmarks and peer
groups. At the end of 2016, the Plan began to consider alternative fund sponsors to provide the
target date funds suite for the Plan.206 The objective was to find lower cost alternative funds with
similar glide paths and glide path creation features.207
99.       In 2017, Principal LifeTime Funds’ performance improved. All vintages outperformed
their benchmarks in Q1, Q2, and Q3. The series was replaced by Vanguard Target Retirement
Institutional in October 2017.208
100.      My review shows that Principal LifeTime Funds were appropriate investment options for
the Plan throughout the relevant period. Their performance did not lag their benchmarks or their
peers significantly or consistently. In addition, their fees were reasonable and within the ranges
of their peer funds.




                                             ___________________________________
                                                Professor Russell R. Wermers




205
    BBVA/Ferguson 001703 at -04.
206
    BBVA/Ferguson 001681_Redacted, at -82.
207
    BBVA/Ferguson 001703, at -04.
208
    BBVA/Ferguson 001864_Redacted, at -75.

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APPENDIX A
                                             CURRICULUM VITAE
                                            RUSSELL R. WERMERS

                                                                                                               [December 14, 2019]
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                  Chairman, Department of Finance, January 2019 to present
                  Dean’s Chair in Finance, 2018 to present; and Professor of Finance, 2013 to present
                  Director, Center for Financial Policy, 2013 to present
                  Bank of America Professor, 2016 to 2018

                  Member, Asset Management Advisory Committee, Securities and Exchange Commission, two-year term
                     beginning November 1, 2019

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                  Associate Professor of Finance, Robert H. Smith School of Business, University of Maryland at College
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                  Assistant Professor of Finance, Robert H. Smith School of Business, University of Maryland at
                      College Park, August 2000 – July 2002

                  Assistant Professor of Finance, University of Colorado at Boulder, August 1994 – July 2000

EDUCATION         Ph.D. Finance, University of California, Los Angeles, December 1995
                  M.B.A. (Finance Concentration), University of California, Los Angeles, June 1989
                  B.S. Chemical Engineering, cum laude (top 10% in Engineering), University of Idaho, May 1981
                  B.S. Metallurgical Engineering, cum laude (top 10% in Engineering), University of Idaho, May 1981

REFEREED     Mark Grinblatt, Sheridan Titman, and Russ Wermers, 1995, “Momentum Investment Strategies,
PUBLICATIONS    Portfolio Performance, and Herding: A Study of Mutual Fund Behavior,” American Economic
                Review, December, pages 1088-1105

                  Kent Daniel, Mark Grinblatt, Sheridan Titman, and Russ Wermers, 1997, “Measuring Mutual Fund
                     Performance with Characteristic Based Benchmarks,” Journal of Finance, July, pages 1035-1058

                  Russ Wermers, 1999, “Mutual Fund Herding and the Impact on Stock Prices,” Journal of Finance,
                     April, pages 581-622; Nominated, Smith Breeden Prize for the Outstanding Paper of 1999 Published
                     in The Journal of Finance; Winner, New York Stock Exchange Award for the Best Paper on Equity
                     Trading, 1995 Western Finance Association Meetings

                  Russ Wermers, 2000, “Mutual Fund Performance: An Empirical Decomposition into Stock-Picking
                     Talent, Style, Transactions Costs, and Expenses,” Journal of Finance, August, pages 1655-1695

                  Hsiu-Lang Chen, Narasimhan Jegadeesh, and Russ Wermers, 2000, “The Value of Active Mutual
                      Fund Management: An Examination of the Stockholdings and Trades of Fund Managers,” Journal
                      of Financial and Quantitative Analysis, September, pages 343-368



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APPENDIX A
          Doron Avramov and Russ Wermers, 2006, “Investing in Mutual Funds When Returns Are Predictable,”
             Journal of Financial Economics, August, pages 339-377

          Robert Kosowski, Allan Timmermann, Russ Wermers, and Hal White, 2006, “Can Mutual Fund ‘Stars’
             Really Pick Stocks? New Evidence from a Bootstrap Analysis,” Journal of Finance (Lead Article;
             Finalist, Smith Breeden Prize for the Outstanding Paper of December 2006 to October 2007 Published
             in The Journal of Finance), December, pages 2551-2595

          Russ Wermers, 2006, “Performance Evaluation with Portfolio Holdings Information,” North American
             Journal of Economics and Finance, August, pages 207-230

          Laurent Barras, Olivier Scaillet, and Russ Wermers, 2010, “False Discoveries in Mutual Fund
              Performance: Measuring Luck in Estimated Alphas,” Journal of Finance, February, 179-216. Winner,
              2008 Banque Privée Espírito Santo/Swiss Finance Institute Outstanding Paper Prize

          Robert Jones and Russ Wermers, 2011, “Active Management in Mostly Efficient Markets,” Financial
             Analysts Journal, Nov/Dec, 29-45; Winner, 2011 Graham and Dodd Scroll Award

          Russ Wermers, Tong Yao, and Jane Zhao, 2012, “Forecasting Stock Returns Through an Efﬁcient Aggregation
             of Mutual Fund Holdings ,” Review of Financial Studies, December, 3490-3529; First Prize, 2007 Annual
             Joint Prize of Inquire Europe, Inquire UK, and Q-Group; Reviewed in the CFA Digest, Volume 43(2), May
             2013

          David Blake, Alberto Rossi, Ian Tonks, Allan Timmermann, and Russ Wermers, 2013, “Pension Fund
             Performance and Risk-Taking Under Decentralized Investment Management,” Journal of Finance, June,
             1133-1178.

          Ayelen Banegas, Ben Gillen, Allan Timmermann, and Russ Wermers, 2013, “The Cross-Section of Conditional
              Mutual Fund Performance in European Stock Markets,” Journal of Financial Economics, June, 699-726

          Daniel Li, Michael Markov, and Russ Wermers, 2013, Monitoring Daily Hedge Fund Performance When Only
             Monthly Data is Available, Journal of Investment Consulting 14; Winner, 2012 Journal of
             Investment Consulting Academic Paper Competition

          Nerissa Brown, Kelsey Wei, and Russ Wermers, 2014, “Analyst Recommendations, Mutual Fund
              Herding and Overreaction in Stock Prices,” Management Science (Lead Article), January, 1-20

          David Hunter, Eugene Kandel, Shmuel Kandel, and Russ Wermers, 2014, “Measuring Mutual Fund
             Performance with Active Peer Benchmarks,” Journal of Financial Economics 112 (Lead Article), 1-29;
             Reviewed in the CFA Digest, Volume 44(6), June 2014

          Kelsey Wei, Russ Wermers, and Tong Yao, 2015, “Uncommon Value: The Investment Performance of
              Contrarian Funds,” Management Science, October, 2394–2414

          David Blake, Alberto Rossi, Allan Timmermann, Ian Tonks, and Russ Wermers, 2015, “Decentralization
             in Pension Fund Management,” Journal of Investment Management 13, 35-56

          Lawrence Schmidt, Allan Timmermann, and Russ Wermers, 2016, “Runs on Money Market Mutual Funds,”
             American Economic Review 106, 2625-2657

          Youchang Wu, Russ Wermers, and Josef Zechner, 2016, “Managerial Rents vs. Shareholder Value in Delegated
             Portfolio Management: The Case of Closed-End Funds,” Review of Financial Studies 29, 3428-3470



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APPENDIX A
                   Antonio Gargano, Alberto Rossi, and Russ Wermers, 2017, “The Freedom of Information Act and the
                      Race Toward Information Acquisition,” Review of Financial Studies 30, 2179–2228; Winner,
                      Review of Financial Studies Best Paper Runner-Up Award for 2017; Winner, 2016 PanAgora Crowell Prize

                   Mark Kamstra, Lisa Kramer, Maurice Levi, and Russ Wermers, 2017, “Seasonal Asset Allocation: Evidence from
                      Mutual Fund Flows,” Journal of Financial and Quantitative Analysis 52, 71-109

                   Alberto Rossi, David Blake, Allan Timmermann, and Ian Tonks, 2018, “Network Centrality and
                       Delegated Investment Performance,” Journal of Financial Economics 128, 183-206

                   Gallagher, Emily, Lawrence Schmidt, Allan Timmermann, and Russ Wermers, 2019, “Investor
                       Information Acquisition and Money Market Fund Risk Rebalancing during the 2011-12 Eurozone
                       Crisis,” Review of Financial Studies, forthcoming

                   Huang, Alan, Hongping Tan, and Russ Wermers, 2019, “Institutional Trading around Corporate News: Evidence
                      from Textual Analysis,” Review of Financial Studies, forthcoming

                   Groenborg, Neils, Asger Lunde, Allan Timmermann, and Russ Wermers, 2019, “Picking Funds with
                      Confidence,” Journal of Financial Economics, forthcoming

                   Alok, Shashwat, Nitin Kumar, and Russ Wermers, 2019, “Do Fund Managers Misestimate Climatic
                      Disaster Risk?” Review of Financial Studies, forthcoming

                   Russ Wermers, 2019, “Active Investing and the Efficiency of Security Markets,” Journal of Investment
                      Management, forthcoming

                   Barras, Laurent, Olivier Scaillet, and Russ Wermers, 2019, “Reassessing False Discoveries in Mutual Fund
                       Performance: Skill, Luck, or Lack of Power? A Reply,” Journal of Finance (Replications and
                       Corrigenda), forthcoming

TEXTBOOKS          Bernd Fischer and Russ Wermers, Performance Evaluation and Attribution of Security Portfolios,
                       Elsevier/Academic Press, December 2012

OTHER        Alan Huang, Hongping Tan, and Russ Wermers, 2019, “Institutional Trading around Corporate News:
PUBLICATIONS     Evidence from Textual Analysis,” Harvard Law School Forum on Corporate Governance and Financial
                 Regulation, forthcoming

                   Mark M. Carhart and Russ Wermers, 2018, “Topics in Performance Appraisal,” Reading 8, Certificate in
                      Investment Performance Measurement (CIPM) (Required Reading for Level II), CFA Institute

                   Robert Jones and Russ Wermers, 2018, “Active Management in Mostly Efficient Markets,” reprinted
                      in The Characteristics of Successful Active Investment Managers (9 pages), Dodge & Cox Mutual Fund
                      Management Company

                   Wu, Youchang, Russ Wermers, and Josef Zechner, “Managerial Rents vs. Shareholder Value in
                      Delegated Portfolio Management,” Harvard Law School Forum on Corporate Governance
                      and Financial Regulation, September 13, 2016

                   Cao, Bingkuan, Xinyuan Shao, Russ Wermers, and Jinming Xue, “Stoxx True Exposure Indices: Risk
                      Exposure Analysis,” September 12, 2016. Available at:
                      https://www.stoxx.com/document/Others/marketing/STOXX_TRU_Exposure_Indices_Maryland
                      _Research_Report.pdf



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             Wei, Kelsey, Russ Wermers, and Tong Yao, 2016, “Against the ‘Wisdom of Crowds’: The Investment
                Performance of Contrarian Funds,” Chapter 19 in Portfolio Construction, Measurement, and Efficiency, J.B.
                Guerard Jr. (ed.), Springer, (invited book chapter in honor of Jack Treynor)

             Susan Christoffersen, David Musto, and Russ Wermers, 2014, “Investor Flows to Asset Managers:
                 Causes and Consequences,” Annual Review of Financial Economics 6, 289-310 (invited survey
                 article)

             Daniel Li, Michael Markov, and Russ Wermers, 2013, “It’s 4 pm. Do You Know Where Your Hedge
                Funds Are?” Hedge Funds Review

             Russ Wermers, 2011, “Performance Measurement of Mutual Funds, Hedge Funds, and Institutional
                Accounts,” Annual Review of Financial Economics, 537-574 (invited survey article)

             Russ Wermers, 2011, “Review of ‘Investments and Portfolio Performance,’ by Edwin Elton and Martin
                Gruber,” Quantitative Finance, Vol. 11 (9), September, 1297-1298

             Jason C. Hsu, Vitali Kalesnik, and Russ Wermers, 2011, “Performance Evaluation of Active Managers:
                 An Overview of Current Practice,” Investments & Wealth Monitor, January/February, 37-40

             Russ Wermers, 2001, “The Potential Effects of More Frequent Portfolio Disclosure on Mutual Fund
                Performance,” Perspective, The Investment Company Institute, June, pages 1-12 (submitted by the
                ICI to the SEC as the major research study supporting that increased disclosure of security holdings
                by mutual funds could be harmful to the realized returns of fund shareholders)

             Russ Wermers, 2001, “The Greatest Return Stories Ever Told: Comments,” Journal of Investing,
                92-93

             Russ Wermers, 2001, “Can Actively Managed Money Beat the Market?” in Mutual Funds: Risk and
                Performance Analysis for Decision Making, by John A. Haslem, Blackwell Publishers, 311-
                315


WORKING      “Cash-flow timing vs. discount-rate timing: A decomposition of mutual fund market-timing skills,” with
PAPERS          Chunhua Lan, 2018

             “Information Intensity and Mutual Fund Performance,” with George Jiang, Ke Shen, and Tong Yao,
                 2018

             “News or noise: Mobile internet technology and market quality,” with Nerissa Brown, W. Brooke Elliott,
                and Roger White, 2016

             “Do Small Institutional Shareholders Use Low-Cost Monitoring Opportunities? Evidence from the Say
                on Pay Vote” with Miriam Schwartz-Ziv, 2018

             “Holding Horizon: A New Measure of Active Investment Management,” with Chunhua Lan and Fabio Moneta,
                2018

             “Investor Flows and Share Restrictions in the Hedge Fund Industry,” with Bill Ding, Mila Getmansky, and
                 Bing Liang, 2010

             “Mutual Fund Performance and Governance Structure: The Role of Portfolio Managers and Boards
                of Directors,” with Bill Ding, 2009


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                   “A Matter of Style: The Causes and Consequences of Style Drift in Institutional Portfolios,” 2011

                   “Portfolio Performance, Discount Dynamics, and the Turnover of Closed-End Fund Managers,”
                      with Youchang Wu and Josef Zechner, 2008

                   “Aftermarket Consumer Behavior and Pricing: The Implications of Post-Purchase Consumer Arbitrage,” with
                       Chris Leach and Fred Sterbenz, 2009

                   “Is Money Really ‘Smart’? New Evidence on the Relation Between Mutual Fund Flows, Manager Behavior,
                       and Performance Persistence,” 2003

                   “Herd Behavior in Voluntary Disclosure Decisions: An Examination of Capital Expenditure
                      Forecasts,” with Nerissa Brown and Larry Gordon, 2007

                   “Hedge Fund Flows and Contagion in Financial Markets,” with Bill Ding, Mila Getmansky, and
                      Bing Liang, 2007

                   “Patterns of Coauthorship and Research Productivity in Finance Academia,” 2008, with J. Chris
                       Leach and Ron Melicher

                   “Style Migration and the Cross-Section of Average Stock Returns,” with Hsiu-Lang Chen, 2005

                   “Are Mutual Fund Shareholders Compensated for Active Management ‘Bets’?” 2003

                   “Risk-Taking Behavior by Mutual Fund Managers: Do Managers ‘Walk Away’ from the
                       Tournament?” 2001, with Naveen Daniel

                   “Momentum Investment Strategies of Mutual Funds, Performance Persistence, and Survivorship
                      Bias,” 1997

                   “An Optimum Test of Correlated Trading by Institutional Investors,” 1993

                   Master's Thesis: Research in cooperation with Wedbush Securities, Inc., Los Angeles, CA: “The
                      Identification of Optimal Target Companies and Optimal Structuring for Leveraged Buyouts
                      (LBOs),” 1989

CONFERENCES Presentation, “Active Management and the Efficiency of Security Markets,” 2019 Research Symposium
(Past 3 Years)     of the Active Management Research Alliance (AMRA), Kenan Institute at UNC, New York
               Presentation, “Do ETFs Increase Liquidity?” (by coauthor), European Finance Association Annual
                   Meetings, (Carcavelos, Portugal), August 2019
               Keynote Talk, “Do ETFs Increase Liquidity?,” Hedge Funds, Mutual Funds, and Factor Investing
                   Conference, Lancaster University (UK), June 2019
               Keynote Talk, “Institutional Trading around Corporate News: Evidence from Textual Analysis,” Front
                   Range Finance Conference (University of Colorado at Denver), May 2019
               Discussion of “Swing Pricing and Fragility in Open-End Mutual Funds,” Sixth Annual Conference on
                   Financial Market Regulation, Washington DC (SEC Headquarters), May 2019
               Discussion of “Liquidity Provision in the Secondary Market for Private Equity Fund Stakes,” Second
                   World Symposium on Investment Research (in partnership with the Review of Financial Studies),
                   NYC, May 2019
               Presentation, “Investor Information Acquisition and Money Market Fund Risk Rebalancing during the
                   2011-12 Eurozone Crisis,” Diamond-Dybvig 36 Conference (Washington University in St. Louis),
                   March 2019


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          Presentation, “Institutional Trading around Corporate News: Evidence from Textual Analysis,” Fourth
              Annual News and Finance Conference (Columbia University), March 2019
          Keynote Talk, “Institutional Trading around Corporate News: Evidence from Textual Analysis,” Mid-
              Atlantic Research Conference (at Villanova University), March 2019
          Keynote Talk, “Institutional Trading around Corporate News: Evidence from Textual Analysis,” Finance
              Down Under Conference, University of Melbourne, March 2019
          Session Chair, “Selecting Mutual Funds,” American Finance Association Annual meetings, Atlanta,
              January 2019
          Keynote Talk, “Active vs. Passive Management: How to Separate ‘SAMs’ from ‘IAMS’,” MPT
              (Modern Portfolio Theory) Forum, International Lecture, Shonan Kokusai Village (Japan),
              December 2018
          Presentation, “Active vs. Passive Management: How to Separate ‘SAMs’ from ‘IAMS’,” Nippon Finance
              Association (Tokyo), December 2018
          Presentation of “Active vs. Passive Management: How to Separate “SAMs” from “IAMS,”
              Defined Contribution Institutional Investment Association, Academic Forum, San Francisco,
              November 2018
          Presentation of “Institutional Trading around Corporate News: Evidence from Textual Analysis,”
              Quantitative Investing Conference: The Future of Active Management,” Joint Conference of
              UBS and the University of Maryland Center for Financial Policy, New York City, November 2018
          Session Chair, “Mutual Funds,” Asian Finance Association Annual meetings, Tokyo, June 2018
          Presentation of “Holding Horizon: A New Measure of Active Investment Management,” Asian Finance
              Association Annual meetings, Tokyo, June 2018
          Discussion of “Mutual Fund Flight-to-Liquidity,” Asian Finance Association Annual meetings, Tokyo,
              June 2018
          Program Chair, Front Range Finance Conference, University of Colorado at Denver, May 2018
          Presentation of “Holding Horizon: A New Measure of Active Investment Management,” Georgia State
              Conference on Recent Advances in Delegated Portfolio Management, Atlanta, April 2018
          Discussion of “Following the Money: Evidence for the Portfolio Balance Channel of Quantitative
              Easing,” American Finance Association Annual meetings, Philadelphia, January 2018
          Presentation of “Costly Information Production, Information Intensity, and Mutual Fund
              Performance,” American Finance Association Annual meetings, Philadelphia, January 2018
          Presentation of “Do Small Institutional Shareholders Use Low-Cost Monitoring Opportunities?
              Evidence from the Say on Pay Vote,” Conference on “Institutional Investor Activism and
              Engagement,” Tel Aviv and Jerusalem, December 2017
          Panelist, “The Effect of ETPs on Financial Markets,” SEC-NYU Dialogue on Securities Market
              Regulation, September 2017
          Presentation of “Cash-flow timing vs. discount-rate timing: A decomposition of mutual fund market-
              timing skills,” Asian Finance Association Annual Meetings, Seoul, July 2017
          Discussion of “Buy Side, Sell Side,” Nanyang Technological University Finance Conference, Singapore,
              July 2017
          Presentation of “Costly Information Production, Information Intensity, and Mutual Fund Performance,”
              Nanyang Technological University Finance Conference, Singapore, July 2017
          Session Chair, Asset Management Session, Fourth Annual Conference on Financial Market Regulation,
              (jointly held by the SEC, University of Maryland Center for Financial Policy, Lehigh University
              Center for Financial Services, and the CFA Institute).
          Discussion of “Compensation Benchmarking and the Peer Effects of Say-on-Pay,” 10th Annual
              Corporate Governance Conference, Drexel University, April 2017
          Keynote Talk, Auckland Finance Meeting, Auckland Centre for Financial Research, New Zealand,
              December 2016
          Presentation of “Mutual Fund Investment Horizon and Performance,” Defined Contribution
              Institutional Investment Association, Academic Forum, November 2016, New York City
          Presentation (by coauthor) of “Cash-flow timing vs. discount-rate timing: A decomposition of mutual
              fund market-timing skills,” American Finance Association Annual Meetings, Chicago, January 2017


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APPENDIX A
                    Presentation (by coauthor) of “Information Intensity and Mutual Fund Performance,” Financial
                        Management Association Annual Meetings, Las Vegas, October 2016
                    Discussion of “Liquidity Transformation in Asset Management: Evidence from the Cash Holdings of
                        Mutual Funds,” Wharton Liquidity and Financial Crises Conference, October 2016
                    Presentation (by coauthor) of “Cash-flow timing vs. discount-rate timing: A decomposition of mutual
                        fund market-timing skills,” Financial Management Association Annual Meetings, Las Vegas, October
                        2016
                    Presentation of “Institutional Trading around Corporate News: Evidence from Textual Analysis,”
                        2016 AIM Investment Conference, University of Texas at Austin
                    Presentation (by coauthor) of “Do Small Institutional Shareholders Use Low-Cost Monitoring
                        Opportunities? Evidence from the Say on Pay Vote,” European Finance Association Annual
                        Meetings, Oslo, August 2016
                    Session Chair, “Runs on Banks and Mutual Funds,” Western Finance Association Annual Meetings,
                        Park City, Utah, June 2016
                    Presentation (by coauthor) of “Costly Information Production, Information Intensity, and Mutual Fund
                        Performance,” China International Conference in Finance, Xiamen, China, 2016
                    Discussion of “Asset Manager Funds,” by Joseph Gerakos, Juhani Linnainmaa, and Adair Morse, Duke/
                        UNC Asset Pricing Conference, April 2016
                    Poster Session (Macroeconomics), “The International Transmission of Money Market Fund Liquidity
                        Shocks,” American Economic Association Annual Meetings, San Francisco, January 2016
                    Presentation (by coauthor) of “Network Centrality and Pension Fund Performance,” American Finance
                        Association Annual Meetings, San Francisco, January 2016
                    Presentation (by coauthor) of “The Stability of Money Market Mutual Funds: The Effect of the 2010
                        Amendments to Rule 2A-7,” American Finance Association Annual Meetings, San Francisco, January
                        2016

INVITED        Aalto University (Helsinki), 2018
PAPER          Baruch University, 2019
PRESENTATIONS The Capital Group (American Funds), 2017
(Past 5 Years) Chulalongkorn University (Bangkok), 2013, 2014
               Cornell University, 2019 (planned)
               Deakin University (Melbourne, Australia), 2019
               ESMT and Humboldt University (Joint Seminar; Berlin), 2013
               Federal Reserve Board (Washington, D.C.), 2014
               Georgetown University, 2016
               Hitotsubashi University (Tokyo), 2018
               Hong Kong Polytechnic University, 2018
               Institutional Shareholder Services (ISS), 2015
               Lund University, 2017
               McGill University, 2017
               Ohio State University, 2014
               Peking University, 2017
               Penn State University, 2015
               Purdue University, 2017
               Queensland University of Technology, 2019
               Shanghai Advanced Institute of Finance (SAIF), 2016, 2019 (planned)
               Southwestern University of Finance and Economics, Institute of Financial Studies (SWUFE IFS;
                    Chengdu, China), 2017, 2018
               Stockholm University, 2017
               SUNY-Buffalo, 2014
               Texas A&M University, 2017
               T. Rowe Price, 2018
               Tsinghua University, 2020 (planned)
               University of Baltimore, 2014
               University of California, Irvine, 2019 (planned)



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                    University of Cincinnati, 2014
                    University of Colorado at Boulder, 2020 (planned)
                    University of Delaware, 2015
                    University of Gothenburg, 2017
                    University of Glascow, 2015
                    University of Hawaii, 2009, 2018
                    University of Houston, 2013
                    University of Illinois, Chicago, 2015
                    University of Illinois, Urbana-Champaign, 2017
                    University of Iowa, 2014
                    University of Lancaster, 2015
                    University of Manchester, 2015
                    University of Miami, 2016
                    University of Missouri, 2015
                    University of Oregon, 2019
                    University of Oulu, 2018
                    University of Queensland, 2016, 2019
                    University of Virginia (The Darden School), 2015
                    U.S. Securities and Exchange Commission, 2015
                    Vienna University of Economics and Business Administration, 2020 (planned)
                    Washington State University, 2014

GRANTS              Funded Research Grant, Investment Adviser Association (IAA), 2019 ($15,000)
(Past 5 Years)      Funded Research Grant, ETF Research Academy of the Paris-Dauphine House of Finance (in
                      association with Lyxor Asset Management), 2015 (€10,000)
                    Funded Course Development Grant (Developing Matlab Modules for Quantitative Equity Portfolio
                      Management class), Smith School, 2013 ($7,500)


FELLOWSHIPS, KBank Chair Professor, Chulalongkorn University (visiting professorship, June/July 2014)
VISITING CHAIRS, Fellow, Burridge Center for Securities Analysis and Valuation (The University of Colorado),
SCHOLARSHIPS         March 16-20, 2009
                Fellow, Center for Institutional Investment Management, SUNY-Albany, 2006-present
                Fellow, Centre for Financial Research, University of Cologne, 2005-present
                Fellow, Wharton Financial Institutions Center, 2002-present
                Fellow, Gutmann Center at the University of Vienna, 2002-2003
                Associate, Burridge Center for Securities Analysis and Valuation (The University of Colorado), 1999-
                     2001
                Scholar, Burridge Center for Securities Analysis and Valuation (The University of Colorado), 1998-
                     1999
                Junior Faculty Development Award (Competitive Award at The University of Colorado), 1998
                Big 12 Faculty Fellowship (Competitive Award at The University of Colorado), 1998
                Dean’s Teaching Scholar, 1997-1998 (Competitive Award at The University of Colorado)
                AACSB National Doctoral Fellow (national competition), 1989-1990
                UCLA Doctoral Fellowships, 1989-1994:
                   Graduate Division/Ph.D. Fellowship
                   C.V. Starr Fellowship
                   Anderson Doctoral Fellowship
                Ziegler Educational Foundation Scholarship, U. of Idaho Metallurgical Engineering Dept.,
                     1979, 1980
                Calvin and Fannie Cobb Scholarship, Boise State University, 1978
                A.W. Fahrenwald Foundation Scholarship, U. of Idaho Chemical Engineering Dept., 1976


RESEARCH            Review of Financial Studies Michael Brennan Best Paper Runner-Up Award for 2017


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AWARDS,        First Place (with coauthors), PanAgora Crowell Prize, 2016
HONORS,        Winner (with coauthors), CFA Institute Asia Pacific Capital Markets Research Award, 2015 FMA Asian
PROFESSIONAL        Meeting, (Seoul), 2015
CERTIFICATIONS Winner (with coauthors), First Academic Paper Competition, 2012, Journal of Investment Consulting
               Third Place (with coauthors), PanAgora Crowell Prize, 2012
               Winner (with coauthor), Graham and Dodd Scroll Award, Financial Analysts Journal, 2011
               Winner (with coauthors), CFA Institute Best Paper Award, Asian Finance Association Annual Meetings
                    (Macau), 2011
               Winner (with coauthors), 2008 Banque Privée Espírito Santo/Swiss Finance Institute Outstanding Paper Prize
               Finalist (with coauthors), Smith Breeden Prize for the Outstanding Paper of 2007 Published in The
                    Journal of Finance (one of top eight papers published during December 2006 to September 2007)
               Outstanding Paper Award (with coauthors), 2008 Conference of the Centre for Financial Research at the
                    University of Cologne
               First Prize (with coauthors), 2007 Annual Joint Prize of Inquire Europe, Inquire UK, and Q-Group
               SWX Best Paper Award (with coauthors), Eighth Conference of the Swiss Society of Financial Market
                    Research, Zurich, Switzerland, April 2005
               Winner (with coauthors), 2004 Gutmann Prize for Outstanding Paper, University of Vienna
               Nominated, Smith Breeden Prize for the Outstanding Paper of 1999 Published in The Journal of Finance
               Third Place, The Chicago Quantitative Alliance (CQA) Third Annual Academic Competition,
                    September 1996, Chicago, Illinois
               New York Stock Exchange Award for the Best Paper on Equity Trading, Western Finance Association
                    (WFA) Meetings, June 1995, Aspen, Colorado
               Inducted into Beta Gamma Sigma (national business honor society), 1986
               Vice President, Spirit of ‘76 Toastmasters (Unocal), 1983-1989
               Best Speaker of 1985, Spirit of ’76 Toastmasters (Unocal) (and numerous other speaking awards)
               Officer, Fully-Employed MBA Association at UCLA, 1986-1987
               Licensed Chemical Engineer, State of California, 1984-present
               President, Unocal Executive Speakers' Forum (introduced top executives at banquets), 1982-1983
               Passed Engineer-in-Training Exam (during first administration of exam), State of Idaho, 1981
               Finalist, “Outstanding Junior-Class Student,” College of Mines, University of Idaho, 1980
               Inducted into Tau Beta Pi (national engineering honor society), 1979
               Member and Officer, Delta Chi Fraternity, 1976-1977
               Chapter Scholar Award, University of Idaho Chapter of Delta Chi Fraternity, 1977




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MEDIA          “Active Managers Underpin Functioning Markets,” Letter to the Editor, Financial Times, September 29,
APPEARANCES        2019
(Past 5 Years) “Swedroe: No Point to Timing Factors,” ETF.com, February 11, 2019
               “Will a Fragile Banking System Survive Future Runs?” Barron’s, October 16, 2018
               “Think Outside the Style Boxes,” Think Advisor (thinkadvisor.com), June 25, 2018
               “Do Index Funds Cost 100 Times as Much as You Think?” The Wall Street Journal, April 20, 2018
               “In Fund Management, Winning Trends Persist,” Barron’s, September 9, 2017
               “ETF Flash Crash ‘Impossible’ in Europe,” Yahoo Finance, July 27, 2016, and ETF.com, November 5,
                   2015
               “Sharks Needed in the Tank,” Investment Magazine (http://investmentmagazine.com.au), May 30, 2016
               “Investors Need to Pick the Right Fund Manager for the Times,” The Sydney Morning Herald, May 24,
                   2016
               “Oakmark Funds: A Patient and Active Approach,” ValueWalk.com, August 24, 2015
               Interview in Stoxx Pulse (a publication by STOXX Europe), Summer 2015
               “As the Market Slows, Play Offense and Defense,” Barron’s, May 29, 2015
               “Hedge Funds Making Profits Using FOIA Requests, Says New Study,” valuewalk.com, February 3, 2015
               “Has the Death Knell of Active Management Been Rung too Soon?” Financial Times, February 1, 2015
               “Flight Cancellations Continue In Sioux Falls,” Interview on Kelo Television, Sioux Falls, South Dakota,
                   September 30, 2014
               “Nobel Duel: Which Investment Style Packs More Punch?” Bankrate.com, March 10, 2014
               “And the Next Star Fund Manager Is…,” The Wall Street Journal, Weekend Edition, January 18/19, 2014
               UK Television interview on “Straight Talk,” September 16, 2013,
                   http://www.investmentcompass.co.uk/topstories


CURRENT              Investments: (1) Empirical studies of the impact of institutional investor trading on stock markets,
RESEARCH                (2) Performance evaluation, (3) Measurement of survivorship bias and performance persistence
INTERESTS            Microfinance: The structure of microfinance institutions in Thailand (urban vs. rural, industry, religion)
                        and their efficacy in distributing loans
                     Security Market Efficiency Studies: (1) Returns to momentum investing strategies, (2) Returns to
                        growth stocks vs. value stocks widely held and traded by mutual funds, (3) Information content
                        of analyst earnings forecasts and recommendations, (4) Information content of mutual fund
                        portfolio disclosure, (5) Herding behavior by investment managers and its impact on security prices
                     Energy Markets: (1) Gasoline retail pricing

DISSERTATION “Essays on the Investment Behavior of Institutional Investors”: Investigates the interaction
             between institutional investors and the markets in which they trade, focusing on investment strategies
             that are based on market information, and on the impact of institutional trades on markets. The first
             chapter, Momentum Investment Strategies, Portfolio Performance, and Herding, documents the use of past returns
             (technical analysis) by the institutions to achieve abnormal performance. The second chapter, Herding,
             Trade Reversals, and Cascading by Institutional Investors, investigates the tendency of institutional investors to
             mimic each other’s trades, and the tendency of some investors to follow the prior investment decisions of
             others; this chapter also studies the impact of institutional investors on market prices. The third chapter,
             Serial Correlation, Performance Persistence, and Survivorship Bias, measures the magnitude of survivorship bias in
             studies of mutual fund performance, and the relation of investment “style” to performance persistence
             and survivorship bias


TEACHING             University of Colorado (1994 to 2000):
                     Undergraduate Investments [Average Student Evaluation (1994-2000) = A] (Average class size = 50)
                     Undergraduate Special Topics in Investment Management [Average Student Evaluation (2000) = A+]
                        (Average class size = 30)
                     MBA Advanced Corporate Finance [Average Student Evaluation (1995-1996) = A-] (Average class


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                      size = 55)
                   PhD Empirical Methods [Average Student Evaluation (1996-1997) = A+] (Average class size = 15)
                   PhD Finance Theory [Average Student Evaluation (1999) = A+] (Average class size = 15)

                   University of Maryland (2000 to 2018, most recent semester shown):
                   Investment Management, MBA and M.S. Finance [Average Student Evaluation (Spring 2018) = 3.73/4.0]
                   Quantitative Equity Portfolio Management, MBA and M.S. Finance [Average Student Evaluation
                       (Spring 2019) = 3.67/4.0 and 3.55/4.0]
                   Undergraduate Investments [Average Student Evaluation (Spring 2016) = 3.55/4.0]
                   Undergraduate Quantitative Equity Portfolio Management [Average Student Evaluation (Spring 2019) =
                       3.23/4.0]
                   Doctoral Empirical Methods [Average Student Evaluation (Spring 2013) = 3.56/4.0]

                   Swiss Finance Institute Certificate Program (Executive Education in Geneva, Switzerland;
                   2001-2006):
                   Performance Evaluation and Attribution: Theory and Practical Application (One-Week Course in
                       the Fall of Each Year) [Six-Year Average: 4.6/5.0]

                   Stockholm University (2003, 2004):
                   Performance Evaluation and Attribution: Theory and Practical Application (Two-Week Masters-
                       Level Course) [Two-Year Average: 5.0/5.0]

                   Chulalongkorn University (Thailand) (2004-2019):
                   Performance Evaluation and Attribution: Theory and Practical Application (One-Week Masters-
                       Level Course) [Average Student Evaluation (July 2019) = 4.40/5.0]

TEACHING    Distinguished Teaching Award (Top 10% in Undergraduate Teaching at the Smith School), AY2018
AWARDS,     Allen J. Krowe Excellence in Teaching Award, Smith School at the University of Maryland, AY2012
RECOGNITION Top 15% Teacher, Smith School at the University of Maryland, AY2012
            Honored as “Faculty Mentor Who Has Made the Most Impact” by Qiao Qiao (Chelsea) Yin, who was
                named one of the 2012-2013 Philip Merrill Presidential Scholars at the University of Maryland (a
                top undergraduate student campus-wide recognition)
            Joe Wikler Teaching Award, Department of Finance, Smith School of Business, University
                of Maryland, 2007
            University of Maryland “Teaching with Technology Award” (Top Prize for a Campus-Wide Teaching
                Competition), 2005
            Finalist (Finished in Top Three Faculty on Entire Campus), Teaching Award, Student Organization
                for Alumni Relations (SOAR)—a University of Colorado Campus-Wide Teaching Award,
                1999-2000
            Received Rating of “Excellent” in Teaching in Reappointment Evaluation at Department Level
                and in Dean’s Letter at The University of Colorado, 1999

ADVISING           Dissertation Advisor (ex-Officio) for Harold (Tray) Spilker, placed at University of Hawaii
ACTIVITIES         Co-Chair (with Pete Kyle), Dissertation Committee for Benjamin Munyan, placed at Vanderbilt
                       University, 2014-2015; winner of the University of Maryland’s 2015 Distinguished Dissertation Prize
                       (across all Social Sciences)
                   Chair, Dissertation Committee for Nitin Kumar, placed at Indian School of Business, 2009-2013
                   Member, Dissertation Committee for Nitish Sinha, placed at University of Illinois at Chicago, 2009-2010
                   Dissertation Advisor (ex-Officio) for Laurent Barras, placed at McGill University, 2008-2009
                   Chair, Dissertation Committee for David Hunter, placed at University of Hawaii, currently at University
                       of Queensland, 2007-2008
                   Member, Dissertation Committee for Scott Nestler, placed at United States Military Academy at
                       West Point, 2006-2007


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                   Co-Chair, Dissertation Committee for Nerissa Brown, placed at University of Southern California,
                      currently at University of Illinois, Urbana-Champaign
                   Member, Dissertation Committee for Naveen Daniel, placed at Purdue University, currently at Drexel
                      University

SERVICE        Editorial Board, Financial Analysts Journal, 2018-
ACTIVITIES     Editorial Board, Review of Behavioral Finance, 2017-
(PAST 5 YEARS) Editorial Board, European Financial Management, 2017-
               Associate Editor, Journal of Banking and Finance, 2015-
               Advisory Board, The Journal of Performance Measurement, 2013-
               Co-Author, Expert Level Curriculum Reading for CIPM Program of the CFA Institute, 2018
               Advisory Board, M.S. Finance Program, Faculty of Commerce and Accountancy, Chulalongkorn
                   University, 2015-
               Associate Editor, The Financial Review, 2015-2018
               Associate Chairperson, 2014 Western Finance Association Annual Meetings, Empirical Asset Pricing
                   Area
               Member, Advisory Board of The Journal of Performance Measurement
               Editor, 4 Topic Areas of Curriculum for CIPM Program of the CFA Institute, 2013
               Member, Editorial Board of Journal of Business Administration Research (Chulalongkorn
                   University, Bangkok, Thailand)

                   University of Maryland at College Park:
                      Chairman, Department of Finance, January 2019-present
                      Director, Center for Financial Policy, 2013-present
                      Chair, Promotion Committee for Michael Faulkender, Fall 2016
                      Chair, Promotion Committee for Liu Yang, Fall 2015
                      Chair, Promotion Committee for N. Prabhala, Fall 2014
                      Chair, Finance Department Untenured (Tenure-Track) Faculty Review Committee, AY2013
                      Member, OCS Faculty Advisory Committee, AY 2013
                      Faculty Council, AY 2013
                      Team Admin, AY 2013
                      Team MBA, AY 2012, 2013
                      Member, Recruiting Committee, AY 2002-2010, 2012, 2013


CONSULTING         Consultant, Zacks Investment Research
EXPERIENCE         Consultant, STOXX Indexes
                   Consultant, Office of Financial Research, U.S. Department of the Treasury
                   Consultant, Parala Capital
                   Consultant, Goldman Sachs Asset Management
                   Consultant, ProShares
                   Consultant, T. Rowe Price
                   Academic Affiliate, The Analysis Group
                   Academic Affiliate, Cornerstone Research
                   Expert Witness, Charles River Associates
                   Expert Witness, Alvarez and Marsal
                   Expert Consultant/Witness, Federal Bureau of Investigation
                   Expert Consultant/Witness, The Securities and Exchange Commission, multiple mutual fund market-
                      timing cases, late-trading cases, and a money market mutual fund case
                   Expert Consultant/Witness, Kirkland and Ellis Law Firm, Chicago
                   Mutual Fund Risk/Return Study, the Commonfund Institute
                   Consultant for Performance Research and Design (a pension fund consulting company)
                   Consultant, Investment Company Institute, Washington, D.C.


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                    Risk Management for Electricity Products, Stratus Consulting, Inc., Boulder, Colorado (Principal
                        Co-Architect of “Portfolio Optimizer,” a Risk Management System for Duke Solutions, an
                        Energy Trading Firm)
                    CFA Exam Study Materials Developer, Allen Resources


TESTIMONY/     “Nelsen, et al., v. Principal Global Investors Trust Company, et al.,” Submitted Expert Report to
EXPERT REPORTS     Support class certification challenge, Testified at Deposition, 2019
(PAST 4 YEARS) “Baird, et al., v. BlackRock Institutional Trust Company, N.A., et al.,” Submitted Expert Report to
                   support class certification challenge, Testified at Deposition, 2019
               “Henderson, et al., v. Emory University, et al.,” Submitted Expert Report, Testified at Deposition, 2019
               “Clark, et al., v. Duke University, et al.,” Submitted Expert Report and two Rebuttal Reports, Testified
                   at Deposition, 2018
               “Terraza, et al., v. Safeway Inc., et al., and Lorenz, et al., v. Safeway Inc., et al.,” Submitted Expert
                   Report and Rebuttal Report, Testified at Deposition, 2018
               “Tracey, et al., v. Massachusetts Institute of Technology, et al.,” Submitted Expert Report to support
                   class certification challenge; Submitted Affirmative Expert Report and Rebuttal Report, Testified at
                   Deposition, 2018/2019
               “Ramos, et al., v. Banner Health, et al.,” Submitted Expert Rebuttal Report, Testified at Deposition, 2018
               “Pledger, et al., v. Reliance Trust Company, et al.,” Submitted Expert Report and Rebuttal Report,
                   Testified at Deposition, 2018
               “Troudt, et al., v. Oracle Corporation, et al.,” Submitted Expert Report and Rebuttal Report, 2017/2018,
                   Testified at Deposition, 2019
               “Brewster Smith, et al., v. BB&T Corporation, et al.,” Submitted Expert Report, Testified at Deposition,
                   2017
               “Wildman, et al., v. American Century Services, LLC, et al.,” Submitted Expert Report, Testified at
                   Deposition, 2017
               “Urakhchin, et al., v. Allianz Asset Management of America, L.P., et al.,” Submitted Expert Report,
                   Rebuttal Report, and Testified at Deposition, 2017
               “In re Virtus Investment Partners, Inc. Securities Litigation,” Submitted Expert Report, Testified at
                   Deposition, 2017
               “Youngers, et al. v. Virtus Investment Partners, Inc., et al.,” Submitted Expert Report, 2017
               “Terrence Zehrer and Ruth Tumpowsky v. Harbor Capital Advisors, Inc.,” Submitted Expert
                   Report, Testified at Deposition, 2016
               “Pender et al. v. Bank of America Corp.,” Submitted Expert Report, two Supplemental Expert
                   Reports, and Testified at Trial on Behalf of the Defendant, 2016
               “Sivolella v. AXA Equitable Life Insurance Company,” Submitted Expert Report, Testified at
                   Deposition, and Testified at Trial on Behalf of the Defendant, 2014-2016
               “In re J.P. Morgan Stable Value Fund ERISA Litigation,” Submitted Expert Report and Rebuttal Expert
                   Report, and Testified at Deposition on Behalf of the Defendant, 2016
               “Fred McClure v. Russell Investment Management Company and Russell Fund Services Company,”
                   Submitted Expert Report and Testified at Deposition on Behalf of the Defendant, 2015/2016




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APPENDIX A
Citations
                                                From Web of Science (webofknowledge.com)
                                                        As of December 14, 2019

Cited Paper                                 # Citations

A. Published Papers

Momentum Investment Strategies,                    627
  Portfolio Performance, and
  Herding: A Study of Mutual
  Fund Behavior
  (published in the American
  Economic Review, 1995)

Measuring Mutual Fund Performance                  808
  With Characteristic-Based
  Benchmarks
  (published in the Journal of
  Finance, 1997)

Mutual Fund Herding and the                        530
   Impact on Stock Prices
   (published in the Journal
   of Finance, 1999)

Mutual Fund Performance: An                        483
  Empirical Decomposition into
  Stock-Picking Talent, Style,
  Transactions Costs, and Expenses
  (published in the Journal of
  Finance, 2000)

The Value of Active Mutual Fund                    197
  Management: An Examination of
  the Stockholdings and Trades of
  Fund Managers (published in the
  Journal of Financial and Quantitative
  Analysis, 2000)

The Potential Effects of More Frequent               7
  Portfolio Disclosure on Mutual Fund
  Performance, published in Perspective
  (an Investment Company Institute
  Publication)

Investing in Mutual Funds When Returns              89
   are Predictable (published in the
   Journal of Financial Economics, 2006)

Can Mutual Fund “Stars” Really Pick Stocks?        265
  New Evidence from a Bootstrap Analysis
  (published in the Journal of Finance, 2006)


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Cited Paper                                     # Citations

Performance Evaluation with Portfolio               1
   Holdings Information (published in the
   North American Journal of Economics
   and Finance, 2006)

False Discoveries in Mutual Fund Performance:     198
   Measuring Luck in Estimated Alphas
   (published in the Journal of Finance, 2010)

Active Management in Mostly Efficient Markets      21
  (published in the Financial Analysts Journal,
  2011)

Performance Measurement of Mutual Funds,           16
   Hedge Funds, and Institutional Accounts
   (published in the Annual Review of Financial
   Economics, 2011)

Forecasting Stock Returns Through an               23
  Efficient Aggregation of Mutual Fund
  Holdings (published in the Review of
  Financial Studies, 2012)

The Cross-Section of Conditional Mutual            30
  Fund Performance in European Stock
  Markets (published in the
  Journal of Financial Economics, 2013)

Monitoring Daily Hedge Fund Performance             0
  with Monthly Data (published in the
  Journal of Investment Consulting, 2013)

Decentralized Investment Management:               30
  Evidence from the Pension Fund Industry
  (published in the Journal of Finance, 2013)

Analyst Recommendations, Mutual Fund Herding, 63
  And Overreaction in Stock Prices
  (published in Management Science, 2014)

Mutual Fund Performance Evaluation with Active 22
  Peer Benchmarks (published in the
  Journal of Financial Economics, 2014)

Investor Flows to Asset Managers: Causes           10
   and Consequences (published in the Annual
   Review of Financial Economics, 2014)

Uncommon Value: The Characteristics and             7
  Investment Performance of Contrarian Funds


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   (published in Management Science, 2015)

Runs on Money Market Mutual Funds (published 19
  in the American Economic Review, 2016)

Managerial Rents vs. Shareholder Value in             5
  Delegated Portfolio Management:
  The Case of Closed-End Funds
  (published in the Review of Financial Studies,
  2016)

The Freedom of Information Act and the Race           1
  Toward Information Acquisition
  (published in the Review of Financial Studies,
  2017)

Seasonal Asset Allocation: Evidence from              9
   Mutual Fund Flows (Published in the
   Journal of Financial and Quantitative Analysis,
   2017)

Network Centrality and Delegated Investment           6
  Performance (published in the Journal of
  Financial Economics, 2018)

B. Working Papers

Momentum Investment Strategies of                    27
  Mutual Funds, Performance Persistence,
  and Survivorship Bias, working paper

Portfolio Performance, Discount Dynamics,             2
    and the Turnover of Closed-End Fund
    Managers,” working paper

A Matter of Style: The Causes and                     4
  Consequences of Style Drift in
  Mutual Fund Portfolios, working paper

Are Mutual Fund Shareholders Compensated              2
   For Active Management ‘Bets’? working
   paper

Is Money Really “Smart”? New Evidence                53
   on the Relation Between Mutual Fund
   Flows, Manager Behavior, and
   Performance Persistence, working paper

Mutual Fund Performance and Governance               26
  Structure: The Role of Portfolio Managers
  and Boards of Directors




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C. Total Citations

For Published Academic Papers Only    3,460
(according to Web of Knowledge)

For All Papers                       16,489
(according to Google Scholar)




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                                                                                                                                          Exhibit 1


Investment Options Offered in BBVA Compass Bancshares 401(k) Plan [1]
                             2013 – 2019

                           Name                                          Ticker                     Date Added                 Date Removed

Am Cent Diversified Bond Instl                                           ACBPX                 Prior to July 18, 2013         In Plan as of 2019
Aston/TAMRO Small Cap I                                                    ATSIX               Prior to July 18, 2013                   10/01/16
BBVA ADS Stock Fund                                                        BBVA                Prior to July 18, 2013         In Plan as of 2019
Dodge & Cox Stock                                                        DODGX                 Prior to July 18, 2013         In Plan as of 2019
Harbor Capital Appreciation Instl                                        HACAX                 Prior to July 18, 2013         In Plan as of 2019
Invesco International Growth R6                                           IGFRX                              02/17/15         In Plan as of 2019
JPMorgan Mid Cap Growth R6                                               JMGMX                 Prior to July 18, 2013         In Plan as of 2019
Principal LifeTime 2015 I                                                  LTINX               Prior to July 18, 2013                   10/11/17
Principal LifeTime 2020 I                                                 PLWIX                Prior to July 18, 2013                   10/11/17
Principal LifeTime 2025 I                                                 LTSTX                Prior to July 18, 2013                   10/11/17
Principal LifeTime 2030 I                                                 PMTIX                Prior to July 18, 2013                   10/11/17
Principal LifeTime 2035 I                                                  LTIUX               Prior to July 18, 2013                   10/11/17
Principal LifeTime 2040 I                                                  PTDIX               Prior to July 18, 2013                   10/11/17
Principal LifeTime 2045 I                                                  LTRIX               Prior to July 18, 2013                   10/11/17
Principal LifeTime 2050 I                                                  PPLIX               Prior to July 18, 2013                   10/11/17
Principal LifeTime 2055 I                                                  LTFIX               Prior to July 18, 2013                   10/11/17
Principal LifeTime Strategic Income I                                      PLSIX               Prior to July 18, 2013                   10/11/17
Principal MidCap Value I Inst                                             PVMIX                Prior to July 18, 2013         In Plan as of 2019
Thornburg International Value R6                                          TGIRX                Prior to July 18, 2013                   02/17/15
Vanguard Institutional Index I                                             VINIX               Prior to July 18, 2013         In Plan as of 2019
Vanguard Prime Money Market Instl                                        VMRXX                 Prior to July 18, 2013         In Plan as of 2019
Vanguard Small Cap Index I                                                VSCIX                              10/01/16         In Plan as of 2019
Vanguard Target Retirement 2015 Trust II                                                                     10/11/17         In Plan as of 2019
Vanguard Target Retirement 2020 Trust II                                                                     10/11/17         In Plan as of 2019
Vanguard Target Retirement 2025 Trust II                                                                     10/11/17         In Plan as of 2019
Vanguard Target Retirement 2030 Trust II                                                                     10/11/17         In Plan as of 2019
Vanguard Target Retirement 2035 Trust II                                                                     10/11/17         In Plan as of 2019
Vanguard Target Retirement 2040 Trust II                                                                     10/11/17         In Plan as of 2019
Vanguard Target Retirement 2045 Trust II                                                                     10/11/17         In Plan as of 2019
Vanguard Target Retirement 2050 Trust II                                                                     10/11/17         In Plan as of 2019
Vanguard Target Retirement 2055 Trust II                                                                     10/11/17         In Plan as of 2019
Vanguard Target Retirement 2060 Trust II                                                                     10/11/17         In Plan as of 2019
Vanguard Target Retirement 2065 Trust II                                                                     10/11/17         In Plan as of 2019
Vanguard Target Retirement Income Trust II                                                                   10/11/17         In Plan as of 2019

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Fidelity Investments Update; Participant Plan Disclosures; Willis Tower
Watson Reports

Note:
[1] Vanguard Treasury Money Market I was added to the Plan on 10/11/17 which is approximated from BBVA Retirement Committee meeting minutes.
The fund was closed to Participants as of 12/31/17 and had a market value of $32,084 as of 3/31/19.




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                                                                                                         Exhibit 2


                    Claimants’ Investments in Plan Funds
                  Fund                                 Ferguson                   Drake              McClinton
Am Cent Diversified Bond Instl                    Q4 2013–Q3 2019            Q4 2013–Q2 2017
Aston/TAMRO Small Cap I                           Q4 2012–Q4 2015            Q4 2013–Q4 2016
BBVA ADS Stock Fund                                                          Q3 2013–Q2 2017
Dodge & Cox Stock                                 Q4 2012–Q3 2019            Q4 2013–Q2 2017
Harbor Capital Appreciation Instl                 Q4 2012–Q3 2019            Q4 2013–Q2 2017
Invesco International Growth R6                   Q1 2015–Q3 2019            Q1 2015–Q2 2017
Principal LifeTime 2030 I                                                    Q4 2013–Q2 2017
Principal LifeTime 2045 I                         Q4 2013–Q4 2017
Thornburg International Value R6                  Q4 2013–Q1 2015            Q4 2013–Q1 2015
Vanguard Prime Money Market Instl                 Q4 2012–Q3 2019            Q4 2013–Q2 2017
Vanguard Small Cap Index I                        Q4 2016–Q3 2019            Q3 2016–Q2 2017
Vanguard Target Retirement 2025 Trust II                                                          Q1 2019–Q3 2019
Vanguard Target Retirement 2045 Trust II          Q4 2017–Q3 2019

Source: ADM-Ferguson 004308 Claimants' Compass SmartInvestor 401(k) Plan Retirement Savings Statements




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                                                                                                                                                                       Exhibit 3

                                     Comparison of At-Issue Funds' Expense Ratios (Net of Revenue Sharing)
                                     to Best-in-Class Peer Fund Expense Ratios (Lowest Fee Share Classes)[1]
                                                                 9/30/13 – 6/30/19
                                                              2013                             2014                                   2015                           2016
                        Fund Name                      Q3             Q4      Q1         Q2            Q3      Q4      Q1      Q2             Q3      Q4      Q1             Q2
American Century Diversified Bond Instl (ACBPX)       0.35%          0.35%   0.35%     0.35%          0.35%   0.35%   0.35%   0.35%          0.35%   0.35%   0.35%          0.35%
  Median: Core Bond Funds                             0.45%          0.45%   0.45%     0.45%          0.45%   0.45%   0.45%   0.45%          0.44%   0.43%   0.43%          0.43%
  Highest Quartile: Core Bond Funds                   0.54%          0.57%   0.57%     0.55%          0.54%   0.54%   0.54%   0.53%          0.52%   0.49%   0.49%          0.49%

ASTON/TAMRO Small Cap I (ATSIX)                       0.88%          0.91%   0.91%     0.91%          0.91%   0.91%   0.91%   0.91%          0.91%   0.91%   0.91%          0.91%
  Median: Small-Cap Growth Funds                      0.96%          0.95%   0.95%     0.90%          0.90%   0.88%   0.90%   0.90%          0.90%   0.92%   0.91%          0.91%
  Highest Quartile: Small-Cap Growth Funds            1.07%          1.07%   1.06%     1.06%          1.06%   1.02%   1.04%   1.06%          1.03%   1.03%   0.99%          0.99%

Dodge & Cox Stock (DODGX)                             0.42%          0.42%   0.42%     0.42%          0.42%   0.42%   0.42%   0.42%          0.42%   0.42%   0.42%          0.42%
  Median: Large-Cap Value Funds                       0.73%          0.74%   0.62%     0.58%          0.62%   0.62%   0.65%   0.62%          0.62%   0.62%   0.62%          0.58%
  Highest Quartile: Large-Cap Value Funds             0.85%          0.80%   0.79%     0.75%          0.77%   0.75%   0.75%   0.75%          0.74%   0.73%   0.71%          0.71%

Harbor Capital Appreciation Instl (HACAX)             0.56%          0.55%   0.55%     0.55%          0.55%   0.55%   0.55%   0.55%          0.55%   0.54%   0.54%          0.54%
   Median: Large-Cap Growth Funds                     0.70%          0.68%   0.67%     0.68%          0.69%   0.65%   0.65%   0.64%          0.64%   0.62%   0.62%          0.62%
   Highest Quartile: Large-Cap Growth Funds           0.76%          0.75%   0.74%     0.75%          0.77%   0.72%   0.72%   0.72%          0.75%   0.71%   0.71%          0.67%

Invesco International Growth R6 (IGFRX)                                                                               0.90%   0.90%          0.90%   0.89%   0.89%          0.89%
   Median: International Large-Cap Growth                                                                             1.00%   1.00%          0.98%   0.98%   0.98%          0.95%
   Highest Quartile: International Large-Cap Growth                                                                   1.02%   1.09%          1.07%   1.07%   1.07%          1.00%

JPMorgan Mid Cap Growth R6 (JMGMX)                    0.74%          0.74%   0.74%     0.74%          0.74%   0.74%   0.74%   0.73%          0.73%   0.73%   0.73%          0.73%
  Median: Mid-Cap Growth Funds                        0.84%          0.87%   0.87%     0.92%          0.86%   0.86%   0.86%   0.89%          0.89%
  Highest Quartile: Mid-Cap Growth Funds              0.95%          0.95%   0.99%     1.02%          0.99%   0.99%   0.99%   1.00%          1.00%
  Median: Multi-Cap Growth Funds                                                                                                                     0.72%   0.72%          0.72%
  Highest Quartile: Multi-Cap Growth Funds                                                                                                           0.78%   0.78%          0.78%

                                    [2]
Principal LifeTime 2015 Fund (LTINX)                  0.60%          0.60%   0.59%     0.59%          0.59%   0.59%   0.60%   0.60%          0.60%   0.60%   0.57%          0.57%
   Median: Mixed-Asset Target 2015 Funds              0.65%          0.66%   0.64%     0.63%          0.63%   0.63%   0.62%   0.62%          0.63%   0.62%   0.60%          0.57%
   Highest Quartile: Mixed-Asset Target 2015 Funds    0.70%          0.80%   0.68%     0.68%          0.68%   0.68%   0.69%   0.69%          0.75%   0.72%   0.75%          0.65%

                                     [2]
Principal LifeTime 2020 Fund (PLWIX)                  0.62%          0.62%   0.61%     0.61%          0.61%   0.61%   0.63%   0.63%          0.63%   0.63%   0.59%          0.59%
   Median: Mixed-Asset Target 2020 Funds              0.69%          0.69%   0.67%     0.67%          0.67%   0.65%   0.63%   0.64%          0.64%   0.65%   0.63%          0.63%
   Highest Quartile: Mixed-Asset Target 2020 Funds    0.84%          0.84%   0.72%     0.72%          0.72%   0.71%   0.66%   0.69%          0.69%   0.72%   0.70%          0.70%

                                     [2]
Principal LifeTime 2025 Fund (LTSTX)                  0.66%          0.66%   0.63%     0.63%          0.63%   0.63%   0.65%   0.65%          0.65%   0.65%   0.61%          0.61%
   Median: Mixed-Asset Target 2025 Funds              0.72%          0.72%   0.70%     0.69%          0.68%   0.65%   0.65%   0.64%          0.65%   0.65%   0.65%          0.61%
   Highest Quartile: Mixed-Asset Target 2025 Funds    0.77%          0.81%   0.74%     0.72%          0.72%   0.72%   0.69%   0.69%          0.70%   0.70%   0.69%          0.69%




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                                                                                                                                                                       Exhibit 3

                                     Comparison of At-Issue Funds' Expense Ratios (Net of Revenue Sharing)
                                     to Best-in-Class Peer Fund Expense Ratios (Lowest Fee Share Classes)[1]
                                                                 9/30/13 – 6/30/19
                                                              2013                             2014                                   2015                           2016
                       Fund Name                       Q3             Q4      Q1         Q2            Q3      Q4      Q1      Q2             Q3      Q4      Q1             Q2
                                     [2]
Principal LifeTime 2030 Fund (PMTIX)                  0.66%          0.66%   0.65%     0.65%          0.65%   0.65%   0.67%   0.67%          0.67%   0.67%   0.62%          0.62%
   Median: Mixed-Asset Target 2030 Funds              0.79%          0.79%   0.74%     0.74%          0.74%   0.71%   0.68%   0.70%          0.70%   0.70%   0.70%          0.70%
   Highest Quartile: Mixed-Asset Target 2030 Funds    0.85%          0.85%   0.80%     0.80%          0.83%   0.77%   0.74%   0.76%          0.76%   0.76%   0.81%          0.81%

                                    [2]
Principal LifeTime 2035 Fund (LTIUX)                  0.67%          0.67%   0.66%     0.66%          0.66%   0.66%   0.68%   0.68%          0.68%   0.68%   0.64%          0.64%
   Median: Mixed-Asset Target 2035 Funds              0.76%          0.77%   0.75%     0.74%          0.74%   0.69%   0.69%   0.69%          0.69%   0.70%   0.70%          0.70%
   Highest Quartile: Mixed-Asset Target 2035 Funds    0.85%          0.85%   0.83%     0.78%          0.78%   0.78%   0.75%   0.75%          0.76%   0.76%   0.77%          0.77%

                                     [2]
Principal LifeTime 2040 Fund (PTDIX)                  0.68%          0.68%   0.68%     0.68%          0.68%   0.68%   0.69%   0.69%          0.69%   0.69%   0.64%          0.64%
   Median: Mixed-Asset Target 2040 Funds              0.81%          0.81%   0.76%     0.76%          0.76%   0.76%   0.74%   0.74%          0.74%   0.74%   0.74%          0.74%
   Highest Quartile: Mixed-Asset Target 2040 Funds    0.88%          0.88%   0.86%     0.86%          0.86%   0.86%   0.86%   0.86%          0.86%   0.86%   0.80%          0.80%

                                    [2]
Principal LifeTime 2045 Fund (LTRIX)                  0.69%          0.69%   0.69%     0.69%          0.69%   0.69%   0.70%   0.70%          0.70%   0.70%   0.66%          0.66%
   Median: Mixed-Asset Target 2045 Funds              0.78%          0.78%   0.76%     0.76%          0.75%   0.74%   0.71%   0.71%          0.71%   0.71%   0.70%          0.70%
   Highest Quartile: Mixed-Asset Target 2045 Funds    0.86%          0.89%   0.88%     0.84%          0.78%   0.78%   0.76%   0.76%          0.76%   0.75%   0.77%          0.77%

                                    [2]
Principal LifeTime 2050 Fund (PPLIX)                  0.69%          0.69%   0.68%     0.68%          0.68%   0.68%   0.70%   0.70%          0.70%   0.70%   0.66%          0.66%
   Median: Mixed-Asset Target 2050 Funds              0.81%          0.81%   0.77%     0.77%          0.76%   0.76%   0.75%   0.75%          0.75%   0.75%   0.75%          0.75%
   Highest Quartile: Mixed-Asset Target 2050 Funds    0.89%          0.89%   0.87%     0.87%          0.84%   0.83%   0.86%   0.86%          0.86%   0.86%   0.79%          0.79%

                                    [2]
Principal LifeTime 2055 Fund (LTFIX)                  0.75%          0.75%   0.74%     0.74%          0.74%   0.74%   0.73%   0.73%          0.73%   0.73%   0.68%          0.68%
   Median: Mixed-Asset Target 2055+ Funds             0.78%          0.78%   0.76%     0.76%          0.76%   0.76%   0.75%   0.75%          0.75%   0.73%   0.70%          0.70%
   Highest Quartile: Mixed-Asset Target 2055+ Funds   0.82%          0.86%   0.86%     0.87%          0.86%   0.88%   0.77%   0.76%          0.76%   0.76%   0.77%          0.77%

                                                [2]
Principal LifeTime Strategic Income Fund (PLSIX)      0.53%          0.53%   0.53%     0.53%          0.53%   0.53%   0.54%   0.54%          0.54%   0.54%   0.50%          0.50%
   Median: Mixed-Asset Target Today Funds             0.57%          0.57%   0.57%     0.59%          0.60%   0.60%   0.59%   0.58%          0.59%   0.56%   0.56%          0.55%
   Highest Quartile: Mixed-Asset Target Today Funds   0.68%          0.68%   0.68%     0.67%          0.68%   0.66%   0.63%   0.63%          0.63%   0.62%   0.61%          0.61%

Principal MidCap Value I Instl (PVMIX)                0.88%          0.88%   0.88%     0.88%          0.88%   0.94%   0.84%   0.84%          0.84%   0.84%   0.84%          0.84%
   Median: Mid-Cap Value Funds                        0.88%          0.88%   0.86%     0.87%          0.90%   0.90%   0.89%   0.89%
   Highest Quartile: Mid-Cap Value Funds              0.98%          0.97%   0.93%     0.93%          0.96%   0.98%   0.98%   0.98%
   Median: Mid-Cap Core Funds                                                                                                                0.80%   0.80%   0.80%          0.78%
   Highest Quartile: Mid-Cap Core Funds                                                                                                      0.91%   0.92%   0.92%          0.90%

Thornburg International Value R6 (TGIRX)              0.74%          0.74%   0.74%     0.74%          0.73%   0.73%
   Median: International Large-Cap Growth             1.01%          1.01%   1.02%     1.01%          1.01%   1.00%
   Highest Quartile: International Large-Cap Growth   1.09%          1.05%   1.04%     1.03%          1.04%   1.03%




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                                                                                                                                                                      Exhibit 3

                                   Comparison of At-Issue Funds' Expense Ratios (Net of Revenue Sharing)
                                   to Best-in-Class Peer Fund Expense Ratios (Lowest Fee Share Classes)[1]
                                                               9/30/13 – 6/30/19
                                                             2013                             2014                                   2015                           2016
                       Fund Name                      Q3             Q4      Q1         Q2            Q3      Q4      Q1      Q2             Q3      Q4      Q1             Q2
Vanguard Institutional Index I (VINIX)               0.04%          0.04%   0.04%     0.04%          0.04%   0.04%   0.04%   0.04%          0.04%   0.04%   0.04%          0.04%
  Median: S&P 500 Index Funds                        0.19%          0.19%   0.19%     0.19%          0.19%   0.17%   0.16%   0.16%          0.16%   0.16%   0.16%          0.16%
  Highest Quartile: S&P 500 Index Funds              0.25%          0.25%   0.25%     0.25%          0.25%   0.25%   0.25%   0.25%          0.25%   0.25%   0.25%          0.25%

Vanguard Prime Money Market Inst (VMRXX)             0.10%          0.10%   0.10%     0.10%          0.10%   0.10%   0.10%   0.10%          0.10%   0.10%   0.10%          0.10%
  Median: Instl Money Market Funds                   0.18%          0.18%   0.16%     0.16%          0.16%   0.16%   0.16%   0.16%          0.16%
  Highest Quartile: Instl Money Market Funds         0.20%          0.20%   0.20%     0.20%          0.18%   0.18%   0.18%   0.18%          0.18%
  Median: Money Market Funds                                                                                                                        0.22%   0.23%          0.25%
  Highest Quartile: Money Market Funds                                                                                                              0.24%   0.27%          0.28%

Vanguard Small Cap Index I (VSCIX)
  Median: Small-Cap Core Funds
  Highest Quartile: Small-Cap Core Funds




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                                     Comparison of At-Issue Funds' Expense Ratios (Net of Revenue Sharing)
                                     to Best-in-Class Peer Fund Expense Ratios (Lowest Fee Share Classes)[1]
                                                                 9/30/13 – 6/30/19
                                                              2016                             2017                                   2018                           2019
                        Fund Name                      Q3             Q4      Q1         Q2            Q3      Q4      Q1      Q2             Q3      Q4      Q1             Q2
American Century Diversified Bond Instl (ACBPX)       0.35%          0.35%   0.35%     0.35%          0.35%   0.35%   0.35%   0.35%          0.35%   0.35%   0.35%          0.35%
  Median: Core Bond Funds                             0.40%          0.40%   0.40%     0.39%          0.39%   0.39%   0.38%   0.37%          0.38%   0.38%   0.38%          0.39%
  Highest Quartile: Core Bond Funds                   0.48%          0.45%   0.44%     0.44%          0.43%   0.44%   0.44%   0.43%          0.44%   0.42%   0.42%          0.44%

ASTON/TAMRO Small Cap I (ATSIX)                       0.91%
  Median: Small-Cap Growth Funds                      0.91%
  Highest Quartile: Small-Cap Growth Funds            1.03%

Dodge & Cox Stock (DODGX)                             0.42%          0.42%   0.42%     0.42%          0.42%   0.42%   0.42%   0.42%          0.42%   0.42%   0.42%          0.42%
  Median: Large-Cap Value Funds                       0.57%          0.60%   0.60%     0.60%          0.61%   0.60%   0.57%   0.57%          0.58%   0.57%   0.58%          0.58%
  Highest Quartile: Large-Cap Value Funds             0.71%          0.69%   0.69%     0.69%          0.68%   0.68%   0.68%   0.68%          0.69%   0.69%   0.69%          0.69%

Harbor Capital Appreciation Instl (HACAX)             0.54%          0.54%   0.54%     0.54%          0.54%   0.55%   0.55%   0.55%          0.55%   0.55%   0.55%          0.55%
   Median: Large-Cap Growth Funds                     0.62%          0.61%   0.62%     0.63%          0.62%   0.60%   0.60%   0.59%          0.59%   0.59%   0.59%          0.59%
   Highest Quartile: Large-Cap Growth Funds           0.67%          0.65%   0.67%     0.70%          0.65%   0.64%   0.64%   0.64%          0.63%   0.62%   0.62%          0.62%

Invesco International Growth R6 (IGFRX)               0.89%          0.88%   0.88%     0.88%          0.88%   0.89%   0.89%   0.89%          0.89%   0.89%   0.89%          0.89%
   Median: International Large-Cap Growth             0.91%          0.91%   0.91%     0.91%          0.85%   0.82%   0.82%   0.82%          0.82%   0.82%   0.80%          0.80%
   Highest Quartile: International Large-Cap Growth   1.00%          1.00%   1.00%     0.99%          1.00%   0.95%   0.95%   0.95%          0.95%   0.94%   0.90%          0.92%

JPMorgan Mid Cap Growth R6 (JMGMX)                    0.73%          0.73%   0.73%     0.73%          0.73%   0.73%   0.73%   0.73%          0.73%   0.73%   0.73%          0.73%
  Median: Mid-Cap Growth Funds                                                                                0.79%
  Highest Quartile: Mid-Cap Growth Funds                                                                      1.04%
  Median: Multi-Cap Growth Funds                      0.72%          0.66%   0.66%     0.68%          0.65%           0.66%   0.65%          0.63%   0.65%   0.65%          0.66%
  Highest Quartile: Multi-Cap Growth Funds            0.78%          0.78%   0.78%     0.78%          0.74%           0.72%   0.70%          0.71%   0.71%   0.71%          0.72%

                                    [2]
Principal LifeTime 2015 Fund (LTINX)                  0.57%          0.57%   0.58%     0.58%          0.58%
   Median: Mixed-Asset Target 2015 Funds              0.56%          0.56%   0.56%     0.55%          0.55%
   Highest Quartile: Mixed-Asset Target 2015 Funds    0.64%          0.64%   0.59%     0.59%          0.59%

                                     [2]
Principal LifeTime 2020 Fund (PLWIX)                  0.59%          0.59%   0.61%     0.61%          0.61%
   Median: Mixed-Asset Target 2020 Funds              0.59%          0.62%   0.57%     0.55%          0.56%
   Highest Quartile: Mixed-Asset Target 2020 Funds    0.67%          0.70%   0.63%     0.63%          0.63%

                                     [2]
Principal LifeTime 2025 Fund (LTSTX)                  0.61%          0.61%   0.63%     0.63%          0.63%
   Median: Mixed-Asset Target 2025 Funds              0.61%          0.61%   0.57%     0.55%          0.55%
   Highest Quartile: Mixed-Asset Target 2025 Funds    0.69%          0.69%   0.66%     0.66%          0.66%




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                                     Comparison of At-Issue Funds' Expense Ratios (Net of Revenue Sharing)
                                     to Best-in-Class Peer Fund Expense Ratios (Lowest Fee Share Classes)[1]
                                                                 9/30/13 – 6/30/19
                                                              2016                             2017                                   2018                           2019
                       Fund Name                       Q3             Q4      Q1         Q2            Q3      Q4      Q1      Q2             Q3      Q4      Q1             Q2
                                     [2]
Principal LifeTime 2030 Fund (PMTIX)                  0.62%          0.62%   0.63%     0.63%          0.63%
   Median: Mixed-Asset Target 2030 Funds              0.67%          0.67%   0.61%     0.58%          0.57%
   Highest Quartile: Mixed-Asset Target 2030 Funds    0.74%          0.74%   0.70%     0.69%          0.69%

                                    [2]
Principal LifeTime 2035 Fund (LTIUX)                  0.64%          0.64%   0.59%     0.59%          0.59%
   Median: Mixed-Asset Target 2035 Funds              0.67%          0.66%   0.64%     0.59%          0.58%
   Highest Quartile: Mixed-Asset Target 2035 Funds    0.74%          0.74%   0.72%     0.72%          0.69%

                                     [2]
Principal LifeTime 2040 Fund (PTDIX)                  0.64%          0.64%   0.61%     0.61%          0.61%
   Median: Mixed-Asset Target 2040 Funds              0.73%          0.74%   0.66%     0.64%          0.62%
   Highest Quartile: Mixed-Asset Target 2040 Funds    0.77%          0.80%   0.75%     0.75%          0.74%

                                    [2]
Principal LifeTime 2045 Fund (LTRIX)                  0.66%          0.66%   0.63%     0.63%          0.63%
   Median: Mixed-Asset Target 2045 Funds              0.69%          0.67%   0.64%     0.60%          0.59%
   Highest Quartile: Mixed-Asset Target 2045 Funds    0.77%          0.77%   0.74%     0.74%          0.74%

                                    [2]
Principal LifeTime 2050 Fund (PPLIX)                  0.66%          0.66%   0.64%     0.64%          0.64%
   Median: Mixed-Asset Target 2050 Funds              0.74%          0.74%   0.72%     0.64%          0.63%
   Highest Quartile: Mixed-Asset Target 2050 Funds    0.79%          0.79%   0.75%     0.75%          0.75%

                                    [2]
Principal LifeTime 2055 Fund (LTFIX)                  0.68%          0.68%   0.65%     0.65%          0.65%
   Median: Mixed-Asset Target 2055+ Funds             0.67%          0.67%   0.64%     0.63%          0.60%
   Highest Quartile: Mixed-Asset Target 2055+ Funds   0.77%          0.77%   0.75%     0.74%          0.74%

                                                [2]
Principal LifeTime Strategic Income Fund (PLSIX)      0.50%          0.50%   0.54%     0.54%          0.54%
   Median: Mixed-Asset Target Today Funds             0.55%          0.55%   0.55%     0.55%          0.55%
   Highest Quartile: Mixed-Asset Target Today Funds   0.59%          0.61%   0.57%     0.57%          0.57%

Principal MidCap Value I Instl (PVMIX)                0.84%          0.84%   0.84%     0.84%          0.84%   0.81%   0.81%   0.81%          0.81%   0.80%   0.80%          0.80%
   Median: Mid-Cap Value Funds                                                                        0.79%   0.76%   0.77%   0.77%
   Highest Quartile: Mid-Cap Value Funds                                                              0.89%   0.94%   0.94%   0.90%
   Median: Mid-Cap Core Funds                         0.77%          0.75%   0.76%     0.76%                                                 0.75%   0.76%   0.76%          0.76%
   Highest Quartile: Mid-Cap Core Funds               0.86%          0.82%   0.84%     0.85%                                                 0.79%   0.82%   0.82%          0.82%

Thornburg International Value R6 (TGIRX)
   Median: International Large-Cap Growth
   Highest Quartile: International Large-Cap Growth




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                                          Comparison of At-Issue Funds' Expense Ratios (Net of Revenue Sharing)
                                          to Best-in-Class Peer Fund Expense Ratios (Lowest Fee Share Classes)[1]
                                                                      9/30/13 – 6/30/19
                                                                                 2016                                        2017                                                      2018                                        2019
                           Fund Name                                       Q3            Q4             Q1            Q2             Q3             Q4            Q1             Q2            Q3             Q4             Q1            Q2
Vanguard Institutional Index I (VINIX)                                   0.04%          0.04%         0.04%          0.04%          0.04%         0.04%         0.04%          0.04%          0.04%         0.04%          0.04%          0.04%
  Median: S&P 500 Index Funds                                            0.15%          0.15%         0.15%          0.15%          0.15%         0.15%         0.15%          0.15%          0.15%         0.12%          0.12%          0.10%
  Highest Quartile: S&P 500 Index Funds                                  0.20%          0.20%         0.20%          0.20%          0.20%         0.20%         0.20%          0.20%          0.20%         0.20%          0.17%          0.16%

Vanguard Prime Money Market Inst (VMRXX)                                 0.10%          0.10%         0.10%          0.10%          0.10%         0.10%         0.10%          0.10%          0.10%         0.10%          0.10%          0.10%
  Median: Instl Money Market Funds
  Highest Quartile: Instl Money Market Funds
  Median: Money Market Funds                                             0.24%          0.41%         0.42%          0.41%          0.41%         0.47%         0.48%          0.45%          0.40%         0.30%          0.30%          0.35%
  Highest Quartile: Money Market Funds                                   0.30%          0.52%         0.54%          0.54%          0.55%         0.59%         0.62%          0.58%          0.58%         0.52%          0.50%          0.50%

Vanguard Small Cap Index I (VSCIX)                                                      0.05%         0.05%          0.05%          0.05%         0.04%         0.04%          0.04%          0.04%         0.04%          0.04%          0.04%
  Median: Small-Cap Core Funds                                                          0.20%         0.20%          0.20%          0.20%         0.18%         0.19%          0.18%          0.16%         0.16%          0.16%          0.16%
  Highest Quartile: Small-Cap Core Funds                                                0.35%         0.35%          0.33%          0.27%         0.30%         0.33%          0.33%          0.26%         0.28%          0.28%          0.25%

 Source: CRSP Survivor-Bias-Free US Mutual Fund Database; Lipper; Morningstar Target Date Fund Landscape Report, 2015; Revenue Sharing Data

 Note:
 [1] The fee comparison group is the Lipper peer group for each fund. The universe of mutual funds are obtained from the CRSP Survivor-Bias-Free Mutual Fund database. To select peer group funds, the following filters are applied to
 account for fund characteristics which are likely to affect expense ratios: (1) only funds with the same Lipper classification are considered; (2) certain types of products including ETFs, ETNs, closed-end funds, funds underlying variable
 annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; (5) the plan funds are excluded from the peer group samples;
 and (6) only the top 25 funds series, ranked by net assets as of the end of each quarter after all other filters have been applied, are included. Only the expense ratio of lowest-fee share class of each fund series is used in the peer group
 samples. For actively managed funds, pure index funds are excluded from the comparison peer groups; for index funds, actively managed funds, including index-based funds and enhanced index funds, are excluded from the comparison
 peer group. In each quarter, the expense ratios of at-issue funds are reduced by the revenue sharing paid by the funds, expressed in basis points.
 [2] I substitute annual expense ratio data from Lipper for CRSP Survivor-Bias-Free US Mutual Fund Database data for target date funds in order to capture the both direct and indirect expenses charged by target date funds. Both the
 Principal LifeTime funds and the peer funds have the same expense ratio for all four quarters of each year. I keep all other aspects of the fee analysis the same as for other funds. I remove from the sample any fund series that have less
 than 70% of actively managed funds, based on the 2015 Morningstar Target Date Fund Landscape Report so that peer groups include series that actively manage a percentage of assets comparable to Principal LifeTime Funds. I include
 in the peer groups any fund series for which I do not have data on actively managed holdings from this source.




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                                                                                                                                                                 Exhibit 4

                                 Comparison of Asset Weighted Expense Ratios:
                                 Principal LifeTime Fund v. Peer Group Funds[1]
                                                   2013 – 2017
                                            Principal LifeTime                                                                           Peer 75th Percentile
                                             Asset-Weighted                                 Peer Median                                    Asset-Weighted
            Year                             Expense Ratio[1]                      Asset-Weighted Expense Ratio[2]                        Expense Ratio[2]

            2013                                    0.86%                                              0.92%                                     0.98%
            2014                                    0.86%                                              0.84%                                     0.97%
            2015                                    0.87%                                              0.82%                                     0.95%
            2016                                    0.81%                                              0.82%                                     0.99%
            2017                                    0.82%                                              0.76%                                     0.96%


Source: Morningstar 2014 Target-Date Series Research Paper; Morningstar Target Date Fund Landscape Reports, 2015–2018
Note:

[1] Principal LifeTime and peer group fee data is obtained from Morningstar Target-Date Fund reports and represent the asset-weighted average of the expense ratio
across all vintages and share classes of the funds. For each year, I use the top 25 fund series by market share where at least 70% of holdings are composed of actively
managed underlying funds as the peer group. I exclude funds without information on percentage of active holdings. In Exhibit 4, I included these funds in the peer group.
This serves as a sensitivity of that assumption. I use 2014 percentages of active holdings data. According to Morningstar's 2015 Target Date Fund Landscape Report,
Principal LifeTime funds had 90% active management in 2014. In case two fund families have the same market share and tie for the 25th place to be included in the peer
group, I use the fund family with the lowest asset-weighted expense ratio.




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                                                                                                                                                                                            Exhibit 5

                                                  Rolling Excess Return Comparison[1][2][3]
                                            Aston/TAMRO Small Cap I (ATSIX) vs. Benchmark Index
                                                          Inception Date: 11/30/00
                                                                                                                                           Excess Returns[5]
                                                                             Quarter                                                                                                        Annualized
Calendar                                               Quarter Fund         Benchmark                                              Annualized        Annualized         Annualized             Since
  Year        Quarter           Watch List[4]            Return               Return             Quarter           1-Year            3-Year            5-Year            10-Year            Inception[6]

  2013           Q3                                          8.64%              10.11%           (1.46%)           (9.94%)           (0.76%)             1.49%             1.64%               1.88%
  2013           Q4                                          4.79%               8.62%           (3.83%)          (10.26%)           (2.34%)             0.60%             0.93%               1.50%
  2014           Q1                   ✓                    (0.30%)               1.03%           (1.33%)          (10.77%)           (2.93%)           (2.19%)             0.84%               1.34%
  2014           Q2                   ✓                    (0.52%)               1.95%           (2.47%)          (10.27%)           (4.35%)           (1.86%)             0.82%               1.09%
  2014           Q3                   ✓                    (7.85%)             (7.44%)           (0.41%)           (7.77%)           (4.87%)           (1.38%)             1.11%               1.02%
  2014           Q4                   ✓                      9.91%               9.62%             0.29%           (4.05%)           (4.18%)           (1.40%)             1.03%               1.02%
  2015           Q1                   ✓                      2.83%               4.22%           (1.39%)           (4.19%)           (5.15%)           (1.53%)             0.86%               0.89%
  2015           Q2                   ✓                      0.57%               0.33%             0.24%           (1.35%)           (5.49%)           (1.58%)             1.00%               0.89%
  2015           Q3                                       (10.61%)            (12.01%)             1.39%             0.74%           (5.41%)           (1.99%)             1.10%               0.99%
  2015           Q4                ✓                       (3.48%)               3.48%           (6.96%)           (5.98%)           (6.53%)           (3.55%)             0.49%               0.42%
  2016           Q1                ✓                       (2.94%)             (1.64%)           (1.30%)           (5.64%)           (6.70%)           (3.85%)           (0.17%)               0.30%
  2016           Q2                ✓                         1.27%               3.68%           (2.41%)           (8.05%)           (6.56%)           (4.65%)           (0.39%)               0.12%
  2016           Q3       Approved For Removal               7.08%               8.93%           (1.86%)          (13.36%)           (6.67%)           (5.40%)           (0.71%)             (0.01%)

Source: BBVA Retirement Committee Meeting Minutes; CRSP; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Summary Prospectuses; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the
number of monthly periods. For example, the quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The benchmark is selected according to the benchmark listed in the fund's summary prospectus. For this fund, the benchmark was the Russell 2000 NR USD through Q3 2016.
[3] Aston/TAMRO Small Cap I was removed from the Plan on 10/01/16.
[4] The Watch List flag identifies quarters in which the fund was on the Plan's Watch List and is obtained from the Envestnet Reports and Willis Towers Watson Reports.
[5] The excess return is calculated as the fund return minus the benchmark return.
[6] The inception date of the Aston/TAMRO Small Cap I Fund is 01/04/05; however, the fund had another share class with an inception date of 11/30/00. Morningstar does not report the returns for
the benchmark prior to 07/31/02; therefore, the return since inception for the Aston/TAMRO Small Cap I Fund is computed from 07/31/02.




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                                                Rolling Excess Return Comparison[1][2][3]
                                      Invesco International Growth R6 (IGFRX) vs. Benchmark Index
                                                         Inception Date: 04/07/92
                                                                                                                                          Excess Returns[5]
                                                                            Quarter                                                                                                        Annualized
Calendar                                               Quarter Fund        Benchmark                                              Annualized       Annualized         Annualized              Since
  Year        Quarter           Watch List[4]            Return              Return             Quarter            1-Year           3-Year           5-Year            10-Year             Inception[6]

   2015          Q1                                          3.58%              3.49%             0.09%             4.31%             2.69%             3.24%            1.95%               0.81%
   2015          Q2                                        (0.15%)              0.53%           (0.67%)             2.93%             1.54%             2.57%            1.83%               0.75%
   2015          Q3                                       (10.27%)           (12.17%)             1.90%             4.47%             2.50%             3.21%            2.15%               0.87%
   2015          Q4                                          5.37%              3.24%             2.12%             3.45%             3.87%             3.56%            2.21%               0.98%
   2016          Q1                                          1.75%            (0.38%)             2.13%             5.25%             4.38%             3.93%            2.38%               1.10%
   2016          Q2                                        (2.38%)            (0.64%)           (1.73%)             4.16%             3.38%             3.07%            2.30%               0.98%
   2016          Q3                                          3.88%              6.91%           (3.04%)           (0.54%)             2.14%             2.15%            1.92%               0.79%
   2016          Q4                                        (3.54%)            (1.25%)           (2.29%)           (4.97%)             1.00%             1.05%            1.57%               0.65%
   2017          Q1                                          7.86%              7.86%             0.00%           (7.63%)             0.98%             1.29%            1.60%               0.64%
   2017          Q2                                          6.00%              5.78%             0.21%           (5.90%)             0.86%             0.80%            1.54%               0.64%
   2017          Q3                                          4.41%              6.16%           (1.76%)           (4.47%)             0.23%             0.63%            1.46%               0.54%
   2017          Q4                   ✓                      3.18%              5.00%           (1.83%)           (4.03%)           (1.60%)             0.67%            1.43%               0.44%
   2018          Q1                   ✓                    (0.98%)            (1.18%)             0.20%           (3.46%)           (1.54%)             0.60%            1.42%               0.44%
   2018          Q2                   ✓                    (4.80%)            (2.61%)           (2.19%)           (5.73%)           (2.07%)           (0.14%)            1.47%               0.31%
   2018          Q3                   ✓                      1.56%              0.71%             0.85%           (2.99%)           (2.64%)           (0.10%)            0.82%               0.35%
   2018          Q4                                       (11.20%)           (11.46%)             0.27%           (0.79%)           (3.09%)           (0.22%)            0.50%               0.36%
   2019          Q1                  ✓                      14.27%             10.31%             3.96%             2.32%           (2.70%)             0.47%            0.36%               0.54%
   2019          Q2                  NA                      4.93%              2.98%             1.95%             6.85%           (1.44%)             0.74%            1.36%               0.63%
   2019          Q3                  NA                    (0.15%)            (1.80%)             1.65%             7.56%             0.21%             1.05%            1.96%               0.71%
   2019          Q4                  NA                      7.36%              8.92%           (1.57%)             7.03%             0.54%             0.04%            1.59%               0.63%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Summary Prospectuses; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the
number of monthly periods. For example, the quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The benchmark is selected according to the benchmark listed in the fund's summary prospectus. For this fund, the benchmark was the MSCI ACWI Ex USA NR USD through Q4 2019.
[3] Invesco International Growth R6 is currently in the Plan at the time of analysis.
[4] The Watch List flag identifies quarters in which the fund was on the Plan's Watch List and is obtained from the Envestnet Reports and Willis Towers Watson Reports. Watch List data is unavailable
after Q1 2019.
[5] The excess return is calculated as the fund return minus the benchmark return.
[6] The inception date of the Invesco International Growth R6 Fund is 09/24/12; however, the fund had another share class with an inception date of 04/07/92. Morningstar does not report the returns
for the benchmark prior to 01/31/99; therefore, the return since inception for the Invesco International Growth R6 Fund is computed from 01/31/99.




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                                                  Rolling Excess Return Comparison[1][2][3]
                                          Principal MidCap Value I Inst (PVMIX) vs. Benchmark Index
                                                          Inception Date: 12/29/03
                                                                                                                                          Excess Returns[5]


                                                                            Quarter                                                                                  Annualized            Annualized
Calendar                                               Quarter Fund        Benchmark                                              Annualized       Annualized       10-Year/ Since            Since
  Year        Quarter           Watch List[4]            Return              Return             Quarter            1-Year           3-Year           5-Year          Inception[6]          Inception[7]

   2013          Q3                                          6.38%              5.73%             0.65%             0.60%           (0.35%)             1.01%             1.00%              1.00%
   2013          Q4                                          8.54%              8.39%             0.15%             0.98%           (0.42%)           (0.07%)             0.99%              0.99%
   2014          Q1                                          4.06%              5.07%           (1.01%)             0.42%           (0.68%)           (1.33%)             0.66%              0.87%
   2014          Q2                                          4.92%              5.47%           (0.55%)           (0.93%)           (0.95%)           (0.68%)             0.49%              0.79%
   2014          Q3                                        (2.07%)            (2.79%)             0.72%           (0.71%)           (0.22%)           (0.28%)             0.62%              0.85%
   2014          Q4                                          6.16%              5.89%             0.27%           (0.57%)             0.15%           (0.31%)             0.68%              0.86%
   2015          Q1                                          2.22%              2.27%           (0.05%)             0.47%           (0.19%)           (0.21%)             0.53%              0.83%
   2015          Q2                                        (2.11%)            (2.11%)             0.00%             0.99%           (0.10%)             0.02%             0.59%              0.81%
   2015          Q3                                        (9.15%)            (8.19%)           (0.96%)           (0.81%)           (0.37%)           (0.53%)             0.44%              0.69%
   2015          Q4                                          2.13%              2.94%           (0.82%)           (1.77%)           (0.62%)           (0.77%)             0.41%              0.60%
   2016          Q1                                          1.37%              3.73%           (2.36%)           (3.89%)           (1.22%)           (1.20%)             0.30%              0.39%
   2016          Q2                                          3.50%              4.59%           (1.09%)           (5.19%)           (1.82%)           (1.47%)             0.26%              0.29%
   2016          Q3                                          4.31%              4.28%             0.03%           (4.69%)           (2.02%)           (1.27%)             0.42%              0.28%
   2016          Q4                                          5.31%              5.35%           (0.04%)           (3.93%)           (2.06%)           (1.12%)             0.38%              0.28%
   2017          Q1                                          4.41%              3.60%             0.81%           (0.33%)           (1.43%)           (1.11%)             0.43%              0.34%
   2017          Q2                                          0.20%              1.21%           (1.00%)           (0.26%)           (1.58%)           (1.29%)             0.25%              0.25%
   2017          Q3                  ✓                       3.67%              1.98%             1.69%             1.58%           (1.28%)           (0.84%)             0.38%              0.38%
   2017          Q4                  ✓                       5.67%              5.33%             0.35%             2.00%           (1.25%)           (0.74%)             0.09%              0.40%
   2018          Q1                  ✓                     (1.79%)            (2.66%)             0.87%             1.99%           (0.90%)           (0.39%)             0.08%              0.46%
   2018          Q2                  ✓                       2.43%              2.24%             0.19%             3.30%           (0.85%)           (0.48%)           (0.31%)              0.46%
   2018          Q3                  ✓                       4.35%              3.13%             1.22%             2.82%           (0.05%)           (0.35%)             0.32%              0.54%
   2018          Q4                  ✓                    (15.13%)           (15.12%)           (0.01%)             1.97%             0.22%           (0.37%)           (0.23%)              0.52%
   2019          Q1                  ✓                      13.58%             14.18%           (0.60%)             0.84%             0.88%           (0.28%)           (0.76%)              0.48%
   2019          Q2                  NA                      3.86%              3.02%             0.85%             1.50%             1.55%             0.01%           (0.31%)              0.53%
   2019          Q3                  NA                      1.64%              1.04%             0.60%             0.88%             1.74%           (0.02%)           (0.15%)              0.56%
   2019          Q4                  NA                      5.65%              6.16%           (0.51%)             0.50%             1.58%           (0.18%)           (0.24%)              0.52%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Summary Prospectuses; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the
number of monthly periods. For example, the quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The benchmark is selected according to the benchmark listed in the fund's summary prospectus. For this fund, the benchmark was the Russell Mid Cap Value NR USD through Q4 2019.
[3] Principal MidCap Value I Inst is currently in the Plan at the time of analysis.
[4] The Watch List flag identifies quarters in which the fund was on the Plan's Watch List and is obtained from the Envestnet Reports and Willis Towers Watson Reports. Watch List data is unavailable
after Q1 2019.
[5] The excess return is calculated as the fund return minus the benchmark return.
[6] The return shown is the return over the trailing 10 years or since inception. For this fund, the inception date is later than 06/30/03 such that 10 years of historical data is not available.
[7] Morningstar does not report returns for the month Principal MidCap Value I Inst was incepted; therefore, the return since inception is calculated starting from the month following inception.




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                                              Rolling Excess Return Comparison[1][2][3]
                                     Thornburg International Value R6 (TGIRX) vs. Benchmark Index
                                                        Inception Date: 05/28/98
                                                                                                                                          Excess Returns[5]
                                                                             Quarter                                                                                                        Annualized
Calendar                                               Quarter Fund         Benchmark                                             Annualized        Annualized         Annualized              Since
  Year        Quarter           Watch List[4]            Return               Return             Quarter           1-Year           3-Year            5-Year            10-Year             Inception[6]

   2013          Q3                                           9.91%            11.56%            (1.65%)          (6.70%)            (2.15%)           (0.29%)            1.60%               4.22%
   2013          Q4                                           4.36%              5.71%           (1.36%)          (6.92%)            (3.00%)           (0.74%)            1.51%               4.08%
   2014          Q1                ✓                        (4.59%)              0.66%           (5.26%)          (9.72%)            (5.13%)           (2.86%)            0.87%               3.64%
   2014          Q2                ✓                          2.26%              4.09%           (1.83%)         (11.67%)            (5.63%)           (2.67%)            0.88%               3.47%
   2014          Q3                ✓                        (1.36%)            (5.88%)             4.51%          (3.83%)            (3.34%)           (0.84%)            1.21%               3.71%
   2014          Q4       Approved For Removal              (1.66%)            (3.57%)             1.91%          (0.47%)            (2.80%)           (0.75%)            1.65%               3.77%
   2015          Q1                                           2.16%              0.49%             1.67%            3.79%            (2.35%)           (0.38%)            1.84%               3.86%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Summary Prospectuses; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the
number of monthly periods. For example, the quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The benchmark is selected according to the benchmark listed in the fund's summary prospectus. For this fund, the benchmark was the MSCI EAFE NR USD through Q1 2015.
[3] Thornburg International Value R6 was removed from the Plan on 02/17/15. This fund was removed from the Plan in the middle of the quarter; therefore, only the partial quarter's return is reported.
[4] The Watch List flag identifies quarters in which the fund was on the Plan's Watch List and is obtained from the Envestnet Reports and Willis Towers Watson Reports.
[5] The excess return is calculated as the fund return minus the benchmark return.
[6] The inception date of the Thornburg International Value R6 Fund is 05/01/12; however, the fund had another share class with an inception date of 05/28/98. Morningstar does not report the initial
month returns for the original share class fund; therefore, the return since inception for the Thornburg International Value R6 Fund is computed from 06/30/98.




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                                                    Rolling Excess Return Comparison[1][2][3]
                                              Principal LifeTime 2015 I (LTINX) vs. Benchmark Index
                                                              Inception Date: 02/29/08
                                                                                                                                           Excess Returns[5]
                                                                             Quarter                                                                                   Annualized           Annualized
Calendar                                               Quarter Fund         Benchmark                                              Annualized        Annualized       10-Year/ Since           Since
  Year        Quarter           Watch List[4]            Return               Return             Quarter            1-Year           3-Year            5-Year          Inception[6]         Inception[7]

  2013           Q3                   ✓                       4.23%              3.84%             0.39%             0.32%             0.81%             0.57%           (0.36%)             (0.36%)
  2013           Q4                   ✓                       4.93%              4.02%             0.91%             1.36%             0.78%             2.35%           (0.19%)             (0.19%)
  2014           Q1                   ✓                       1.58%              1.58%           (0.01%)             0.96%             0.42%             2.78%           (0.18%)             (0.18%)
  2014           Q2                   ✓                       3.19%              3.19%           (0.00%)             1.41%             0.51%             1.81%           (0.17%)             (0.17%)
  2014           Q3                                         (1.24%)            (1.19%)           (0.04%)             0.88%             1.43%             1.18%           (0.17%)             (0.17%)
  2014           Q4                                           1.50%              1.84%           (0.34%)           (0.41%)             1.20%             0.88%           (0.22%)             (0.22%)
  2015           Q1                                           2.15%              2.15%           (0.01%)           (0.41%)             0.63%             0.68%           (0.21%)             (0.21%)
  2015           Q2                                         (0.46%)            (0.66%)             0.20%           (0.19%)             0.67%             1.05%           (0.18%)             (0.18%)
  2015           Q3                                         (4.50%)            (3.75%)           (0.75%)           (0.92%)             0.06%             0.45%           (0.28%)             (0.28%)
  2015           Q4                                           1.76%              2.21%           (0.44%)           (1.02%)           (0.07%)             0.16%           (0.33%)             (0.33%)
  2016           Q1                                           1.03%              1.90%           (0.88%)           (1.86%)           (0.49%)           (0.23%)           (0.43%)             (0.43%)
  2016           Q2                                           1.93%              1.95%           (0.02%)           (2.12%)           (0.37%)           (0.18%)           (0.42%)             (0.42%)
  2016           Q3                                           2.80%              2.44%             0.36%           (1.04%)           (0.38%)             0.42%           (0.36%)             (0.36%)
  2016           Q4                                         (0.30%)              0.12%           (0.42%)           (1.01%)           (0.81%)             0.28%           (0.40%)             (0.40%)
  2017           Q1                                           3.84%              3.22%             0.61%             0.55%           (0.61%)             0.08%           (0.32%)             (0.32%)
  2017           Q2                                           2.72%              2.30%             0.42%             1.02%           (0.47%)             0.15%           (0.27%)             (0.27%)
  2017           Q3       Approved For Removal                3.22%              2.55%             0.67%             1.34%           (0.23%)             0.09%           (0.19%)             (0.19%)

Source: BBVA Retirement Committee Meeting Minutes; CRSP; Envestnet Reports; FRED; Morningstar Direct; Participant Plan Disclosures; Summary Prospectuses; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the
number of monthly periods. For example, the quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The benchmark is selected according to the benchmark listed in the fund's summary prospectus. For this fund, the benchmark was the S&P Target Date 2015 TR USD through Q3 2017.
[3] Principal LifeTime 2015 I was removed from the Plan on 10/11/17.
[4] The Watch List flag identifies quarters in which the fund was on the Plan's Watch List and is obtained from the Envestnet Reports and Willis Towers Watson Reports.
[5] The excess return is calculated as the fund return minus the benchmark return.
[6] The return shown is the return over the trailing 10 years or since inception. For this fund, the inception date is later than 06/30/03 such that 10 years of historical data is not available.
[7] Morningstar does not report returns for the month Principal LifeTime 2015 I was incepted; therefore, the return since inception is calculated starting from the month following inception.




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                                                   Rolling Excess Return Comparison[1][2][3]
                                             Principal LifeTime 2020 I (PLWIX) vs. Benchmark Index
                                                             Inception Date: 03/01/01
                                                                                                                                           Excess Returns[5]
                                                                             Quarter                                                                                                        Annualized
Calendar                                               Quarter Fund         Benchmark                                              Annualized        Annualized         Annualized             Since
  Year        Quarter           Watch List[4]            Return               Return             Quarter            1-Year           3-Year            5-Year            10-Year            Inception[6]

   2013          Q3                   ✓                       4.92%              4.44%             0.48%             0.27%             0.69%             0.60%           (0.12%)               0.63%
   2013          Q4                   ✓                       5.53%              4.75%             0.78%             1.14%             0.78%             2.24%             0.11%               0.68%
   2014          Q1                   ✓                       1.69%              1.61%             0.08%             0.98%             0.56%             2.57%             0.02%               0.68%
   2014          Q2                   ✓                       3.39%              3.45%           (0.06%)             1.41%             0.61%             1.52%             0.18%               0.66%
   2014          Q3                                         (1.47%)            (1.41%)           (0.06%)             0.77%             1.55%             1.01%             0.02%               0.64%
   2014          Q4                                           1.95%              1.96%           (0.01%)           (0.06%)             1.41%             0.83%           (0.03%)               0.63%
   2015          Q1                                           2.27%              2.34%           (0.07%)           (0.22%)             0.73%             0.64%           (0.05%)               0.61%
   2015          Q2                                         (0.42%)            (0.54%)             0.13%           (0.02%)             0.70%             0.87%           (0.18%)               0.61%
   2015          Q3                                         (5.08%)            (4.47%)           (0.61%)           (0.59%)             0.12%             0.43%           (0.32%)               0.55%
   2015          Q4                                           2.23%              2.65%           (0.42%)           (0.98%)           (0.02%)             0.24%           (0.43%)               0.51%
   2016          Q1                                           0.78%              1.77%           (0.99%)           (1.86%)           (0.43%)           (0.11%)           (0.60%)               0.44%
   2016          Q2                                           1.93%              1.98%           (0.05%)           (2.08%)           (0.31%)           (0.09%)           (0.58%)               0.43%
   2016          Q3                                           3.19%              2.79%             0.40%           (1.13%)           (0.33%)             0.54%           (0.57%)               0.45%
   2016          Q4                                         (0.16%)              0.51%           (0.67%)           (1.39%)           (0.81%)             0.32%           (0.66%)               0.39%
   2017          Q1                                           4.20%              3.68%             0.53%             0.20%           (0.67%)             0.06%           (0.62%)               0.42%
   2017          Q2                                           3.01%              2.55%             0.46%             0.75%           (0.49%)             0.11%           (0.52%)               0.45%
   2017          Q3       Approved For Removal                3.70%              2.81%             0.90%             1.28%           (0.17%)             0.10%           (0.44%)               0.49%


Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Summary Prospectuses; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the
number of monthly periods. For example, the quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The benchmark is selected according to the benchmark listed in the fund's summary prospectus. For this fund, the benchmark was the S&P Target Date 2020 TR USD through Q3 2017.
[3] Principal LifeTime 2020 I was removed from the Plan on 10/11/17.
[4] The Watch List flag identifies quarters in which the fund was on the Plan's Watch List and is obtained from the Envestnet Reports and Willis Towers Watson Reports.
[5] The excess return is calculated as the fund return minus the benchmark return.
[6] Morningstar does not report returns for the month Principal LifeTime 2020 I was incepted; therefore, the return since inception is calculated starting from the month following inception.




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                                                   Rolling Excess Return Comparison[1][2][3]
                                             Principal LifeTime 2025 I (LTSTX) vs. Benchmark Index
                                                             Inception Date: 02/29/08
                                                                                                                                           Excess Returns[5]
                                                                             Quarter                                                                                   Annualized           Annualized
Calendar                                               Quarter Fund         Benchmark                                              Annualized        Annualized       10-Year/ Since           Since
  Year        Quarter           Watch List[4]            Return               Return             Quarter            1-Year           3-Year            5-Year          Inception[6]         Inception[7]

   2013          Q3                   ✓                       5.39%              4.98%             0.40%           (0.39%)             0.36%             0.18%           (0.58%)             (0.58%)
   2013          Q4                   ✓                       5.90%              5.34%             0.56%             0.46%             0.47%             1.42%           (0.47%)             (0.47%)
   2014          Q1                   ✓                       1.61%              1.63%           (0.01%)             0.47%             0.27%             1.62%           (0.45%)             (0.45%)
   2014          Q2                   ✓                       3.62%              3.67%           (0.05%)             1.00%             0.31%             0.99%           (0.44%)             (0.44%)
   2014          Q3                                         (1.45%)            (1.67%)             0.22%             0.76%             1.14%             0.67%           (0.39%)             (0.39%)
   2014          Q4                                           2.02%              1.89%             0.13%             0.31%             1.15%             0.60%           (0.35%)             (0.35%)
   2015          Q1                                           2.52%              2.44%             0.08%             0.41%             0.60%             0.52%           (0.33%)             (0.33%)
   2015          Q2                                         (0.44%)            (0.41%)           (0.03%)             0.41%             0.51%             0.63%           (0.32%)             (0.32%)
   2015          Q3                                         (5.65%)            (5.11%)           (0.53%)           (0.39%)           (0.02%)             0.28%           (0.39%)             (0.39%)
   2015          Q4                                           2.62%              3.04%           (0.42%)           (0.92%)           (0.09%)             0.14%           (0.43%)             (0.43%)
   2016          Q1                                           0.70%              1.64%           (0.94%)           (1.90%)           (0.40%)           (0.17%)           (0.54%)             (0.54%)
   2016          Q2                                           1.78%              2.01%           (0.23%)           (2.14%)           (0.31%)           (0.19%)           (0.55%)             (0.55%)
   2016          Q3                                           3.49%              3.10%             0.39%           (1.31%)           (0.31%)             0.31%           (0.49%)             (0.49%)
   2016          Q4                                         (0.04%)              0.87%           (0.90%)           (1.80%)           (0.81%)             0.10%           (0.58%)             (0.58%)
   2017          Q1                                           4.76%              4.08%             0.67%           (0.12%)           (0.58%)           (0.09%)           (0.49%)             (0.49%)
   2017          Q2                                           3.34%              2.79%             0.55%             0.72%           (0.38%)           (0.02%)           (0.42%)             (0.42%)
   2017          Q3       Approved For Removal                4.04%              3.22%             0.82%             1.19%           (0.19%)           (0.04%)           (0.32%)             (0.32%)

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Summary Prospectuses; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the
number of monthly periods. For example, the quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The benchmark is selected according to the benchmark listed in the fund's summary prospectus. For this fund, the benchmark was the S&P Target Date 2025 TR USD through Q3 2017.
[3] Principal LifeTime 2025 I was removed from the Plan on 10/11/17.
[4] The Watch List flag identifies quarters in which the fund was on the Plan's Watch List and is obtained from the Envestnet Reports and Willis Towers Watson Reports.
[5] The excess return is calculated as the fund return minus the benchmark return.
[6] The return shown is the return over the trailing 10 years or since inception. For this fund, the inception date is later than 06/30/03 such that 10 years of historical data is not available.
[7] Morningstar does not report returns for the month Principal LifeTime 2025 I was incepted; therefore, the return since inception is calculated starting from the month following inception.




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                                                                                                                                                                                            Exhibit 5

                                                   Rolling Excess Return Comparison[1][2][3]
                                             Principal LifeTime 2030 I (PMTIX) vs. Benchmark Index
                                                             Inception Date: 03/01/01
                                                                                                                                           Excess Returns[5]
                                                                             Quarter                                                                                                        Annualized
Calendar                                               Quarter Fund         Benchmark                                              Annualized        Annualized         Annualized             Since
  Year        Quarter           Watch List[4]            Return               Return             Quarter            1-Year           3-Year            5-Year            10-Year            Inception[6]

   2013          Q3                                           5.90%              5.45%             0.45%           (0.80%)             0.12%             0.32%           (0.27%)               0.45%
   2013          Q4                                           6.48%              5.90%             0.59%             0.12%             0.36%             1.35%           (0.01%)               0.49%
   2014          Q1                                           1.59%              1.63%           (0.04%)             0.41%             0.20%             1.37%           (0.07%)               0.48%
   2014          Q2                                           3.62%              3.87%           (0.26%)             0.82%             0.16%             0.74%             0.05%               0.45%
   2014          Q3                                         (1.51%)            (1.85%)             0.34%             0.67%             0.71%             0.53%           (0.07%)               0.47%
   2014          Q4                                           2.15%              1.96%             0.19%             0.27%             0.87%             0.47%           (0.03%)               0.47%
   2015          Q1                                           2.66%              2.58%             0.08%             0.39%             0.47%             0.40%           (0.05%)               0.47%
   2015          Q2                                         (0.27%)            (0.32%)             0.04%             0.67%             0.35%             0.45%           (0.17%)               0.47%
   2015          Q3                                         (6.08%)            (5.68%)           (0.40%)           (0.11%)           (0.07%)             0.18%           (0.27%)               0.43%
   2015          Q4                                           3.01%              3.38%           (0.37%)           (0.65%)           (0.11%)             0.12%           (0.37%)               0.39%
   2016          Q1                                           0.31%              1.52%           (1.21%)           (1.89%)           (0.43%)           (0.22%)           (0.53%)               0.30%
   2016          Q2                                           1.62%              2.02%           (0.40%)           (2.36%)           (0.36%)           (0.27%)           (0.56%)               0.27%
   2016          Q3                                           3.64%              3.39%             0.25%           (1.87%)           (0.42%)             0.01%           (0.54%)               0.28%
   2016          Q4                                           0.23%              1.19%           (0.95%)           (2.46%)           (0.93%)           (0.14%)           (0.61%)               0.21%
   2017          Q1                                           5.08%              4.45%             0.63%           (0.55%)           (0.72%)           (0.24%)           (0.55%)               0.25%
   2017          Q2                                           3.61%              3.01%             0.60%             0.55%           (0.43%)           (0.21%)           (0.44%)               0.29%
   2017          Q3       Approved For Removal                4.46%              3.60%             0.86%             1.21%           (0.26%)           (0.18%)           (0.39%)               0.34%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Summary Prospectuses; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the
number of monthly periods. For example, the quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The benchmark is selected according to the benchmark listed in the fund's summary prospectus. For this fund, the benchmark was the S&P Target Date 2030 TR USD through Q3 2017.
[3] Principal LifeTime 2030 I was removed from the Plan on 10/11/17.
[4] The Watch List flag identifies quarters in which the fund was on the Plan's Watch List and is obtained from the Envestnet Reports and Willis Towers Watson Reports.
[5] The excess return is calculated as the fund return minus the benchmark return.
[6] Morningstar does not report returns for the month Principal LifeTime 2030 I was incepted; therefore, the return since inception is calculated starting from the month following inception.




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                                                    Rolling Excess Return Comparison[1][2][3]
                                              Principal LifeTime 2035 I (LTIUX) vs. Benchmark Index
                                                              Inception Date: 02/29/08
                                                                                                                                           Excess Returns[5]
                                                                             Quarter                                                                                   Annualized           Annualized
Calendar                                               Quarter Fund         Benchmark                                              Annualized        Annualized       10-Year/ Since           Since
  Year        Quarter           Watch List[4]            Return               Return             Quarter            1-Year           3-Year            5-Year          Inception[6]         Inception[7]

   2013          Q3                                           6.27%              5.88%             0.40%           (0.73%)             0.10%             0.16%           (0.44%)             (0.44%)
   2013          Q4                                           6.90%              6.42%             0.49%             0.13%             0.32%             0.89%           (0.35%)             (0.35%)
   2014          Q1                                           1.57%              1.62%           (0.05%)             0.28%             0.23%             0.75%           (0.34%)             (0.34%)
   2014          Q2                                           3.77%              4.04%           (0.27%)             0.61%             0.14%             0.46%           (0.37%)             (0.37%)
   2014          Q3                                         (1.57%)            (2.01%)             0.44%             0.65%             0.71%             0.37%           (0.28%)             (0.28%)
   2014          Q4                                           2.32%              2.01%             0.31%             0.46%             0.94%             0.40%           (0.23%)             (0.23%)
   2015          Q1                                           2.63%              2.69%           (0.06%)             0.46%             0.48%             0.34%           (0.23%)             (0.23%)
   2015          Q2                                           0.00%            (0.23%)             0.23%             0.94%             0.42%             0.47%           (0.19%)             (0.19%)
   2015          Q3                                         (6.50%)            (6.20%)           (0.29%)             0.16%             0.04%             0.22%           (0.22%)             (0.22%)
   2015          Q4                                           3.38%              3.70%           (0.32%)           (0.45%)             0.03%             0.18%           (0.26%)             (0.26%)
   2016          Q1                                         (0.19%)              1.39%           (1.58%)           (1.91%)           (0.46%)           (0.19%)           (0.45%)             (0.45%)
   2016          Q2                                           1.40%              2.02%           (0.61%)           (2.77%)           (0.48%)           (0.32%)           (0.52%)             (0.52%)
   2016          Q3                                           3.69%              3.66%             0.03%           (2.70%)           (0.60%)           (0.10%)           (0.50%)             (0.50%)
   2016          Q4                                           0.37%              1.52%           (1.15%)           (3.52%)           (1.15%)           (0.27%)           (0.62%)             (0.62%)
   2017          Q1                                           5.36%              4.81%             0.55%           (1.33%)           (0.96%)           (0.40%)           (0.54%)             (0.54%)
   2017          Q2                                           3.86%              3.22%             0.64%             0.03%           (0.65%)           (0.36%)           (0.46%)             (0.46%)
   2017          Q3       Approved For Removal                4.73%              3.97%             0.76%             0.84%           (0.56%)           (0.35%)           (0.37%)             (0.37%)

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Summary Prospectuses; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the
number of monthly periods. For example, the quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The benchmark is selected according to the benchmark listed in the fund's summary prospectus. For this fund, the benchmark was the S&P Target Date 2035 TR USD through Q3 2017.
[3] Principal LifeTime 2035 I was removed from the Plan on 10/11/17.
[4] The Watch List flag identifies quarters in which the fund was on the Plan's Watch List and is obtained from the Envestnet Reports and Willis Towers Watson Reports.
[5] The excess return is calculated as the fund return minus the benchmark return.
[6] The return shown is the return over the trailing 10 years or since inception. For this fund, the inception date is later than 06/30/03 such that 10 years of historical data is not available.
[7] Morningstar does not report returns for the month Principal LifeTime 2035 I was incepted; therefore, the return since inception is calculated starting from the month following inception.




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                                                    Rolling Excess Return Comparison[1][2][3]
                                              Principal LifeTime 2040 I (PTDIX) vs. Benchmark Index
                                                              Inception Date: 03/01/01
                                                                                                                                           Excess Returns[5]
                                                                             Quarter                                                                                                         Annualized
Calendar                                                Quarter Fund        Benchmark                                              Annualized        Annualized         Annualized              Since
  Year        Quarter           Watch List[4]             Return              Return             Quarter            1-Year           3-Year            5-Year            10-Year             Inception[6]

   2013          Q3                                           6.62%              6.19%             0.43%           (0.84%)             0.02%             0.13%           (0.33%)               0.51%
   2013          Q4                                           7.33%              6.77%             0.56%             0.26%             0.25%             0.88%           (0.07%)               0.54%
   2014          Q1                                           1.48%              1.61%           (0.13%)             0.29%             0.15%             0.69%           (0.09%)               0.52%
   2014          Q2                                           3.77%              4.18%           (0.41%)             0.49%             0.06%             0.37%           (0.06%)               0.48%
   2014          Q3                                         (1.53%)            (2.14%)             0.61%             0.70%             0.60%             0.31%           (0.09%)               0.52%
   2014          Q4                                           2.33%              2.04%             0.29%             0.42%             0.88%             0.33%           (0.03%)               0.53%
   2015          Q1                                           2.71%              2.78%           (0.07%)             0.48%             0.41%             0.30%           (0.09%)               0.52%
   2015          Q2                                         (0.07%)            (0.17%)             0.10%             0.97%             0.37%             0.34%           (0.18%)               0.52%
   2015          Q3                                         (6.86%)            (6.60%)           (0.27%)             0.03%           (0.02%)             0.16%           (0.27%)               0.49%
   2015          Q4                                           3.79%              3.92%           (0.13%)           (0.38%)             0.08%             0.15%           (0.35%)               0.47%
   2016          Q1                                         (0.36%)              1.32%           (1.68%)           (1.94%)           (0.46%)           (0.24%)           (0.53%)               0.34%
   2016          Q2                                           1.32%              2.01%           (0.69%)           (2.75%)           (0.51%)           (0.36%)           (0.58%)               0.29%
   2016          Q3                                           3.90%              3.87%             0.03%           (2.71%)           (0.63%)           (0.20%)           (0.56%)               0.29%
   2016          Q4                                           0.54%              1.75%           (1.21%)           (3.78%)           (1.22%)           (0.35%)           (0.64%)               0.20%
   2017          Q1                                           5.58%              5.07%             0.51%           (1.52%)           (1.02%)           (0.49%)           (0.60%)               0.23%
   2017          Q2                                           4.05%              3.36%             0.69%           (0.01%)           (0.65%)           (0.40%)           (0.48%)               0.27%
   2017          Q3       Approved For Removal                4.88%              4.21%             0.67%             0.69%           (0.65%)           (0.42%)           (0.47%)               0.31%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Summary Prospectuses; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the
number of monthly periods. For example, the quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The benchmark is selected according to the benchmark listed in the fund's summary prospectus. For this fund, the benchmark was the S&P Target Date 2040 TR USD through Q3 2017.
[3] Principal LifeTime 2040 I was removed from the Plan on 10/11/17.
[4] The Watch List flag identifies quarters in which the fund was on the Plan's Watch List and is obtained from the Envestnet Reports and Willis Towers Watson Reports.
[5] The excess return is calculated as the fund return minus the benchmark return.
[6] Morningstar does not report returns for the month Principal LifeTime 2040 I was incepted; therefore, the return since inception is calculated starting from the month following inception.




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                                                    Rolling Excess Return Comparison[1][2][3]
                                              Principal LifeTime 2045 I (LTRIX) vs. Benchmark Index
                                                              Inception Date: 02/29/08
                                                                                                                                           Excess Returns[5]
                                                                             Quarter                                                                                   Annualized            Annualized
Calendar                                               Quarter Fund         Benchmark                                              Annualized        Annualized       10-Year/ Since            Since
  Year        Quarter           Watch List[4]            Return               Return             Quarter            1-Year           3-Year            5-Year          Inception[6]          Inception[7]

   2013          Q3                                           6.70%              6.45%             0.25%           (1.10%)             0.02%             0.16%           (0.32%)             (0.32%)
   2013          Q4                                           7.49%              7.07%             0.42%           (0.09%)             0.16%             0.63%           (0.24%)             (0.24%)
   2014          Q1                                           1.62%              1.58%             0.04%             0.23%             0.12%             0.47%           (0.22%)             (0.22%)
   2014          Q2                                           3.87%              4.28%           (0.42%)             0.32%           (0.02%)             0.33%           (0.28%)             (0.28%)
   2014          Q3                                         (1.62%)            (2.25%)             0.64%             0.76%             0.49%             0.27%           (0.16%)             (0.16%)
   2014          Q4                                           2.42%              2.05%             0.36%             0.68%             0.85%             0.29%           (0.10%)             (0.10%)
   2015          Q1                                           2.75%              2.85%           (0.10%)             0.54%             0.36%             0.26%           (0.11%)             (0.11%)
   2015          Q2                                         (0.00%)            (0.12%)             0.12%             1.05%             0.32%             0.40%           (0.09%)             (0.09%)
   2015          Q3                                         (7.19%)            (6.93%)           (0.26%)             0.09%           (0.06%)             0.18%           (0.13%)             (0.13%)
   2015          Q4                                           4.01%              4.10%           (0.10%)           (0.36%)             0.08%             0.16%           (0.14%)             (0.14%)
   2016          Q1                                         (0.46%)              1.25%           (1.71%)           (1.91%)           (0.45%)           (0.24%)           (0.35%)             (0.35%)
   2016          Q2                                           1.28%              2.00%           (0.71%)           (2.74%)           (0.53%)           (0.39%)           (0.43%)             (0.43%)
   2016          Q3                                           3.99%              4.04%           (0.05%)           (2.81%)           (0.63%)           (0.27%)           (0.43%)             (0.43%)
   2016          Q4                                           0.70%              1.95%           (1.24%)           (3.96%)           (1.18%)           (0.40%)           (0.56%)             (0.56%)
   2017          Q1                                           5.78%              5.28%             0.50%           (1.71%)           (1.04%)           (0.55%)           (0.49%)             (0.49%)
   2017          Q2                                           4.10%              3.45%             0.65%           (0.21%)           (0.68%)           (0.47%)           (0.41%)             (0.41%)
   2017          Q3       Approved For Removal                5.09%              4.35%             0.74%             0.67%           (0.68%)           (0.47%)           (0.32%)             (0.32%)

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Summary Prospectuses; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the
number of monthly periods. For example, the quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The benchmark is selected according to the benchmark listed in the fund's summary prospectus. For this fund, the benchmark was the S&P Target Date 2045 TR USD through Q3 2017.
[3] Principal LifeTime 2045 I was removed from the Plan on 10/11/17.
[4] The Watch List flag identifies quarters in which the fund was on the Plan's Watch List and is obtained from the Envestnet Reports and Willis Towers Watson Reports.
[5] The excess return is calculated as the fund return minus the benchmark return.
[6] The return shown is the return over the trailing 10 years or since inception. For this fund, the inception date is later than 06/30/03 such that 10 years of historical data is not available.
[7] Morningstar does not report returns for the month Principal LifeTime 2045 I was incepted; therefore, the return since inception is calculated starting from the month following inception.




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                                                    Rolling Excess Return Comparison[1][2][3]
                                              Principal LifeTime 2050 I (PPLIX) vs. Benchmark Index
                                                              Inception Date: 03/01/01
                                                                                                                                           Excess Returns[5]
                                                                             Quarter                                                                                                        Annualized
Calendar                                               Quarter Fund         Benchmark                                              Annualized        Annualized         Annualized             Since
  Year        Quarter           Watch List[4]            Return               Return             Quarter            1-Year           3-Year            5-Year            10-Year            Inception[6]

   2013          Q3                                           6.94%              6.74%             0.19%           (1.19%)             0.02%             0.12%           (0.53%)             (0.53%)
   2013          Q4                                           7.75%              7.39%             0.36%           (0.32%)             0.08%             0.74%           (0.47%)             (0.47%)
   2014          Q1                                           1.59%              1.54%             0.05%             0.09%           (0.00%)             0.60%           (0.45%)             (0.45%)
   2014          Q2                                           3.89%              4.40%           (0.51%)             0.09%           (0.15%)             0.34%           (0.50%)             (0.50%)
   2014          Q3                                         (1.64%)            (2.35%)             0.70%             0.69%             0.52%             0.25%           (0.39%)             (0.39%)
   2014          Q4                                           2.39%              2.09%             0.30%             0.61%             0.76%             0.25%           (0.35%)             (0.35%)
   2015          Q1                                           2.80%              2.91%           (0.12%)             0.43%             0.21%             0.19%           (0.35%)             (0.35%)
   2015          Q2                                           0.14%            (0.07%)             0.20%             1.13%             0.25%             0.42%           (0.32%)             (0.32%)
   2015          Q3                                         (7.40%)            (7.22%)           (0.18%)             0.18%           (0.07%)             0.19%           (0.33%)             (0.33%)
   2015          Q4                                           4.13%              4.32%           (0.19%)           (0.28%)             0.01%             0.11%           (0.34%)             (0.34%)
   2016          Q1                                         (0.60%)              1.18%           (1.77%)           (1.87%)           (0.52%)           (0.33%)           (0.52%)             (0.52%)
   2016          Q2                                           1.20%              1.94%           (0.73%)           (2.81%)           (0.60%)           (0.47%)           (0.58%)             (0.58%)
   2016          Q3                                           4.16%              4.17%           (0.02%)           (2.97%)           (0.67%)           (0.26%)           (0.55%)             (0.57%)
   2016          Q4                                           0.76%              2.14%           (1.38%)           (4.16%)           (1.24%)           (0.48%)           (0.66%)             (0.69%)
   2017          Q1                                           6.00%              5.51%             0.49%           (1.85%)           (1.11%)           (0.66%)           (0.61%)             (0.63%)
   2017          Q2                                           4.20%              3.54%             0.66%           (0.32%)           (0.72%)           (0.55%)           (0.50%)             (0.56%)
   2017          Q3       Approved For Removal                5.23%              4.43%             0.80%             0.59%           (0.72%)           (0.53%)           (0.49%)             (0.48%)

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Summary Prospectuses; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the
number of monthly periods. For example, the quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The benchmark is selected according to the benchmark listed in the fund's summary prospectus. For this fund, the benchmark was the S&P Target Date 2050 TR USD through Q3 2017.
[3] Principal LifeTime 2050 I was removed from the Plan on 10/11/17.
[4] The Watch List flag identifies quarters in which the fund was on the Plan's Watch List and is obtained from the Envestnet Reports and Willis Towers Watson Reports.
[5] The excess return is calculated as the fund return minus the benchmark return.
[6] Morningstar does not report returns for the benchmark prior to 06/30/06; therefore, the return since inception is calculated starting from 06/30/06.




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                                                                                                                                                                                            Exhibit 5

                                                    Rolling Excess Return Comparison[1][2][3]
                                              Principal LifeTime 2055 I (LTFIX) vs. Benchmark Index
                                                              Inception Date: 02/29/08
                                                                                                                                           Excess Returns[5]
                                                                             Quarter                                                                                   Annualized           Annualized
Calendar                                               Quarter Fund         Benchmark                                              Annualized        Annualized       10-Year/ Since           Since
  Year        Quarter           Watch List[4]            Return               Return             Quarter           1-Year            3-Year            5-Year          Inception[6]         Inception[7]

  2013           Q3                                           6.86%              6.97%           (0.11%)           (1.90%)           (0.43%)           (0.12%)           (0.65%)             (0.65%)
  2013           Q4                                           7.79%              7.65%             0.14%           (1.17%)           (0.41%)             0.37%           (0.61%)             (0.61%)
  2014           Q1                                           1.52%              1.52%             0.00%           (0.57%)           (0.49%)             0.14%           (0.58%)             (0.58%)
  2014           Q2                                           3.98%              4.46%           (0.48%)           (0.53%)           (0.67%)           (0.02%)           (0.64%)             (0.64%)
  2014           Q3                                         (1.68%)            (2.41%)             0.73%             0.47%             0.11%           (0.09%)           (0.49%)             (0.49%)
  2014           Q4                                           2.40%              2.07%             0.33%             0.65%             0.40%           (0.09%)           (0.42%)             (0.42%)
  2015           Q1                                           2.77%              2.94%           (0.17%)             0.48%           (0.22%)           (0.14%)           (0.43%)             (0.43%)
  2015           Q2                                           0.16%            (0.04%)             0.20%             1.14%           (0.06%)             0.08%           (0.39%)             (0.39%)
  2015           Q3                                         (7.59%)            (7.43%)           (0.16%)             0.18%           (0.36%)           (0.12%)           (0.39%)             (0.39%)
  2015           Q4                                           4.33%              4.41%           (0.08%)           (0.22%)           (0.20%)           (0.15%)           (0.39%)             (0.39%)
  2016           Q1                                         (0.62%)              1.13%           (1.75%)           (1.74%)           (0.65%)           (0.58%)           (0.61%)             (0.61%)
  2016           Q2                                           1.16%              1.92%           (0.76%)           (2.69%)           (0.74%)           (0.74%)           (0.68%)             (0.68%)
  2016           Q3                                           4.23%              4.28%           (0.06%)           (2.91%)           (0.72%)           (0.49%)           (0.67%)             (0.67%)
  2016           Q4                                           0.89%              2.29%           (1.39%)           (4.22%)           (1.22%)           (0.68%)           (0.82%)             (0.82%)
  2017           Q1                                           6.09%              5.65%             0.44%           (2.00%)           (1.09%)           (0.90%)           (0.75%)             (0.75%)
  2017           Q2                                           4.27%              3.57%             0.69%           (0.40%)           (0.70%)           (0.72%)           (0.66%)             (0.66%)
  2017           Q3       Approved For Removal                5.35%              4.48%             0.87%             0.64%           (0.68%)           (0.68%)           (0.55%)             (0.55%)

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Summary Prospectuses; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the
number of monthly periods. For example, the quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The benchmark is selected according to the benchmark listed in the fund's summary prospectus. For this fund, the benchmark was the S&P Target Date 2055 TR USD through Q3 2017.
[3] Principal LifeTime 2055 I was removed from the Plan on 10/11/17.
[4] The Watch List flag identifies quarters in which the fund was on the Plan's Watch List and is obtained from the Envestnet Reports and Willis Towers Watson Reports.
[5] The excess return is calculated as the fund return minus the benchmark return.
[6] The return shown is the return over the trailing 10 years or since inception. For this fund, the inception date is later than 06/30/03 such that 10 years of historical data is not available.
[7] Morningstar does not report returns for the month Principal LifeTime 2055 I was incepted; therefore, the return since inception is calculated starting from the month following inception.




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                                                                                                                                                                                            Exhibit 5

                                               Rolling Excess Return Comparison[1][2][3]
                                  Principal LifeTime Strategic Income I (PLSIX) vs. Benchmark Index
                                                       Inception Date: 03/01/01
                                                                                                                                           Excess Returns[5]
                                                                             Quarter                                                                                                         Annualized
Calendar                                               Quarter Fund         Benchmark                                              Annualized        Annualized         Annualized              Since
  Year        Quarter           Watch List[4]            Return               Return             Quarter            1-Year           3-Year            5-Year            10-Year             Inception[6]

  2013          Q3                                            2.36%              2.48%           (0.11%)           (0.80%)             0.03%             0.58%            (0.17%)               0.02%
  2013          Q4                                            2.41%              2.34%             0.07%           (0.89%)             0.20%             1.89%            (0.23%)               0.03%
  2014          Q1                                            1.79%              1.44%             0.35%           (0.24%)             0.10%             1.96%            (0.31%)               0.06%
  2014          Q2                                            2.77%              2.56%             0.21%             0.56%             0.23%             1.28%            (0.24%)               0.07%
  2014          Q3                                          (0.98%)            (0.69%)           (0.29%)             0.35%             0.29%             0.78%            (0.45%)               0.05%
  2014          Q4                                            0.97%              1.50%           (0.53%)           (0.28%)             0.25%             0.47%            (0.64%)               0.01%
  2015          Q1                                            1.92%              1.69%             0.23%           (0.41%)             0.20%             0.33%            (0.58%)               0.02%
  2015          Q2                                          (0.82%)            (0.87%)             0.05%           (0.55%)           (0.04%)             0.16%            (0.62%)               0.03%
  2015          Q3                                          (2.39%)            (2.09%)           (0.30%)           (0.55%)           (0.34%)           (0.03%)            (0.67%)               0.00%
  2015          Q4                                            0.47%              1.14%           (0.68%)           (0.69%)           (0.62%)           (0.08%)            (0.77%)             (0.04%)
  2016          Q1                                            1.80%              2.18%           (0.38%)           (1.29%)           (0.66%)           (0.29%)            (0.86%)             (0.07%)
  2016          Q2                                            1.94%              1.86%             0.08%           (1.30%)           (0.45%)           (0.24%)            (0.87%)             (0.06%)
  2016          Q3                                            1.99%              1.66%             0.33%           (0.68%)           (0.30%)           (0.08%)            (0.83%)             (0.04%)
  2016          Q4                                          (0.99%)            (0.76%)           (0.24%)           (0.22%)           (0.40%)           (0.04%)            (0.82%)             (0.05%)
  2017          Q1                                            2.52%              2.20%             0.32%             0.50%           (0.41%)           (0.05%)            (0.78%)             (0.03%)
  2017          Q2                                            1.89%              1.79%             0.10%             0.52%           (0.45%)           (0.18%)            (0.59%)             (0.03%)
  2017          Q3        Approved For Removal                2.25%              2.06%             0.19%             0.38%           (0.29%)           (0.27%)            (0.45%)             (0.01%)

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Summary Prospectuses; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the
number of monthly periods. For example, the quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The benchmark is selected according to the benchmark listed in the fund's summary prospectus. For this fund, the benchmark was the S&P Target Date Retirement Income TR USD through Q3
2017.
[3] Principal LifeTime Strategic Income I was removed from the Plan on 10/11/17.
[4] The Watch List flag identifies quarters in which the fund was on the Plan's Watch List and is obtained from the Envestnet Reports and Willis Towers Watson Reports.
[5] The excess return is calculated as the fund return minus the benchmark return.
[6] Morningstar does not report returns for the month Principal LifeTime Strategic Income I was incepted; therefore, the return since inception is calculated starting from the month following inception.




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                                                                                                                                                                                                                                                          Exhibit 6
                                                                                                                                                                     [1][2][3]
                                                                                  Rolling Excess Return Comparison
                                                                              Aston/TAMRO Small Cap I (ATSIX) vs. Peer Group
                                                                                          Inception Date: 11/30/00

                                                                                                      Excess Fund Return to Median Peer Returns[4]                                         Excess Fund Return to Lowest Quartile Peer Returns
                                                                      Lowest
                                                Median Peer         Quartile Peer
Calendar                    Fund Return           Returns             Returns                                                         Annualized             Annualized                                                        Annualized             Annualized
                                                                                                                                                                    [5]
  Year         Quarter       (Quarter)           (Quarter)           (Quarter)              Quarter                1-Year               3-Year                5-Year                  Quarter                1-Year              3-Year                 5-Year

   2013           Q3              8.64%              12.17%               9.48%             (3.52%)              (11.64%)                (1.85%)               (0.81%)                (0.84%)                (0.94%)               8.91%                10.52%
   2013           Q4              4.79%               8.32%               5.65%             (3.53%)              (13.69%)                (3.15%)               (1.88%)                (0.86%)                (1.57%)               7.38%                 9.99%
   2014           Q1            (0.30%)               0.96%             (2.75%)             (1.26%)              (13.82%)                (3.25%)               (2.83%)                  2.45%                (0.61%)               7.52%                 9.24%
   2014           Q2            (0.52%)               0.68%             (2.55%)             (1.20%)              (10.58%)                (3.55%)               (2.16%)                  2.03%                  3.29%               7.67%                 9.44%
   2014           Q3            (7.85%)             (5.78%)             (7.98%)             (2.07%)               (7.97%)                (4.79%)               (2.65%)                  0.13%                  3.63%               6.82%                 8.47%
   2014           Q4              9.91%               7.87%               5.56%               2.05%               (2.85%)                (3.83%)               (2.03%)                  4.35%                  8.39%               7.29%                 9.03%
   2015           Q1              2.83%               5.60%               3.51%             (2.77%)               (4.45%)                (4.88%)               (2.59%)                (0.68%)                  5.62%               5.81%                 8.30%
   2015           Q2              0.57%               1.51%             (0.82%)             (0.94%)               (4.20%)                (6.28%)               (2.66%)                  1.39%                  5.02%               4.57%                 8.47%
   2015           Q3           (10.61%)            (11.72%)            (14.20%)               1.11%               (0.47%)                (6.41%)               (2.92%)                  3.59%                  8.62%               4.11%                 7.69%
   2015           Q4            (3.48%)               3.02%               0.47%             (6.50%)               (8.26%)                (7.90%)               (4.28%)                (3.95%)                  0.73%               2.87%                 6.09%
   2016           Q1            (2.94%)             (3.67%)             (7.41%)               0.74%               (4.71%)                (7.27%)               (3.86%)                  4.47%                  5.06%               3.67%                 6.59%
   2016           Q2              1.27%               3.45%               1.19%             (2.18%)               (5.82%)                (6.73%)               (4.24%)                  0.08%                  4.05%               4.17%                 6.31%
   2016           Q3              7.08%               7.90%               5.65%             (0.82%)               (9.18%)                (5.85%)               (4.78%)                  1.43%                  2.15%               4.82%                 6.24%

Source: BBVA Retirement Committee Meeting Minutes; CRSP; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the number of monthly periods. For example, the
quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] Aston/TAMRO Small Cap I is not in the current Morningstar Direct database. Therefore I am not able to determine its Morningstar category. The fund is classified in CRSP Survivor-Bias-Free Mutual Fund database as a Small Cap Growth Fund. I
use the corresponding Morningstar category of US Fund Small Growth to determine its peer group. The peer group of funds are obtained from the Morningstar Direct database. To select performance peer group funds, various filters are applied to
account for fund characteristics likely to affect performance. Specifically, the peer group has the following filters applied to the data: (1) only funds with the same Morningstar Direct classifications as the fund are considered; (2) certain types of products
including ETFs, ETNs, closed-end funds, funds underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5)
funds in the BBVA plan are excluded. Only share classes with the lowest cost (highest return) are considered. For actively managed funds, index funds are excluded from the comparison peer group.
[3] Aston/TAMRO Small Cap I was removed from the Plan on 10/01/16.
[4] The fund return comparison is calculated as the fund return minus the peer group return. There are no changes to the peer group during the relevant period.
[5] The inception date of the Aston/TAMRO Small Cap I Fund is 01/04/05; however, the fund had another share class with an inception date of 11/30/00.




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                                                                                                                                                                     [1][2][3]
                                                                              Rolling Excess Return Comparison
                                                                        Invesco International Growth R6 (IGFRX) vs. Peer Group
                                                                                        Inception Date: 04/07/92

                                                                                                      Excess Fund Return to Median Peer Returns[4]                                         Excess Fund Return to Lowest Quartile Peer Returns
                                                                      Lowest
                                                Median Peer         Quartile Peer
Calendar                    Fund Return           Returns             Returns                                                         Annualized             Annualized                                                        Annualized             Annualized
                                                                                                                                                                    [5]
  Year         Quarter       (Quarter)           (Quarter)           (Quarter)              Quarter                1-Year               3-Year                5-Year                  Quarter                1-Year              3-Year                 5-Year

   2015          Q1               3.58%               5.34%               3.71%             (1.76%)                  1.75%                 0.64%                 0.32%                (0.13%)                  8.62%               7.59%                 8.01%
   2015          Q2             (0.15%)               1.19%             (0.45%)             (1.34%)                (1.44%)               (0.40%)               (0.31%)                  0.31%                  5.13%               6.59%                 7.49%
   2015          Q3            (10.27%)             (9.39%)            (11.38%)             (0.88%)                (2.63%)               (0.62%)               (0.01%)                  1.11%                  4.20%               6.24%                 7.41%
   2015          Q4               5.37%               4.64%               2.81%               0.73%                (3.27%)                 0.40%                 0.23%                  2.56%                  3.73%               7.31%                 7.48%
   2016          Q1               1.75%             (1.72%)             (3.76%)               3.47%                  1.77%                 1.71%                 0.84%                  5.51%                  8.78%               8.80%                 8.08%
   2016          Q2             (2.38%)             (0.45%)             (2.73%)             (1.92%)                  1.15%                 1.04%                 0.37%                  0.35%                  8.63%               8.24%                 7.59%
   2016          Q3               3.88%               5.76%               4.07%             (1.89%)                  0.44%                 0.20%               (0.54%)                (0.20%)                  8.56%               7.30%                 6.95%
   2016          Q4             (3.54%)             (5.44%)             (7.56%)               1.89%                  1.67%                 0.83%               (0.24%)                  4.02%                  9.47%               7.91%                 7.08%
   2017          Q1               7.86%               9.08%               7.62%             (1.22%)                (3.10%)                 0.23%                 0.15%                  0.24%                  4.79%               7.48%                 7.31%
   2017          Q2               6.00%               7.97%               6.54%             (1.98%)                (3.24%)               (1.03%)               (0.57%)                (0.55%)                  4.25%               6.18%                 6.65%
   2017          Q3               4.41%               6.19%               4.34%             (1.78%)                (3.13%)               (1.79%)               (0.87%)                  0.07%                  4.55%               5.74%                 6.40%
   2017          Q4               3.18%               4.35%               3.30%             (1.17%)                (7.35%)               (2.65%)               (0.64%)                (0.12%)                (0.42%)               4.69%                 6.51%
   2018          Q1             (0.98%)               0.07%             (1.60%)             (1.05%)                (6.67%)               (2.39%)               (0.79%)                  0.62%                  0.08%               4.87%                 6.41%
   2018          Q2             (4.80%)             (0.89%)             (2.69%)             (3.92%)                (8.37%)               (3.30%)               (1.64%)                (2.12%)                (1.66%)               3.97%                 5.52%
   2018          Q3               1.56%               0.21%             (1.36%)               1.35%                (4.95%)               (2.59%)               (1.47%)                  2.92%                  1.21%               4.71%                 5.56%
   2018          Q4            (11.20%)            (13.47%)            (15.38%)               2.27%                (0.99%)               (1.79%)               (0.90%)                  4.18%                  5.09%               5.21%                 5.99%
   2019          Q1              14.27%              12.76%              10.41%               1.52%                  1.20%               (2.63%)               (0.79%)                  3.86%                  8.42%               4.70%                 6.39%
   2019          Q2               4.93%               5.04%               2.72%             (0.11%)                  5.44%               (2.01%)               (1.20%)                  2.22%                13.47%                5.42%                 6.09%
   2019          Q3             (0.15%)             (1.10%)             (3.18%)               0.95%                  4.97%               (0.99%)               (1.08%)                  3.03%                13.40%                6.45%                 6.36%
   2019          Q4               7.36%               9.18%               7.52%             (1.83%)                  0.65%               (2.40%)               (1.71%)                (0.17%)                10.47%                5.15%                 5.79%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the number of monthly periods. For example, the
quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The performance comparison group is the Morningstar category US Fund Foreign Large Growth. The peer group of funds are obtained from the Morningstar Direct database. To select performance peer group funds, various filters are applied to
account for fund characteristics likely to affect performance. Specifically, the peer group has the following filters applied to the data: (1) only funds with the same Morningstar Direct classifications as the fund are considered; (2) certain types of products
including ETFs, ETNs, closed-end funds, funds underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5)
funds in the BBVA plan are excluded. Only share classes with the lowest cost (highest return) are considered. For actively managed funds, index funds are excluded from the comparison peer group.
[3] Invesco International Growth R6 is currently in the Plan at the time of analysis.
[4] The fund return comparison is calculated as the fund return minus the peer group return. There are no changes to the peer group during the relevant period.
[5] The inception date of the Invesco International Growth R6 Fund is 09/24/12; however, the fund had another share class with an inception date of 04/07/92.




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                                                                                                                                                                                                                                                       Exhibit 6
                                                                                                                                                                  [1][2][3]
                                                                               Rolling Excess Return Comparison
                                                                          Principal MidCap Value I Inst (PVMIX) vs. Peer Group
                                                                                        Inception Date: 12/29/03

                                                                                                     Excess Fund Return to Median Peer Returns[4]                                        Excess Fund Return to Lowest Quartile Peer Returns
                                                                     Lowest
                                               Median Peer         Quartile Peer
Calendar                    Fund Return          Returns             Returns                                                         Annualized           Annualized                                                        Annualized            Annualized
  Year         Quarter       (Quarter)          (Quarter)           (Quarter)              Quarter               1-Year                3-Year               5-Year                  Quarter               1-Year              3-Year                5-Year

   2013          Q3              6.38%               7.13%               5.49%             (0.75%)               (1.14%)               (0.23%)                 0.24%                  0.89%                6.54%                7.64%               10.25%
   2013          Q4              8.54%               9.16%               7.55%             (0.62%)               (2.29%)               (0.41%)                 0.11%                  0.99%                6.15%                7.34%                9.87%
   2014          Q1              4.06%               2.98%               1.29%               1.07%               (1.13%)                 0.08%                 0.51%                  2.76%                6.74%                7.69%                9.96%
   2014          Q2              4.92%               4.89%               3.43%               0.03%               (0.26%)                 0.20%                 0.98%                  1.49%                7.19%                7.79%                9.71%
   2014          Q3            (2.07%)             (3.12%)             (4.84%)               1.05%                 1.81%                 0.37%                 0.74%                  2.77%                8.81%                8.16%                8.93%
   2014          Q4              6.16%               5.04%               3.29%               1.12%                 3.58%                 0.99%                 1.00%                  2.88%               10.53%                8.68%                8.95%
   2015          Q1              2.22%               2.94%               0.85%             (0.71%)                 1.63%                 0.73%                 0.75%                  1.38%                8.98%                8.18%                8.48%
   2015          Q2            (2.11%)             (0.75%)             (2.61%)             (1.36%)                 0.07%               (0.31%)                 0.42%                  0.50%                7.50%                7.20%                8.34%
   2015          Q3            (9.15%)             (9.21%)            (11.11%)               0.06%               (0.92%)               (0.10%)                 0.01%                  1.95%                6.34%                7.25%                7.59%
   2015          Q4              2.13%               2.94%               0.77%             (0.81%)               (2.64%)               (0.48%)               (0.14%)                  1.35%                4.86%                7.17%                7.41%
   2016          Q1              1.37%               2.65%               0.17%             (1.28%)               (3.14%)               (1.01%)               (0.36%)                  1.20%                4.68%                6.72%                7.26%
   2016          Q2              3.50%               2.25%               0.30%               1.25%               (0.74%)               (0.33%)               (0.04%)                  3.20%                7.34%                7.40%                7.65%
   2016          Q3              4.31%               5.46%               3.49%             (1.15%)               (2.17%)               (0.47%)               (0.46%)                  0.82%                6.98%                7.33%                7.52%
   2016          Q4              5.31%               7.10%               4.49%             (1.78%)               (3.29%)               (0.86%)               (0.72%)                  0.82%                6.60%                7.22%                7.38%
   2017          Q1              4.41%               3.72%               1.90%               0.69%               (1.07%)               (0.99%)               (0.54%)                  2.51%                8.18%                7.14%                7.37%
   2017          Q2              0.20%               1.17%             (0.60%)             (0.96%)               (3.58%)               (1.33%)               (1.05%)                  0.81%                5.39%                6.83%                6.90%
   2017          Q3              3.67%               3.13%               1.31%               0.54%               (1.67%)               (1.55%)               (0.82%)                  2.36%                7.00%                6.77%                7.15%
   2017          Q4              5.67%               5.33%               3.46%               0.34%                 0.63%               (1.82%)               (0.81%)                  2.21%                8.45%                6.55%                7.31%
   2018          Q1            (1.79%)             (2.04%)             (4.00%)               0.25%                 0.15%               (1.46%)               (0.78%)                  2.21%                7.79%                6.77%                7.21%
   2018          Q2              2.43%               2.20%               0.14%               0.23%                 1.45%               (0.90%)               (0.58%)                  2.29%                9.44%                7.45%                7.43%
   2018          Q3              4.35%               3.13%               1.41%               1.22%                 2.17%               (0.52%)               (0.17%)                  2.95%               10.07%                8.04%                7.82%
   2018          Q4           (15.13%)            (15.98%)            (18.25%)               0.85%                 2.34%                 0.14%                 0.17%                  3.12%                9.40%                8.35%                7.99%
   2019          Q1             13.58%              13.63%              11.06%             (0.06%)                 2.40%                 0.59%               (0.06%)                  2.52%               10.84%                9.02%                8.04%
   2019          Q2              3.86%               3.09%               0.23%               0.77%                 2.97%                 0.42%                 0.09%                  3.63%               12.19%                9.17%                8.44%
   2019          Q3              1.64%               0.62%             (1.62%)               1.02%                 2.73%                 1.17%                 0.08%                  3.26%               12.23%                9.91%                8.59%
   2019          Q4              5.65%               6.91%               5.37%             (1.26%)                 0.66%                 1.35%               (0.40%)                  0.28%               11.27%                9.75%                8.09%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the number of monthly periods. For example, the
quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The performance comparison group is the Morningstar category US Fund Mid-Cap Value. The peer group of funds are obtained from the Morningstar Direct database. To select performance peer group funds, various filters are applied to account for
fund characteristics likely to affect performance. Specifically, the peer group has the following filters applied to the data: (1) only funds with the same Morningstar Direct classifications as the fund are considered; (2) certain types of products including
ETFs, ETNs, closed-end funds, funds underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5) funds in the
BBVA plan are excluded. Only share classes with the lowest cost (highest return) are considered. For actively managed funds, index funds are excluded from the comparison peer group.
[3] Principal MidCap Value I Inst is currently in the Plan at the time of analysis.
[4] The fund return comparison is calculated as the fund return minus the peer group return. There are no changes to the peer group during the relevant period.




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                                                                                                                                                                                                                                                          Exhibit 6
                                                                                                                                                                    [1][2][3]
                                                                             Rolling Excess Return Comparison
                                                                       Thornburg International Value R6 (TGIRX) vs. Peer Group
                                                                                       Inception Date: 05/28/98

                                                                                                      Excess Fund Return to Median Peer Returns[4]                                         Excess Fund Return to Lowest Quartile Peer Returns
                                                                     Lowest
                                                Median Peer        Quartile Peer
Calendar                    Fund Return           Returns            Returns                                                          Annualized            Annualized                                                         Annualized            Annualized
                                                                                                                                                                   [5]
  Year        Quarter        (Quarter)           (Quarter)          (Quarter)               Quarter                1-Year               3-Year               5-Year                   Quarter                1-Year              3-Year                5-Year

   2013          Q3               9.91%             10.12%                8.34%             (0.20%)               (2.17%)                (2.83%)               (2.31%)                  1.57%                 5.18%               5.16%                  6.60%
   2013          Q4               4.36%               5.72%               4.17%             (1.36%)               (2.93%)                (3.21%)               (3.59%)                  0.18%                 4.35%               4.40%                  5.45%
   2014          Q1             (4.59%)             (0.07%)             (1.55%)             (4.53%)               (6.26%)                (5.19%)               (4.54%)                (3.04%)                 1.11%               2.25%                  4.34%
   2014          Q2               2.26%               3.66%               1.84%             (1.40%)               (8.69%)                (5.22%)               (4.48%)                  0.42%               (1.25%)               2.12%                  3.68%
   2014          Q3             (1.36%)             (5.40%)             (6.93%)               4.04%               (3.17%)                (3.60%)               (2.72%)                  5.57%                 3.22%               3.89%                  4.88%
   2014          Q4             (1.66%)             (1.70%)             (3.68%)               0.03%               (1.70%)                (2.85%)               (2.45%)                  2.02%                 4.76%               4.38%                  5.14%
   2015          Q1               2.16%               0.77%               0.21%               1.39%                 1.27%                (2.21%)               (2.23%)                  1.95%                 8.05%               4.81%                  5.45%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the number of monthly periods. For example, the
quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The performance comparison group is the Morningstar category US Fund Foreign Large Growth. The peer group of funds are obtained from the Morningstar Direct database. To select performance peer group funds, various filters are applied to
account for fund characteristics likely to affect performance. Specifically, the peer group has the following filters applied to the data: (1) only funds with the same Morningstar Direct classifications as the fund are considered; (2) certain types of products
including ETFs, ETNs, closed-end funds, funds underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5)
funds in the BBVA plan are excluded. Only share classes with the lowest cost (highest return) are considered. For actively managed funds, index funds are excluded from the comparison peer group.
[3] Thornburg International Value R6 was removed from the Plan on 02/17/15. This fund was removed from the Plan in the middle of the quarter; therefore, only the partial quarter's return is reported.
[4] The fund return comparison is calculated as the fund return minus the peer group return. There are no changes to the peer group during the relevant period.
[5] The inception date of the Thornburg International Value R6 Fund is 05/01/12; however, the fund had another share class with an inception date of 05/28/98.




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                                                                                                                                                                     [1][2][3]
                                                                                   Rolling Excess Return Comparison
                                                                                Principal LifeTime 2015 I (LTINX) vs. Peer Group
                                                                                             Inception Date: 02/29/08

                                                                                                       Excess Fund Return to Median Peer Returns[4]                                         Excess Fund Return to Lowest Quartile Peer Returns
                                                                      Lowest
                                                Median Peer         Quartile Peer
Calendar                    Fund Return           Returns             Returns                                                          Annualized            Annualized                                                         Annualized            Annualized
  Year         Quarter       (Quarter)           (Quarter)           (Quarter)              Quarter                1-Year                3-Year                5-Year                 Quarter                1-Year               3-Year                5-Year

   2013          Q3               4.23%               4.07%               3.55%                0.16%                 0.84%                 0.64%                 0.15%                  0.68%                  3.40%               3.70%                 3.85%
   2013          Q4               4.93%               4.18%               3.36%                0.75%                 1.41%                 0.70%                 0.91%                  1.57%                  4.30%               3.77%                 4.42%
   2014          Q1               1.58%               1.66%               0.98%              (0.09%)                 0.73%                 0.42%                 1.59%                  0.60%                  3.73%               3.50%                 4.93%
   2014          Q2               3.19%               3.38%               2.93%              (0.19%)                 0.68%                 0.38%                 1.40%                  0.27%                  3.39%               3.45%                 4.51%
   2014          Q3             (1.24%)             (1.16%)             (1.95%)              (0.08%)                 0.39%                 1.20%                 0.99%                  0.71%                  3.29%               4.18%                 4.01%
   2014          Q4               1.50%               1.44%               0.82%                0.07%               (0.30%)                 0.89%                 0.80%                  0.68%                  2.33%               3.73%                 3.86%
   2015          Q1               2.15%               2.01%               1.25%                0.14%               (0.07%)                 0.47%                 0.60%                  0.90%                  2.65%               3.20%                 3.64%
   2015          Q2             (0.46%)             (0.49%)             (1.05%)                0.04%                 0.16%                 0.61%                 0.89%                  0.59%                  2.89%               3.26%                 3.88%
   2015          Q3             (4.50%)             (4.26%)             (4.85%)              (0.24%)               (0.01%)                 0.39%                 0.45%                  0.35%                  2.45%               3.03%                 3.35%
   2015          Q4               1.76%               2.11%               1.51%              (0.35%)               (0.42%)                 0.19%                 0.26%                  0.25%                  2.05%               2.85%                 3.12%
   2016          Q1               1.03%               1.78%               0.62%              (0.75%)               (1.28%)               (0.24%)               (0.04%)                  0.41%                  1.57%               2.61%                 2.92%
   2016          Q2               1.93%               2.17%               1.60%              (0.23%)               (1.58%)               (0.29%)               (0.08%)                  0.34%                  1.34%               2.51%                 2.89%
   2016          Q3               2.80%               2.85%               2.44%              (0.06%)               (1.48%)               (0.36%)                 0.40%                  0.36%                  1.42%               2.39%                 3.26%
   2016          Q4             (0.30%)             (0.31%)             (0.66%)                0.01%               (1.08%)               (0.59%)                 0.21%                  0.36%                  1.52%               1.97%                 2.92%
   2017          Q1               3.84%               3.43%               3.09%                0.41%                 0.13%               (0.43%)                 0.03%                  0.74%                  1.90%               2.03%                 2.60%
   2017          Q2               2.72%               2.32%               2.06%                0.41%                 0.81%               (0.23%)                 0.19%                  0.67%                  2.25%               2.16%                 2.66%
   2017          Q3               3.22%               2.77%               2.38%                0.44%                 1.34%               (0.05%)                 0.21%                  0.84%                  2.77%               2.22%                 2.66%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the number of monthly periods. For example, the
quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The performance comparison group is the Morningstar category US Fund Target-Date 2015. The peer group of funds are obtained from the Morningstar Direct database. To select performance peer group funds, various filters are applied to account
for fund characteristics likely to affect performance. Specifically, the peer group has the following filters applied to the data: (1) only funds with the same Morningstar Direct classifications as the fund are considered; (2) certain types of products including
ETFs, ETNs, closed-end funds, funds underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5) funds in the
BBVA plan are excluded. Only share classes with the lowest cost (highest return) are considered. For actively managed funds, index funds are excluded from the comparison peer group.
[3] Principal LifeTime 2015 I was removed from the Plan on 10/11/17.
[4] The fund return comparison is calculated as the fund return minus the peer group return. There are no changes to the peer group during the relevant period.




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                                                                                                                                                                     [1][2][3]
                                                                                   Rolling Excess Return Comparison
                                                                                Principal LifeTime 2020 I (PLWIX) vs. Peer Group
                                                                                             Inception Date: 03/01/01

                                                                                                      Excess Fund Return to Median Peer Returns[4]                                          Excess Fund Return to Lowest Quartile Peer Returns
                                                                      Lowest
                                                Median Peer         Quartile Peer
Calendar                    Fund Return           Returns             Returns                                                          Annualized            Annualized                                                         Annualized            Annualized
  Year         Quarter       (Quarter)           (Quarter)           (Quarter)              Quarter                1-Year                3-Year                5-Year                 Quarter                1-Year               3-Year                5-Year

   2013          Q3               4.92%               4.47%               3.55%               0.45%                  1.61%                 1.07%                 0.45%                  1.37%                  4.92%               4.89%                 5.45%
   2013          Q4               5.53%               4.65%               3.82%               0.88%                  2.11%                 1.13%                 1.21%                  1.71%                  5.73%               4.62%                 6.08%
   2014          Q1               1.69%               1.74%               0.85%             (0.05%)                  1.32%                 0.80%                 1.90%                  0.84%                  4.96%               4.37%                 6.63%
   2014          Q2               3.39%               3.44%               2.94%             (0.04%)                  1.35%                 0.81%                 1.56%                  0.46%                  4.81%               4.33%                 5.96%
   2014          Q3             (1.47%)             (1.14%)             (2.01%)             (0.34%)                  0.44%                 1.95%                 1.11%                  0.54%                  3.71%               5.41%                 5.36%
   2014          Q4               1.95%               1.67%               1.07%               0.28%                (0.17%)                 1.51%                 0.99%                  0.87%                  2.79%               4.85%                 5.17%
   2015          Q1               2.27%               2.28%               1.40%             (0.01%)                (0.13%)                 0.72%                 0.72%                  0.87%                  2.83%               4.02%                 4.79%
   2015          Q2             (0.42%)             (0.39%)             (1.06%)             (0.02%)                (0.10%)                 0.94%                 1.07%                  0.65%                  2.94%               4.07%                 5.07%
   2015          Q3             (5.08%)             (4.61%)             (5.51%)             (0.47%)                (0.25%)                 0.57%                 0.66%                  0.43%                  2.74%               3.75%                 4.19%
   2015          Q4               2.23%               2.44%               1.72%             (0.21%)                (0.73%)                 0.33%                 0.47%                  0.51%                  2.41%               3.57%                 3.78%
   2016          Q1               0.78%               1.53%               0.33%             (0.75%)                (1.44%)               (0.14%)                 0.14%                  0.45%                  1.99%               3.21%                 3.55%
   2016          Q2               1.93%               2.14%               1.49%             (0.20%)                (1.65%)               (0.20%)                 0.10%                  0.44%                  1.83%               3.12%                 3.52%
   2016          Q3               3.19%               3.14%               2.58%               0.05%                (1.20%)               (0.34%)                 0.84%                  0.61%                  2.13%               2.86%                 4.17%
   2016          Q4             (0.16%)             (0.10%)             (0.73%)             (0.06%)                (1.02%)               (0.64%)                 0.51%                  0.57%                  2.15%               2.45%                 3.78%
   2017          Q1               4.20%               3.86%               3.33%               0.35%                  0.13%               (0.51%)                 0.13%                  0.88%                  2.65%               2.48%                 3.32%
   2017          Q2               3.01%               2.57%               2.27%               0.44%                  0.82%               (0.35%)                 0.36%                  0.73%                  2.98%               2.57%                 3.38%
   2017          Q3               3.70%               3.02%               2.59%               0.68%                  1.49%               (0.00%)                 0.40%                  1.11%                  3.52%               2.79%                 3.39%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the number of monthly periods. For example, the
quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The performance comparison group is the Morningstar category US Fund Target-Date 2020. The peer group of funds are obtained from the Morningstar Direct database. To select performance peer group funds, various filters are applied to account
for fund characteristics likely to affect performance. Specifically, the peer group has the following filters applied to the data: (1) only funds with the same Morningstar Direct classifications as the fund are considered; (2) certain types of products including
ETFs, ETNs, closed-end funds, funds underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5) funds in the
BBVA plan are excluded. Only share classes with the lowest cost (highest return) are considered. For actively managed funds, index funds are excluded from the comparison peer group.
[3] Principal LifeTime 2020 I was removed from the Plan on 10/11/17.
[4] The fund return comparison is calculated as the fund return minus the peer group return. There are no changes to the peer group during the relevant period.




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                                                                                                                                                                     [1][2][3]
                                                                                   Rolling Excess Return Comparison
                                                                                Principal LifeTime 2025 I (LTSTX) vs. Peer Group
                                                                                             Inception Date: 02/29/08

                                                                                                       Excess Fund Return to Median Peer Returns[4]                                         Excess Fund Return to Lowest Quartile Peer Returns
                                                                      Lowest
                                                Median Peer         Quartile Peer
Calendar                    Fund Return           Returns             Returns                                                          Annualized            Annualized                                                         Annualized            Annualized
  Year         Quarter       (Quarter)           (Quarter)           (Quarter)              Quarter                1-Year                3-Year                5-Year                 Quarter                1-Year               3-Year                5-Year

   2013           Q3              5.39%               5.23%               4.36%                0.16%                 0.43%                 0.64%                 0.10%                   1.02%                 4.01%               3.99%                 4.32%
   2013           Q4              5.90%               5.35%               4.70%                0.55%                 0.82%                 0.74%                 0.61%                   1.21%                 4.59%               4.04%                 4.61%
   2014           Q1              1.61%               1.70%               0.77%              (0.09%)                 0.47%                 0.51%                 1.04%                   0.84%                 4.04%               3.92%                 4.94%
   2014           Q2              3.62%               3.63%               3.22%              (0.01%)                 0.67%                 0.49%                 1.07%                   0.39%                 3.85%               3.90%                 4.63%
   2014           Q3            (1.45%)             (1.48%)             (2.09%)                0.03%                 0.50%                 1.29%                 0.78%                   0.64%                 3.26%               4.58%                 4.25%
   2014           Q4              2.02%               1.82%               1.28%                0.20%                 0.15%                 0.99%                 0.76%                   0.75%                 2.72%               4.13%                 4.16%
   2015           Q1              2.52%               2.42%               1.58%                0.11%                 0.35%                 0.47%                 0.61%                   0.94%                 2.83%               3.52%                 3.93%
   2015           Q2            (0.44%)             (0.35%)             (0.90%)              (0.09%)                 0.25%                 0.55%                 0.72%                   0.46%                 2.81%               3.47%                 4.03%
   2015           Q3            (5.65%)             (5.43%)             (6.25%)              (0.21%)               (0.02%)                 0.29%                 0.47%                   0.61%                 2.68%               3.29%                 3.57%
   2015           Q4              2.62%               2.86%               2.17%              (0.24%)               (0.45%)                 0.14%                 0.37%                   0.44%                 2.40%               3.18%                 3.43%
   2016           Q1              0.70%               1.49%               0.40%              (0.79%)               (1.31%)               (0.21%)                 0.08%                   0.30%                 1.77%               2.83%                 3.24%
   2016           Q2              1.78%               2.09%               1.41%              (0.32%)               (1.56%)               (0.26%)                 0.00%                   0.36%                 1.70%               2.74%                 3.21%
   2016           Q3              3.49%               3.57%               3.25%              (0.08%)               (1.55%)               (0.34%)                 0.43%                   0.24%                 1.42%               2.47%                 3.53%
   2016           Q4            (0.04%)               0.12%             (0.43%)              (0.16%)               (1.43%)               (0.57%)                 0.18%                   0.39%                 1.34%               2.16%                 3.19%
   2017           Q1              4.76%               4.40%               3.92%                0.36%               (0.23%)               (0.43%)               (0.06%)                   0.84%                 1.95%               2.18%                 2.84%
   2017           Q2              3.34%               3.00%               2.60%                0.34%                 0.48%               (0.31%)                 0.08%                   0.74%                 2.37%               2.29%                 2.88%
   2017           Q3              4.04%               3.45%               2.92%                0.59%                 1.20%               (0.12%)                 0.11%                   1.11%                 3.31%               2.48%                 2.93%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the number of monthly periods. For example, the
quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The performance comparison group is the Morningstar category US Fund Target-Date 2025. The peer group of funds are obtained from the Morningstar Direct database. To select performance peer group funds, various filters are applied to account
for fund characteristics likely to affect performance. Specifically, the peer group has the following filters applied to the data: (1) only funds with the same Morningstar Direct classifications as the fund are considered; (2) certain types of products including
ETFs, ETNs, closed-end funds, funds underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5) funds in the
BBVA plan are excluded. Only share classes with the lowest cost (highest return) are considered. For actively managed funds, index funds are excluded from the comparison peer group.
[3] Principal LifeTime 2025 I was removed from the Plan on 10/11/17.
[4] The fund return comparison is calculated as the fund return minus the peer group return. There are no changes to the peer group during the relevant period.




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                                                                                                                                                                     [1][2][3]
                                                                                   Rolling Excess Return Comparison
                                                                                Principal LifeTime 2030 I (PMTIX) vs. Peer Group
                                                                                             Inception Date: 03/01/01

                                                                                                       Excess Fund Return to Median Peer Returns[4]                                         Excess Fund Return to Lowest Quartile Peer Returns
                                                                      Lowest
                                                Median Peer         Quartile Peer
Calendar                    Fund Return           Returns             Returns                                                          Annualized            Annualized                                                         Annualized            Annualized
  Year         Quarter       (Quarter)           (Quarter)           (Quarter)              Quarter                1-Year                3-Year                5-Year                 Quarter                1-Year               3-Year                5-Year

   2013           Q3              5.90%               5.62%               4.66%                0.28%                 0.62%                 0.47%                 0.06%                   1.24%                 3.83%               4.12%                 4.84%
   2013           Q4              6.48%               6.07%               5.33%                0.42%                 0.71%                 0.65%                 0.42%                   1.16%                 4.28%               4.08%                 4.96%
   2014           Q1              1.59%               1.38%               0.51%                0.22%                 0.74%                 0.48%                 0.80%                   1.08%                 4.35%               3.99%                 5.29%
   2014           Q2              3.62%               3.81%               3.36%              (0.19%)                 0.81%                 0.43%                 0.85%                   0.26%                 4.18%               3.88%                 4.90%
   2014           Q3            (1.51%)             (1.65%)             (2.41%)                0.13%                 0.61%                 1.14%                 0.70%                   0.90%                 3.61%               4.62%                 4.64%
   2014           Q4              2.15%               1.94%               1.50%                0.21%                 0.39%                 0.88%                 0.64%                   0.65%                 3.00%               4.17%                 4.44%
   2015           Q1              2.66%               2.56%               1.67%                0.09%                 0.26%                 0.51%                 0.45%                   0.98%                 2.92%               3.60%                 4.21%
   2015           Q2            (0.27%)             (0.23%)             (0.75%)              (0.04%)                 0.40%                 0.59%                 0.63%                   0.48%                 3.05%               3.51%                 4.24%
   2015           Q3            (6.08%)             (6.22%)             (7.10%)                0.14%                 0.39%                 0.53%                 0.48%                   1.02%                 3.07%               3.49%                 3.79%
   2015           Q4              3.01%               3.44%               2.51%              (0.43%)               (0.22%)                 0.27%                 0.41%                   0.50%                 2.95%               3.38%                 3.62%
   2016           Q1              0.31%               1.32%               0.01%              (1.01%)               (1.28%)               (0.15%)                 0.05%                   0.30%                 2.26%               3.13%                 3.40%
   2016           Q2              1.62%               2.04%               1.34%              (0.43%)               (1.68%)               (0.22%)               (0.03%)                   0.28%                 2.10%               3.05%                 3.33%
   2016           Q3              3.64%               3.93%               3.50%              (0.29%)               (2.33%)               (0.41%)                 0.28%                   0.13%                 1.28%               2.67%                 3.61%
   2016           Q4              0.23%               0.46%             (0.12%)              (0.23%)               (2.07%)               (0.62%)                 0.04%                   0.36%                 1.11%               2.37%                 3.29%
   2017           Q1              5.08%               4.91%               4.44%                0.17%               (0.85%)               (0.64%)               (0.15%)                   0.64%                 1.51%               2.24%                 2.90%
   2017           Q2              3.61%               3.25%               2.93%                0.36%                 0.00%               (0.45%)               (0.02%)                   0.68%                 1.97%               2.38%                 2.91%
   2017           Q3              4.46%               3.86%               3.23%                0.60%                 0.98%               (0.31%)                 0.05%                   1.23%                 3.16%               2.52%                 2.99%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the number of monthly periods. For example, the
quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The performance comparison group is the Morningstar category US Fund Target-Date 2030. The peer group of funds are obtained from the Morningstar Direct database. To select performance peer group funds, various filters are applied to account
for fund characteristics likely to affect performance. Specifically, the peer group has the following filters applied to the data: (1) only funds with the same Morningstar Direct classifications as the fund are considered; (2) certain types of products including
ETFs, ETNs, closed-end funds, funds underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5) funds in the
BBVA plan are excluded. Only share classes with the lowest cost (highest return) are considered. For actively managed funds, index funds are excluded from the comparison peer group.
[3] Principal LifeTime 2030 I was removed from the Plan on 10/11/17.
[4] The fund return comparison is calculated as the fund return minus the peer group return. There are no changes to the peer group during the relevant period.




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                                                                                                                                                                                                                                                           Exhibit 6
                                                                                                                                                                     [1][2][3]
                                                                                   Rolling Excess Return Comparison
                                                                                Principal LifeTime 2035 I (LTIUX) vs. Peer Group
                                                                                             Inception Date: 02/29/08

                                                                                                       Excess Fund Return to Median Peer Returns[4]                                         Excess Fund Return to Lowest Quartile Peer Returns
                                                                      Lowest
                                                Median Peer         Quartile Peer
Calendar                    Fund Return           Returns             Returns                                                          Annualized            Annualized                                                         Annualized            Annualized
  Year         Quarter       (Quarter)           (Quarter)           (Quarter)              Quarter                1-Year                3-Year                5-Year                 Quarter                1-Year               3-Year                5-Year

   2013          Q3               6.27%               6.37%               5.56%              (0.10%)               (0.12%)                 0.11%               (0.07%)                   0.71%                 2.83%               3.49%                 3.82%
   2013          Q4               6.90%               6.71%               5.95%                0.19%               (0.25%)                 0.34%                 0.05%                   0.95%                 3.21%               3.66%                 3.88%
   2014          Q1               1.57%               1.50%               0.60%                0.07%               (0.13%)                 0.28%                 0.17%                   0.97%                 3.30%               3.67%                 4.01%
   2014          Q2               3.77%               4.06%               3.51%              (0.29%)               (0.14%)                 0.13%                 0.37%                   0.26%                 3.28%               3.52%                 3.86%
   2014          Q3             (1.57%)             (1.84%)             (2.60%)                0.27%                 0.28%                 0.52%                 0.34%                   1.03%                 3.45%               3.84%                 3.75%
   2014          Q4               2.32%               2.02%               1.60%                0.30%                 0.39%                 0.56%                 0.41%                   0.72%                 3.11%               3.64%                 3.72%
   2015          Q1               2.63%               2.69%               1.82%              (0.06%)                 0.26%                 0.27%                 0.25%                   0.81%                 2.96%               3.23%                 3.60%
   2015          Q2               0.00%             (0.13%)             (0.73%)                0.13%                 0.67%                 0.26%                 0.34%                   0.73%                 3.34%               3.15%                 3.66%
   2015          Q3             (6.50%)             (7.12%)             (7.75%)                0.62%                 1.02%                 0.43%                 0.34%                   1.25%                 3.45%               3.26%                 3.48%
   2015          Q4               3.38%               3.82%               3.04%              (0.44%)                 0.32%                 0.17%                 0.35%                   0.34%                 3.11%               3.15%                 3.43%
   2016          Q1             (0.19%)               0.83%             (0.23%)              (1.02%)               (0.62%)               (0.18%)                 0.08%                   0.04%                 2.33%               2.84%                 3.24%
   2016          Q2               1.40%               1.89%               1.25%              (0.48%)               (1.23%)               (0.25%)               (0.05%)                   0.15%                 1.80%               2.78%                 3.12%
   2016          Q3               3.69%               4.36%               3.97%              (0.67%)               (2.81%)               (0.45%)               (0.04%)                 (0.28%)                 0.27%               2.43%                 3.04%
   2016          Q4               0.37%               0.81%               0.17%              (0.45%)               (2.75%)               (0.66%)               (0.17%)                   0.20%                 0.12%               2.14%                 2.81%
   2017          Q1               5.36%               5.38%               4.91%              (0.02%)               (1.77%)               (0.69%)               (0.32%)                   0.45%                 0.56%               1.99%                 2.52%
   2017          Q2               3.86%               3.53%               3.18%                0.33%               (0.90%)               (0.49%)               (0.30%)                   0.68%                 1.15%               2.13%                 2.47%
   2017          Q3               4.73%               4.22%               3.71%                0.51%                 0.39%               (0.42%)               (0.23%)                   1.01%                 2.57%               2.15%                 2.53%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the number of monthly periods. For example, the
quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The performance comparison group is the Morningstar category US Fund Target-Date 2035. The peer group of funds are obtained from the Morningstar Direct database. To select performance peer group funds, various filters are applied to account
for fund characteristics likely to affect performance. Specifically, the peer group has the following filters applied to the data: (1) only funds with the same Morningstar Direct classifications as the fund are considered; (2) certain types of products including
ETFs, ETNs, closed-end funds, funds underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5) funds in the
BBVA plan are excluded. Only share classes with the lowest cost (highest return) are considered. For actively managed funds, index funds are excluded from the comparison peer group.
[3] Principal LifeTime 2035 I was removed from the Plan on 10/11/17.
[4] The fund return comparison is calculated as the fund return minus the peer group return. There are no changes to the peer group during the relevant period.




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                                                                                                                                                                                                                                                           Exhibit 6
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                                                                                   Rolling Excess Return Comparison
                                                                                Principal LifeTime 2040 I (PTDIX) vs. Peer Group
                                                                                             Inception Date: 03/01/01

                                                                                                       Excess Fund Return to Median Peer Returns[4]                                         Excess Fund Return to Lowest Quartile Peer Returns
                                                                      Lowest
                                                Median Peer         Quartile Peer
Calendar                    Fund Return           Returns             Returns                                                          Annualized            Annualized                                                         Annualized            Annualized
  Year         Quarter       (Quarter)           (Quarter)           (Quarter)              Quarter                1-Year                3-Year                5-Year                 Quarter                1-Year               3-Year                5-Year

   2013          Q3               6.62%               6.60%               5.39%                0.02%               (0.01%)                 0.28%               (0.07%)                   1.23%                 3.79%               3.93%                 4.02%
   2013          Q4               7.33%               6.97%               6.27%                0.36%                 0.16%                 0.44%                 0.00%                   1.06%                 4.15%               4.03%                 4.04%
   2014          Q1               1.48%               1.46%               0.50%                0.02%                 0.15%                 0.33%                 0.19%                   0.98%                 4.01%               3.95%                 4.19%
   2014          Q2               3.77%               4.01%               3.58%              (0.24%)                 0.17%                 0.24%                 0.39%                   0.19%                 3.91%               3.80%                 4.08%
   2014          Q3             (1.53%)             (1.77%)             (2.62%)                0.24%                 0.41%                 0.59%                 0.39%                   1.09%                 3.57%               4.22%                 3.99%
   2014          Q4               2.33%               2.06%               1.62%                0.27%                 0.32%                 0.63%                 0.41%                   0.71%                 3.10%               3.99%                 3.93%
   2015          Q1               2.71%               2.87%               1.90%              (0.16%)                 0.13%                 0.30%                 0.26%                   0.81%                 2.95%               3.51%                 3.82%
   2015          Q2             (0.07%)               0.03%             (0.62%)              (0.10%)                 0.26%                 0.21%                 0.31%                   0.55%                 3.22%               3.48%                 3.88%
   2015          Q3             (6.86%)             (7.57%)             (8.21%)                0.71%                 0.75%                 0.40%                 0.41%                   1.35%                 3.37%               3.57%                 3.74%
   2015          Q4               3.79%               4.23%               3.37%              (0.44%)                 0.08%                 0.18%                 0.34%                   0.41%                 3.12%               3.43%                 3.65%
   2016          Q1             (0.36%)               0.73%             (0.40%)              (1.09%)               (0.83%)               (0.22%)                 0.03%                   0.03%                 2.32%               3.05%                 3.40%
   2016          Q2               1.32%               1.88%               1.13%              (0.56%)               (1.28%)               (0.33%)               (0.09%)                   0.19%                 2.00%               2.99%                 3.29%
   2016          Q3               3.90%               4.62%               4.19%              (0.73%)               (3.05%)               (0.58%)               (0.11%)                 (0.30%)                 0.36%               2.47%                 3.26%
   2016          Q4               0.54%               1.17%               0.51%              (0.63%)               (3.18%)               (0.90%)               (0.27%)                   0.03%               (0.04%)               2.09%                 2.98%
   2017          Q1               5.58%               5.72%               5.23%              (0.14%)               (2.27%)               (0.96%)               (0.45%)                   0.35%                 0.29%               1.90%                 2.63%
   2017          Q2               4.05%               3.69%               3.36%                0.36%               (1.28%)               (0.76%)               (0.41%)                   0.69%                 0.85%               2.07%                 2.66%
   2017          Q3               4.88%               4.47%               3.95%                0.41%               (0.02%)               (0.72%)               (0.37%)                   0.93%                 2.21%               2.04%                 2.67%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the number of monthly periods. For example, the
quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The performance comparison group is the Morningstar category US Fund Target-Date 2040. The peer group of funds are obtained from the Morningstar Direct database. To select performance peer group funds, various filters are applied to account
for fund characteristics likely to affect performance. Specifically, the peer group has the following filters applied to the data: (1) only funds with the same Morningstar Direct classifications as the fund are considered; (2) certain types of products including
ETFs, ETNs, closed-end funds, funds underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5) funds in the
BBVA plan are excluded. Only share classes with the lowest cost (highest return) are considered. For actively managed funds, index funds are excluded from the comparison peer group.
[3] Principal LifeTime 2040 I was removed from the Plan on 10/11/17.
[4] The fund return comparison is calculated as the fund return minus the peer group return. There are no changes to the peer group during the relevant period.




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                                                                                   Rolling Excess Return Comparison
                                                                                Principal LifeTime 2045 I (LTRIX) vs. Peer Group
                                                                                             Inception Date: 02/29/08

                                                                                                      Excess Fund Return to Median Peer Returns[4]                                         Excess Fund Return to Lowest Quartile Peer Returns
                                                                     Lowest
                                                Median Peer        Quartile Peer
Calendar                    Fund Return           Returns            Returns                                                          Annualized            Annualized                                                         Annualized            Annualized
  Year        Quarter        (Quarter)           (Quarter)          (Quarter)               Quarter                1-Year               3-Year                5-Year                 Quarter                1-Year               3-Year                5-Year

   2013          Q3               6.70%               6.99%               6.09%             (0.29%)               (0.55%)                 0.10%                (0.32%)                  0.60%                 2.64%               3.39%                 3.59%
   2013          Q4               7.49%               7.33%               6.63%               0.15%               (0.51%)                 0.21%                (0.24%)                  0.86%                 2.95%               3.47%                 3.51%
   2014          Q1               1.62%               1.39%               0.69%               0.23%               (0.17%)                 0.23%                  0.03%                  0.94%                 3.09%               3.43%                 3.74%
   2014          Q2               3.87%               4.06%               3.74%             (0.19%)               (0.11%)                 0.14%                  0.23%                  0.12%                 2.88%               3.22%                 3.75%
   2014          Q3             (1.62%)             (2.03%)             (2.78%)               0.41%                 0.67%                 0.47%                  0.31%                  1.16%                 3.33%               3.50%                 3.63%
   2014          Q4               2.42%               2.06%               1.57%               0.36%                 0.87%                 0.64%                  0.40%                  0.85%                 3.21%               3.50%                 3.60%
   2015          Q1               2.75%               2.93%               1.98%             (0.18%)                 0.45%                 0.30%                  0.28%                  0.77%                 3.06%               3.09%                 3.48%
   2015          Q2             (0.00%)               0.07%             (0.66%)             (0.07%)                 0.55%                 0.22%                  0.38%                  0.66%                 3.49%               3.08%                 3.58%
   2015          Q3             (7.19%)             (7.86%)             (8.46%)               0.67%                 0.80%                 0.35%                  0.37%                  1.27%                 3.47%               3.18%                 3.40%
   2015          Q4               4.01%               4.34%               3.73%             (0.33%)                 0.15%                 0.20%                  0.33%                  0.28%                 2.99%               3.06%                 3.31%
   2016          Q1             (0.46%)               0.43%             (0.33%)             (0.89%)               (0.54%)               (0.10%)                  0.10%                (0.13%)                 2.07%               2.71%                 3.06%
   2016          Q2               1.28%               1.78%               1.04%             (0.49%)               (0.95%)               (0.19%)                (0.01%)                  0.24%                 1.69%               2.67%                 2.95%
   2016          Q3               3.99%               4.84%               4.41%             (0.85%)               (2.77%)               (0.38%)                (0.10%)                (0.42%)               (0.03%)               2.31%                 2.79%
   2016          Q4               0.70%               1.39%               0.53%             (0.69%)               (3.07%)               (0.66%)                (0.23%)                  0.18%               (0.13%)               2.05%                 2.65%
   2017          Q1               5.78%               5.92%               5.50%             (0.14%)               (2.40%)               (0.79%)                (0.40%)                  0.28%                 0.31%               1.85%                 2.33%
   2017          Q2               4.10%               3.82%               3.46%               0.28%               (1.58%)               (0.63%)                (0.39%)                  0.63%                 0.75%               2.02%                 2.33%
   2017          Q3               5.09%               4.66%               4.28%               0.42%               (0.16%)               (0.65%)                (0.37%)                  0.81%                 2.11%               1.92%                 2.34%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the number of monthly periods. For example, the quarterly
fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The performance comparison group is the Morningstar category US Fund Target-Date 2045. The peer group of funds are obtained from the Morningstar Direct database. To select performance peer group funds, various filters are applied to account
for fund characteristics likely to affect performance. Specifically, the peer group has the following filters applied to the data: (1) only funds with the same Morningstar Direct classifications as the fund are considered; (2) certain types of products including
ETFs, ETNs, closed-end funds, funds underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5) funds in the
BBVA plan are excluded. Only share classes with the lowest cost (highest return) are considered. For actively managed funds, index funds are excluded from the comparison peer group.
[3] Principal LifeTime 2045 I was removed from the Plan on 10/11/17.
[4] The fund return comparison is calculated as the fund return minus the peer group return. There are no changes to the peer group during the relevant period.




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                                                                                    Rolling Excess Return Comparison
                                                                                 Principal LifeTime 2050 I (PPLIX) vs. Peer Group
                                                                                              Inception Date: 03/01/01

                                                                                                       Excess Fund Return to Median Peer Returns[4]                                         Excess Fund Return to Lowest Quartile Peer Returns
                                                                      Lowest
                                                Median Peer         Quartile Peer
Calendar                    Fund Return           Returns             Returns                                                          Annualized            Annualized                                                         Annualized            Annualized
  Year         Quarter       (Quarter)           (Quarter)           (Quarter)              Quarter                1-Year                3-Year                5-Year                  Quarter                1-Year              3-Year                5-Year

   2013           Q3              6.94%               6.91%               5.75%                0.03%                 0.33%                 0.68%                (0.03%)                  1.19%                 4.04%               3.93%                  3.77%
   2013           Q4              7.75%               7.36%               6.59%                0.39%                 0.46%                 0.81%                  0.23%                  1.16%                 4.39%               4.05%                  3.95%
   2014           Q1              1.59%               1.45%               0.54%                0.15%                 0.49%                 0.71%                  0.39%                  1.06%                 4.44%               3.96%                  4.22%
   2014           Q2              3.89%               4.13%               3.67%              (0.24%)                 0.37%                 0.62%                  0.53%                  0.22%                 4.13%               3.78%                  4.07%
   2014           Q3            (1.64%)             (1.87%)             (2.72%)                0.22%                 0.57%                 0.97%                  0.57%                  1.08%                 3.78%               4.35%                  3.97%
   2014           Q4              2.39%               2.13%               1.66%                0.26%                 0.43%                 0.96%                  0.64%                  0.73%                 3.21%               4.20%                  3.92%
   2015           Q1              2.80%               2.90%               2.00%              (0.11%)                 0.17%                 0.54%                  0.51%                  0.79%                 2.97%               3.67%                  3.82%
   2015           Q2              0.14%               0.12%             (0.60%)                0.02%                 0.41%                 0.46%                  0.72%                  0.74%                 3.39%               3.70%                  4.00%
   2015           Q3            (7.40%)             (7.80%)             (8.42%)                0.40%                 0.58%                 0.50%                  0.64%                  1.02%                 3.19%               3.65%                  3.74%
   2015           Q4              4.13%               4.35%               3.74%              (0.22%)                 0.13%                 0.33%                  0.58%                  0.39%                 2.93%               3.47%                  3.64%
   2016           Q1            (0.60%)               0.49%             (0.41%)              (1.09%)               (0.82%)               (0.10%)                  0.26%                (0.19%)                 1.92%               3.04%                  3.32%
   2016           Q2              1.20%               1.77%               1.13%              (0.57%)               (1.40%)               (0.26%)                  0.14%                  0.08%                 1.31%               2.86%                  3.16%
   2016           Q3              4.16%               4.82%               4.44%              (0.66%)               (2.76%)               (0.49%)                  0.13%                (0.28%)               (0.01%)               2.36%                  3.22%
   2016           Q4              0.76%               1.36%               0.50%              (0.60%)               (3.09%)               (0.81%)                (0.05%)                  0.26%               (0.14%)               2.03%                  3.03%
   2017           Q1              6.00%               6.03%               5.52%              (0.02%)               (2.06%)               (0.88%)                (0.27%)                  0.48%                 0.58%               1.86%                  2.69%
   2017           Q2              4.20%               3.86%               3.52%                0.34%               (1.08%)               (0.69%)                (0.25%)                  0.67%                 1.26%               2.01%                  2.70%
   2017           Q3              5.23%               4.65%               4.28%                0.59%                 0.31%               (0.59%)                (0.19%)                  0.95%                 2.63%               1.99%                  2.73%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the number of monthly periods. For example, the
quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The performance comparison group is the Morningstar category US Fund Target-Date 2050. The peer group of funds are obtained from the Morningstar Direct database. To select performance peer group funds, various filters are applied to account
for fund characteristics likely to affect performance. Specifically, the peer group has the following filters applied to the data: (1) only funds with the same Morningstar Direct classifications as the fund are considered; (2) certain types of products including
ETFs, ETNs, closed-end funds, funds underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5) funds in the
BBVA plan are excluded. Only share classes with the lowest cost (highest return) are considered. For actively managed funds, index funds are excluded from the comparison peer group.
[3] Principal LifeTime 2050 I was removed from the Plan on 10/11/17.
[4] The fund return comparison is calculated as the fund return minus the peer group return. There are no changes to the peer group during the relevant period.




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                                                                                                                                                                                                                                                          Exhibit 6
                                                                                                                                                                    [1][2][3]
                                                                                   Rolling Excess Return Comparison
                                                                                Principal LifeTime 2055 I (LTFIX) vs. Peer Group
                                                                                             Inception Date: 02/29/08

                                                                                                      Excess Fund Return to Median Peer Returns[4]                                         Excess Fund Return to Lowest Quartile Peer Returns
                                                                     Lowest
                                                Median Peer        Quartile Peer
Calendar                    Fund Return           Returns            Returns                                                          Annualized             Annualized                                                        Annualized             Annualized
  Year         Quarter       (Quarter)           (Quarter)          (Quarter)               Quarter                1-Year               3-Year                 5-Year                 Quarter                1-Year              3-Year                 5-Year

   2013          Q3               6.86%               7.11%               6.26%             (0.25%)                (0.34%)                 0.20%               (0.47%)                  0.60%                  2.83%               3.19%                 2.10%
   2013          Q4               7.79%               7.44%               6.72%               0.36%                (0.09%)                 0.16%               (0.79%)                  1.08%                  3.16%               3.13%                 2.10%
   2014          Q1               1.52%               1.47%               0.62%               0.05%                (0.01%)                 0.08%                 0.07%                  0.90%                  3.47%               3.09%                 3.21%
   2014          Q2               3.98%               4.18%               3.76%             (0.20%)                (0.05%)                 0.02%                 0.53%                  0.22%                  3.20%               3.08%                 3.66%
   2014          Q3             (1.68%)             (2.02%)             (2.72%)               0.35%                  0.61%                 0.64%                 0.51%                  1.05%                  3.49%               3.62%                 3.60%
   2014          Q4               2.40%               2.20%               1.60%               0.20%                  0.44%                 0.65%                 0.45%                  0.80%                  3.09%               3.57%                 3.56%
   2015          Q1               2.77%               2.85%               2.13%             (0.07%)                  0.32%                 0.19%                 0.29%                  0.65%                  2.86%               2.99%                 3.36%
   2015          Q2               0.16%               0.06%             (0.59%)               0.10%                  0.61%                 0.29%                 0.41%                  0.76%                  3.31%               3.17%                 3.46%
   2015          Q3             (7.59%)             (7.98%)             (8.59%)               0.39%                  0.63%                 0.33%                 0.38%                  0.99%                  3.12%               3.16%                 3.24%
   2015          Q4               4.33%               4.44%               3.79%             (0.11%)                  0.35%                 0.25%                 0.26%                  0.54%                  2.92%               3.06%                 3.08%
   2016          Q1             (0.62%)               0.43%             (0.36%)             (1.05%)                (0.60%)               (0.12%)               (0.03%)                (0.26%)                  2.00%               2.73%                 2.81%
   2016          Q2               1.16%               1.63%               1.02%             (0.48%)                (1.17%)               (0.23%)               (0.12%)                  0.14%                  1.42%               2.60%                 2.77%
   2016          Q3               4.23%               4.89%               4.54%             (0.67%)                (2.50%)               (0.38%)                 0.00%                (0.31%)                  0.11%               2.28%                 2.80%
   2016          Q4               0.89%               1.41%               0.55%             (0.52%)                (2.86%)               (0.66%)               (0.14%)                  0.34%                (0.08%)               2.01%                 2.68%
   2017          Q1               6.09%               6.05%               5.62%               0.04%                (1.80%)               (0.67%)               (0.37%)                  0.47%                  0.70%               1.88%                 2.34%
   2017          Q2               4.27%               3.88%               3.61%               0.38%                (0.87%)               (0.48%)               (0.26%)                  0.65%                  1.29%               2.03%                 2.42%
   2017          Q3               5.35%               4.70%               4.38%               0.65%                  0.61%               (0.39%)               (0.18%)                  0.97%                  2.71%               2.03%                 2.47%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the number of monthly periods. For example, the
quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The performance comparison group is the Morningstar category US Fund Target-Date 2055. The peer group of funds are obtained from the Morningstar Direct database. To select performance peer group funds, various filters are applied to account
for fund characteristics likely to affect performance. Specifically, the peer group has the following filters applied to the data: (1) only funds with the same Morningstar Direct classifications as the fund are considered; (2) certain types of products including
ETFs, ETNs, closed-end funds, funds underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5) funds in the
BBVA plan are excluded. Only share classes with the lowest cost (highest return) are considered. For actively managed funds, index funds are excluded from the comparison peer group.
[3] Principal LifeTime 2055 I was removed from the Plan on 10/11/17.
[4] The fund return comparison is calculated as the fund return minus the peer group return. There are no changes to the peer group during the relevant period.




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                                                                                                                                                                                                                                                          Exhibit 6
                                                                                                                                                                     [1][2][3]
                                                                             Rolling Excess Return Comparison
                                                                    Principal LifeTime Strategic Income I (PLSIX) vs. Peer Group
                                                                                      Inception Date: 03/01/01

                                                                                                      Excess Fund Return to Median Peer Returns[4]                                         Excess Fund Return to Lowest Quartile Peer Returns
                                                                      Lowest
                                                Median Peer         Quartile Peer
Calendar                    Fund Return           Returns             Returns                                                         Annualized             Annualized                                                        Annualized             Annualized
  Year         Quarter       (Quarter)           (Quarter)           (Quarter)              Quarter                1-Year               3-Year                 5-Year                 Quarter                1-Year              3-Year                 5-Year

   2013           Q3              2.36%               2.98%               2.25%             (0.62%)                (1.69%)               (0.45%)               (0.49%)                  0.11%                 1.14%                3.48%                 4.38%
   2013           Q4              2.41%               2.99%               2.20%             (0.58%)                (2.40%)               (0.56%)                 0.03%                  0.21%                 0.71%                3.35%                 4.74%
   2014           Q1              1.79%               1.80%               0.77%             (0.01%)                (1.92%)               (0.73%)                 0.42%                  1.02%                 1.41%                3.36%                 4.91%
   2014           Q2              2.77%               2.85%               2.34%             (0.08%)                (1.38%)               (0.75%)                 0.28%                  0.43%                 1.90%                3.29%                 4.44%
   2014           Q3            (0.98%)             (1.01%)             (1.64%)               0.03%                (0.66%)               (1.08%)                 0.08%                  0.66%                 2.41%                2.55%                 4.04%
   2014           Q4              0.97%               1.44%               0.85%             (0.47%)                (0.54%)               (0.98%)               (0.09%)                  0.12%                 2.29%                2.25%                 3.73%
   2015           Q1              1.92%               1.85%               0.96%               0.07%                (0.46%)               (0.68%)               (0.25%)                  0.96%                 2.23%                2.46%                 3.55%
   2015           Q2            (0.82%)             (0.88%)             (1.22%)               0.06%                (0.30%)               (0.94%)               (0.39%)                  0.40%                 2.13%                1.85%                 3.26%
   2015           Q3            (2.39%)             (2.88%)             (3.53%)               0.48%                  0.17%               (0.71%)               (0.36%)                  1.14%                 2.59%                2.06%                 3.08%
   2015           Q4              0.47%               1.27%               0.47%             (0.80%)                (0.16%)               (1.01%)               (0.47%)                (0.00%)                 2.46%                1.84%                 2.96%
   2016           Q1              1.80%               1.76%               1.24%               0.05%                (0.19%)               (0.84%)               (0.56%)                  0.56%                 2.08%                1.91%                 2.87%
   2016           Q2              1.94%               2.06%               1.63%             (0.12%)                (0.38%)               (0.67%)               (0.58%)                  0.31%                 2.03%                2.03%                 2.79%
   2016           Q3              1.99%               2.20%               1.79%             (0.21%)                (1.15%)               (0.53%)               (0.83%)                  0.20%                 1.10%                2.05%                 2.27%
   2016           Q4            (0.99%)             (0.75%)             (1.35%)             (0.24%)                (0.55%)               (0.41%)               (0.72%)                  0.36%                 1.46%                2.08%                 2.14%
   2017           Q1              2.52%               2.69%               2.15%             (0.17%)                (0.78%)               (0.47%)               (0.59%)                  0.37%                 1.28%                1.87%                 2.15%
   2017           Q2              1.89%               1.85%               1.60%               0.03%                (0.61%)               (0.43%)               (0.76%)                  0.28%                 1.25%                1.81%                 1.77%
   2017           Q3              2.25%               2.06%               1.80%               0.19%                (0.19%)               (0.38%)               (0.69%)                  0.45%                 1.51%                1.76%                 1.76%

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Morningstar Direct; Participant Plan Disclosures; Willis Tower Watson Reports

Note:
[1] Rolling returns are calculated as a geometric return series from monthly return data. A geometric return is calculated as the series product of 1 plus the monthly return for n months where n is the number of monthly periods. For example, the
quarterly fund return for Q3 2013 is the geometric return series comprising the monthly returns of 7/31/13, 8/31/13, and 9/30/13.
[2] The performance comparison group is the Morningstar category US Fund Target-Date Retirement. The peer group of funds are obtained from the Morningstar Direct database. To select performance peer group funds, various filters are applied to
account for fund characteristics likely to affect performance. Specifically, the peer group has the following filters applied to the data: (1) only funds with the same Morningstar Direct classifications as the fund are considered; (2) certain types of products
including ETFs, ETNs, closed-end funds, funds underlying variable annuity products, and 529 funds are excluded; (3) funds with sales restrictions (e.g., employee or affinity funds) are excluded; (4) funds closed to new investment are excluded; and (5)
funds in the BBVA plan are excluded. Only share classes with the lowest cost (highest return) are considered. For actively managed funds, index funds are excluded from the comparison peer group.
[3] Principal LifeTime Strategic Income I was removed from the Plan on 10/11/17.
[4] The fund return comparison is calculated as the fund return minus the peer group return. There are no changes to the peer group during the relevant period.




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           ATTACHMENT 2
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Report by Kathleen Mann Pertaining to Claims Made by
Gloria Ferguson, Cassandra McClinton and Christine D.
  Drake Regarding the Administration of the Compass
              SmartInvestor 401(k) Plan



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                              March 11, 2020




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I.      Introduction

A.      Qualifications

1.      I have broad experience in investment management, with a fiduciary and
governance focus in retirement, pension, endowment, and private client management. In
my professional capacity, I have worked with numerous retirement plans, including 401(k)
defined contribution plans similar to the Compass SmartInvestor 401(k) Plan (the “Plan”).
As part of that work, I have provided advice to retirement plan sponsors and their
committees regarding the processes they should undertake in selecting and monitoring
investment options for their plan participants.
2.      From 2014 to 2016, I served as the chief investment officer of the private client
group at the law firm of Nixon Peabody LLP where I directed asset allocation and
investment strategy for $2 billion in trust and retirement assets.
3.      For fifteen years, from 1998 to 2013, I worked at State Street Global Advisors
(“SSgA”). I was a senior managing director for over ten years during which time I held
several senior positions, including heading the Office of the Fiduciary Advisor, the
company’s original total plan advisory business, and serving as head of Fiduciary Services
for the Investment Solutions Group. In those roles, I managed a team of professionals and
provided investment and fiduciary advice to investment committees of corporate retirement
plans and university endowments. With the assistance of my teams at SSgA, I performed
the plan research, asset allocation analysis, and manager reviews required to assist
investment committees and their staffs to be more effective fiduciaries. Among other
responsibilities, I attended retirement committee meetings, analyzed and provided advice
regarding investment lineups, trained retirement committee members on the Employee
Retirement Income Security Act of 1974 (“ERISA”) and their fiduciary duties, and worked
with committees to write and develop investment policy statements (IPSs). Earlier at SSgA
I served as a client portfolio manager and helped design multi-asset class investment
strategies for institutional clients, including retirement plan clients whose investment
strategies needed to conform with governing plan documents and investment policy
statements.



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4.         Prior to this I held positions at Putnam Investments, where I was the head of global
fixed income trading and ultimately became vice president and associate portfolio manager
responsible for non-U.S. domiciled institutional client portfolios.
5.         I began my career at Fidelity Management and Research as a registered
representative. Most of my seven years at Fidelity were spent as a senior trader of global
fixed income securities, currency forwards, and derivatives, working directly for portfolio
managers of several mutual funds.

6.         I am experienced with ERISA rules and regulations as they pertain to the duties
retirement plan fiduciaries have in selecting, monitoring and removing investment options.
Throughout my career as an advisor to retirement plans, I kept abreast of the evolving
ERISA environment by reading pertinent industry publications and working closely with
in-house counsel and other fiduciary experts in the field. A core function of my job at
SSgA was to advise clients on ERISA and their fiduciary duties. Following my departure
from SSgA, I have continued to stay current on ERISA and fiduciary developments by
reading industry publications, attending industry events, and through my work as a
consultant and expert witness.

7.         Although I am not an attorney and cannot provide a legal opinion as to whether a
particular decision made or action taken complied with ERISA, I can provide insight into
industry norms and the actions typically taken by retirement plan sponsors to comply with
the regulations while making investment management decisions for their plans.

8.         A detailed version of my experience is included in my resume, attached in
Appendix A.

B.         Assignment

9.         I have been retained by the Retirement Committee of the Plan (“Retirement
Committee” or “Committee”), in connection with an administrative review of claims made
by three Plan participants (“Claimants”).1 The claims are described in the Complaint titled


1 The three Claimants are Gloria Ferguson, Cassandra McClinton, and Christine D. Drake. They made their claims in
letters to the Company and the Committee dated October 2, 2019. Those letters attached and referred to a complaint (the



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Gloria Ferguson v. BBVA Compass Bancshares, Inc., et. al. (“Complaint”). I have been
asked to evaluate the fiduciary processes followed as they relate to the claims in the
Complaint. In particular, I have been asked to opine on whether appropriate processes and
industry practices were followed in:
              a. Selecting, monitoring, and removing certain investment options for the Plan;
              b. Monitoring the fees of Plan’s investment options;
              c. Offering a money market fund in the Plan;
              d. Offering actively managed funds.

C.       Report Preparation

10.      In forming my opinions and preparing this report, I have drawn from my
professional experience with and knowledge of processes, customs, and practices as a
fiduciary in the investment management industry. In addition, I reviewed documents and
data that were either publicly available or provided to me. These materials include
Committee meeting minutes, consultant presentations and reports, and Plan documents
(e.g., Plan Document, Committee Charter, Investment Policy Statements, Summary Plan
Documents, etc.). Materials I considered in forming my opinions for this administrative
review are listed in Appendix B and cited throughout my report.
11.      The timeframe I considered in evaluating the Committee’s conduct is July 18, 2013
to present (“the relevant period”). In certain instances, I reviewed materials written or
prepared prior to the relevant period because they provide insight into actions taken or not
taken during the relevant period.

II.      Summary

12.      As a result of my review and analysis of materials produced thus far in this matter,
which involved among other things applying my professional experience and industry
knowledge, I have reached the following conclusions:




“Complaint”) filed on behalf of those Claimants in the United States District Court for the Northern District of Alabama
in an action titled Gloria Ferguson v. BBVA Compass Bancshares, Inc., et. al. (2019-cv-01135-MHH).


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            a. In my experience, no two retirement plans are alike. There is no single,

                uniform standard to evaluate the prudence of a fiduciary’s conduct. Plans

                may be structured differently from one another, offer investments in

                different asset classes with different management styles, and yet each can be

                managed by their respective fiduciary committees in a sound fiduciary

                manner using sound fiduciary practices and procedures, working in the best

                interest of the plan and its participants with the care and prudence expected.

                Based on the materials I have reviewed, the Retirement Committee utilized

                reasonable practices and made decisions in the best interests of Plan

                participants with the appropriate level of care. The Retirement Committee

                took their responsibilities seriously and acted diligently in performing their

                fiduciary duties. The Company and the Retirement Committee expended

                appropriate resources and time to ensure that the aforementioned process

                was properly effectuated. The Committee members were actively engaged

                in deliberative decision making.

            b. The Retirement Committee’s process to select, monitor, and remove
                investment options was robust, consistent with industry practices, and
                similar to the process utilized by many of my former clients. Although a
                401(k) retirement committee is not required to have an Investment Policy
                Statement (IPS), the Retirement Committee adopted one. The IPS provided
                guidelines for the process to monitor the investment options. These
                guidelines are similar to guidelines that are commonly used in the industry.
                The Retirement Committee, following industry best practices, retained
                outside consultants, who helped monitor the investment options according to
                the guidance provided in the IPS. The Retirement Committee periodically
                reviewed various quantitative and qualitative metrics related to the funds
                and, when deemed necessary or desirable, took action to make periodic
                investment lineup changes in the participants’ best interest. The mere fact

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                     that specific investments held in the Plan underperformed their benchmarks
                     for portions of the relevant period is neither unusual nor does it establish
                     that the Retirement Committee utilized a flawed fiduciary process.
                c. The Retirement Committee followed an appropriate process to monitor the
                     fees of the funds offered in the Plan. With the help of consultants, the
                     Retirement Committee reviewed the fund fees periodically, and considered
                     fund fees when choosing replacement funds.
                d. The Retirement Committee’s decision to offer a money market fund is
                     consistent with industry practices. Many fiduciaries in a similar position as
                     the fiduciaries of the Plan offer money market funds in their 401(k) plans.
                     The Retirement Committee followed appropriate processes to monitor the
                     money market fund as well as participants’ funds directed to it.
                e. The Retirement Committee’s decision to offer actively managed funds is
                     consistent with industry practice. Many fiduciaries of other 401(k) plans
                     also offer actively managed funds in their plans. The Retirement Committee
                     included passively managed funds in the Plan, considered active versus
                     passive management issue at several points, and added more passively
                     managed funds to the Plan over time.

III.       Opinions

A.         Plan Background

13.        The Plan is a defined contribution 401(k) retirement plan.2 The purpose of the Plan

is “to provide a tax-deferred retirement savings vehicle to which both employees and

Compass Bancshares may contribute to help provide for the post-retirement financial

security of employees.”3




2   ADM-Ferguson 000003, at 0033–0127 [Plan Document, as Amended and Restated January 1, 2016].
3   ADM-Ferguson 000683, at 691 [Investment Policy Statement for the Compass SmartInvestor 401(k) Plan 2014].



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14.         From 2013 to 2018 the plan had between approximately 13,370 and 13,480

participants.4 Plan assets ranged from approximately $707 million at year end 2013 to

$908 million at the end of 2018.5

15.         BBVA Compass Bancshares, Inc. (“BBVA” or “Company”) is the plan sponsor and

plan administrator.6 The Retirement Committee serves as the named fiduciary “with

respect to the management and operation of the Plan.”7 The Retirement Committee charter

provides that “The Committee will establish and maintain written investment policies with

respect to the [Plan], and will monitor the performance of investment funds and investment

managers in accordance with such policies.”8
16.         The Plan’s recordkeeper and trustee during the relevant period is Fidelity

Management Trust Company (“Fidelity”).9 Fidelity replaced Charles Schwab as the Plan’s

trustee and recordkeeper at the beginning of 2013.10

17.         Consistent with its objective to structure a “retirement savings program suitable to

the long-term needs and risk tolerances of participants in the Plan,” the Retirement

Committee maintained a diverse set of investment options available to Plan participants.11

Participants primarily invested in one or more of ten different investment options offered

during the relevant period (counting the target date funds as one option).12 These included


4ADM-Ferguson 000291, at 292 [2013 Form 5500 for the Compass SmartInvestor 401(k) Plan]; ADM-Ferguson 000481,
at 482 [2018 Form 5500 for the Compass SmartInvestor 401(k) Plan].
5ADM-Ferguson 000291, at 304 [2013 Form 5500 for the Compass SmartInvestor 401(k) Plan]; ADM-Ferguson 000481,
at 495 [2018 Form 5500 for the Compass SmartInvestor 401(k) Plan].
6   ADM-Ferguson 000003, at 0111 [Plan Document, as Amended and Restated January 1, 2016, Section 10.2].
7   ADM-Ferguson 000003, at 0111 [Plan Document, as Amended and Restated on January 1, 2016, Section 10.1].
8   ADM-Ferguson 000719, at 0720 [BBVA Compass Bancshares, Inc., Charter of the Retirement Committee, Section 4.3].
9ADM-Ferguson 000291, at 316 [2013 Form 5500 for the Compass SmartInvestor 401(k) Plan]; ADM-Ferguson 000481
at 507 [2018 Form 5500 for the Compass SmartInvestor 401(k) Plan].
10   ADM-Ferguson 000291, at 316 [2013 Form 5500 for the Compass SmartInvestor 401(k) Plan].
11See ADM-Ferguson 000683, at 706 [Investment Policy Statement for the Compass SmartInvestor 401(k) Plan 2014];
Exhibit 1, Exhibit 3 and Exhibit 4.
12See e.g. ADM-Ferguson 000210, at 216-217 [2013 Compass SmartInvestor 401(k) Summary Plan Description]; ADM-
Ferguson 000129 at 135 [2018 Compass SmartInvestor 401(k) Summary Plan Description]. While the Plan had a balance



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nine single asset class investment options across the major asset classes of money market,

bond, and equity funds (U.S. large cap, mid cap and small cap, and international), as well

as a series of multi-asset class target date funds (TDFs) managed to adjust asset exposure as

a Plan participant’s age approaches retirement, such that no participant trading or

rebalancing is required.13 During the relevant period, the contributions of those

participants who did not direct their funds into a particular investment option were

defaulted into the appropriate target date fund associated with the participant’s age, per the

Summary Plan Description.14

18.         The Plan offered funds from a range of experienced investment managers including

The Vanguard Group (“Vanguard”), American Century Companies, Inc. (“American

Century”), The Principal Financial Group (“Principal”), J.P. Morgan Investment

Management Inc. (“J.P. Morgan”), Dodge & Cox, Harbor Capital Advisors (“Harbor”),

Thornburg Investment Management (“Thornburg”), Invesco Ltd. (“Invesco”) and Aston

Asset Management, Ltd. (“Aston”).15
19.         Exhibit 1 displays the diversified set of investment options made available to Plan

participants, the asset class of those options, and the years in which they were available.

B.          ERISA Fiduciary Responsibilities and Considerations for Fiduciary Processes
            for Selecting and Monitoring Investment Options

20.         In my experience working with hundreds of investment committee members and

preparing for and participating in hundreds of investment committee meetings, no two



in company stock throughout the relevant period, participants were not allowed to invest new contributions in company
stock during the relevant period. The Plan also introduced a treasury money market fund in 2017, but as of year-end 2018
the Plan had only allocated $31,901 to this option, or less than .004% of total Plan assets. See ADM-Ferguson 000481, at
0514 [2018 Form 5500 for the Compass SmartInvestor 401(k) Plan, Schedule of Assets].
13See e.g. ADM-Ferguson 000210, at 216-217 [2013 Compass SmartInvestor 401(k) Summary Plan Description]; ADM-
Ferguson 000129, at 135 [2018 Compass SmartInvestor 401(k) Summary Plan Description].
14 See e.g. ADM-Ferguson 000210, at 216 [2013 Compass SmartInvestor 401(k) Summary Plan Description]; ADM-

Ferguson 000129, at 134 [2018 Compass SmartInvestor 401(k) Summary Plan Description].
15   See Exhibit 1.


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retirement plans are alike. Each plan has unique aspects. Plans differ in a variety of ways

including, among other things, firm governance, what features they offer their participants,

the industry of the plan sponsor, whether the plan sponsor is publicly or privately held, the

relative sophistication of plan participants and investment committee members with respect

to financial and investment matters, the size of its committee, and the efficiency with which

the committee is run.

21.    There is no single correct way to manage a plan. Plans may be structured

differently from one another, offer investments in different asset classes, with different

management styles, and yet each can be managed by their respective investment

committees in a sound fiduciary manner using sound fiduciary practices and procedures.

Likewise, there is no single uniform set of standards required to demonstrate the prudence

of a fiduciary committee’s conduct.

22.    Bright line rules—for example, that only passively managed funds must be offered

to participants, or that a stable value fund should be offered— are not required by ERISA

nor are they accepted industry practice. Strict rules prohibiting or mandating certain

investment options (or investment managers) can limit a committee’s ability to exercise

potentially beneficial options for a particular plan’s participants.

23.    What is important is that a plan’s fiduciaries develop a reasonable process for

selecting, monitoring, and removing investment options, and that they then follow their

process. Furthermore, the plan sponsor and plan fiduciaries should ensure that adequate

time and resources are provided to ensure that the process is adequately followed. Whether

a fiduciary committee’s conduct is deemed appropriate depends upon the committee’s

decision making, under the unique circumstances confronting that committee, their plan

participants, and the plan sponsor.

24.    In my experience working with hundreds of investment committee members, a

range of reasonable fiduciary practices exist across different defined contribution plans,

some of which vary based on the particular characteristics and demands of the plan

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participants and the skill set and knowledge base of its fiduciaries. The Retirement

Committee, based on the materials I have reviewed, utilized reasonable practices and made

decisions in the best interests of the Plan participants with the level of care a prudent

fiduciary is expected to use.



C.          The Retirement Committee’s Process Was Consistent with Industry Practices
            and Based on Reasonable Guidelines.

                     1.       BBVA Established a Retirement Committee That Met Regularly

25.         The Plan Document established a Retirement Committee to act as the Plan’s named

fiduciary with respect to the management, operation and administration of the Plan,

including with respect to the selection and removal of investment options for the Plan.16
The Retirement Committee charter provides that “The Committee will establish and

maintain written investment policies with respect to the [Plan], and will monitor the

performance of investment funds and investment managers in accordance with such

policies.”17

26.         During the relevant period, BBVA’s Retirement Committee was typically

comprised of five people as displayed in Exhibit 2. This was consistent with the Plan

Document, which calls for the appointment of a Retirement Committee of between three to

nine persons appointed by the Company.18 The Retirement Committee included qualified

individuals with diverse and applicable backgrounds.19 Exhibit 2 lists the members of the

Committee and the meetings they attended.


16 ADM-Ferguson 000003, at 0065, 0111 [Plan Document, as Amended and Restated January 1, 2016, Section 5.1,

Section 10.1].
17ADM-Ferguson 000719, at 0720 [BBVA Compass Bancshares, Inc., Charter of the Retirement Committee, Section
4.3].
18   ADM-Ferguson 000003, at 0111 [Plan Document, as Amended and Restated January 1, 2016, Section 10.1].
19For example, Jim Heslop received a bachelor’s degree in marketing and finance, and has worked at BBVA Compass for
over 44 years after eight years of experience in banking. See Jim Heslop Linkedin Page, available at



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27.        The Retirement Committee met regularly, engaged in a consistent Plan investment

fund review process, and documented their decision-making in meeting minutes—all

actions that are consistent with sound fiduciary practices. Exhibit 2 shows the meeting

dates during the relevant period and Committee member attendance. Meetings were

attended by other Company employees from human resources, accounting, legal, and

wealth management departments, in addition to outside advisors, consultants and

attorneys.20

28.        The Committee also heard from a range of outside advisors and providers who were

asked to present relevant information to the Committee. As part of these meetings, in

addition to receiving regular reviews of the Plan and its lineup, the Committee often

requested or received education on a variety of topics such as trends in the defined

contribution market,21 fiduciary training,22 white paper investment research,23 or methods
to review target date funds.24




https://www.linkedin.com/in/jim-heslop-95580634. Kirk Pressley is a Certified Public Accountant with more than 26
years of banking, public accounting, and internal control experience. See Kirk Pressley, BBVA, available at
https://www.bbvausa.com/content/dam/bbva/usa/en/pdf/ourstory/Kirk-Pressley-Bio-02052019.pdf. Javier Hernandez,
who has a bachelor’s degree in econometrics and quantitative economics and a master’s degree in financial services, has
had professional experience in economic research and global risk management in the banking industry before working at
BBVA. See Javier Hernandez Linkedin Page, available at https://www.linkedin.com/in/javier-hernandez-g. Angel
Reglero earned undergraduate and master’s degrees in finance and worked at Price Waterhouse Coopers for eight years
prior to joining BBVA. See Angel Reglero Linkedin Page, available at https://es.linkedin.com/in/angel-reglero-
2047b747. Celie Niehaus is accredited as a Certified Regulatory Compliance Manager and has more than 30 years of
experience in risk management in the financial services industry. See Celie Niehaus, BBVA, available at
https://www.bbvausa.com/content/dam/bbva/usa/en/pdf/ourstory/Celie-Niehaus-Bio-02252019.pdf.
20 See e.g., ADM-Ferguson 001388 [Committee Meeting Minutes, September 11, 2013]; ADM-Ferguson 001612–1614

[Committee Meeting Minutes, February 14, 2014]; BBVA-Ferguson 000595 [Committee Meeting Minutes, March 12,
2015]; BBVA-Ferguson 001323 [Committee Meeting Minutes, February 11, 2016]; BBVA-Ferguson 001741 [Committee
Meeting Minutes, March 24, 2017]; BBVA-Ferguson 001892 [Committee Meeting Minutes, March 23, 2018]; BBVA-
Ferguson 001999 [Committee Meeting Minutes, August 18, 2018].
21See e.g. BBVA-Ferguson 000619 [Fidelity Investments, Investment Consulting Services to BBVA Compass,
Investment Trends, February 16, 2015].
22   See e.g. ADM-Ferguson 001852 [Committee Meeting Minutes, August 13, 2014].
23   See e.g. BBVA-Ferguson 000824 [Committee Meeting Minutes, June 26, 2015].
24   See e.g. BBVA-Ferguson 001560 [Committee Meeting Minutes, August 25, 2016].



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29.      The discussions of, and actions taken by, the Committee at their meetings are very

well documented in the Retirement Committee minutes. These minutes include, among

other topics, detailed summaries relating to the Committee’s analysis of the Plan lineup and

discussions regarding particular fund options, including those funds that were put on the

watch list as well those that were added or removed from the Plan lineup. The meeting

minutes indicate that Committee members were engaged and actively involved in

deliberation and decision making. Various members of the Committee are noted asking

thoughtful questions and sharing useful, relevant comments.25

30.      Based upon my review of the meeting minutes and materials, and based on my

experience, in my opinion the Retirement Committee was run with effectiveness and

efficiency.

                  2.        The Retirement Committee Retained an Investment Consultant

31.      In addition to relying on their in-house banking and financial expertise, the

Committee retained outside consultants to assist it with the selection and monitoring of

investment options, as authorized by their Charter and the Plan’s IPS.26 Throughout the
relevant period, a third party investment consultant provided advice and assisted the

Committee in performing the work to meet its fiduciary obligations. Retaining a third party

investment consultant is a sound practice in 401(k) plans.

32.       Envestnet was investment consultant to the Committee from prior to the relevant

period through approximately September, 2015.27 After a thorough search, the Committee


25
 See e.g., BBVA-Ferguson 000824 [Committee Meeting Minutes, June 26, 2015]; BBVA-Ferguson 001332 [Committee
Meeting Minutes, April 4, 2016]; BBVA-Ferguson 001681 [Committee Meeting Minutes, November 30, 2016].
26 ADM-Ferguson 000719, at 0721 [BBVA Compass Bancshares, Inc., Charter of the Retirement Committee, Section

6.1]; ADM-Ferguson 000683, at 707 [Investment Policy Statement for the Compass SmartInvestor 401(k) Plan 2014];
ADM-Ferguson 001388 [Committee Meeting Minutes, September 11, 2013]; ADM-Ferguson 001612 [Committee
Meeting Minutes, February 14, 2014].
27 See e.g., BBVA-Ferguson 000017 [Committee Meeting Minutes, May 1, 2013]; ADM-Ferguson 003943 [Committee

Meeting Minutes, August 12, 2015].



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engaged Willis Towers Watson (Towers Watson) in early 2016.28 Towers Watson remains

as investment consultant to the Committee.29

33.        The investment consultant regularly attended Committee meetings and provided the

Committee with detailed periodic (usually quarterly) reports that included a wealth of

quantitative and qualitative data and information with respect to each investment option,

including fees and performance.30 The consultant assisted the Committee with investment

manager oversight and selection, including providing detailed measurements of investment

performance against Watch List criteria.31 They also provided the Committee with periodic

updates on manager organization and personnel, fee benchmarking, reviews of the Plan’s

overall investment structure, fiduciary training, and presentations on other educational

topics. In addition, the consultants advised on updating the IPS.

                    3.       The Plan’s IPS Established Reasonable Guidelines, Consistent
                             with Industry Practices

34.        The Retirement Committee, consistent with its Charter, maintained an investment

policy statement, which it reviewed and amended on occasion.32 An IPS is helpful in

establishing a framework for consistent decision making around topics such as the




28 See e.g., ADM-Ferguson 003943 [Committee Meeting Minutes, August 12, 2015]; BBVA-Ferguson 001082
[Committee Meeting Minutes, November 30, 2015]; BBVA-Ferguson 001182 [Committee Meeting Minutes, December
3, 2015]; BBVA-Ferguson 001184 [Committee Meeting Minutes, December 14, 2015]; BBVA-Ferguson 001323
[Committee Meeting Minutes, February 11, 2016].
29   See ADM-Ferguson 004265 [Committee Meeting Minutes, June 20, 2019].
30 See e.g., BBVA-Ferguson 000824 [Committee Meeting Minutes, June 26, 2015]; BBVA-Ferguson 000836 [Envestnet

PMC Plan Analysis Quarter Ending December 31, 2014, Prepared for BBVA Compass Bank SmartInvestor 401(k) Plan];
BBVA-Ferguson 001332 [Committee Meeting Minutes, April 4, 2016]; BBVA-Ferguson 001366 [BBVA Compass
Performance Monitoring Report For Periods Ending December 31, 2015].
31See e.g., BBVA-Ferguson 000081, at 84-86; BBVA-Ferguson 000629, at 631-632; BBVA-Ferguson 000836, at 838-
839; ADM-Ferguson 003954, at 56-57.
32 The Committee appears to have amended its 2008 investment policy statement in 2014 and 2018. See BBVA-Ferguson

000024 [Committee Meeting Minutes, February 14, 2014]; BBVA-Ferguson 001892 [Committee Meeting Minutes,
March 23, 2018].



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selection, monitoring, and removal of plan investment options. Plans are not required to

maintain an IPS but, for many plans, it is a best practice.

35.         Based on my industry experience and having drafted, reviewed, and worked with,

dozens of investment policy statements, the Plan’s IPS included guidelines that were

reasonable and consistent with industry practices. The Plan’s IPS covered topics useful for

fiduciaries such as “Plan Objectives,” “Selection of Investment Options,” “Placement on

Watch Status” and “Replacement of Investment Managers.”33 It outlined investment

objectives of the Plan,34 various asset classes of investments to be offered in the Plan,35

requirements for chosen investment vehicles,36 and specified the benchmark and peer group
for which performance was to be measured for each asset class.37 The level of detail in the

IPS concerning selection, monitoring, and removal of investment options was consistent

with the content of IPSs that I have seen and advised upon.

36.         At between nine and 15 pages in length, the Plan’s IPS included an appropriate

level of detail consistent with industry practices, establishing reasonable and broad

guidelines that were not overly restrictive.

37.         Among the monitoring procedures outlined in the IPS were criteria that, if

triggered, would cause a fund to be added to a “Watch List” for more frequent monitoring.



33   ADM-Ferguson 000683 [Investment Policy Statement for the Compass SmartInvestor 401(k) Plan 2014].
34 Specifically, the IPS stated that the “primary objectives of the Plan are to offer participants a set of investment options

such that: sufficient options are offered to allow participants to build portfolios consistent with their investment
risk/return. Each option is adequately diversified. Each option has a risk profile consistent with its position in the overall
structure. Each option is managed so as to implement the desired risk profile and other investment characteristics. Each
option has expenses that are reasonable in relation to its peer group and in light of its performance within its peer group.
Each option performs competitively within its peer group.” ADM-Ferguson 000683, at 0694 [Investment Policy
Statement for the Compass SmartInvestor 401(k) Plan 2014].
35ADM-Ferguson 000683, at 0698–0700 [Investment Policy Statement for the Compass SmartInvestor 401(k) Plan
2014].
36ADM-Ferguson 000683, at 0701–0702 [Investment Policy Statement for the Compass SmartInvestor 401(k) Plan
2014].
37ADM-Ferguson 000683, at 0698–0700 [Investment Policy Statement for the Compass SmartInvestor 401(k) Plan
2014].



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A fund could be put on the watch list for quantitative or qualitative reasons, and the IPS

mandated that “[a]ny manager that under-performs on a risk-adjusted basis, as measured by

the Sharpe ratio, both the median in the peer universe and market index over the most

recent market cycle (3 or 5 years) will be placed on Watch.”38 The use of quantitative risk-

adjusted criteria such as the Sharpe Ratio indicates a level of sophistication in the process

for monitoring investment performance. The watch list also included qualitative criteria.

The IPS stated that “[i]nvestment managers may be placed on ‘Watch’ status, replaced, or

eliminated whenever the Retirement Committee loses confidence in the management of the

strategy or when the current style is no longer deemed appropriate by the Retirement

Committee.”39
38.         The IPS’s guidelines were also updated periodically. For example, in 2018 the

Committee revised the IPS and updated the watch list criteria.40 The new process identified

six qualitative and quantitative criteria for actively managed options,41 and four criteria for

passively managed options;42 mandating that any fund failing two of the criteria would be



38ADM-Ferguson 000683, at 0711 [Investment Policy Statement for the Compass SmartInvestor 401(k) Plan 2014]. The
Sharpe ratio is a commonly used metric well established and accepted in the investment management industry. It
measures fund performance by factoring in both the return of a fund as well as the amount of risk taken by the fund to
achieve that return. For example, a conservative bond fund that achieves the same return as a higher risk equity fund will
have a higher Sharpe ratio than the equity fund even though their returns were identical. I have seen the Sharpe ratio
utilized in several investment policy statements that I have worked with in my career and believe it to be a reliable metric
that investment committees can use to measure the performance of their funds against proper comparators (such as an
associated benchmark or peer median).
39   ADM-Ferguson 000683, at 0711 [Investment Policy Statement for the Compass SmartInvestor 401(k) Plan 2014].
40 See BBVA-Ferguson 001864, at 1865–1866 [Committee Meeting Minutes, December 15, 2017]; BBVA-Ferguson

001892, at 1893–1894 [Committee Meeting Minutes, March 23, 2018].
41 The criteria for active options include 1) “Style Consistency- [c]onsistent style attributes over rolling 3-year period,” 2)
“Risk-Adjusted Performance . . . – [o]utperforming benchmark on a 3-year period,” 3) Consistency of Performance
(Batting Average) – [o]utperformed benchmark or peer group in at least half of the trailing 36 months,” 4) “Expense Ratio
– Expenses less than the median of the peer group,” 5) “Team and Firm – Stability and strength of the team that built the
track record and their firm,” and 6) “Investment Philosophy and Process – Team continuing to follow the philosophy and
process used to build the track record.” ADM-Ferguson 000517, at 0526–0527 [BBVA Compass Bancshares, Inc.
Compass SmartInvestor 401(k) Plan Investment Policy Statement (Updated as of December 2018)].
42The criteria for passive options include 1) “Tracking – Tracking relative to the benchmark in line with peers, level of
expenses and expectations for asset class,” 2) “Expense Ratio- Expenses less than the average of the peer group,” 3)
“Team and Firm – [s]tability and strength of the team that built the track record and their firm,” and 4) “Investment
Process – [t]eam continuing to follow the indexation process in a consistent matter.” ADM-Ferguson 000517, at 0526–



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placed on the watch list.43 A new measure of performance consistency, called “batting

average,” was added to the watch list criteria.44

39.         The IPS also provided the Committee with broad guidelines for funds that fail to

improve performance during their time on the watch list. The options include 1)

termination of the fund, 2) extending the watch list period while searching for a fund

replacement and 3) interviewing the fund investment manager to determine whether there

is a reasonable explanation for the underperformance and potentially extending the watch

list period if the Committee deems appropriate.45 In my opinion, the IPS provided the

Committee with appropriate leeway in determining how to best deal with specific

underperforming funds. In my experience, this degree of latitude is appropriate, and

consistent with industry practice given the discretionary nature of fiduciary responsibilities.

An IPS must have flexibility to allow the Committee some breadth to handle unexpected

market environments, including allowing the Committee the leeway to exercise fiduciary

discretion and make decisions on behalf of the Plan participants.

40.         Strict, bright-line rules would be inappropriate because the fit of a fund for a plan

and its performance should be evaluated using multiple quantitative and qualitative criteria

and these criteria could vary for different funds or circumstances. In my experience there

are market environments, such as during the Global Financial Crisis, when even the most

skilled fund managers may have extended periods of performance challenges and when

quantitative measures for evaluating funds may be less reliable. A policy, for example, that

mandates fund removal based on inflexible performance rules can cause unnecessary fund



0527 [BBVA Compass Bancshares, Inc. Compass SmartInvestor 401(k) Plan Investment Policy Statement (Updated as of
December 2018)].
43ADM-Ferguson 000517, at 0526–0527 [BBVA Compass Bancshares, Inc. Compass SmartInvestor 401(k) Plan
Investment Policy Statement (Updated as of December 2018)].
44 ADM-Ferguson 000517, at 0526 [BBVA Compass Bancshares, Inc. Compass SmartInvestor 401(k) Plan Investment

Policy Statement (Updated as of December 2018)].
45   BBVA-Ferguson 000280, at 288 [Investment Policy Statement for the Compass SmartInvestor 401(k) Plan 2014].


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turnover. A Committee requires some flexibility to make prudent investment decisions

when faced with a variety of economic climates.

                      4.   The Committee Maintained a Diverse Plan Lineup and
                           Periodically Considered Potential Changes, Consistent with
                           Industry Practices

41.         The Retirement Committee utilized an investment line-up that provided Plan

participants throughout the relevant period with a diversified set of investment options.

The Plan offered a variety of choices across the risk spectrum from which Plan participants

could build a portfolio customized to their unique investment horizon, risk tolerance, and

return objectives. Exhibit 4 shows the options offered to plan participants across the risk

spectrum as of 2015 and displays the annualized five-year standard deviation for each fund.

The Plan lineup was accommodating to the varying amounts of time plan participants chose

to dedicate to the allocation of their plan assets.

42.         The array of Plan investment options with varying risk and return profiles allowed

Plan participants interested in selecting single asset class funds to build a custom portfolio

from among a money market fund, bond fund, and a range of equity fund— large-cap, mid-

cap, small-cap and international—options.46 Pre-mixed, multi-asset class target date funds
were available for participants who lacked the knowledge, time, or interest to select and

manage their Plan investments.47 See Exhibit 1 for the list of investment options available

during the relevant period.

43.         Among the materials the Retirement Committee periodically reviewed at its

meetings was the aggregated utilization of the investment options by Plan participants. The

Retirement Committee reviewed information and data that showed the Plan’s participant

asset flows and resulting Plan allocation amongst the various funds. The Committee’s


46   See Exhibit 1.
47   See Exhibit 1.



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quarterly presentations provided a section displaying the resulting allocation of Plan

participant assets, aggregated by investment option.48 The consultant materials provided

data on the current percentage of the Plan allocated to each fund, and compared it to the

same for the prior period. This data would provide the Committee with an aggregate view

of participants’ use of the Plan’s investment options. Exhibit 3 displays the Plan assets by

investment option at year end between 2013-2018.

44.        The Retirement Committee periodically examined the Plan’s investment structure

and compared the Plan’s lineup with that of other defined contribution plans. The

consultants performed a thorough review of the Plan’s set of asset classes, the combination

of actively and/or passively managed offerings, as well as the vehicles used (for example,

the mutual fund share class).49 The Retirement Committee meeting minutes show
discussions of potential changes to the lineup and/or the ongoing adequacy of the Plan

investment structure and lineup.50 Such comparisons and information gathering are solid

fiduciary practices and consistent with processes followed at other plans I have worked

with or advised.

45.        As part of the Committee’s ongoing work to educate itself on various aspects of

trends in the defined contribution market, it looked to its external experts for additional

insight. The Committee had a report from its recordkeeper, Fidelity, in the March 2015

meeting materials that reviewed with the Committee investment options offered by plans of

similar asset size to BBVA, between $0.5 and $1.0 billion.51 As another example, in its


48 ADM-Ferguson 003954, at 3965–3966 [Envestnet PMC Plan Analysis for Quarter Ending June 30, 2015]; ADM-

Ferguson 004268, at 4275–4276 [Towers Watson BBVA Compass SmartInvestor 401(k) Plan Executive Summary, June
20, 2019].
49   See e.g., BBVA-Ferguson 001560 [Committee Meeting Minutes, August 25, 2016].
50See e.g., BBVA-Ferguson 000004 [Committee Meeting Minutes, September 11, 2012]; BBVA-Ferguson 000335
[Committee Meeting Minutes, December 5, 2014]; BBVA-Ferguson 001569 [Committee Meeting Minutes, August 25,
2016].
51 BBVA-Ferguson 000619 [Fidelity Investments, Investment Consulting Services to BBVA Compass, Investment

Trends, February 16, 2015].



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March 12, 2015 meeting the Committee considered funds in additional asset classes as

options for the Plan. Envestnet “provided details about the prevalence of additional asset

classes in 401(k) plans comparable to the Company’s” even though their consultant

believed “the current fund options in the 401(k) option are sufficient.”52 At the same

meeting the Committee discussed the possibility of adding a brokerage window, however,

the Committee decided against the addition and reaffirmed the existing lineup after

weighing several factors including “the potential impact a brokerage window option might

have on participant behavior and asset diversification.”53

46.        Similarly, in the August 25, 2016 meeting, Towers Watson “reviewed questions

regarding [P]lan participants with the Committee to determine the types of fund options

best suited for participants.”54 Towers Watson also “gave recommendations for
determining the types and number of investments to be offered, referencing options offered

by other defined contribution plan sponsors.”55 The Plan was aligned with 66% of plans

Towers Watson surveyed in 2014, which offered 10-19 investment options (26% of plans

offered 20 or more options, and 8% of plans offered 1-9 options).56

47.        The Committee conducted another thorough review of the existing fund lineup,

including consideration of potential changes to restructure the plan, in discussions that

occurred over multiple meetings between 2018 and 2019. The Committee has recently

decided to restructure the Plan’s investment options. After analyzing the Plan’s lineup and

Plan participants’ investing activity in 2018,57 Towers Watson presented alternative



52   BBVA-Ferguson 000595 [Committee Meeting Minutes, March 12, 2015].
53   BBVA-Ferguson 000595 [Committee Meeting Minutes, March 12, 2015].
54   BBVA-Ferguson 001560 [Committee Meeting Minutes, August 25, 2016].
55   BBVA-Ferguson 001560 [Committee Meeting Minutes, August 25, 2016].
56   BBVA-Ferguson 001563, at 1583 [Towers Watson “Investment Structure Review,” August 2016].
57During the March 23, 2018 meeting, Fidelity provided the Committee with a detailed overview of the Plan participants’
investing activity and compared it to other peer plans. See BBVA-Ferguson 001892 [Committee Meeting Minutes, March
23, 2018]. In the August 18, 2018 meeting, Towers Watson reviewed the asset classes represented in the Plan lineup,



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investment structures for the Committee’s consideration, including an “active/passive

mirrored approach” which would add additional passively managed options while

consolidating some of the actively managed equity options, and a “streamlined passive

approach” which would add passively managed fund options and eliminate the Plan’s

actively managed funds.58 After a discussion of these alternative structures in the

December 18, 2018 and June 20, 2019 meetings, including a discussion of the pros and

cons of utilizing a passively managed lineup and offering a brokerage window, the

Committee decided to adopt the streamlined passive approach—but not the brokerage

window—and a new fund lineup is scheduled to be introduced at some point in 2020.59
48.        It should be noted that immediately prior to the relevant period, the Retirement

Committee made several significant changes to the Plan and its lineup, including replacing

Charles Schwab with Fidelity as the Plan’s recordkeeper and introducing target date

retirement funds into the lineup.60 While the Committee decided not to alter the Plan

lineup’s investment structure (other than replacing particular funds) during the relevant

period until recently, the important consideration from a fiduciary evaluation perspective is

that the Committee properly analyzed at different time periods within the relevant period

whether a different structure or additional asset class options would be beneficial to Plan

participants. After reviewing the Committee meeting minutes and the information

provided to the Committee in the consulting presentations and reports, I am comfortable

concluding that the proper consideration was made at various points during the relevant

period.




compared it with peer plans’ lineups, and noted that “most plan sponsors are streamlining or maintaining the number of
investment options.” See BBVA-Ferguson 001999 [Committee Meeting Minutes, August 18, 2018].
58   BBVA-Ferguson 001999, at 2001 [Committee Meeting Minutes, August 18, 2018].
59
 BBVA-Ferguson 002046 [Committee Meeting Minutes, December 18, 2018]; ADM-Ferguson 004265 [Committee
Meeting Minutes, June 20, 2019].
60   See ADM-Ferguson 000291 [2013 Form 5500 for the Compass SmartInvestor 401(k) Plan].


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49.    In addition, after reviewing the Plan lineup, as well as the Plan participants’

investment behavior with respect to the contribution flows among asset classes over time, it

is my opinion that the Plan’s lineup was sufficient to support the needs of the Plan

participants. Exhibit 3 shows the Plan’s asset allocation over time among the various asset

classes. Participants utilized and had balances in each of the investment alternatives.

50.    Exhibit 4 provides the five-year standard deviation, one of the commonly used

measurements of a fund’s risk, for each fund offered in the Plan as of second quarter 2015.

Exhibit 5 shows how each of these funds performed over the same five-year period. These

exhibits demonstrate that the Plan’s lineup adequately provided participants with a variety

of investment options across the risk spectrum.

                5.       The Retirement Committee Used Reasonable Processes,
                         Consistent with Industry Practices to Monitor Funds in
                         Accordance with its IPS

51.    It is important not only to have appropriate and reasonable guidelines in place for

selecting, monitoring, and removing a plan’s investment options, but also to follow and

effectuate the guidelines. After reviewing the Committee’s meeting minutes and associated

materials it is my opinion that the Committee followed the proper process to monitor,

remove, and select replacement funds in accordance with the IPS guidelines during the

relevant period.

52.    The Committee’s meeting minutes in conjunction with the presentations provided

by the Committee’s consultants shows that the Committee was provided with, and

analyzed, a significant amount of quantitative and qualitative data with respect to each

fund. Typically the consultants’ presentations to the Committee included an executive

summary noting a review of the Plan for the quarter, a “Watch List Update” regarding any

fund on watch among the investment options in the Plan’s lineup, a review of fund fees,




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and often an educational topic.61 After reviewing the presentations provided to the

Committee by both Envestnet and Towers Watson, I have a high opinion of the work done

by these consultants to aggregate and present quantitative and qualitative analysis regarding

fund options in accordance with the Plan’s IPS guidelines. Their efforts assisted the

Committee to effectively monitor and make decisions regarding the Plan’s investment

options.

                                 a)       Fund Quantitative and Qualitative Data and
                                          Information Reviewed by the Committee

53.        At nearly every Retirement Committee meeting the Committee was provided with

detailed quarterly presentations and reports providing a comprehensive review of the

performance of the Plan’s investment options, the Plan’s asset flows, and fund utilization.62
The presentations and reports included numerous quantitative and qualitative metrics that

allowed the Committee to gauge each investment option.63

54.        Some of the quantitative metrics provided in the presentations include trailing

performance returns for multiple time periods (e.g. 1-Yr, 3-Yr, 5-Yr) for each fund and

their corresponding benchmarks and peer group.64 Risk and return metrics, such as the

Sharpe ratio and standard deviation, were also provided for each fund and benchmark.65


61 See e.g. ADM-Ferguson 003946, ADM-Ferguson 003954 [Presentation and Report for the August 12, 2015 Committee

Meeting].
62   See e.g. ADM-Ferguson 003946, ADM-Ferguson 003954 [Presentations for the August 12, 2015 Committee Meeting].
63See e.g., BBVA-Ferguson 000065 [Envestnet BBVA Compass SmartInvestor 401(k) Plan Second Quarter 2014
Review, August 13, 2014]; BBVA-Ferguson 000587 [Envestnet BBVA Compass SmartInvestor 401(k) Plan First Quarter
2015 Review, August 12, 2015]; BBVA-Ferguson 001335 [Towers Watson BBVA Compass Bank SmartInvestor 401(k)
Plan Executive Summary for Periods Ending December 31, 2015, April 4, 2016].
64See e.g., BBVA-Ferguson 000065 [Envestnet BBVA Compass SmartInvestor 401(k) Plan Second Quarter 2014
Review, August 13, 2014]; BBVA-Ferguson 001764 at 1779 [Towers Watson BBVA Compass Performance Monitoring
Report for Periods Ending December 31, 2016]. The Towers Watson presentations also revealed how much of the fund’s
returns were attributable to the performance of each sector. See e.g., BBVA-Ferguson 001764 at 1787 [Towers Watson,
BBVA Compass Performance Monitoring Report for Periods Ending December 31, 2016].
65 See e.g. BBVA-Ferguson 000598 [Envestnet BBVA Compass SmartInvestor 401(k) Plan Fourth Quarter 2014 Review,

March 12, 2015]; BBVA-Ferguson 001335 [Towers Watson BBVA Compass Bank SmartInvestor 401(k) Plan Executive
Summary For Periods Ending December 31, 2015, April 4, 2016] Envestnet reports included a “mutual fund review”
section whose “performance commentary” provided the committee with additional quantitative analysis of each fund with



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These quantitative metrics are commonly used in the investment management industry to

analyze fund performance.

55.        The quarterly presentations and reports also provided qualitative information.

Envestnet’s “scorecards” included information relating to each fund’s years in existence,

assets under management and sector diversification.66 The “manager commentary,”

“analyst commentary” or “attribution” notes in these same reports provided qualitative

assessments of the fund including the fund management’s or analyst’s view of the market,

as well as descriptions of the fund investment strategy and process.67

56.       Towers Watson also presented and analyzed qualitative factors for each fund. They

typically provided the committee with a presentation that included a page titled “Key Issues

Summary” which provided a table summarizing certain qualitative, in addition to

quantitative, assessments Towers Watson made for each fund including whether the fund

had recently experienced organizational or portfolio manager changes.68 The summary
also provided Towers Watson’s assessment for the skill level of the fund manager, the

expected future volatility of the fund’s performance, and the manager’s stability risk. The




respect to particular holdings and sectors of the fund. ADM-Ferguson 000791, at 799-804 [Envestnet Plan Analysis
Quarter Ending March 31, 2012]; ADM-Ferguson 001392, at 399-415 [Envestnet Plan Analysis Quarter Ending June 30,
2013] They also included analyst research reports for each fund that contained a variety of additional and detailed
quantitative metrics and information for each fund. Some of the additional quantitative metrics included in the analyst
research report for each fund include beta, annualized alpha, correlation, risk adjusted return, sterling ratio, treynor ratio,
best 1 month and 1 year return, worst 1 month and 1 year return and information ratio.
66See e.g. BBVA-Ferguson 000836, at 866-886 [Envestnet PMC Plan Analysis Quarter Ending December 31, 2014,
Prepared for BBVA Compass Bank SmartInvestor 401(k) Plan].
67 See e.g. BBVA-Ferguson 000836, at 842-848 [Envestnet PMC Plan Analysis Quarter Ending December 31, 2014,

Prepared for BBVA Compass Bank SmartInvestor 401(k) Plan]. The Envestnet reports also include analyst research
reports which provided Committee members with a wealth of qualitative information regarding each fund. For example,
the reports provided detailed descriptions of each fund’s objective, investment style, selection process and criteria, and a
description of the fund management personnel. See e.g., BBVA-Ferguson 000081 at 0241. The research reports also
provide the analyst’s opinion and forecast for the fund along with a detailed write up supporting that opinion. See e.g.,
BBVA-Ferguson 000081 at 024.
68 See e.g. BBVA-Ferguson 001744 at 1750 [BBVA Compass Bank SmartInvestor 401(k) Plan Executive Summary,

March 24, 2017]



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factors represented in Towers Watson’s “Key Issues Summary” table were later

incorporated into the Plans’ IPS.69

57.        The Committee meeting minutes, in addition to noting that the consultant typically

presented the quarterly material to the Committee, often documented specific discussion of

various funds. These discussions included an assessment of various qualitative factors in

addition to discussions regarding performance. For example:

                a. The September 11, 2013 meeting minutes summarize some of the qualitative

                    themes discussed by Envestnet at the meeting. For example, with respect to

                    the Harbor Capital Appreciation fund, Envestnet noted that the “the fund

                    uses a growth strategy focused on high quality companies with lower-

                    dividends [and] that while these attributes have not been rewarded of late in

                    the market, performance [of high quality stocks] tends to improve over the

                    long run.”70
                b. During the March 12, 2015 meeting, Envestnet led a discussion of each fund

                    in the Plan lineup. According to the meeting minutes, the discussion

                    included an analysis of qualitative factors including, for example, “the

                    investment styles and characteristics” of the various equity funds and the

                    “strategy and positioning” of the American Century Diversified Bond

                    fund.71




69 ADM-Ferguson 000517, at 0526–0527 [BBVA Compass Bancshares, Inc. Compass SmartInvestor 401(k) Plan

Investment Policy Statement (Updated as of December 2018)]. The Towers Watson presentations included a slide titled
“Manager Performance Updates” which provided paragraph summaries highlighting the reasons for overperformance or
underperformance of certain funds. See e.g. BBVA-Ferguson 001744 at 1754 [BBVA Compass Bank SmartInvestor
401(k) Plan Executive Summary, March 24, 2017]. The Towers Watson presentations also provided each fund’s
exposure to various industry sectors (e.g. energy, materials, health care, etc.) and compared the fund’s sector exposure to
the benchmark. See e.g. BBVA-Ferguson 001764 at 1783–1784 [Towers Watson, BBVA Compass Performance
Monitoring Report for Periods Ending December 31, 2016].
70   ADM-Ferguson 001388 [Committee Meeting Minutes, September 11, 2013].
71   BBVA-Ferguson 000595 [Committee Meeting Minutes, March 12, 2015].



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                c. At the August 12, 2015 meeting, Envestnet “presented an overview of [its]

                    on-site meeting and interview with the [Aston/TAMRO] fund managers in

                    July of 2015.”72 This meeting was consistent with the IPS guidelines for a

                    fund added to the watchlist. At the meeting, Envestnet “reported on

                    meetings regarding the fund's strategy, and . . . discussed qualitative

                    measures of the fund, noting most employees of the [Aston/TAMRO] fund

                    invest in the fund [and that] turnover within the fund . . . has been low.”73

                    Envestnet also “discussed the assets under management by the [fund

                    manager], along with outflows.”74
                d. At the March 23, 2018 meeting, Towers Watson “discussed performance of

                    the investment lineup” and “point[ed] out that [the Dodge & Cox] fund had

                    sold many high performers and had rotated into healthcare and energy

                    companies.”75

                e. During the March 27, 2019 meeting, Towers Watson “discussed the Dodge

                    & Cox fund, noting its long term performance outperformed benchmarks

                    but fourth quarter performance was down due in part to increased

                    exposure in the energy sector.” He also “discussed the Harbor Capital

                    Appreciation Fund, noting the fund's strategy of focusing on growth with

                    earning potential” and “then discussed the American Century Diversified

                    Bond fund, noting the fund is underweight in treasuries so performance




72   ADM-Ferguson 003943 [Committee Meeting Minutes, August 12, 2015].
73   ADM-Ferguson 003943 [Committee Meeting Minutes, August 12, 2015].
74 ADM-Ferguson 003943 [Committee Meeting Minutes, August 12, 2015]. The discussion of outflows with respect to
the Aston/TAMRO fund directly contradicts Claimants’ assertion in their Complaint that BBVA “failed to monitor the
flow funds into and out of the mutual fund.” See Complaint, ¶ 77.
75   BBVA-Ferguson 001892, at 94 [Committee Meeting Minutes, March 23, 2018].



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                     was down . . . [and] then discussed the manager of the fund and the

                     portfolio positioning with the Committee.” 76

                                  b) Review and Committee Discussion of Watch List Funds

58.         The Committee, with the assistance of its consultants, followed the watch list

guidelines in the IPS. During the relevant period several funds in the Plan lineup were

added to or taken off the watch list at various points during this time. Exhibit 6 identifies

the periods when a fund was added to or removed from the watch list, as well those funds

that were either removed or added to the lineup. Throughout the relevant period, based on

the meeting minutes and presentation materials I reviewed, funds the Committee added to

the watch list pursuant to the criteria specified in the IPS were reviewed in detail at the

Committee meetings and in the associated presentations and materials.

59.         During the 2013-2015 period of Envestnet’s tenure as investment consultant, the

first part of each quarterly presentation would describe which, if any, funds were on the

watch list pursuant to the watch list criteria specified in the Plan’s IPS.77 The presentations

would display the watch list criteria of the fund’s risk-adjusted performance measures

compared to the fund’s benchmark and peer median.78 This criteria included its’ 3-Yr and

5-Yr Sharpe ratio per the metrics specified in the IPS watch list criteria.79 A summary of

the IPS Watch List criteria was included in each presentation.80

60.         Similarly, the Towers Watson presentations contained a page titled “Watch list”

which specified whether each fund had met the criteria specified in the revised IPS and also




76   ADM-Ferguson 004155, at 56 [Committee Meeting Minutes, March 27, 2019].
77   See e.g., ADM-Ferguson 003946, at 3949–3951 [Envestnet Plan First Quarter 2015 Review].
78   See e.g., ADM-Ferguson 003946, at 3949–3951 [Envestnet Plan First Quarter 2015 Review].
79   See e.g., ADM-Ferguson 003946, at 3949–3951 [Envestnet Plan First Quarter 2015 Review].
80   See e.g., ADM-Ferguson 003946, at 3949 [Envestnet Plan First Quarter 2015 Review].



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noted which funds in the Plan lineup triggered two or more of the criteria and were

therefore put on the watch list.81

61.        The Committee meeting minutes indicate that funds put on the watch list were

discussed extensively at Committee meetings, with the consultant providing additional

quantitative and qualitative analysis and providing an overall recommendation to the

Committee on how it should proceed with respect to the fund. For example:

                a. During the September 11, 2013 meeting, the Committee voted to put the

                    Dodge & Cox stock fund on the watch list pursuant to the quantitative

                    triggers specified in the IPS. Envestnet “advised that despite the

                    quantitative triggers under the [IPS], in recent quarters the fund has

                    performed well, and that [Envestnet] believes the fund's investment theory is

                    playing out.” The minutes indicate that “[t]he members of the Committee

                    engaged in a discussion of the fund, and [Envestnet] responded to questions

                    from the Committee regarding the fund's performance and investment

                    theory.”82
                b. During the October 17, 2014 meeting, Envestnet recommended that the

                    Committee terminate the Thornburg International Value fund which had

                    been on put on the watch list earlier in 2014. This recommendation was

                    based in part on Thornburg announcing that the “Co-Portfolio Manager of

                    the International ADR strategy and former co-Portfolio Manager of the

                    Thornburg Fund, will be leaving the firm” and Envestnet reviewed with the

                    Committee “the reasons for her departure, and Envestnet's concerns which

                    resulted in the recommendation to terminate the Thornburg Fund.”83


81 See e.g., BBVA-Ferguson 002002, at 2012 [BBVA Compass Bank SmartInvestor 401(k) Plan Executive Summary,

August 14, 2018].
82   ADM-Ferguson 001388 [Committee Meeting Minutes, September 11, 2013].
83   BBVA-Ferguson 000318 [Committee Meeting Minutes, October 17, 2014].


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                c. During the June 26, 2015 meeting, the Aston/Tamro fund which had been

                    put on the watch list in 1Q 2014 was discussed extensively. Envestnet

                    “noted that the [Aston/TAMRO] fund focused on high quality companies

                    and the better performers in the small cap category have been lower quality

                    companies.” Envestnet also “discussed the management and composition of

                    investments in the fund, and . . . indicated Envestnet believes this fund will

                    perform well in a market correction. . . [and] reviewed the performance of

                    the fund in down markets as compared to benchmarks.”84

                d. During the March 23, 2018 meeting, Towers Watson “noted that Invesco

                    and American Century were added to the watch list effective December 31,

                    2017” and that “Invesco had underperformed for the last quarter of 2017 due

                    to being underweight in Japan.”85
                e. According to the December 18, 2018 meeting minutes, in response to a

                    Committee member’s question, Towers Watson “discussed year-to-date

                    performance for each fund on the watch list [and] reviewed rolling three-

                    year performance for the funds, noting Invesco and Principal had been

                    trending positively.”86

                f. At the March 27, 2019 meeting, Towers Watson “noted that the Principal

                    Mid Cap Value fund remained on the watch list due to risk adjusted

                    performance, which is above the median in its peer group [but also noted]

                    that over the last year, Principal is improving performance relative to

                    benchmarks, so no immediate action is required.”87




84   BBVA-Ferguson 000824 [Committee Meeting Minutes, June 26, 2015].
85   BBVA-Ferguson 001892 [Committee Meeting Minutes, March 23, 2018].
86   BBVA-Ferguson 002046 [Committee Meeting Minutes, December 18, 2018].
87   ADM-Ferguson 004155 [Committee Meeting Minutes, March 27, 2019].


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                     6.       The Retirement Committee Monitored the Expenses of
                              Investment Options, Consistent with Industry Practices

62.         The Plan’s IPS established that the funds utilized by the Plan should have expense

ratios that “are reasonable in relation to its peer group and in light of its performance within

its peer group.”88 Consistent with that guidance, the Retirement Committee regularly

reviewed the expenses of the investment options in the Plan.

63.         During Envestnet’s tenure as the Committee’s consultant, the Committee reviewed

a chart in each quarterly presentation that compared the expense ratio of each fund in the

Plan lineup to the average expense ratio of peer funds in the same asset class.89 Similarly,

Towers Watson included a page in their quarterly presentations comparing the expense

ratio of the Plan’s funds to the median expense ratio of peer funds.90 Throughout the

relevant period, and consistent with the IPS, the fees for each fund in the Plan were found

to be reasonable and lower than their respective Morningstar category averages during

Envestnet’s tenure, or reasonable and lower than or close to the median fee of each peer

group during the period since early 2016 with Towers Watson as the Committee’s

consultant.

64.         The Committee meeting minutes indicate that the Plan’s funds’ fees were a

consistent topic of discussion and focus for the Committee during its meetings. Exhibit 7 is

a table providing examples of excerpts from the various meeting minutes that relate to a

discussion of fees. As the Exhibit demonstrates, the fund fees were a topic of discussion at

many of the Committee meetings. Further, it should be noted that the Committee was



88See e.g. ADM-Ferguson 000683 at 0709 [Investment Policy Statement for the Compass SmartInvestor 401(k) Plan
2014].
89   See e.g. ADM-Ferguson 003954, at 3971 [Envestnet PMC Plan Analysis for Quarter Ending June 30, 2015].
90See e.g., BBVA-Ferguson 001366, at 1416 [Towers Watson BBVA Compass Performance Monitoring Report for
Periods Ending December 31, 2015]; BBVA-Ferguson 001455, at 1505 [Towers Watson BBVA Compass Performance
Monitoring Report for Periods Ending December 30, 2016]; BBVA-Ferguson 001621, at 1671 [Towers Watson BBVA
Compass Performance Monitoring Report for Periods Ending September 30, 2016].



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apprised that the fees of the investment options were reasonable, in line with, and in many

cases below the comparator fees.

65.        The Committee also considered fees as a criterion in selecting funds for the Plan.

For example, lower fees was one of the important considerations in selecting the Vanguard

target date retirement funds for the Plan in 2017.91

66.        Based on my review of the Committee minutes and associated presentations, I

conclude that the Committee and their consultants diligently monitored the fees of the

funds in the Plan’s lineup, consistent with the guidance of the IPS and in accordance with

sound fiduciary practice.

                    7.       The Committee Took Action To Make Changes to the Plan
                             Options and Lineup When It Deemed Appropriate

67.        The Committee made changes to the Plan lineup immediately prior to the relevant

period relating to the change from Charles Schwab to Fidelity as the Plan’s recordkeeper.

During the relevant period the Committee made several changes for manager-specific

reasons. In 2012, the Committee replaced the American Funds EuroPacific Growth Fund

with the Thornburg International Value fund.92 At the beginning of 2013, the Committee

decided to transfer the Plan’s recordkeeping from Charles Schwab to Fidelity, and as part

of that transition, four manager changes occurred. The Committee replaced two TIAA-

CREF bond and Mid Cap equity funds with the American Century Diversified Bond fund

and Principal Mid Cap Value fund.93 The State Street US Equity Index fund was replaced

with the Vanguard Institutional Index fund.94 The Committee added a series of Principal




91   BBVA-Ferguson 001741 [Committee Meeting Minutes, March 24, 2017].
92   BBVA-Ferguson 000001, at 0001–0002 [Committee Meeting Minutes, February 1, 2012].
93   BBVA-Ferguson 000004, at 005 [Committee Meeting Minutes, September 11, 2012].
94   BBVA-Ferguson 000004, at 005 [Committee Meeting Minutes, September 11, 2012].



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Target Date Funds to the lineup in 2013.95 In 2015, the Committee replaced the Thornburg

International Value fund with the Invesco International Growth fund.96 In 2016, the

Committee replaced the Aston/TAMRO small cap fund with a Vanguard small cap index

fund.97 In 2017, the Committee replaced the Principal TDFs with Vanguard target date

funds.98 Finally, in 2019 the Committee decided to adopt a “streamlined passive”

investment structure which will likely result in the removal and addition of several funds in

2020.99 These changes illustrate how active and engaged he Committee has been in their

efforts to ensure their participants have access to appropriate investment choices.

68.        The Committee meeting minutes also make clear that the Committee members took

their fiduciary duties and role on the Committee seriously. In reading the minutes, I

observed members regularly asking questions, raising discussion, and voting electronically

when not in attendance.100
69.        From my reading of the meeting minutes and materials, the Committee members

were not passive recipients of information or the advice provided by their consultants. On

several occasions after listening to the consultant’s presentation on a specific issue,

Committee members requested their consultant to research and provide additional

information on various follow up items pertaining to that issue for the next Committee




95   BBVA-Ferguson 000004, at 006 [Committee Meeting Minutes, September 11, 2012].
96   BBVA-Ferguson 000595, at 0595 [Committee Meeting Minutes, March 12, 2015].
97   BBVA-Ferguson 001427, at 1428 [Committee Meeting Minutes, July 14, 2016].
98BBVA-Ferguson 001821, at 1822 [Committee Meeting Minutes, July 27, 2017]; BBVA-Ferguson 001843, at 1845
[Committee Meeting Minutes, October 13, 2017].
99   ADM-Ferguson 004265 [Committee Meeting Minutes, June 20, 2019].
100See e.g., BBVA-Ferguson 000014 [Committee Meeting Minutes, March 8, 2013]; BBVA-Ferguson 000318
[Committee Meeting Minutes, October 17, 2014]; BBVA-Ferguson 001741 [Committee Meeting Minutes, March 24,
2017].



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meeting.101 For example, the Committee requested additional information regarding

review of TDF funds, given their multi-asset nature and glidepath.102

70.         Finally, although the Committee meeting minutes did not explain why the

Committee decided to change its investment consultant, the move from Envestnet to

Towers Watson involved a thorough request for proposal process that analyzed the firms’

strengths, services, and fees, and is another indicator that the Committee was actively

engaged and looking for fresh perspectives to ensure it continued to work in the best

interest of Plan participants.

                     8.       The Retirement Committee received Fiduciary Training on
                              Multiple Occasions

71.         In my experience, plan fiduciaries benefit from training on the requirements of

ERISA and fiduciary duties. Training helps ensure that committee members have periodic

reminders of their role in understanding and executing their fiduciary duties to act in the

benefit of the plan, participants and beneficiaries. It is also helpful as a reminder to

Committee members of the important responsibilities they undertake as fiduciary stewards

of the Plan, working on behalf of participants and beneficiaries.

72.         The Committee was provided fiduciary training on multiple occasions by retirement

industry professionals and by in-house and outside counsel. For example, at the August 13,

2014 Committee meeting, an ERISA counsel from Maynard, Cooper & Gale provided

training regarding fiduciary duties under ERISA to the committee.103 The training included

a discussion of “prohibited transactions under ERISA and liabilities for a breach of




101 See e.g., BBVA-Ferguson 000014 [Committee Meeting Minutes, March 8, 2013]; BBVA-Ferguson 000020

[Committee Meeting Minutes, September 11, 2013]; BBVA-Ferguson 000024 [Committee Meeting Minutes, February
14, 2014]; BBVA-Ferguson 000318 [Committee Meeting Minutes, October 17, 2014].
102   See e.g. BBVA-Ferguson 000012 [Committee Meeting Minutes, December 7, 2012].
103   ADM-Ferguson 001852 [Committee Meeting Minutes, August 13, 2014].



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fiduciary duties” and the Maynard Cooper attorney “responded to inquiries from the

members of the Committee, and a discussion ensued regarding the matters presented.”104

73.         In-house counsel was also involved with training the Committee with respect to

ERISA and their fiduciary duties. For example, at the June, 2015 Committee meeting, in-

house counsel reviewed updates in case law, and “highlighted that the fiduciary duty of

plan sponsors regarding prudent investments is an on-going duty, and not only triggered

when investments are selected or when a significant change in the investment occurs.”105

74.         Towers Watson also provided fiduciary training as consultant to the Committee,

with two scheduled training sessions occurring at the July 14, 2016 and March 27, 2019

meetings. Topics discussed at the July 2016 training session included best practices for

retirement plan governance and documentation, “the payment of fees and expenses from

plan assets and associated fiduciary standards,” and an overview of recent ERISA

litigation.106 Topics discussed at the March 2019 training session included the differences
between fiduciary, settlor, and ministerial actions, and various rules required by ERISA.107

Towers Watson noted at the March 2019 training that “courts generally evaluate

compliance with [ERISA] standards on the basis of process not outcome,” which is

consistent with the advice I provided my retirement plan clients throughout my career.108

75.         In summary, a review of Plan related documents, Committee meeting minutes and

associated materials reveal that the Company took steps consistent with a competent and

engaged fiduciary. In examples of responsible governance, the Plan Sponsor created and

empowered a retirement committee and defined its responsibilities in a committee charter,

the Committee maintained and utilized its IPS, engaged the expertise of a consultant, and



104   ADM-Ferguson 001852 [Committee Meeting Minutes, August 13, 2014].
105   BBVA-Ferguson 000824 [Committee Meeting Minutes, June 26, 2015].
106   BBVA-Ferguson 001427 [Committee Meeting Minutes, July 14, 2016].
107   ADM-Ferguson 004155, at 157 [Committee Meeting Minutes, July 14, 2016].
108   ADM-Ferguson 004155, at 157 [Committee Meeting Minutes, July 14, 2016].


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updated its guidelines in the IPS on occasion. The Committee, and its consultant, designed

and maintained a diversified Plan lineup consistent with the terms of the IPS, periodically

compared their lineup to peer plans, assessed at various points during the relevant period

whether a change in investment structure was warranted, and acted to enhance and evolve

its components. The Committee and their consultants utilized a consistent and prudent

process and monitored pertinent quantitative and qualitative data on the investment options

and manager organizations. They diligently reviewed fee data for each fund as part of their

process for selecting and monitoring funds in the lineup. The Committee took action to

replace funds when it believed circumstances warranted, and kept current with the fiduciary

and regulatory environment by receiving fiduciary training and updates. In short, I

conclude that BBVA and its Retirement Committee employed a robust fiduciary process to

ensure that the Plan lineup consisted of appropriate investment options for its participants.

D.     Money Market Fund and Actively Managed Fund Related Claims Raised in
       Claimants’ Letters and Associated Complaint.

76.    Claimants’ letters along with the attached Complaint raise specific claims about

offering a money market fund, using actively managed funds, fees of the Plan’s funds, and

failing to remove certain funds from the Plan. I have already explained my opinion that the

Committee’s processes for monitoring Plan funds’ fees and performances and its decisions

to retain/remove funds from the Plan were appropriate and in line with industry practices.

In this section I discuss my opinions on offering a money market fund and utilizing actively

managed funds in the Plan.

                1.       Inclusion of a Money Market Fund in the Plan

77.    The Complaint claims that it was inappropriate for the Committee to include a

money market fund in the Plan lineup and that the Committee should have replaced the

money market fund or augmented the line up with a stable value fund or other bond fund



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options.109 Money market funds are appropriate options to include in 401(k) plans and are

among the lowest risk and most conservative investment options. Money market advisors

describe such a fund’s objective as “seeks to provide current income and preserve

shareholders’ principal investment”110 or “seeks as high a level of current income as is

consistent with preservation of capital and liquidity.”111 The lower level of risk to principal

in a money market fund is due to the composition of its investments that typically include

short duration maturity, high-quality, and very liquid money market instruments (e.g. U.S.

dollar denominated treasury bills and other sovereign paper, bankers’ acceptances,

certificates of deposit, and repurchase agreements, among others). Money market funds

may be appropriate investment options for those participants with little or no risk tolerance

or those seeking to diversify a portfolio that also includes equity and bond investments—in

other words—to balance their portfolio with an investment that is largely immune to

normal market downturns.

78.         In my opinion, it is appropriate to offer a money market option to 401(k) plan

participants. Many fiduciaries of other 401(k) plans, who are in a similar position as the

fiduciaries of the Plan, offer money market funds in their plans. For example, Vanguard’s

2015 study on 401(k) plan practices shows that 71% of Vanguard defined contribution

plans offered a money market fund.112 In fact, the Committee was aware that offering

money market funds in 401(k) plans was common fiduciary practice. Fidelity’s

presentation to the Committee in 2015 showed that over 75% of Fidelity’s defined

contribution clients of similar asset size to the Plan (between $500 million and $1 billion in




109   Complaint, ¶¶ 23–24.
110   See e.g. https://investor.vanguard.com/mutual-funds/profile/VMFXX.
111   See e.g. https://www.fidelity.com/mutual-funds/fidelity-funds/money-market-funds-fcash
112
  Vanguard, “How America Saves 2015,” https://crain-platform-cpi-prod.s3.amazonaws.com/s3fs-
public/CO100040612.PDF.



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assets) utilized a money market fund in their plan lineup.113 These statistics are consistent

with my experience; a large majority of the retirement plans I have worked with during my

career included a money market option.

79.         The Complaint contends “the Plan did not have an adequate menu of income

producing bond options”114 and that the Plan should have included a stable value fund or

some other bond funds instead of or in addition to the money market fund.115 I disagree

with this claim.

80.         First, as stated in the Complaint, “ERISA does not require a fiduciary to offer any

particular investment option.”116 As I discussed above in Section III.B., ERISA requires
that plan sponsors provide access to sufficient investment options to accommodate the

varying risk appetites and time horizons of their participant populations. As Exhibit 4

shows, throughout the relevant period the Plan offered a diversified set of investment

options across the risk spectrum that more than adequately satisfied this requirement.

These options included a money market fund, a bond fund, a strategic income fund, a series

of target date funds, and several asset classes of equity funds.

81.         Second, the Plan did offer other fixed income options in its lineup. The Plan

included a bond fund, the American Century Diversified Bond fund, throughout the

relevant period.117 The Funds’ objective was to achieve “a high level of income by

investing at least 80% of its assets in high and medium-grade, non-money market debt

securities.”118 The Principal LifeTime Strategic Income Fund and nearer retirement date



113BBVA-Ferguson 000619, at 0625 [Fidelity Investments, Investment Consulting Services to BBVA Compass,
Investment Trends, February 16, 2015].
114   Complaint, ¶ 29.
115   Complaint, ¶ 33.
116   Complaint, ¶ 32.
117   See Exhibit 1.
118   See BBVA-Ferguson 000081 at 0273 [Envestnet PMC Plan Analysis Quarter Ending June 30, 2014].



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vintages of Principal LifeTime funds also offered participants significant exposure to fixed

income.119 In my review of the materials, I did not find any requests from Plan participants

for a stable value fund or additional fixed income options during the relevant period

(participants did voice preferences about exchange traded funds to be added to the Plan

lineup.)120

82.         Third, although stable value funds are appropriate investment options for 401(k)

plans, they also have drawbacks. Characteristics of stable value funds may or may not

make them a good fit for a particular plan, or the risk comfort of a particular Retirement

Committee. Stable value funds, while offering potentially higher returns than money

market funds, simultaneously present certain risks that are not present in money market

funds. Stable value funds are comprised of a portfolio of fixed income assets “wrapped”

by purchasing insurance contracts from a third-party guarantor to insure the value of some

portion of the underlying assets. The wrap helps maintain a fund’s price and stable value

funds typically rely on insurance contracts to generate a portion of their returns. In certain

economic downturns, such as during the Global Financial Crisis, the claims-paying ability

of the underlying insurance company and consistent ongoing accessibility to wrap coverage

can be threatened and, as a result, so to can returns of and redemptions from stable value

funds. In addition, stable value funds generally have liquidity constraints that are not found

in money market funds. One important restriction is the “equity wash” provision. To

minimize withdrawals during certain periods, such as when interest rates are rising, most

stable value funds require investors to keep withdrawals in either an equity fund or a non-




119 For example, according to Envestnet’s year-end 2014 analyst reports provided to the Committee at the June 26, 2015
meeting, the Principal Lifetime Strategic Income fund and the Principal Lifetime 2015 fund invested over 71% and 47%
of their assets, respectively, in fixed income instruments. See BBVA-Ferguson 000836, at 0943, 1033 [Envestnet PMC
Plan Analysis Quarter Ending December 31, 2014].
120   See ADM-Ferguson 001388 [Committee Meeting Minutes, September 11, 2013].



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short-duration fixed income fund for 90 days before transferring those assets to a

“competing fund” (e.g., a money market fund or short-duration bond fund).121

83.         The materials I reviewed and discussed in Section III.C.4. indicate that the

Committee was familiar with stable value funds and potential issues associated with them,

and considered adding a stable value fund at various points during the relevant period.

Prior to the relevant period, the Plan offered a stable value fund (the SEI Fund), and in

2011, the Committee analyzed and decided to remove this Fund from the lineup.122 At the

March 28, 2011 meeting, the Committee put the SEI fund on the watch list and “discussed

risks associated with long-term inclusion of the fund in the [Plan]” as the Committee’s

consultant informed them that “all stable value funds [have] experienced a large volume of

liquidations” and that there was a “potential illiquidity problem” should the Committee

decide to retain the stable value fund.123 During their next meeting on May 23, 2011, the
Committee “engaged in a discussion of the considerations of maintaining a stable value

investment fund in the defined contribution plans and the potential for utilizing the existing

[money market fund], in place of the stable value fund, for the Capital Preservation asset

class within the risk-based models.”124 At the same meeting they voted to terminate the

stable value fund and move the Plan balances in that Fund to the money market fund.125

Because the SEI fund required a 12 month notice for termination, the Fund could only be

removed from the lineup in August 2012.126



121 See “Stable Value FAQ,” Stable Value Investment Association, 2013, p. 4, available at
https://stablevalue.org/media/misc/Stable_Value_FAQ.pdf
122 ADM-Ferguson 003938, at 3939 [Committee Meeting Minutes, May 23, 2011]; ADM-Ferguson 003940, at 3940

[Committee Meeting Minutes, August 31, 2011].
123ADM-Ferguson 003935 [Committee Meeting Minutes, March 28, 2011]; In addition, the consultant told the
Committee that the “market-to-book ratio [of the SEI fund is] 98% and there have been a few higher profile staff
departures from the fund, raising some concerns about the fund.”
124   ADM-Ferguson 003938, at 3939 [Committee Meeting Minutes, May 23, 2011].
125   ADM-Ferguson 003938, at 3939 [Committee Meeting Minutes, May 23, 2011].
126   See ADM-Ferguson 003938 [Committee Meeting Minutes, May 23, 2011].



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84.         Therefore, the record indicates that the Committee, just before the relevant period,

considered the issues related to stable value funds (such as liquidity issues and other risks)

and concluded that the money market fund was a more appropriate vehicle for Plan

participants’ cash preservation purposes.

85.         The Committee considered the stable value funds again at various points during the

relevant period. In its March 12, 2015 presentation to the Committee, Envestnet reviewed

the Plan’s fund line up and presented information about additional fund options.127

Envestnet explained that they believed the current fund options in the Plan were sufficient

but the Committee should review the information on additional fund options.128 The
information provided included stable value as one of several potential additional asset class

options for inclusion in the Plan, but noted those funds “[u]nderperform[ ] in rising rate

environments, [which are] currently anticipated.”129 “After discussing the information

presented, the Committee determined that the current fund options in the 401(k) Plan

[were] sufficient.”130 The Committee engaged in another review of the Plan lineup in

2016.131 The purpose of this review included “identify[ing] gaps, overlap, and

opportunities within the structure,” and “discuss[ing] investment structure

recommendations.”132 During the Committee meeting, Towers Watson “reviewed

questions regarding plan participants with the committee to determine the types of fund

options best suited for participants.”133 The Towers Watson presentation showed that



127
  BBVA-Ferguson 000598 at 607, 617-618 [Envestnet BBVA Compass SmartInvestor 401(k) Plan Fourth Quarter 2014
Review, March 12, 2015].
128   BBVA-Ferguson 000595 [Committee Meeting Minutes, March 12, 2015].
129
  BBVA-Ferguson 000598 at 618 [Envestnet BBVA Compass SmartInvestor 401(k) Plan Fourth Quarter 2014 Review,
March 12, 2015].
130   BBVA-Ferguson 000595 [Committee Meeting Minutes, March 12, 2015].
131   BBVA-Ferguson 001560 at 1561 [Committee Meeting Minutes, August 25, 2016].
132   BBVA-Ferguson 001563 at 1573 [Towers Watson “Investment Structure Review,” August 2016].
133   BBVA-Ferguson 001560 at 1561 [Committee Meeting Minutes, August 25, 2016].



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stable value funds and money market funds both were commonly held in other 401(k)

plans.134 After these reviews, the Committee did not add a stable value fund in those years.

86.            The Committee again considered adding a stable value fund to the lineup in 2018

as part of Towers Watson’s review of investment structure alternatives for the Plan.135 One

of the two investment structures proposed by Towers Watson for the Committee’s

consideration, the “Streamlined Passive” option, originally included a stable value

fund.136 These alternative structures were discussed in multiple meetings in 2018 and

2019.137 I understand that the Committee decided not to add a stable value fund.

87.         The meeting minutes and associated materials show that the Committee 1)

considered stable value funds and, given various concerns, decided to eliminate the stable

value fund near the beginning of the relevant period, and 2) considered adding a stable

value fund back into the lineup during the relevant period as part of periodic lineup

reviews.

88.         The Complaint also claims that participants were using the money market fund in

inappropriate ways (i.e., as an income generating option) and an unsuitable share of

participants’ balances were invested in the money market fund.138 The Complaint implies
that such participant behavior required action from Plan’s fiduciaries.

89.         First, it is important to remind claimants that the Plan, as defined in its Plan

documents, is a participant-directed plan. The Plan’s IPS indicates that the Plan Sponsor

intends to satisfy the requirements of Section 404(c) of ERISA and has designed a plan in




134   BBVA-Ferguson 001563 at 1584 [Towers Watson “Investment Structure Review,” August 2016].
135   BBVA-Ferguson 001892, at 1894 [Committee Meeting Minutes, March 23, 2018].
136
  BBVA-Ferguson 002095, at 114 [Towers Watson BBVA Compass SmartInvestor 410(k) Plan Executive Summary,
December 18, 2018].
137 See e.g. BBVA-Ferguson 002095, at 114 [Towers Watson BBVA Compass SmartInvestor 410(k) Plan Executive

Summary, December 18, 2018]; ADM-Ferguson 004265 [Committee Meeting Minutes, June 20, 2019].
138   Complaint, p. 13.



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which participants have the ability to select their investments.139 The IPS states that “each

Participant has the opportunity to create a portfolio with aggregate characteristics in a range

appropriate for his or her specific retirement objectives and level of risk tolerance.”140

90.         Nevertheless, as consistent with industry practice, throughout the relevant period

the Committee regularly reviewed the Plan’s asset balances, fund utilization, and cash

flows among the Plan’s investment options. In particular, the Committee reviewed data

regarding the Plan participants’ aggregated use and allocation of assets to the money

market fund and other investment options (see my discussion in Sections III.C.4 and

III.C.5.).

91.         The balances in the Plan’s money market fund during the relevant period were not

excessively high. As Exhibit 3 shows, during the relevant period, the highest aggregated

participant allocation of Plan assets to the money market fund was 17% in 2013.

Subsequently, the Plan’s percentage allocation to the money market fund declined

gradually and has hovered around 10% for the last few years.141
92.         The larger percentage of Plan assets in the money market fund in 2013 was

temporary and partially driven by a change to the Plan’s investment structure. In 2012, the

Committee decided to remove the stable value fund option from the lineup due to

underperformance, liquidity, and other issues.142 Based on the meeting materials, stable

value fund balances were transferred to the money market option, increasing the balances

in the money market fund from 10% of Plan assets in 2011 to 24% in 2012.143 Balances in

the money market fund declined to 17% in 2013, and continued to decline gradually in



139   ADM-Ferguson 000517 at 520 [Investment Policy Statement for the Compass SmartInvestor 401(k) Plan 2018].
140   ADM-Ferguson 000517 at 520 [Investment Policy Statement for the Compass SmartInvestor 401(k) Plan 2018].
141   See Exhibit 3.
142   ADM-Ferguson 000791, at 795-796 [Envestnet Plan Analysis Quarter Ending March 31, 2012].
143   See ADM-Ferguson 003938, at 3939 [Committee Meeting Minutes, May 23, 2011]; Exhibit 3.



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subsequent years until it reached approximately the same allocation level in 2017 (9%) as

existed in 2011 (10%).144

93.         I note that the default investment for the Plan throughout the relevant period was

the target date fund option, rather than the money market fund, therefore, fiduciary QDIA

decisions did not direct investments to the money market fund.145

94.         In addition, the Plan communicated the performance of the money market fund and

the performance of other Plan options to participants on a regular basis.146 Participants

received an annual disclosure notice that provided the 1-year, 5-year, and 10-year returns

and fees of each fund in the Plan lineup, including the money market fund.147 These
disclosures gave participants information classifying the money market fund under the

“Asset Class:Short Term” category and displaying that the fund generated lower returns

during the relevant period compared to other Plan options.148 This type of notice reminded

participants that “[a]dditional information regarding an investment option’s risks, as well as

its strategy and objectives, including a prospectus or fact sheet if available, can be obtained

at www.netbenefits.com.”149

95.         The Committee periodically undertook a more detailed review of the utilization of

the Plan’s investment options. This deeper analysis of participant investment allocation

does not raise red flags about the use of the money market fund. According to a year end


144   See Exhibit 3.
145 See e.g. ADM-Ferguson 000129, at 134 [Summary Plan Description for Compass SmartInvestor 401(k) Plan]. Even

when a plan uses the money market fund as the default investment option, when participants have the freedom to
reallocate their balances to other options in the plan, balances in a money market fund may mostly reflect participants
desired choices.
146 The Committee discussed participant communications regarding the money market fund in the July 27, 2017 meeting.

See BBVA-Ferguson 001821 [Committee Meeting Minutes, July 27, 2017].
147
  See e.g. ADM-Ferguson 000563 at 567–570 [Participant Disclosure Notice of Compass SmartInvestor 401(k) Plan,
December 9, 2014].
148
  See e.g. ADM-Ferguson 00573 at 585 [Required Disclosure Information of Compass SmartInvestor 401(k) Plan,
December 15, 2015].
149
  See e.g. ADM-Ferguson 00573 at 585 [Required Disclosure Information of Compass SmartInvestor 401(k) Plan,
December 15, 2015].



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2017 Fidelity analysis, 84 of the 11,076 active participants in the Plan (or less than 1% of

active participants as of year end 2017) used the money market fund as their only

investment option.150 Furthermore, the use of the money market fund was strongly

correlated to the age of the Plan’s participants. Employees younger than 30 invested only

1% of their assets in the fund, those aged 30 to 39 invested 5%, those aged 40-49 invested

7%, those aged 50-59 invested 9%, those aged 60-69 invested 17%, and those aged 70 or

more invested 14% of their assets in the fund.151 Analyzed together, these statistics

demonstrate that the vast majority of Plan participants were not using the money market

fund as their primary income generating option.

96.      In short, I believe the Committee’s decision to offer a money market fund was

consistent with industry practices, and the process followed to offer the money market fund

was consistent with prudent fiduciary practices. The Committee provided a diversified

lineup, and followed their process that was reasonable and consistent with industry

practices to consider the addition of options to the Plan lineup, including a stable value

fund. Regarding a stable value fund, the Committee had first-hand experience with this

investment option and diligently considered its potential advantages and disadvantages at

various points before and during the relevant period, consistent with prudent fiduciary

practices.




150 BBVA-Ferguson 001921, at 1944 [Fidelity, BBVA Compass Retirement Committee Fidelity Investments Update,

March 23, 2018]; ADM-Ferguson 000443, at 444 [2017 Form 5500 for the Compass SmartInvestor 401(k) Plan].
151 BBVA-Ferguson 001921, at 1967 [Fidelity, BBVA Compass Retirement Committee Fidelity Investments Update,

March 23, 2018].



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                      2.        The Inclusion of Actively Managed Funds in the Plan.

97.         The Complaint claims that the Plan should have offered passively managed funds

instead of actively managed mutual funds.152 ERISA does not impose any such

requirement.

98.         In my experience it is quite common for 401(k) plans to offer actively managed

funds to their participants. According to a 2017 Callan study on DC Trends 91.7% of

defined contribution plans offered actively managed funds to their menus.153 A
BrightScope/ICI’s 2019 study shows that in 2013 74% of 401(k) plan assets were invested

in actively managed funds;154 and while more recently 401(k) investments in index funds
have increased, participant investment holdings remain larger in actively managed funds.155

According to a 2017 Towers Watson defined contribution plan survey shared with the

Retirement Committee, actively managed fund offerings were more prevalent in plans than

passively managed ones in every asset class except for target date funds.156

99.         The Plan offered participants a combination of active and passive investment

options throughout the relevant period as noted in Exhibit 1. The diversified lineup of

actively and passively managed funds across the range of single asset class and multi asset

class TDFs was appropriate for the Plan because the Retirement Committee prudently

selected and monitored these investment options, working in the best interest of the Plan

and participants, and acting in accordance with the reasonable process outlined in its IPS.


152   See e.g., Complaint, ¶¶ 44–47.
153Callan, 2017 Defined Contribution Trends Survey, p. 28. at https://www.callan.com/wp-
content/uploads/2017/01/Callan-2017-DC-Survey.pdf. The survey shows that 66.9% of plans offer a mix of actively and
passively managed funds, 21.5% of plans offer a “mirror” approach that includes actively managed funds, 3.3% of plans
offer only actively managed funds, and only 5.8% of plans offer only index funds.
154“The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2016,” p. 39. at
https://www.ici.org/pdf/19_ppr_dcplan_profile_401k.pdf.
155“The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2016,” p. 39.
https://www.ici.org/pdf/19_ppr_dcplan_profile_401k.pdf
156BBVA-Ferguson 002049, at 2056 [Towers Watson, BBVA Compass Bank SmartInvestor 401(k) Plan Investment
Structure Review, May 2018].



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100.        I have noted in Section III.C.4. that the Committee, with assistance from its

investment consultant, considered and discussed the use of active and passive strategies on

a number of occasions.

101.        The Complaint states that “ERISA did not prohibit BBVA from selecting high-cost

funds that sought to generate excess returns”157 … but ERISA required “BBVA to monitor

the performance of these funds net of cost and to remove funds that failed to demonstrate

the ability to generate excess returns.”158 As discussed in Sections III.C.5, III.C.6, and

III.C.7 the Committee did indeed monitor performance and fees. The Committee did

follow its process to watch list underperforming funds according to the reasonable

guidelines stated in its IPS. And the Committee did, following its process and after

deliberation, decide to remove and replace several funds during the relevant period.

102.        In fact, using the reasonable process articulated in its IPS that included both

qualitative and quantitative criteria, the Committee removed three of the fund options that

are the subject of Claimants’ Complaint during the relevant period.159
103.        Furthermore, the Plan has always offered passively managed options.160 For the

entire relevant period, the Plan offered a U.S. large cap index equity fund, and gradually

increased the number of passively managed funds, adding a small cap index equity fund in

2016 and a series of passive TDFs in 2017.161 Specifically, the Plan offered the Vanguard

Institutional Index (U.S. Large Cap) fund, throughout the relevant period.162 It is worth



157   Complaint, ¶ 67.
158   Complaint, ¶ 67.
159See Exhibit 1 [indicating that the Thornburg International Value Fund, the Aston/Tamro Small Cap 1 Fund, and the
Principal LifeTime Funds were all removed during the relevant period].
160   See Exhibit 1
161See Exhibit 1. I note that by definition TDFs are not purely index options. Although some TDFs can exclusively use
index funds as underlying funds, the asset allocation of TDFs, which change over time, (i.e., “glide paths”) are “actively”
determined by investment managers.
162   See Exhibit 1.



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noting that participants also continued to utilize the two actively managed large cap equity

funds managed by Dodge & Cox and Harbor.163 In 2016, the Committee removed the

actively managed Aston/TAMRO Small Cap fund and, after thoughtful review of several

options, the Committee replaced this fund with the passively managed Vanguard Small Cap

Index fund.164 In 2017, the Plan replaced the Principal LifeTime Funds, which used both

actively and passively managed underlying funds in their portfolios, with the passively

managed Vanguard Target Retirement funds.165 More recently, the Committee decided to

adopt an investment structure offering only passively managed investment options.166

104.        The record indicates that the Committee discussed the use of actively managed

funds periodically. For example, the August 2016 Committee meeting minutes and Towers

Watson presentation indicate that as part of the Plan’s investment structure review, the

Committee analyzed its use of active management.167 The Committee deliberated and
considered various questions to determine the types of fund options best suited for the

Plan’s participants, including active and passive fund management.168 Questions included

objectives of the investment structure, sophistication levels of plan participants, assessing

active management (including performance, risk, fees), and consideration of active versus

passive investing.169 The Committee discussed active versus passive management in its

March 24, 2017 meeting, 170 in response to questions, and at the July 27, 2017 meeting

where application of the watch list to actively managed funds was discussed.171


163   See Exhibit 1.
164   See Exhibit 1; BBVA-Ferguson 001427, at 1428 [Committee Meeting Minutes, July 14, 2016].
165   See Exhibit 1.
166   ADM-Ferguson 004265 [Committee Meeting Minutes, June 20, 2019].
167 BBVA-Ferguson 001560 [Committee Meeting Minutes, August 25, 2016], BBVA-Ferguson 001563 [Towers Watson

“Investment Structure Review,” August 2016].
168   BBVA-Ferguson 001560 at 561 [Committee Meeting Minutes, August 25, 2016].
169   BBVA-Ferguson 001563 at 573-576, 581 [Towers Watson “Investment Structure Review,” August 2016].
170   BBVA-Ferguson 001741 at 743 [Committee Meeting Minutes, March 24, 2017].
171   BBVA-Ferguson 001821 at 823 [Committee Meeting Minutes, July 27, 2017].


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105.    In short, in my view, the Plan fiduciaries’ decision to offer actively managed funds

in the Plan was appropriate and followed the reasonable guidelines for selection of

investments articulated in its IPS. The Committee considered the fit of actively managed

funds for the Plan and performed appropriate monitoring of active managers. More

recently, the Retirement Committee revisited their options and decided to move to a

predominantly passively managed line up. All these actions indicate a deliberate process

behind the decision to use actively and passively managed funds, working according to the

Plan documents, and in the best interest of Plan participants.




                                           Respectfully submitted,
                                           March 11, 2020




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                                                 K AT HL EEN M ANN
     kathleen.mann@comcast.net               |    (617) 678‐6040      |   linkedin.com/in/kathleenmann

                                                    SUMMARY
Investment and business professional with over 20 years’ experience in fiduciary, asset and wealth
management. Successful record of managing an investment advisory and ERISA fiduciary business through the
global financial crisis, shaping business strategy, and strengthening client relationships. Experienced at building
interdisciplinary teams, working cross‐organizationally, and strengthening communication. Comfortable learning
and applying new technologies where apt. Cultivate and thrive in a culture that values excellence, candor,
teamwork, and innovation.

                                            AREAS OF EXPERTISE
 •   Portfolio Strategy                   • Fiduciary Governance                • Actionable Client Solutions
 •   Liability and Risk‐Adjusted Focus    • Board and Investment                • DB and DC Plan Sponsors,
 •   Thoughtful Risk Management             Committee Effectiveness               Endowments, Private Accounts
 •   Developing Teams                     • Manager Due Diligence               • Advise Executive Management

                                      PROFESSIONAL EXPERIENCE

KMANN CONSULTING LLC, Brookline, MA                                                                   2017‐ Present
Founder and Consultant. Fiduciary and investment consulting; retirement plan and endowment fiduciary
governance; expert witness reports and testimony.


MASSACHUSETTS TECHNOLOGY COLLABORATIVE, Boston, MA                                                      2017‐2018
Industry Manager, the Innovation Institute at MassTech
          Strengthened relationships across industry, academia and government to advance MassTech’s role in
           supporting business formation and economic growth in the Commonwealth’s technology sector.
           Presented to groups of cybersecurity CEOs as Project Manager for Cybersecurity.
          Researched and delivered initial mapping of the state’s cybersecurity ecosystem. Drafted initial
           summary of the MA fintech ecosystem. Provided data and insight to MassTech leadership in
           development of strategies to strengthen business growth in the digital economy. Focus areas included:
           cybersecurity and financial technology (fintech) among others.

NIXON PEABODY LLP, Boston, MA                                                                           2014‐2016
Chief Investment Officer, Private Clients Group
          Directed asset allocation, security analysis, and portfolio management of firm’s $2bn in trust and
           retirement assets, on behalf of firm’s trustee attorneys, for trust beneficiaries and clients.
          Led a team of experienced investment professionals and trading staff, chaired the Investment
           Committee of Watch Point Trust Company, and managed investment aspects of upgrading firm’s
           investment and portfolio systems and client reporting.

STATE STREET GLOBAL ADVISORS (SSgA), Boston, MA                                                         1998‐2013
Senior Managing Director (SVP)
Investment Solutions, Head of Fiduciary Services (2012‐2013)
Head of the Office of the Fiduciary Advisor (“OFA”) (2003‐2012)
Ran the ERISA retirement, endowment and foundation investment and fiduciary advisory business in SSgA, the

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KATHLEEN MANN                                                                                             Page2

investment division of State Street Bank & Trust.
     Designed customized and liability‐driven solutions for institutional investors’ unique assets/liabilities or
       spending plan. Worked to understand and achieve client goals, enhance governance in outsourced chief
       investment officer (“OCIO”) rubric via portfolio and risk management, manager selection and oversight,
       and committee education topics.
     Developed and mentored team of investment professionals to deliver plan‐wide investment
       management, oversight and co‐fiduciary advice. Our work enabled clients’ investment committees to be
       more effective fiduciaries of their defined benefit and defined contribution plans, endowment and
       foundation funds.
     Transformed and integrated a set of company‐wide services and investments into an OCIO‐type model
       that became a core component of SSgA Investment Solutions. Built out investment manager due
       diligence process across major asset classes. Ran set of multi‐manager funds, recognized by external
       consultants Casey Quirk for superior OCIO track record.

Vice President & Product Engineer of SSgA Global Asset Allocation (GAA), Currency Strategies (1998‐2003)
        Product Engineer: portfolio manager and investment strategy expert. A member of the GAA and
         Currenty investment team and responsible for presenting strategy details, performance, and portfolio
         fit.
        Articulated investment strategy of quantitative‐based active and passive GAA and Currency products.
         Introduced investment algorithms for clients and prospects. Developed presentation material,
         marketing brochures, and client presentations. FINRA Series 3.
        Traveled globally, presenting SSgA strategies and products to firm’s global institutional client base,
         including large‐ and mid‐sized US institutions, and major central banks, as well as to SSgA’ s mutual
         funds board.

                             ADDITIONAL PROFESSIONAL EXPERIENCE
MFS INVESTMENTS, Boston, MA                                                                                 1998
Project‐Based Consultant.

PUTNAM INVESTMENTS, Boston, MA                                                                    1992‐1998
VP, Associate Portfolio Manager, Global Fixed Income (1995‐1998); Head of Global Bond Trading (1992‐1995).

FIDELITY MANAGEMENT AND RESEARCH (FMR), Boston, MA                                                1984‐1992
Senior Trader, Global Bonds and Currency (1985‐1992); Registered Representative (1984‐1985) Series 6, 63.

                                              ASSOCIATIONS
100 Women in Finance, Member                                         U.S. Tennis Association, Member
Boston College Wall Street Council, Member                           Brookline, MA Schools, Volunteer
St. Ignatius Church, Chestnut Hill, MA, Volunteer

                                                 EDUCATION
BABSON COLLEGE – FRANKLIN W. OLIN GRADUATE SCHOOL OF BUSINESS, Wellesley, MA                       MBA Finance
BOSTON COLLEGE, Chestnut Hill, MA                                                                  BA Economics




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                                Materials Considered List
                              Expert Report of Kathleen Mann
Pleadings and Legal Documents

   Class Action Complaint, Gloria Ferguson v. BBVA Compass Bancshares, Inc., et. al. (2019-cv-
   01135-MHH), July 18, 2019

Public Source

   "Compass Names New Chief Compliance Officer," Birmingham Business Journal , June 6, 2018,
   available at https://www.bizjournals.com/birmingham/news/2018/06/06/compass-names-new-chief-
   compliance-officer.html

   "BBVA Compass Names New CFO," Birmingham Business Journal , April 24, 2015, available at
   https://www.bizjournals.com/birmingham/news/2015/04/24/bbva-compass-names-new-cfo.html

   BrightScope and the Investment Company Institute, "The BrightScope/ICI Defined Contribution Plan
   Profile: A Close Look at 401(k) Plans, 2016," available at
   https://www.ici.org/pdf/19_ppr_dcplan_profile_401k.pdf

   Callan, "2017 Defined Contribution Trends Survey," available at https://www.callan.com/wp-
   content/uploads/2017/01/Callan-2017-DC-Survey.pdf


   Compass SmartInvestor 401(k) Plan 2011 Form 5500, filed on October 2, 2012



   Compass SmartInvestor 401(k) Plan 2012 Form 5500, filed on October 15, 2013


   Stable Value Investment Association, "Stable Value FAQ," 2013, available at
   https://stablevalue.org/media/misc/Stable_Value_FAQ.pdf

   Towers Watson, "2014 Towers Watson North American Defined Contribution Plan Sponsor Survey
   Report"

   Vanguard, "How America Saves 2015," available at https://crain-platform-cpi-
   prod.s3.amazonaws.com/s3fs-public/CO100040612.PDF

Books

   Rudolph-Shabinsky, Ivan and C. Jason Psome, "Managed Synthetics," in The Handbook of Stable
   Value Investments, F. Fabozzi ed., New Hope, PA: Frank J. Fabozzi Associates, 1998

Produced Documents
   ADM-Ferguson 000003
   ADM-Ferguson 000129
   ADM-Ferguson 000150
   ADM-Ferguson 000170
   ADM-Ferguson 000190


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                                Materials Considered List
                              Expert Report of Kathleen Mann
   ADM-Ferguson 000210
   ADM-Ferguson 000231
   ADM-Ferguson 000291
   ADM-Ferguson 000328
   ADM-Ferguson 000366
   ADM-Ferguson 000407
   ADM-Ferguson 000443
   ADM-Ferguson 000481
   ADM-Ferguson 000517
   ADM-Ferguson 000531
   ADM-Ferguson 000547
   ADM-Ferguson 000563
   ADM-Ferguson 000573
   ADM-Ferguson 000588
   ADM-Ferguson 000602
   ADM-Ferguson 000617
   ADM-Ferguson 000633
   ADM-Ferguson 000644
   ADM-Ferguson 000649
   ADM-Ferguson 000653
   ADM-Ferguson 000657
   ADM-Ferguson 000662
   ADM-Ferguson 000667
   ADM-Ferguson 000673
   ADM-Ferguson 000675
   ADM-Ferguson 000676
   ADM-Ferguson 000683
   ADM-Ferguson 000719
   ADM-Ferguson 000722
   ADM-Ferguson 000747
   ADM-Ferguson 000776
   ADM-Ferguson 000784
   ADM-Ferguson 000787
   ADM-Ferguson 000791
   ADM-Ferguson 000916
   ADM-Ferguson 000934
   ADM-Ferguson 000957
   ADM-Ferguson 000963
   ADM-Ferguson 000967
   ADM-Ferguson 000974
   ADM-Ferguson 000977
   ADM-Ferguson 000983
   ADM-Ferguson 000988


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                                Materials Considered List
                              Expert Report of Kathleen Mann
   ADM-Ferguson 001143
   ADM-Ferguson 001164
   ADM-Ferguson 001166
   ADM-Ferguson 001291
   ADM-Ferguson 001294
   ADM-Ferguson 001303
   ADM-Ferguson 001385
   ADM-Ferguson 001388
   ADM-Ferguson 001392
   ADM-Ferguson 001598
   ADM-Ferguson 001610
   ADM-Ferguson 001612
   ADM-Ferguson 001615
   ADM-Ferguson 001815
   ADM-Ferguson 001833
   ADM-Ferguson 001852
   ADM-Ferguson 001856
   ADM-Ferguson 001871
   ADM-Ferguson 002393
   ADM-Ferguson 003935
   ADM-Ferguson 003938
   ADM-Ferguson 003940
   ADM-Ferguson 003943
   ADM-Ferguson 003946
   ADM-Ferguson 003954
   ADM-Ferguson 004155
   ADM-Ferguson 004158
   ADM-Ferguson 004183
   ADM-Ferguson 004265
   ADM-Ferguson 004268
   BBVA-Ferguson 000001
   BBVA-Ferguson 000004
   BBVA-Ferguson 000008
   BBVA-Ferguson 000012
   BBVA-Ferguson 000014
   BBVA-Ferguson 000017
   BBVA-Ferguson 000020
   BBVA-Ferguson 000024
   BBVA-Ferguson 000027
   BBVA-Ferguson 000046
   BBVA-Ferguson 000050
   BBVA-Ferguson 000065
   BBVA-Ferguson 000081


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                                Materials Considered List
                              Expert Report of Kathleen Mann
   BBVA-Ferguson 000280
   BBVA-Ferguson 000295
   BBVA-Ferguson 000318
   BBVA-Ferguson 000320
   BBVA-Ferguson 000322
   BBVA-Ferguson 000323
   BBVA-Ferguson 000329
   BBVA-Ferguson 000335
   BBVA-Ferguson 000364
   BBVA-Ferguson 000587
   BBVA-Ferguson 000595
   BBVA-Ferguson 000595
   BBVA-Ferguson 000598
   BBVA-Ferguson 000619
   BBVA-Ferguson 000629
   BBVA-Ferguson 000824
   BBVA-Ferguson 000836
   BBVA-Ferguson 001078
   BBVA-Ferguson 001082
   BBVA-Ferguson 001085
   BBVA-Ferguson 001147
   BBVA-Ferguson 001182
   BBVA-Ferguson 001184
   BBVA-Ferguson 001187
   BBVA-Ferguson 001216
   BBVA-Ferguson 001267
   BBVA-Ferguson 001323
   BBVA-Ferguson 001332
   BBVA-Ferguson 001335
   BBVA-Ferguson 001366
   BBVA-Ferguson 001427
   BBVA-Ferguson 001430
   BBVA-Ferguson 001455
   BBVA-Ferguson 001515
   BBVA-Ferguson 001527
   BBVA-Ferguson 001560
   BBVA-Ferguson 001563
   BBVA-Ferguson 001621
   BBVA-Ferguson 001681
   BBVA-Ferguson 001684
   BBVA-Ferguson 001703
   BBVA-Ferguson 001741
   BBVA-Ferguson 001744


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                                Materials Considered List
                              Expert Report of Kathleen Mann
   BBVA-Ferguson 001764
   BBVA-Ferguson 001821
   BBVA-Ferguson 001843
   BBVA-Ferguson 001864
   BBVA-Ferguson 001892
   BBVA-Ferguson 001895
   BBVA-Ferguson 001921
   BBVA-Ferguson 001999
   BBVA-Ferguson 002002
   BBVA-Ferguson 002025
   BBVA-Ferguson 002046
   BBVA-Ferguson 002049
   BBVA-Ferguson 002082
   BBVA-Ferguson 002095
   BBVA-Ferguson 002121




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 Exhibit 1: Compass SmartInvesor 401(k) Plan Investment Options
                      July 2013 – Present
                                                                                                            [1]                    [1]
                           Option                                   Asset Class              Date Added           Date Removed

  Vanguard Prime Money Market Instl                            Money Market                             –                     –
                                            [2]
  Vanguard Treasury Money Market Fund                          Money Market                     12/15/17                      –
  American Century Diversified Bond Fund                       Bond Fund                                –                     –
  Principal LifeTime Strategic Income Fund                     Target Date Fund                         –              10/11/17
  Principal LifeTime 2015 Fund                                 Target Date Fund                         –              10/11/17
  Principal LifeTime 2020 Fund                                 Target Date Fund                         –              10/11/17
  Principal LifeTime 2025 Fund                                 Target Date Fund                         –              10/11/17
  Principal LifeTime 2030 Fund                                 Target Date Fund                         –              10/11/17
  Principal LifeTime 2035 Fund                                 Target Date Fund                         –              10/11/17
  Principal LifeTime 2040 Fund                                 Target Date Fund                         –              10/11/17
  Principal LifeTime 2045 Fund                                 Target Date Fund                         –              10/11/17
  Principal LifeTime 2050 Fund                                 Target Date Fund                         –              10/11/17
  Principal LifeTime 2055 Fund                                 Target Date Fund                         –              10/11/17
  Vanguard Target 2015                                         Target Date Fund                 10/11/17                      –
  Vanguard Target 2020                                         Target Date Fund                 10/11/17                      –
  Vanguard Target 2025                                         Target Date Fund                 10/11/17                      –
  Vanguard Target 2030                                         Target Date Fund                 10/11/17                      –
  Vanguard Target 2035                                         Target Date Fund                 10/11/17                      –
  Vanguard Target 2040                                         Target Date Fund                 10/11/17                      –
  Vanguard Target 2045                                         Target Date Fund                 10/11/17                      –
  Vanguard Target 2050                                         Target Date Fund                 10/11/17                      –
  Vanguard Target 2055                                         Target Date Fund                 10/11/17                      –
  Vanguard Target 2060                                         Target Date Fund                 10/11/17                      –
  Vanguard Target 2065                                         Target Date Fund                 10/11/17                      –
  Vanguard Target Inc.                                         Target Date Fund                 10/11/17                      –
  Aston/TAMRO Small Cap 1                                      Small Cap Equity                         –              10/01/16
  Vanguard Small Cap Inst. Index Fund                          Small Cap Equity                 10/01/16                      –
  JP Morgan Mid Cap Growth Fund                                Mid Cap Equity                           –                     –
  Principal Mid Cap Value Fund                                 Mid Cap Equity                           –                     –
  Dodge & Cox Stock Fund                                       Large Cap Equity                         –                     –
  Harbor Funds Capital Appreciation Fund                       Large Cap Equity                         –                     –
  Vanguard Institutional Index Fund                            Large Cap Equity                         –                     –
  Invesco International Growth Fund                            International Equity             02/17/15                      –
  Thornburg International Value Fund                           International Equity                     –              02/17/15
  Banco Bilbao Vizcaya Argentina                               Company Stock                            –                     –

Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Participant Plan Disclosures; Willis Tower Watson Reports.

Note:
[1] Dates are only displayed for when an option was added or removed from the plan.
[2] The date displayed for the Vanguard Treasury Money Market Fund is approximated from BBVA Retirement Committee meeting minutes.


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                                                                            Exhibit 1: Plan Assets By Investment Option                                                                                   Confidential
                                                                                                                   Using Form 5500 Year End Data



Asset Class                   Name of Fund                                  Benchmark                           2013 Balance   2014 Balance   2015 Balance   2016 Balance   2017 Balance   2018 Balance     2019 Balance

Large Cap Equity                                                                                                                                                                                          Not yet available
  Large Cap Value          1 Dodge & Cox Stock Fund                         Russell 1000 Value TR USD           $125,554,952   $125,057,513   $107,029,377   $114,285,980   $127,564,320   $107,675,403
  Large Cap Growth         2 Harbor Funds Capital Appreciation Fund         Russell 1000 Growth TR USD           $87,327,967    $86,293,262    $93,902,613    $76,980,734   $100,964,207   $100,346,898
                           3 Vanguard Institutional Index Fund              S&P 500 TR USD                       $29,663,403    $36,574,369    $42,799,981    $58,032,809    $70,237,451    $66,533,886
                       Total US Large Cap Assets                                                                $242,546,322   $247,925,144   $243,731,971   $249,299,523   $298,765,978   $274,556,187
                       Percentage of Total Plan Assets                                                                  34%            34%            33%            32%            32%            30%
Mid Cap Equity
    Mid Cap Value          4 Principal Mid Cap Value Fund                   Russell MidCap Value TR USD          $14,572,215    $17,402,235    $16,462,827    $20,196,740    $22,357,781    $18,570,180
    Mid Cap Growth         5 JP Morgan Mid Cap Growth Fund Class R6         Russell MidCap Growth TR USD         $15,747,801    $21,259,981    $26,664,852    $24,287,899    $33,645,372    $33,452,843
                       Total US Mid Cap Assets                                                                   $30,320,016    $38,662,216    $43,127,679    $44,484,639    $56,003,153    $52,023,023
                       Percentage of Total Plan Assets                                                                   4%             5%             6%             6%             6%             6%

                              Aston/TAMRO Small Cap 1                       Russell 2000 SmCap TR USD            $44,445,544    $40,570,760    $32,410,175
Small Cap Equity          6
                              Vanguard Small Cap Index Fund                 CRSP US SmallCap TR USD                                                           $33,883,675    $39,093,142    $36,679,428
                       Total US Small Cap Assets                                                                 $44,445,544    $40,570,760    $32,410,175    $33,883,675    $39,093,142    $36,679,428
                       Percentage of Total Plan Assets                                                                   6%             6%             4%             4%             4%             4%

                              Thornburg International Value Fund Class R6   Russell Global LgCap ex US TR USD    $79,325,518    $65,632,113
International Equity      7
                              Invesco International Growth Fund             Russell Developed LgCap ex-US TR                                   $61,898,967    $54,052,399    $63,620,979    $51,075,553
                       Total International Equity Assets                                                         $79,325,518    $65,632,113    $61,898,967    $54,052,399    $63,620,979    $51,075,553
                       Percentage of Total Plan Assets                                                                  11%             9%             8%             7%             7%             6%

Total Equity           Total Equity Assets                                                                      $396,637,400   $392,790,233   $381,168,792   $381,720,236   $457,483,252   $414,334,191
                       Percentage of Total Plan Assets                                                                  56%            54%            52%            48%            49%            46%

Fixed Income
                           8 American Century Diversified Bond Fund         BBgBarc US Agg. Bond TR USD          $66,257,147    $59,200,165    $54,193,277    $56,554,219    $54,478,110    $50,086,574
                       Total Fixed Income Assets                                                                 $66,257,147    $59,200,165    $54,193,277    $56,554,219    $54,478,110    $50,086,574
                       Percentage of Total Plan Assets                                                                   9%             8%             7%             7%             6%             6%

Money Market
                           9 Vanguard Prime Money Market Instl              Citi 3 MO Treasury Bill             $121,641,069   $108,700,708    $97,689,463   $101,431,241    $87,479,133   $103,988,508
                              Vanguard Treasury Money Market Fund           BofA ML 91-Day T-Bill                                                                                $31,338        $31,901
                       Total Money Market Assets                                                                $121,641,069   $108,700,708    $97,689,463   $101,431,241    $87,510,471   $104,020,409
                       Percentage of Total Plan Assets                                                                  17%            15%            13%            13%             9%            11%




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                                                                                 Exhibit 1: Plan Assets By Investment Option                                                                                            Confidential
                                                                                                                                 Using Form 5500 Year End Data



Asset Class                    Name of Fund                                       Benchmark                                   2013 Balance   2014 Balance   2015 Balance   2016 Balance   2017 Balance   2018 Balance     2019 Balance



Multi-Asset Class/ Target Retirement Date Funds (TDFs)
                            Principal LifeTime Strategic Income Fund              S&P Target Date Multi Asset Bnchmk            $1,556,664     $2,532,952     $3,412,443     $4,141,259
                            Principal LifeTime 2015 Fund                          S&P Target Date Multi Asset Bnchmk            $6,261,945    $10,193,335     $9,326,291     $9,340,677
                            Principal LifeTime 2020 Fund                          S&P Target Date Multi Asset Bnchmk            $7,708,176    $13,071,973    $17,659,700    $22,385,251
                            Principal LifeTime 2025 Fund                          S&P Target Date Multi Asset Bnchmk            $8,355,216    $16,800,186    $22,516,580    $30,787,104
                            Principal LifeTime 2030 Fund                          S&P Target Date Multi Asset Bnchmk            $8,434,719    $16,133,076    $27,362,036    $33,981,598
 Target Date Funds      10
                            Principal LifeTime 2035 Fund                          S&P Target Date Multi Asset Bnchmk            $8,772,764    $16,288,227    $23,341,330    $30,663,793
                            Principal LifeTime 2040 Fund                          S&P Target Date Multi Asset Bnchmk            $9,026,802    $17,116,464    $26,510,213    $33,205,414
                            Principal LifeTime 2045 Fund                          S&P Target Date Multi Asset Bnchmk            $8,102,080    $14,727,246    $19,330,761    $24,099,412
                            Principal LifeTime 2055 Fund                          S&P Target Date Multi Asset Bnchmk            $1,196,729     $2,437,832     $4,195,567     $5,771,864
                            Principal LifeTime 2050 Fund                          S&P Target Date Multi Asset Bnchmk            $4,426,111     $8,734,566    $12,385,656    $15,559,732




                                                                                                                                                                                                                        Confidential
Multi-Asset Class/ Target Retirement Date Funds (TDFs), continued

                               Vanguard Target Income                             Vanguard Target Index                                                                                     $6,277,016     $5,761,235
                               Vanguard Target 2015                               Vanguard Target Index                                                                                    $10,447,581     $8,230,821
                               Vanguard Target 2020                               Vanguard Target Index                                                                                    $27,894,948    $29,711,510
                               Vanguard Target 2025                               Vanguard Target Index                                                                                    $40,967,682    $44,772,969
                               Vanguard Target 2030                               Vanguard Target Index                                                                                    $46,065,958    $47,976,011
 Target Date Funds
                               Vanguard Target 2035                               Vanguard Target Index                                                                                    $42,418,138    $45,325,336
                          10
                               Vanguard Target 2040                               Vanguard Target Index                                                                                    $45,976,145    $47,461,248
                               Vanguard Target 2045                               Vanguard Target Index                                                                                    $33,703,453    $36,155,574
                               Vanguard Target 2050                               Vanguard Target Index                                                                                    $22,993,408    $24,946,792
                               Vanguard Target 2055                               Vanguard Target Index                                                                                     $9,749,082    $11,159,164
                               Vanguard Target 2060                               Vanguard Target Index                                                                                        $61,036       $570,254
                               Vanguard Target 2065                               Vanguard Target Index                                                                                        $47,481       $111,801
                        Total TDF Assets                                                                                       $63,841,206   $118,035,857   $166,040,577   $209,936,104   $286,601,928   $302,182,715
                        Percentage of Total Plan Assets                                                                                9%            16%            22%            27%            31%            33%

Other
Company Stock (N/A)       (11) BancoBilbaoVizcayaArg. (Closed- no new invstmt)                                                 $36,485,133    $24,859,601    $17,438,933    $14,911,263    $16,638,384    $10,044,921
       Loans (N/A)             Notes receivable from participants                                                              $19,927,841    $21,098,138    $22,532,721    $23,798,547    $25,897,698    $27,296,572
                        Total Other Assets                                                                                     $56,412,974    $45,957,739    $39,971,654    $38,709,810    $42,536,082    $37,341,493
                        Percentage of Total Plan Assets                                                                                8%             6%             5%             5%             5%             4%


Total Plan Net Assets                                                                                                         $704,789,796   $724,684,702   $739,063,763   $788,351,610   $928,609,843   $907,965,382
                                                                                                                                     100%           100%           100%           100%           100%           100%

Source: Form 5500 Filings (2013-2018 Participant Balance Data; 2019 5500 not yet available)
  *Indexed Assets included US Large Cap index fund, added Vanguard Small Cap Equity in 2016, then Vanguard TDFs in 2017 on.




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                            Exhibit 2: Compass Smartlnvestor 401(k) Plan
                             Retirement Committee Meetings Attendance
                                                       9/11/2013 – 6/20/2019
                                                               Committee Member[1]
                                 Javier                          Angel           Shane           Kirk          Rosilyn          Celie
              Jim Heslop       Hernandez      Joe Cartee        Reglero         Clanton        Pressley        Houston         Niehaus

             Chief Human                                                                                     Chief Talent
              Resources     Chief Risk          Chief            Chief                           Chief       and Culture    Chief
               Officer,      Office of        Compliance       Financial        General        Financial      Executive, Compliance Quorum
                        [2]                            [3]             [4]                             [4]             [2]         [3]
 Meeting      Chairman      BBvA USA           Officer         Officer          Counsel        Officer       Chairman      Officer     Present
 9/11/2013                                                                                                                                 Yes
 2/14/2014                                                                        
 5/23/2014                                                                                                                                 Yes
 8/13/2014                                                                                                                                 Yes
10/17/2014                                                                                                                                  Yes
 12/5/2014                                                                                                                                 Yes
 3/12/2015                                                      –                                                                           Yes
 6/26/2015         –                                                                            +                                            Yes
 8/12/2015                                                                                                      +                            Yes
11/30/2015                                                                                                                                   Yes
 12/3/2015                                                                                                                                  Yes
12/14/2015                                                                                                                                  Yes
 2/11/2016                                                                                                                                 Yes
  4/4/2016                                                                                                                                 Yes
 7/14/2016                                                                                                                                 Yes
 8/25/2016                                                                                                                                   Yes
11/30/2016                                                                                                                                   Yes
 3/24/2017                                                                                                                                 Yes
 7/27/2017                                                                                                                                 Yes
10/13/2017                                         –                                                                                         Yes
12/15/2017                                                                                                                                   Yes
 3/23/2018                                                                                                                                  Yes
 8/18/2018                                                                                                                     +            Yes
12/18/2018                                                                                                                                  Yes
 3/27/2019                                                                                                                                   Yes
 6/20/2019                                                                                                                                  Yes

Source: Retirement Committee Meeting Minutes; "Compass Names New Chief Compliance Officer," Birmingham Business Journal, June 6, 2018, available
at https://www.bizjournals.com/birmingham/news/2018/06/06/compass-names-new-chief-compliance-officer.html; "BBVA Compass Names New CFO,"
Birmingham Business Journal, April 24, 2015, available at https://www.bizjournals.com/birmingham/news/2015/04/24/bbva-compass-names-new-cfo.html

Note:
[1] A "–" indicates a member's last Committee meeting, while a "+" indicates a member's first Committee meeting.
[2] Between June and August 2015, Rosilyn Houston took over as Chairman from Jim Heslop.
[3] Joe Cartee served as Chief Compliance Officer and was on the Committee until late 2017, when he was replaced by the new Chief Compliance Officer,
Celie Niehaus.
[4] Angel Reglero was Chief Financial Officer and a Committee member until March 2015, when he was replaced by Kirk Pressley on the Committee and
as Chief Financial Officer.




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        Exhibit 3: Compass SmartInvestor 401(k) Plan Asset Allocation by Year
 Millions ($)                       2011 – 2018
$1,000


 $900                                                                                                                                      2%
                                                                                                                                                                1%
                             Company Stock
 $800                        Equity Funds
                                                                                                                       2%
                             Target Date Funds
 $700                                                                                              2%
                             Bond Funds                                       3%
                                                          5%                                                                               49%                 46%
                             Stable Value
 $600                        Money Market
                                                                                                                      52%

 $500                                                                                             54%
                                       6%                                     56%
                                                         56%
                  6%
 $400

                                      55%
 $300             49%                                                                                                                                          33%
                                                                                                                                           31%
                                                                                                                       22%
                                                                               9%                 16%
                                                          9%
 $200
                  11%                 12%                 9%
                                                                              8%                                       7%                                       6%
                                                                                                   7%                                      6%
 $100             20%
                                      24%                17%                  15%                 13%                 13%                                      11%
                                                                                                                                           9%
                  10%
    $0
                 2011                2012                2013                2014                 2015                2016                2017                2018
 Source: Compass Smartinvestor 401(k) Plan 2011 Form 5500, filed on October 2, 2012; Compass Smartinvestor 401(k) Plan 2012 Form 5500, filed on October 15,
 2013; ADM-Ferguson 000291; ADM-Ferguson 000328; ADM-Ferguson 000366; ADM-Ferguson 000407; ADM-Ferguson 000443; ADM-Ferguson 000481

 Note: The above chart does not display Plan loans, which constituted approximately 3% of Plan assets in each year. The Plan made changes to its investment lineup
 in late 2012, and according to the Plan’s 2012 Form 5500, $170 million of Plan assets invested that year in certain funds were “due from broker” at year-end 2012 as
 part of the transition to new funds. I estimated the amount of the $170 million allocated to each asset class in 2012 by using the proportion of Plan assets allocated to
 each of the removed funds as of year-end 2011.




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                       Exhibit 4: 5-Year Annualized Standard Deviation of Plan
     5-Year Annualized                    Investment Options
     Standard Deviation
                                           As of June 30, 2015
       20
                                                                                                                                          Aston/TAMRO Small Cap 1

       18
                                                                                                                               JP Morgan Mid Cap Growth Fund


       16                                                                               Harbor Funds Capital Appreciation Fund
                                                                                                                                         Pr. Mid Cap Value Fund
                                                                                               Pr. TDF 2055                      Dodge & Cox Stock Fund
       14                                                      Vanguard Institutional Index Fund
                                                                                                              Invesco International Growth Fund
                                                       Pr. TDF 2035
       12                                                                                   Pr. TDF 2050
                                               Pr. TDF 2030             Pr. TDF 2040 Pr. TDF 2045
                                        Pr. TDF 2025
       10                        Pr. TDF 2020

                         Pr. TDF 2015

        8



        6
                             Principal LifeTime Strategic Income Fund

        4

                          American Century Diversified Bond Fund
        2

                Vanguard Prime Money Market Institutional
        0


Source: ADM-Ferguson 003954 at 3984–4003

Note: The 5-Year Annualized Standard Deviation of the Vanguard Prime Money Market Instl is 0.03. “Pr. TDF” is an abbreviation for Principal LifeTime Fund.




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                     Exhibit 5: 5-Year Return and 5-Year Annualized Standard
  5-Year Performance
                               Deviation of Plan Investment Options
      21.0                              As of June 30, 2015          JP Morgan Mid Cap Growth Fund

       19.5                                                                                   Harbor Funds Capital Appreciation Fund


       18.0                                                                                                            Dodge & Cox Stock Fund
                                                                    Vanguard Institutional Index Fund
                                                                                                                              Pr. Mid Cap Value Fund
       16.5

       15.0
                                                                                                        Pr. TDF 2050                    Aston/TAMRO Small Cap 1
                                                                                              Pr. TDF 2045
       13.5                                                                               Pr. TDF 2040
                                                                                      Pr. TDF 2035              Pr. TDF 2055
       12.0                                                                      Pr. TDF 2030
                                                                            Pr. TDF 2025
                                                                      Pr. TDF 2020
       10.5                                                                                                           Invesco International Growth Fund
                                                              Pr. TDF 2015
        9.0

        7.5
                                                 Principal LifeTime Strategic Income Fund
        6.0

        4.5
                                        American Century Diversified Bond Fund
        3.0

        1.5                                                                                                                                     5-Year Annualized
                  Vanguard Prime Money Market Institutional                                                                                     Standard Deviation
        0.0
              0                  2        4            6              8             10           12            14            16           18            20

Source: ADM-Ferguson 003954 at 3984–4003

Note: The 5-Year Annualized Standard Deviation and 5-Year Performance of the Vanguard Prime Money Market Instl are 0.03, and .1 respectively. “Pr. TDF” is an
abbreviation for Principal LifeTime Fund.


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                        Exhibit 6: Compass SmartInvestor 401(k) Plan Investment Options Watchlist Status[1]
                                                       2Q 2013 – 1Q 2019
                      Option                           2Q13 3Q13 4Q13 1Q14 2Q14 3Q14 4Q14 1Q15 2Q15 3Q15 4Q15 1Q16 2Q16 3Q16 4Q16 1Q17 2Q17 3Q17 4Q17 1Q18 2Q18 3Q18 4Q18 1Q19
Vanguard Prime Money Market instl
Vanguard Treasury Money Market Fund[2]
American Century Diversified Bond Fund                                                                                                                                                        ✓   ✓   ✓   ✓
Principal LifeTime Strategic Income Fund                                                                                                                                               –
Principal LifeTime 2015 Fund                                    ✓       ✓      ✓      ✓                                                                                                –
Principal LifeTime 2020 Fund                                    ✓       ✓      ✓      ✓                                                                                                –
Principal LifeTime 2025 Fund                                    ✓       ✓      ✓      ✓                                                                                                –
Principal LifeTime 2030 Fund                                                                                                                                                           –
Principal LifeTime 2035 Fund                                                                                                                                                           –
Principal LifeTime 2040 Fund                                                                                                                                                           –
Principal LifeTime 2045 Fund                                                                                                                                                           –
Principal LifeTime 2050 Fund                                                                                                                                                           –
Principal LifeTime 2055 Fund                                                                                                                                                           –
Vanguard Target 2015                                                                                                                                                                   +
Vanguard Target 2020                                                                                                                                                                   +
Vanguard Target 2025                                                                                                                                                                   +
Vanguard Target 2030                                                                                                                                                                   +
Vanguard Target 2035                                                                                                                                                                   +
Vanguard Target 2040                                                                                                                                                                   +
Vanguard Target 2045                                                                                                                                                                   +
Vanguard Target 2050                                                                                                                                                                   +
Vanguard Target 2055                                                                                                                                                                   +
Vanguard Target 2060                                                                                                                                                                   +
Vanguard Target 2065                                                                                                                                                                   +
Vanguard Target Inc.                                                                                                                                                                   +
Aston/TAMRO Small Cap 1                                                        ✓      ✓       ✓      ✓       ✓      ✓              ✓      ✓       ✓      –
Vanguard Small Cap Inst. Index Fund                                                                                                                      +
JP Morgan Mid Cap Growth Fund
Principal Mid Cap Value Fund                                                                                                                                                           ✓      ✓   ✓   ✓   ✓    ✓       ✓
Dodge & Cox Stock Fund                                   ✓      ✓       ✓      ✓
Harbor Funds Capital Appreciation Fund
Vanguard Institutional Index Fund
Invesco International Growth Fund                                                                            +                                                                                ✓   ✓   ✓   ✓            ✓
Thornburg International Value Fund                                             ✓      ✓       ✓       –
Banco Bilbao Vizcaya Argentina
Source: BBVA Retirement Committee Meeting Minutes; Envestnet Reports; Participant Plan Disclosures; Willis Tower Watson Reports.

Note:
[1] A "✓" indicates a quarter an option was on the watchlist, a "–" indicates the quarter an option was removed from the plan, and a "+" indicates the quarter an option was added to the plan.
[2] The date added for the Vanguard Treasury Money Market Fund is approximated from BBVA Retirement Committee meeting minutes.




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             Exhibit 7: Examples of Discussions of Fund Fees
                    at Retirement Committee Meetings
                        September 2013 – June 2019
     Meeting                                                       Description


                       The low fees of the American Century Diversified Bond fund were highlighted by Envestnet as
September 11, 2013
                       being one of the fund’s attributes.



                       “Envestnet presented the net expense ratios for the funds in the 401(k) Plan versus their respective
February 14, 2014      Morningstar Category Averages, noting that the expense ratios for funds in the [P]lan are lower
                       than the peer averages.”



                       Envestnet “presented the net expense ratios for funds in the 401(k) Plan, comparing them with their
 August 13, 2014
                       respective Morningstar Category Average.”



                       In selecting a replacement for the Thornburg International Fund, and in response to a question from
 October 17, 2014      the Committee, the fees of the potential replacements (Invesco International Growth fund and the
                       Harding Loevner International Equity Institutional I fund) were compared.



                       Envestnet “reviewed fees for the various fund options, noting all are below the average of fees for
  March 12, 2015
                       their peers” and highlighted in particular the low fees of the Vanguard Prime Money Market fund.



                       During the June 26, 2015 meeting, Envestnet reviewed the expense ratios and fund fees for funds
  June 26, 2015        offered under the 401(k) Plan [and] indicated that all expense ratios for funds in the 401(k) Plan are
                       lower than the peer average.


                       At the August 12, 2015 meeting, Envestnet reviewed the expense ratios and fund fees for funds
 August 12, 2015       offered under the 401(k) Plan [and] indicated that all expense ratios for funds in the 401(k) Plan are
                       lower than the peer average, highlighting the Invesco fund and Principal Lifetime funds.



                       Towers Watson “provided a fee analysis for Plan funds [and] discussed the fixed income fund
   April 4, 2016
                       options in the Plan, reviewing fees versus yield.”


                       Towers Watson “reviewed fees for [P]lan funds, noting comparisons” to peer plans. During this
                       meeting Towers Watson also provided an overview of the differences among fees between active
   July 14, 2016       and passive fund managers. The “fees and performance of target date funds” were also discussed,
                       and in response to a question from a Committee member, Towers Watson “agreed to provide
                       additional fee information for the Principal funds to the Committee.”
                       Towers Watson “reviewed questions regarding active fund management, including past
                       performance and fees.” Towers Watson also “reviewed investment fees for the Plan and discussed
 August 25, 2016       revenue sharing with the Committee.” Towers Watson “then discussed the fees for the Plan’s
                       target date funds versus comparable target date funds [and Towers Watson] and members of the
                       Committee discussed fees versus performance generally.”


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             Exhibit 7: Examples of Discussions of Fund Fees
                    at Retirement Committee Meetings
                        September 2013 – June 2019
     Meeting                                                        Description


                       As part of a discussion of potential replacement of the Principal target date funds, a fee analysis of
November 30, 2016
                       each potential replacement fund was discussed.



                       “Various fees associated with the investments were reviewed noting that both target date fund
 March 24, 2017        candidates being considered represented significant fee savings compared to other funds. The
                       portfolio characteristics of the money market fund were likewise reviewed.”



                       Towers Watson “discussed items for the Committee to consider for 2018, including review of the
   July 27, 2017
                       investment structure in the Plan with a focus on participant behavior and fee benchmarking.”



                       “Various fees associated with the investments were reviewed noting that Principal
 October 13, 2017
                       was replaced, which resulted in some savings.”



                  Towers Watson presented the fees associated with the funds. The Committee discussed the
December 15, 2017 continuance of fee and investment litigation, with Towers Watson suggesting “[conducting] a
                  periodic fee analysis of current live fees” to mitigate risks.



                       The Committee discussed Invesco’s fees being in the median, and Towers Watson presented a fee
 August 18, 2018
                       analysis for all funds in the Plan.



                       Towers Watson “presented a fee analysis for the 401(k) Plan, noting the fees are line with
December 18, 2018      benchmarks" and “reviewed the features of a streamlined passive option, noting potentially lower
                       fees for passive investments and reduced complexity through few investment options.”



                       Towers Watson “presented the fee analysis for the funds in the portfolio, noting Principal’s fees
 March 27, 2019
                       were at the median for peers.”



                       Towers Watson “discussed fees for the portfolio, noting all fees were at or below median
  June 20, 2019
                       institutional fees for the respective funds.”



 Sources: Committee Meeting Minutes




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